Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 1 of 209 PAGEID #: 1136




                 Exhibit 8
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 2 of 209 PAGEID #: 1137




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


DANIEL ROBERT and HOLLI MULVIHILL

                              Plaintiffs,


       v.
                                                            Case No. 1:21-cv-02228-RM-STV


LLOYD AUSTIN, in his official capacity as
Secretary of Defense; XAVIER BECERRA, in his
official capacity as Secretary of Health and Human
Services; and JANET WOODCOCK, in her official
capacity as Acting Commissioner of the U.S. Food
and Drug Administration,

                              Defendants.


                     DECLARATION OF PETER MARKS, M.D., Ph.D.
       I, Peter Marks, declare as follows:
       1. I am the Director of the Center for Biologics Evaluation and Research (“CBER”),

United States Food and Drug Administration (“FDA”), a position I have held since 2016. In this

role, I direct the development and implementation of programs and policies for assuring the

safety, purity, and potency of biological products, including vaccines, allergenic products, blood

and blood products, and cellular, tissue, and gene therapies.

       2. I joined FDA in 2012 as the Deputy Director for CBER, after practicing medicine, and

working in industry and academia for several years. I received my graduate degree in cell and

molecular biology and my medical degree at New York University, am board certified in internal

medicine, hematology and medical oncology, and am a Fellow of the American College of

Physicians.


                                                 1
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 3 of 209 PAGEID #: 1138




       3. In my capacity as Director of CBER, I am fully familiar with the instant matter and the

facts stated herein. This declaration is based on my personal knowledge, my background,

training, and experience and my review and consideration of information available to me in my

official capacity, including information furnished by FDA personnel in the course of their

official duties. My conclusions have been reached in accordance therewith.

       4. Vaccines are biological products that are regulated under the Public Health Service

Act (“PHSA”), 42 U.S.C. § 262(i)(1), as well as “drugs” subject to regulation under the Federal

Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 321(g)(1)(B). Vaccines are approved for

marketing through applications known as Biologics License Applications (“BLA”); a vaccine

that is the subject of an approved BLA need not also obtain approval of a new drug application

(“NDA”) under 21 U.S.C. § 355. 42 U.S.C. § 262(a), (j).

       5. Under the PHSA, FDA approves a BLA on the basis of a demonstration that: (1) the

vaccine is “safe, pure, and potent”1; (2) the facility in which the vaccine is produced meets

standards designed to assure that the vaccine continues to be safe, pure, and potent; and (3) the

applicant consents to inspection of the manufacturing facility. 42 U.S.C. § 262(a)(2)(C). FDA

may, but is not required to, consult with its standing advisory committee with scientific expertise

in biological products, the Vaccines and Related Biological Products Advisory Committee, as

part of the approval process. See 21 C.F.R. § 14.171(a). FDA has also issued several guidances

and other public documents on biologics and vaccine development. See generally Biologics

License Applications (BLA) Process, https://www.fda.gov/vaccines-blood-



1
 The standard for licensure of a biological product as potent under 42 U.S.C. § 262 has long
been interpreted by FDA to include effectiveness. See 21 C.F.R. § 600.3(s); FDA Guidance,
Providing Clinical Evidence of Effectiveness for Human Drug and Biological Products at 4 (May
1998), available at https://www.fda.gov/media/71655/download.

                                                 2
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 4 of 209 PAGEID #: 1139




biologics/development-approval-process-cber/biologics-license-applications-bla-process-cber;

Guidance, Compliance & Regulatory Information (Biologics), https://www.fda.gov/vaccines-

blood-biologics/guidance-compliance-regulatory-information-biologics; Vaccine and Related

Biological Product Guidances, https://www.fda.gov/vaccines-blood-biologics/biologics-

guidances/vaccine-and-related-biological-product-guidances; Vaccine Development 101,

https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/vaccine-

development-101.

       6. On August 23, 2021, FDA approved a BLA for a COVID-19 vaccine known as

Comirnaty, for active immunization to prevent coronavirus disease 2019 (COVID-19) caused by

severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age

and older. See Comirnaty Approval Letter (August 23, 2021), attached as Exhibit A. Comirnaty

is a mRNA vaccine. It contains a piece of the SARS-CoV-2 virus’s genetic material that instructs

cells in the body to make the virus’s distinctive “spike” protein. After a person is vaccinated,

their body produces copies of the spike protein, which does not cause disease, and triggers the

immune system to learn to react defensively, producing an immune response against SARS-

CoV-2. After delivering instructions, the mRNA is rapidly broken down. It does not enter the

nucleus of the cell and does not affect DNA.

       7. Prior to approval, beginning in December 2020, the same formulation of the vaccine,

known as Pfizer-BioNTech Covid-19 vaccine, was available under an emergency use

authorization (“EUA”). See https://www.fda.gov/news-events/press-announcements/fda-takes-

key-action-fight-against-covid-19-issuing-emergency-use-authorization-first-covid-19. FDA has

discretion to issue an EUA for an FDA-regulated product if: (1) the Secretary of the Department

of Health and Human Services has declared a public health emergency involving a biological or



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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 5 of 209 PAGEID #: 1140




other agent that can cause a serious or life-threatening disease or condition; (2) it is reasonable to

believe that the product may be effective in diagnosing, treating, or preventing that disease or

condition, and the known and potential benefits of the product outweigh the known and potential

risks of the product; and (3) there is no “adequate, approved, and available” alternative to the

product. 21 U.S.C. § 360bbb-3(c).2

       8. Even after FDA approved Comirnaty, FDA authorized continued use of the Pfizer-

BioNTech Covid-19 vaccine under an EUA for indications that included the approved use. FDA

determined that there is not sufficient approved vaccine available for distribution to the 16 years

and older population in its entirety at the time of FDA’s reissuance of the EUA. See Letter to

Pfizer, Inc. reissuing EUA authorization for Covid-19 vaccine, p. 8, n.15 (November 19, 2021),

attached as Exhibit B. FDA also determined that there are no products that are approved to

prevent COVID-19 in additional populations covered by the EUA, as the vaccine remains

available under the EUA for uses that have not been approved, specifically for individuals ages 5

through 15 years old; for a third dose in certain populations; and for a “booster” dose in certain

circumstances.

       9. The licensed vaccine has the same formulation as the originally authorized Pfizer-

BioNTech vaccine. The products are legally distinct with certain differences that do not impact

safety or effectiveness. Exhibit B at 10.

       10. On October 29, 2021, FDA authorized a new formulation of the Pfizer-BioNTech

vaccine for use in children 5 to 11 years of age when diluted to a lower strength. Id. at 2-3 n.12.



2
  Distribution of a product pursuant to an EUA is not a “clinical trial” subject to the requirements
for clinical trials conducted under an investigational new drug (“IND”) application. 21 U.S.C.
§§ 360bbb-3(k); 355(i). Clinical trials must be conducted in accordance with an approved IND
and involve only enrolled study participants. Only clinical trial participants enrolled in a clinical
study conducted according to an approved IND receive the study drug.
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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 6 of 209 PAGEID #: 1141




FDA also authorized the new formulation, without dilution, for individuals 12 years of age and

older. Id. The new formulation contains the same mRNA and lipids, and the same quantity of

these ingredients, per 0.3 mL dose. Id. at 10. The two formulations differ only with respect to

certain inactive ingredients and have been shown to be analytically comparable. Id. Therefore,

FDA determined that “for individuals 12 years of age and older, COMIRNATY (COVID-19

Vaccine, mRNA) and the[] two formulations of the Pfizer-BioNTech COVID-19 Vaccine, when

prepared according to their respective instructions for use, can be used interchangeably without

presenting any safety or effectiveness concerns.” Id. at 11. FDA provided this information in

the Letter of Authorization to make clear that pharmacies and other healthcare practitioners

could provide the vaccination series to recipients using Pfizer-BioNTech, Comirnaty, or both

(e.g., first dose of Pfizer-BioNTech followed by second dose of Comirnaty, or vice versa), since

the products have an identical formulation and are made by the same manufacturer under current

good manufacturing practice requirements. FDA included this clarification in the authorization

letter to avoid the unnecessary operational complications that may have resulted if pharmacies or

other healthcare practitioners had believed that the authorization did not include use in

individuals who had received Pfizer-BioNTech for the first dose and Comirnaty for the second

dose, or vice versa. Nevertheless, for individuals 12 years of age and older, only the original

formulation is available at this time in the United States. See https://www.fda.gov/emergency-

preparedness-and-response/coronavirus-disease-2019-covid-19/comirnaty-and-pfizer-biontech-

covid-19-vaccine. As a result, all currently available Pfizer-BioNTech vaccine in the United

States for use in individuals 12 years of age and older has the same formulation as the approved

Comirnaty vaccine.

       11. The determination that FDA made for Comirnaty and Pfizer-BioNTech Covid-19



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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 7 of 209 PAGEID #: 1142




vaccine should not be confused with the statutory interchangeability determination that FDA

may make when reviewing a BLA for a biological product manufactured by one company and

comparing it with a biological product manufactured by a different company. Under 42 U.S.C.

§ 262(k)(4), FDA may determine that a biological product is “interchangeable” with a “reference

product.” “Reference product” is defined at 42 U.S.C. § 262(i)(4) as a “single biological product

licensed under [42 U.S.C. § 262(a)] against which a biological product is evaluated in an

application submitted under [42 U.S.C. § 262(k)].” The statutory interchangeability

determination requires a licensed reference product and a subsequent applicant seeking licensure,

which is not present here. The PHSA interchangeability provision also contains obligations

related to exclusivity and exchange of patent information for interchangeable products, which

would not make sense for two products produced by a single company. See 42 U.S.C.

§ 242(k)(6), (l).

        12. While FDA determined Comirnaty and Pfizer-BioNTech Covid-19 vaccine are

medically interchangeable, there are legal distinctions between BLA-approved and EUA-

authorized products. For example, products approved under BLAs are required to have the

labeling that was approved as part of the BLA, whereas products authorized under the EUA

would have the EUA labeling, and there may also be differences in manufacturing sites for BLA

and EUA vaccine. Both the EUA and BLA processes have required the sponsor to identify

specific facilities that will manufacture the vaccine. See Summary Basis for Regulatory Action –

Comirnaty, pp. 12-13 (August 23, 2021), available at

https://www.fda.gov/media/151733/download.

        13. Vaccine manufactured at sites listed in the BLA also undergoes lot release, which is

designed to ensure conformity with standards applicable to the product. 21 C.F.R. § 610.1; see



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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 8 of 209 PAGEID #: 1143




also https://www.fda.gov/vaccines-blood-biologics/biologics-post-market-activities/lot-

release#lotrelease. Vaccine manufactured at sites that are not listed in the BLA is not subject to

the lot release requirement.3 Manufacturing of the BLA and EUA vaccine must adhere to FDA’s

current good manufacturing practice regulations, which are designed to ensure that the products

meet specified standards of safety, purity, and potency. See 21 C.F.R. Part 211 (CGMP

regulations for drugs), § 211.1(b) (applicability of CGMP regulations to drugs that are also

biological products); Exhibit B at 15.

       14. In conjunction with the approval of Comirnaty, FDA asked the applicant to identify

available lots of vaccine that were manufactured at facilities listed in the BLA that had

undergone lot release. For these lots and other lots produced at facilities listed in the BLA, at this

time, FDA is exercising its enforcement discretion with respect to certain labeling requirements,

in that FDA is not taking enforcement with respect to vials that bear the EUA label.4 FDA

considers these lots to be manufactured in compliance with the BLA and they are not subject to

the EUA requirements when used for the approved indication. Thus, the conditions in the Letter

of Authorization for the EUA—including the condition requiring vaccination providers to

provide recipients with the Fact Sheet for Recipients, which advises recipients that “under the

EUA, it is your choice to receive or not receive the vaccine”—do not apply when these lots or




3
  Although not subject to lot release, as a condition of the EUA, Pfizer submits to the EUA file
Certificates of Analysis for each drug product lot at least 48 hours prior to vaccine distribution;
these Certificates include the established specifications and specific results for each quality
control test performed on the final drug product lot. Additionally, also as a condition of the
EUA, Pfizer submits quarterly manufacturing reports to the EUA file that include specified
information about each lot of vaccine manufactured. See Exhibit B at 15.
4
  Each vial contains six doses of vaccine and a dose is withdrawn from the vial immediately
before injection into a recipient, who would not ordinarily be handling the vial or viewing its
label. Fact Sheet for Healthcare Providers Administering Vaccine, pp. 6-12 (Oct. 29, 2021),
available at https://www.fda.gov/media/153713/download.
                                                  7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 9 of 209 PAGEID #: 1144




other BLA-compliant lots are used for the approved indication. FDA worked with the Applicant

to develop a Dear Health Care Provider letter and website to identify those lots. Summary Basis

for Regulatory Action – Comirnaty (“SBRA”), p. 27 (Nov. 8, 2021), attached as Exhibit C.

Also, for operational efficiency, to account for the fact that recipients may receive either the

BLA or EUA vaccine, after licensure of Comirnaty, vaccine has been distributed with unified

Fact Sheets, one for providers and one for recipients, that provide information regarding the

EUA product, as well as information about the licensed product. See Fact Sheet for Recipients

and Caregivers 12 Years of Age and Older (Oct. 29, 2021), available at

https://www.fda.gov/media/153716/download.

       15. FDA has programs to expedite the development of drugs that are being studied to

treat life-threatening or severely debilitating diseases. 21 U.S.C. § 356. These programs, one of

which is “Fast Track” designation, are designed to help ensure that therapies for serious

conditions are approved and available for patients as soon as it can be concluded that the

therapies’ benefits outweigh their risks. See Guidance for Industry, Expedited Programs for

Serious Conditions – Drugs and Biologics (May 2014), available at

https://www.fda.gov/media/86377/download. Fast Track designation was granted for Comirnaty

on July 7, 2020. See Exhibit C, SBRA at 5. As explained on FDA’s website, “Once a drug

receives Fast Track designation, early and frequent communication between the FDA and a drug

company is encouraged throughout the entire drug development and review process. The

frequency of communication assures that questions and issues are resolved quickly, often leading

to earlier drug approval and access by patients.” https://www.fda.gov/patients/fast-track-

breakthrough-therapy-accelerated-approval-priority-review/fast-track.




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 10 of 209 PAGEID #: 1145




       16. In addition to granting Comirnaty “Fast Track” designation, FDA took other steps to

speed development and review of COVID-19 vaccines in response to the urgent public health

threat posed by SARS-CoV-2, without sacrificing the stringent statutory requirements for

approval. Vaccines typically undergo three phases of clinical trial. See

https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/vaccine-

development-101. Phase 1 generally involves 20 to 100 healthy volunteers and focuses on

safety. Id. Phases 2 and 3 studies typically enroll more subjects and are designed to gather more

safety information on common short-term side effects and risks, examine the relationship

between the dose administered and the immune response, and generate critical efficacy data. Id.

In the case of the COVID-19 vaccines, those phases overlapped to speed the development

process; no phases were skipped. See 21 C.F.R. § 312.21 (“Although in general the phases are

conducted sequentially, they may overlap.”). Also, because COVID-19 continues to be

widespread, the vaccine clinical trials have been conducted more quickly than if the disease were

less common.

       17. The Comirnaty BLA was approved based on six months of safety and efficacy data

from two ongoing clinical trials, C4591001 and BNT162-01, as well as safety information from

the millions of vaccine doses administered under the EUA. C4591001 is a randomized, placebo-

controlled, combined Phase 1, 2, and 3 study that has enrolled more than 43,000 participants.

See Exhibit C, SBRA at 15. Initially, during Phases 2 and 3, study participants, as well as study

investigators/personnel collecting and evaluating safety and efficacy information were blinded to

the participants’ treatment assignment (observer-blinded).5 The study population for Phase 2/3



5
  “Blind” means that one or more parties of the clinical trial are kept unaware of the treatment
assignment. Study participants, investigators, and health care providers may all be blinded to the
treatment a participant is receiving, for example, whether a study participant is receiving the
                                                9
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 11 of 209 PAGEID #: 1146




includes participants at higher risk for acquiring COVID-19 and at higher risk of severe COVID-

19, such as participants working in the healthcare field, participants with autoimmune disease,

and participants with chronic but stable medical conditions such as hypertension, asthma,

diabetes, and infection with HIV, hepatitis B or hepatitis C. Id. at 16.

       18. In accordance with C4591001’s study protocol (the plan that describes the

objectives, design, methodology, statistical considerations, and organization of a clinical trial,

see Glossary of Clinical Trial Terms, available at

https://www.fda.gov/media/108378/download#:~:text=A%20document%20that%20describes%2

0the,in%20other%20protocol%20referenced%20documents), participants ages 16 and older in

C4591001 have been progressively “unblinded” since the December 2020 issuance of the EUA

for the Pfizer-BioNTech Covid-19 vaccine and offered the vaccine if they were randomized to

the placebo group. Exhibit C, SBRA at 17. The study was unblinded in stages, either when

participants were eligible according to local recommendations for vaccination or after conclusion

of their six-month post–Dose 2 study visit (whichever was earlier). Id. Despite the unblinding,

the data collected during the clinical trial still allowed FDA to evaluate the safety and

effectiveness of the vaccine, considering the data collected during the blinded stage and the other

information submitted supporting safety and effectiveness. Although C4591001 is ongoing and




study drug or a placebo. Glossary of Clinical Trial Terms, available at
https://www.fda.gov/media/108378/download#:~:text=A%20document%20that%20describes%2
0the,in%20other%20protocol%20referenced%20documents). Blinding may be done to prevent
skewing of the data by the placebo effect, by risk-seeking behavior, by unconscious bias or by
other factors. Blinding may impose a significant burden on the volunteer trial participants, and
medical ethicists generally agree that researchers are sometimes ethically bound to unblind a
study and permit placebo recipients to receive an effective treatment at some point. The
knowledge that treatment will be made available at some point to placebo recipients if it proves
to be effective also encourages participation in clinical trials. Overall, the decision regarding
when to “unblind” a clinical trial involves a delicate balance of competing priorities.
                                                 10
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 12 of 209 PAGEID #: 1147




safety will be evaluated for the duration of the study for blinded and unblinded participants,

because most adverse events linked to vaccination occur within two months of vaccination (see

Table VI. National Vaccine Injury Compensation Program. Rockville, MD: Health Resources

and Services Administration, 2017, https://www.hrsa.gov/sites/default/files/hrsa/vaccine-

compensation/vaccine-injury-table.pdf), FDA determined that a BLA for a COVID-19 vaccine

could be supported by six months of safety data.6 See FDA Guidance, Development and

Licensure of Vaccines to Prevent COVID-19, at 15 (June 2020), attached as Exhibit D. Because

the applicant submitted sufficient safety and efficacy data, the ongoing nature of the phase 3

clinical trial was not a basis for declining to license Comirnaty. The estimated completion date

for C4591001 is May 2023, see

https://www.clinicaltrials.gov/ct2/show/NCT04368728?term=C4591001&draw=2&rank=4).

       19. BNT162-01 an ongoing Phase 1/2, open-label, dose-finding study with 24

participants, designed to evaluate the safety and immunogenicity of several candidate vaccines,

including the dose that was approved by FDA on August 23, 2021. See Exhibit C, SBRA at 15.

Safety data from the study was included in the BLA for Comirnaty and supported selection of the

final vaccine candidate and dose level. Id. at 21. Although FDA did not refer the BLA to its




6
  Indeed, requesting six-months of follow-up safety data is not unique to Covid-19 vaccines.
See Guidance for Industry Clinical Data Needed to Support the Licensure of Pandemic Influenza
Vaccines, at 5,7, 10 (May 2007), available at https://www.fda.gov/files/vaccines, blood &
biologics/published/Guidance-for-Industry--Clinical-Data-Needed-to-Support-the-Licensure-of-
Pandemic-Influenza-Vaccines.pdf (generally recommending six-months of safety data to support
influenza vaccines). FDA explained the rationale for requesting at least six-months of safety
data to support licensure of Comirnaty in its response to a Citizen Petition submitted by the
Informed Consent Action Network (“ICAN”), raising concerns similar to those raised by
Plaintiffs. See Response to ICAN Citizen Petition, Docket FDA-2021-P-0529, at 9-10 (August
23, 2021), available at https://www.regulations.gov/document/FDA-2021-P-0529-1077.
                                                11
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 13 of 209 PAGEID #: 1148




advisory committee, the agency considered the committee’s feedback from prior meetings

considering the EUA for the Pfizer-BioNTech Covid-19 vaccine. Id. at 26-27.

       20. In addition to reviewing clinical data, before approving the Comirnaty BLA, FDA

assessed, among other things, its chemistry, manufacturing, and controls (“CMC”); nonclinical

and clinical pharmacology and nonclinical toxicology data; safety and pharmacovigilance data;

labeling; and manufacturing facilities. See 21 C.F.R. § 601.2 (requirements for contents of BLA

application). Along with the Summary Basis for Regulatory Action for Comirnaty, also

available on FDA’s website for the Comirnaty BLA review are three Statistical Reviews; an

assessment of Real World Evidence; two Pharmacovigilance Plan Reviews; two CMC Reviews,

Clinical Review; CBER Sentinel Program Sufficiency Review; Bioresearch Monitoring Review;

Benefit-Risk Assessment Review; Analytical Method Review; and Toxicology Review. See

https://www.fda.gov/vaccines-blood-biologics/comirnaty (click on Approval History, Letters,

Reviews, and Related Document – COMIRNATY).

       21. FDA approved Comirnaty based on data from the two clinical studies that

demonstrated that the overall efficacy rate in the 16 and older subject population was 91.1% for

the prevention of COVID-19 infection and between 95% and 100% for the avoidance of severe

infection. Exhibit C, SBRA at 19-20. FDA also considered the safety data from the two clinical

studies, in addition to safety information from EUA use. Id. at 22-25. In sum, based on its

review of the clinical, pre-clinical, and product-related data submitted in the Comirnaty BLA,

FDA determined that the product had a favorable benefit/risk balance, and was safe, pure, and

potent. The agency approved the license for Comirnaty on August 23, 2021. Id. at 27-28;

Exhibit A, FDA Approval Letter (Aug. 23, 2021).




                                               12
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 14 of 209 PAGEID #: 1149




       22. Comirnaty is subject to specified post market requirements and commitments. See

21 U.S.C. §§ 355(o)(2)(B)(ii) and 356b. Those requirements and commitments are: (1) Study

C4591009, entitled “A Non-Interventional Post-Approval Safety Study of the Pfizer-BioNTech

COVID-19 mRNA Vaccine in the United States,” to evaluate the occurrence of myocarditis and

pericarditis following administration of COMIRNATY; (2) Study C4591021, entitled “Post

Conditional Approval Active Surveillance Study Among Individuals in Europe Receiving the

Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine,” to evaluate the occurrence

of myocarditis and pericarditis following administration of COMIRNATY; (3) Study C4591021

sub-study to describe the natural history of myocarditis and pericarditis following administration

of COMIRNATY; (4) Study C4591036, a prospective cohort study with at least 5 years of

follow-up for potential long-term sequelae of myocarditis after vaccination; (5) Study C4591007

sub-study to prospectively assess the incidence of subclinical myocarditis following

administration of the second dose of COMIRNATY in a subset of participants 5 through 15

years of age; (6) Study C4591031 sub-study to prospectively assess the incidence of subclinical

myocarditis following administration of a third dose of COMIRNATY in a subset of participants

16 to 30 years of age; (7) Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine

Exposure during Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and

Infant Outcomes in the Organization of Teratology Information Specialists

(OTIS)/MotherToBaby Pregnancy Registry”; (8) Study C4591007 sub-study to evaluate the

immunogenicity and safety of lower dose levels of COMIRNATY in individuals 12 through < 30

years of age; (9) Study C4591012, entitled “Post-emergency Use Authorization Active Safety

Surveillance Study Among Individuals in the Veteran’s Affairs Health System Receiving Pfizer-

BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine”; (10) Study C4591014, entitled



                                                13
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 15 of 209 PAGEID #: 1150




“Pfizer-BioNTech COVID-19 BNT162b2 Vaccine Effectiveness Study - Kaiser Permanente

Southern California”; (11) Deferred pediatric study C4591001 to evaluate the safety and

effectiveness of COMIRNATY in children 12 years through 15 years of age; (12) Deferred

pediatric study C4591007 to evaluate the safety and effectiveness of COMIRNATY in children 6

months to < 12 years of age; and (13) Deferred pediatric study C4591023 to evaluate the safety

and effectiveness of COMIRNATY in infants < 6 months of age. Exhibit C, SBRA at 29-30.

       23. FDA also collects adverse event reports from the general population receiving the

vaccine via the Vaccine Adverse Event Reporting System (VAERS). VAERS is a national

passive surveillance vaccine safety database that receives unconfirmed reports of possible

adverse events following the use of a vaccine licensed or authorized in the United States.

VAERS reports provide a very important tool in monitoring vaccine safety, but these reports

alone cannot be used to determine if a vaccine caused or contributed to an adverse event or

illness. See VAERS Data Disclaimer, https://vaers.hhs.gov/data.html. There are particular

scientific limitations in comparing VAERS reports for COVID-19 vaccines with reports for

previously approved vaccines for other conditions. For example, under the EUAs for the

authorized COVID-19 vaccines, unlike for previously approved vaccines, vaccination providers

are required to report to VAERS serious adverse events following vaccination with the COVID-

19 vaccines “irrespective of attribution to vaccination” and regardless of how long after

vaccination the adverse event occurs. In addition, CDC deployed the smartphone-based active-

surveillance “v-safe” system only for the COVID-19 vaccines. V-safe has solicited adverse

event reports directly from patients, which are then included in VAERS, but this system has only

been deployed for COVID-19 vaccines and not for other vaccines. Finally, another potential

factor that limits comparisons between VAERS reports for COVID-19 vaccines and reports for



                                                14
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 16 of 209 PAGEID #: 1151




other vaccines is the concept of “stimulated reporting.” Because of extensive media coverage

and awareness of the public health emergency – and of the authorized COVID-19 vaccines and

their reported side effects – vaccine recipients, health care providers, and others are more likely

to report adverse events for these vaccines than for other vaccines that have been widely

available for longer periods of time. Although VAERS is not designed to assess causality, FDA

and CDC actively monitor VAERS reports and engage in additional studies or investigations if

VAERS monitoring suggests that a vaccine might be causing a health problem. See Children’s

Health Defense Petition Response, Docket FDA-2021-P-0460, at 17-28 (Aug. 23, 2021),

attached as Exhibit E.

       24. On the same day that FDA approved the license for Comirnaty, the agency

responded to a Citizen Petition submitted by the Coalition Advocating for Adequately Licensed

Medicines (CAALM) on July 23, 2021. CAALM Petition, Docket FDA-2021-P-0786, attached

as Exhibit F. Among other things, the petition requested that FDA require “substantial evidence

of clinical effectiveness that outweighs harms in special populations such as: infants, children,

and adolescents; those with past SARS-CoV-2 infection; immunocompromised; pregnant

women; nursing women; frail older adults; and individuals with cancer, autoimmune disorders,

and hematological conditions” before licensing a Covid-19 vaccine, and that there should be

information about “what kind of efficacy” exists for these populations, referring to “reduction in

risk of symptomatic COVID-19 vs. reduction in risk of hospitalization or death.” Id. at 2. Some

of the populations identified by petitioners participated in the clinical trials and additional

information will be obtained from post-marketing studies. For example, approximately 3% of

the clinical trial participants had evidence of prior COVID-19 infection (see Clinical Review

Memo at 35, referenced in paragraph 20, above). Additionally, although pregnant individuals



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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 17 of 209 PAGEID #: 1152




were excluded from participation in the trial and the applicant has committed to study the

vaccine in this population segment as described in paragraph 22 above, participants in both the

treatment and placebo arms of the trial became pregnant during the trial, and pregnancy

outcomes of spontaneous abortion, miscarriages and elective abortions was similar between the

vaccine and the placebo group. Id. at 84. In response to CAALM’s Citizen Petition, FDA

concluded that petitioners had not provided sufficient scientific justification for requiring

effectiveness data from clinical trials specific to each population group and specifically designed

to evaluate disease endpoints of varying severity, and petitioner’s argument was not consistent

with “scientifically valid methods of assessing safety and effectiveness,” such as

immunobridging or extrapolation across population groups. CAALM Petition Response, Docket

FDA-2021-P-0786, at 7-8, attached as Exhibit G.

       25. FDA also considered and responded to petitioner’s claims that people previously

affected with COVID-19 “are likely to have immunity to subsequent infections for as long or

longer than immunity conferred by vaccine” and “may also be at heightened risk for adverse

effects” from the vaccine, finding there was scientific uncertainty about the duration of immunity

from natural infection and that petitioners had not provided sufficient scientific support for the

latter claim. CAALM Petition Response at 8-9, n.31. In reaching that conclusion, FDA

evaluated each study put forward by petitioners and carefully explained why the studies did not

support petitioner’s arguments. Id.; see also Response to ICAN Citizen Petition at 13-15. To

the contrary, while there is scientific uncertainty about the duration of protection provided by

previous natural infection, evidence is emerging that people get better protection by being fully

vaccinated compared with having had COVID-19 natural infection. See CDC, COVID-19

Frequently Asked Questions, last updated August 2021, https://www.cdc.gov/coronavirus/2019-


                                                 16
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 18 of 209 PAGEID #: 1153




ncov/vaccines/faq.html; Boyton, R. and D Altmann, 2021, Risk of SARS-CoV-2 reinfection after

natural infection, Lancet, 397(10280):1161-1163, https://doi.org/10.1016/S0140-6736(21)00662-

0. In addition, FDA and CDC medical officers conduct on-going active surveillance of serious

adverse event reports for COVID-19 vaccines, including examination of narrative and other

fields of adverse event reports that allow participants to input relevant information, which could

include information about past COVID-19 infection. The reviewers conducting these

surveillance efforts have not identified patterns of adverse events associated with receiving a

COVID-19 vaccine after prior COVID-19 infection. See CAALM Petition Response at 8-9,

n.31. In summary, FDA has not observed a heightened risk of adverse events for people who

receive a COVID-19 vaccine after natural infection, either in the Comirnaty clinical study

population (which included participants with evidence of prior COVID-19 infection) or in

adverse event reports from the general population.

       26. Safety surveillance reports received by FDA and CDC identified the risk of

myocarditis and pericarditis following administration of Comirnaty. Comirnaty Summary Basis

for Regulatory Action at 23 (Nov. 8, 2021). Reporting rates for medical chart-confirmed

myocarditis/pericarditis in VAERS have been higher among males under 40 years of age than

among females and older males and have been highest in males 12-17 years of age (65 cases per

million doses administered as per CDC communication on August 20, 2021), particularly

following the second dose, and onset of symptoms within 7 days following vaccination. Id.

Although some cases of vaccine-associated myocarditis/pericarditis required intensive care

support, available data from short-term follow up suggest that the large majority of individuals

have had resolution of symptoms with conservative management. Id. Because vaccine-

associated myocarditis/pericarditis is the most clinically significant identified risk, FDA


                                                 17
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 19 of 209 PAGEID #: 1154




developed a quantitative model to compare the excess risk of myocarditis/pericarditis to the

expected benefits of preventing COVID-19 and associated hospitalizations, ICU admissions, and

deaths. Id. at 24. The model used an estimate of risk of myocarditis/pericarditis far higher than

the rates estimated from reports to VAERS and assessed the benefit over a range of COVID-19

prevalence scenarios. Id. For males and females 18 years of age and older, even before

accounting for morbidity prevented from non-hospitalized COVID-19, the model predicts that

the benefits of prevented COVID-19 hospitalizations, ICU admissions and deaths would clearly

outweigh the predicted excess risk of vaccine-associated myocarditis/pericarditis under all

conditions examined. Id.7 FDA further adopted measures to mitigate the risk of

myocarditis/pericarditis, including through labeling statements, continued safety surveillance,

postmarketing studies (as described in Paragraph 22), and prescriber information and public

health messaging. Id. Myocarditis remains a manageable adverse event with risks that are far

outweighed by the benefits of preventing COVID-19, including the resultant risks of death,

hospitalization, and myocarditis induced by COVID-19.

       27. In approving the BLA for Comirnaty, FDA applied its scientific expertise to evaluate

the data contained in the application and determined that Comirnaty’s benefits outweigh its risks

and that it is safe, pure, potent, and effective for its proposed use. In response to the urgent

public health emergency presented by COVID-19, FDA worked expeditiously to provide


7
 The same was true for females 16-17 years of age. Id. For males 16-17 years of age, the model
predicts that the benefits of prevented COVID-19 hospitalizations, ICU admissions and deaths
would clearly outweigh the predicted excess risk of vaccine-associated myocarditis/pericarditis
under the “most likely” scenario, but that predicted excess cases of vaccine-associated
myocarditis/pericarditis would exceed COVID-19 hospitalizations and deaths under the “worst
case” scenario. Id. However, this predicted numerical imbalance does not account for the
greater severity and length of hospitalization, on average, for COVID-19 compared with vaccine-
associated myocarditis/pericarditis. Id. It also does not account for the risks of non-hospitalized
COVID-19, or the societal benefits of vaccination. Id.
                                                  18
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 20 of 209 PAGEID #: 1155




guidance to entities seeking to develop vaccines for this disease, and to review the BLA for

Comirnaty once it was submitted to the agency to ensure it fully met the statutory standards for

approval, to further the objective of protecting the public health.

       28. An injunction affecting the licensure of Comirnaty would cause irreparable harm.

Safe and effective vaccines are currently the most powerful tool we have against the pandemic

and have been estimated to have already saved hundreds of thousands of lives. An injunction

based on the Court’s evaluation of the vaccine would call into question the data supporting

FDA’s determination that Comirnaty is safe and effective. The consequence could be to

undermine the vaccine development process, if vaccine developers see that courts are willing to

disregard FDA’s rigorous review process and remove products from the market on the basis of

mere allegations. In addition, another serious consequence could be to undermine the

government’s efforts to encourage vaccination in all eligible populations by exacerbating vaccine

hesitancy. One of the most significant barriers to widespread vaccination is vaccine hesitancy

and vaccine misinformation. It would also create considerable public and administrative

confusion as to the effect of the injunction because the identical formulation has been authorized

pursuant to an EUA. Even a more limited injunction, somehow limited to these plaintiffs, would

generate extraordinary doubt and confusion.




                                                 19
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 21 of 209 PAGEID #: 1156




       I declare under penalty of perjury that the foregoing is true and correct to the best of my

information, knowledge, and belief.

Dated: November 22, 2021

                                             ______________________________________
                                             Peter Marks, M.D., Ph.D.
                                             Director, Center for Biologics Evaluation
                                                    and Research
                                             United States Food and Drug Administration




                                                20
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 22 of 209 PAGEID #: 1157




          Marks Decl.
           Exhibit A
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 23 of 209 PAGEID #: 1158




Our STN: BL 125742/0                                                    BLA APPROVAL

BioNTech Manufacturing GmbH                                          August 23, 2021
Attention: Amit Patel
Pfizer Inc.
235 East 42nd Street
New York, NY 10017

Dear Mr. Patel:

Please refer to your Biologics License Application (BLA) submitted and received on
May 18, 2021, under section 351(a) of the Public Health Service Act (PHS Act) for
COVID-19 Vaccine, mRNA.

LICENSING

We are issuing Department of Health and Human Services U.S. License No. 2229 to
BioNTech Manufacturing GmbH, Mainz, Germany, under the provisions of section
351(a) of the PHS Act controlling the manufacture and sale of biological products. The
license authorizes you to introduce or deliver for introduction into interstate commerce,
those products for which your company has demonstrated compliance with
establishment and product standards.

Under this license, you are authorized to manufacture the product, COVID-19 Vaccine,
mRNA, which is indicated for active immunization to prevent coronavirus disease 2019
(COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2)
in individuals 16 years of age and older.

The review of this product was associated with the following National Clinical Trial
(NCT) numbers: NCT04368728 and NCT04380701.

MANUFACTURING LOCATIONS

Under this license, you are approved to manufacture COVID-19 Vaccine, mRNA drug
substance at Wyeth BioPharma Division of Wyeth Pharmaceuticals LLC, 1 Burtt Road,
Andover, Massachusetts. The final formulated product will be manufactured, filled,
labeled and packaged at Pfizer Manufacturing Belgium NV, Rijksweg 12, Puurs,
Belgium and at Pharmacia & Upjohn Company LLC, 7000 Portage Road, Kalamazoo,
Michigan. The diluent, 0.9% Sodium Chloride Injection, USP, will be manufactured at
Hospira, Inc., (b) (4)                                        and at Fresenius Kabi
USA, LLC, (b) (4)                                    .



U.S. Food & Drug Administration
10903 New Hampshire Avenue
Silver Spring, MD 20993
w ww.fda.gov
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 24 of 209 PAGEID #: 1159

Page 2 – STN BL 125742/0 – Elisa Harkins


You may label your product with the proprietary name, COMIRNATY, and market it in
2.0 mL glass vials, in packages of 25 and 195 vials.
We did not refer your application to the Vaccines and Related Biological Products
Advisory Committee because our review of information submitted in your BLA, including
the clinical study design and trial results, did not raise concerns or controversial issues
that would have benefited from an advisory committee discussion.

DATING PERIOD

The dating period for COVID-19 Vaccine, mRNA shall be 9 months from the date of
manufacture when stored between -90ºC to -60ºC (-130ºF to -76ºF). The date of
manufacture shall be no later than the date of final sterile filtration of the formulated
drug product (at Pharmacia & Upjohn Company LLC in Kalamazoo, Michigan, the date
of manufacture is defined as the date of sterile filtration for the final drug product; at
Pfizer Manufacturing Belgium NV in Puurs, Belgium, it is defined as the date of the (b) (4)

                   Following the final sterile filtration, (b)   (4)
                                                                          , no
reprocessing/reworking is allowed without prior approval from the Agency. The dating
period for your drug substance shall be (b) (4) when stored at (b) (4)            We have
approved the stability protocols in your license application for the purpose of extending
the expiration dating period of your drug substance and drug product under 21 CFR
601.12.

FDA LOT RELEASE

Please submit final container samples of the product in final containers together with
protocols showing results of all applicable tests. You may not distribute any lots of
product until you receive a notification of release from the Director, Center for Biologics
Evaluation and Research (CBER).

BIOLOGICAL PRODUCT DEVIATIONS

You must submit reports of biological product deviations under 21 CFR 600.14. You
should identify and investigate all manufacturing deviations promptly, including those
associated with processing, testing, packaging, labeling, storage, holding and
distribution. If the deviation involves a distributed product, may affect the safety, purity,
or potency of the product, and meets the other criteria in the regulation, you must
submit a report on Form FDA 3486 to the Director, Office of Compliance and Biologics
Quality, electronically through the eBPDR web application or at the address below.
Links for the instructions on completing the electronic form (eBPDR) may be found on
CBER's web site at https://www.fda.gov/vaccines-blood-biologics/report-problem-center-
biologics-evaluation-research/biological-product-deviations:

       Food and Drug Administration
       Center for Biologics Evaluation and Research
       Document Control Center
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 25 of 209 PAGEID #: 1160

Page 3 – STN BL 125742/0 – Elisa Harkins


       10903 New Hampshire Ave.
       WO71-G112
       Silver Spring, MD 20993-0002

MANUFACTURING CHANGES

You must submit information to your BLA for our review and written approval under 21
CFR 601.12 for any changes in, including but not limited to, the manufacturing, testing,
packaging or labeling of COVID-19 Vaccine, mRNA, or in the manufacturing facilities.

LABELING

We hereby approve the draft content of labeling including Package Insert, submitted
under amendment 74, dated August 21, 2021, and the draft carton and container labels
submitted under amendment 63, dated August 19, 2021.

CONTENT OF LABELING

As soon as possible, but no later than 14 days from the date of this letter, please submit
the final content of labeling (21 CFR 601.14) in Structured Product Labeling (SPL)
format via the FDA automated drug registration and listing system, (eLIST) as described
at http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/
default.htm. Content of labeling must be identical to the Package Insert submitted on
August 21, 2021. Information on submitting SPL files using eLIST may be found in the
guidance for industry SPL Standard for Content of Labeling Technical Qs and As at
http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guida
nces/UCM072392.pdf.

The SPL will be accessible via publicly available labeling repositories.

CARTON AND CONTAINER LABELS

Please electronically submit final printed carton and container labels identical to the
carton and container labels submitted on August 19, 2021, according to the guidance
for industry Providing Regulatory Submissions in Electronic Format — Certain Human
Pharmaceutical Product Applications and Related Submissions Using the eCTD
Specifications at https://www.fda.gov/regulatory-information/search-fda-guidance-
documents/providing-regulatory-submissions-electronic-format-certain-human-
pharmaceutical-product-applications.

All final labeling should be submitted as Product Correspondence to this BLA STN BL
125742 at the time of use and include implementation information on Form FDA 356h.


ADVERTISING AND PROMOTIONAL LABELING
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 26 of 209 PAGEID #: 1161

Page 4 – STN BL 125742/0 – Elisa Harkins


You may submit two draft copies of the proposed introductory advertising and
promotional labeling with Form FDA 2253 to the Advertising and Promotional Labeling
Branch at the following address:
                     Food and Drug Administration
                     Center for Biologics Evaluation and Research
                     Document Control Center
                     10903 New Hampshire Ave.
                     WO71-G112
                     Silver Spring, MD 20993-0002

You must submit copies of your final advertising and promotional labeling at the time of
initial dissemination or publication, accompanied by Form FDA 2253 (21 CFR
601.12(f)(4)).

All promotional claims must be consistent with and not contrary to approved labeling.
You should not make a comparative promotional claim or claim of superiority over other
products unless you have substantial evidence or substantial clinical experience to
support such claims (21 CFR 202.1(e)(6)).

ADVERSE EVENT REPORTING

You must submit adverse experience reports in accordance with the adverse
experience reporting requirements for licensed biological products (21 CFR 600.80),
and you must submit distribution reports at monthly intervals as described in 21 CFR
600.81. For information on adverse experience reporting, please refer to the guidance
for industry Providing Submissions in Electronic Format —Postmarketing Safety
Reports for Vaccines at https://www.fda.gov/regulatory-information/search-fda-
guidance-documents/providing-submissions-electronic-format-postmarketing-safety-
reports-vaccines. For information on distribution reporting, please refer to the guidance
for industry Electronic Submission of Lot Distribution Reports at
http://www.fda.gov/BiologicsBloodVaccines/GuidanceComplianceRegulatoryInformation
/Post-MarketActivities/LotReleases/ucm061966.htm.

PEDIATRIC REQUIREMENTS

Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
new active ingredients, new indications, new dosage forms, new dosing regimens, or
new routes of administration are required to contain an assessment of the safety and
effectiveness of the product for the claimed indication in pediatric patients unless this
requirement is waived, deferred, or inapplicable.

We are deferring submission of your pediatric studies for ages younger than 16 years
for this application because this product is ready for approval for use in individuals 16
years of age and older, and the pediatric studies for younger ages have not been
completed.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 27 of 209 PAGEID #: 1162

Page 5 – STN BL 125742/0 – Elisa Harkins


Your deferred pediatric studies required under section 505B(a) of the Federal Food,
Drug, and Cosmetic Act (FDCA) are required postmarketing studies. The status of
these postmarketing studies must be reported according to 21 CFR 601.28 and section
505B(a)(4)(C) of the FDCA. In addition, section 506B of the FDCA and 21 CFR 601.70
require you to report annually on the status of any postmarketing commitments or
required studies or clinical trials.

Label your annual report as an “Annual Status Report of Postmarketing Study
Requirement/Commitments” and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements under section 506B of the FDCA are released or
fulfilled. These required studies are listed below:

   1. Deferred pediatric Study C4591001 to evaluate the safety and effectiveness of
      COMIRNATY in children 12 years through 15 years of age.

       Final Protocol Submission: October 7, 2020

       Study Completion: May 31, 2023

       Final Report Submission: October 31, 2023

   2. Deferred pediatric Study C4591007 to evaluate the safety and effectiveness of
      COMIRNATY in infants and children 6 months to <12 years of age.

       Final Protocol Submission: February 8, 2021

       Study Completion: November 30, 2023

       Final Report Submission: May 31, 2024

   3. Deferred pediatric Study C4591023 to evaluate the safety and effectiveness of
      COMIRNATY in infants <6 months of age.

       Final Protocol Submission: January 31, 2022

       Study Completion: July 31, 2024

       Final Report Submission: October 31, 2024

Submit the protocols to your IND 19736, with a cross-reference letter to this BLA STN
BL 125742 explaining that these protocols were submitted to the IND. Please refer to
the PMR sequential number for each study/clinical trial and the submission number as
shown in this letter.
Submit final study reports to this BLA STN BL 125742. In order for your PREA PMRs to
be considered fulfilled, you must submit and receive approval of an efficacy or a labeling
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 28 of 209 PAGEID #: 1163

Page 6 – STN BL 125742/0 – Elisa Harkins


supplement. For administrative purposes, all submissions related to these required
pediatric postmarketing studies must be clearly designated as:

   •   Required Pediatric Assessment(s)

We note that you have fulfilled the pediatric study requirement for ages 16 through 17
years for this application.

POSTMARKETING REQUIREMENTS UNDER SECTION 505(o)

Section 505(o) of the Federal Food, Drug, and Cosmetic Act (FDCA) authorizes FDA to
require holders of approved drug and biological product applications to conduct
postmarketing studies and clinical trials for certain purposes, if FDA makes certain
findings required by the statute (section 505(o)(3)(A), 21 U.S.C. 355(o)(3)(A)).

We have determined that an analysis of spontaneous postmarketing adverse events
reported under section 505(k)(1) of the FDCA will not be sufficient to assess known
serious risks of myocarditis and pericarditis and identify an unexpected serious risk of
subclinical myocarditis.

Furthermore, the pharmacovigilance system that FDA is required to maintain under
section 505(k)(3) of the FDCA is not sufficient to assess these serious risks.

Therefore, based on appropriate scientific data, we have determined that you are
required to conduct the following studies:

   4. Study C4591009, entitled “A Non-Interventional Post-Approval Safety Study of
      the Pfizer-BioNTech COVID-19 mRNA Vaccine in the United States,” to evaluate
      the occurrence of myocarditis and pericarditis following administration of
      COMIRNATY.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: August 31, 2021

       Monitoring Report Submission: October 31, 2022

       Interim Report Submission: October 31, 2023

       Study Completion: June 30, 2025

       Final Report Submission: October 31, 2025

   5. Study C4591021, entitled “Post Conditional Approval Active Surveillance Study
      Among Individuals in Europe Receiving the Pfizer-BioNTech Coronavirus
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 29 of 209 PAGEID #: 1164

Page 7 – STN BL 125742/0 – Elisa Harkins


       Disease 2019 (COVID-19) Vaccine,” to evaluate the occurrence of myocarditis
       and pericarditis following administration of COMIRNATY.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: August 11, 2021

       Progress Report Submission: September 30, 2021

       Interim Report 1 Submission: March 31, 2022

       Interim Report 2 Submission: September 30, 2022

       Interim Report 3 Submission: March 31, 2023

       Interim Report 4 Submission: September 30, 2023

       Interim Report 5 Submission: March 31, 2024

       Study Completion: March 31, 2024

       Final Report Submission: September 30, 2024

   6. Study C4591021 substudy to describe the natural history of myocarditis and
      pericarditis following administration of COMIRNATY.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: January 31, 2022

       Study Completion: March 31, 2024

       Final Report Submission: September 30, 2024

   7. Study C4591036, a prospective cohort study with at least 5 years of follow-up for
      potential long-term sequelae of myocarditis after vaccination (in collaboration
      with Pediatric Heart Network).

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: November 30, 2021

       Study Completion: December 31, 2026
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 30 of 209 PAGEID #: 1165

Page 8 – STN BL 125742/0 – Elisa Harkins


       Final Report Submission: May 31, 2027

   8. Study C4591007 substudy to prospectively assess the incidence of subclinical
      myocarditis following administration of the second dose of COMIRNATY in a
      subset of participants 5 through 15 years of age.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this assessment according to the following schedule:

       Final Protocol Submission: September 30, 2021

       Study Completion: November 30, 2023

       Final Report Submission: May 31, 2024

   9. Study C4591031 substudy to prospectively assess the incidence of subclinical
      myocarditis following administration of a third dose of COMIRNATY in a subset of
      participants 16 to 30 years of age.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: November 30, 2021

       Study Completion: June 30, 2022

       Final Report Submission: December 31, 2022

Please submit the protocols to your IND 19736, with a cross-reference letter to this BLA
STN BL 125742 explaining that these protocols were submitted to the IND. Please refer
to the PMR sequential number for each study/clinical trial and the submission number
as shown in this letter.

Please submit final study reports to the BLA. If the information in the final study report
supports a change in the label, the final study report must be submitted as a
supplement to this BLA STN BL 125742. For administrative purposes, all submissions
related to these postmarketing studies required under section 505(o) must be submitted
to this BLA and be clearly designated as:

   •   Required Postmarketing Correspondence under Section 505(o)
   •   Required Postmarketing Final Report under Section 505(o)
   •   Supplement contains Required Postmarketing Final Report under Section
       505(o)

Section 505(o)(3)(E)(ii) of the FDCA requires you to report periodically on the status of
any study or clinical trial required under this section. This section also requires you to
periodically report to FDA on the status of any study or clinical trial otherwise
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 31 of 209 PAGEID #: 1166

Page 9 – STN BL 125742/0 – Elisa Harkins


undertaken to investigate a safety issue. In addition, section 506B of the FDCA and 21
CFR 601.70 require you to report annually on the status of any postmarketing
commitments or required studies or clinical trials.

You must describe the status in an annual report on postmarketing studies for this
product. Label your annual report as an Annual Status Report of Postmarketing
Requirements/Commitments and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements of section 506B of the FDCA are fulfilled or
released. The status report for each study should include:

   •   the sequential number for each study as shown in this letter;
   •   information to identify and describe the postmarketing requirement;
   •   the original milestone schedule for the requirement;
   •   the revised milestone schedule for the requirement, if appropriate;
   •   the current status of the requirement (i.e., pending, ongoing, delayed, terminated,
       or submitted); and,
   •   an explanation of the status for the study or clinical trial. The explanation should
       include how the study is progressing in reference to the original projected
       schedule, including, the patient accrual rate (i.e., number enrolled to date and the
       total planned enrollment).

As described in 21 CFR 601.70(e), we may publicly disclose information regarding
these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

We will consider the submission of your annual report under section 506B of the FDCA
and 21 CFR 601.70 to satisfy the periodic reporting requirement under section
505(o)(3)(E)(ii) provided that you include the elements listed in section 505(o) and 21
CFR 601.70. We remind you that to comply with section 505(o), your annual report
must also include a report on the status of any study or clinical trial otherwise
undertaken to investigate a safety issue. Failure to periodically report on the status of
studies or clinical trials required under section 505(o) may be a violation of FDCA
section 505(o)(3)(E)(ii) and could result in regulatory action.

POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
UNDER SECTION 506B

We acknowledge your written commitments as described in your letter of
August 21, 2021 as outlined below:

   10. Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine Exposure during
       Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and
       Infant Outcomes in the Organization of Teratology Information Specialists
       (OTIS)/MotherToBaby Pregnancy Registry.”

       Final Protocol Submission: July 1, 2021
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 32 of 209 PAGEID #: 1167

Page 10 – STN BL 125742/0 – Elisa Harkins



       Study Completion: June 30, 2025

       Final Report Submission: December 31, 2025

   11. Study C4591007 substudy to evaluate the immunogenicity and safety of lower
      dose levels of COMIRNATY in individuals 12 through <30 years of age.

       Final Protocol Submission: September 30, 2021

       Study Completion: November 30, 2023

       Final Report Submission: May 31, 2024

   12. Study C4591012, entitled “Post-emergency Use Authorization Active Safety
       Surveillance Study Among Individuals in the Veteran’s Affairs Health System
       Receiving Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine.”

       Final Protocol Submission: January 29, 2021

       Study Completion: June 30, 2023

       Final Report Submission: December 31, 2023

   13. Study C4591014, entitled “Pfizer-BioNTech COVID-19 BNT162b2 Vaccine
       Effectiveness Study - Kaiser Permanente Southern California.”

       Final Protocol Submission: March 22, 2021

       Study Completion: December 31, 2022

       Final Report Submission: June 30, 2023

Please submit clinical protocols to your IND 19736, and a cross-reference letter to this
BLA STN BL 125742 explaining that these protocols were submitted to the IND. Please
refer to the PMC sequential number for each study/clinical trial and the submission
number as shown in this letter.

If the information in the final study report supports a change in the label, the final study
report must be submitted as a supplement. Please use the following designators to
prominently label all submissions, including supplements, relating to these
postmarketing study commitments as appropriate:

   •   Postmarketing Commitment – Correspondence Study Update
   •   Postmarketing Commitment – Final Study Report
   •   Supplement contains Postmarketing Commitment – Final Study Report
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 33 of 209 PAGEID #: 1168

Page 11 – STN BL 125742/0 – Elisa Harkins


For each postmarketing study subject to the reporting requirements of 21 CFR 601.70,
you must describe the status in an annual report on postmarketing studies for this
product. Label your annual report as an Annual Status Report of Postmarketing
Requirements/Commitments and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements of section 506B of the FDCA are fulfilled or
released. The status report for each study should include:

   •   the sequential number for each study as shown in this letter;
   •   information to identify and describe the postmarketing commitment;
   •   the original schedule for the commitment;
   •   the status of the commitment (i.e., pending, ongoing, delayed, terminated, or
       submitted); and,
   •   an explanation of the status including, for clinical studies, the patient accrual rate
       (i.e., number enrolled to date and the total planned enrollment).

As described in 21 CFR 601.70(e), we may publicly disclose information regarding
these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

POST APPROVAL FEEDBACK MEETING

New biological products qualify for a post approval feedback meeting. Such meetings
are used to discuss the quality of the application and to evaluate the communication
process during drug development and marketing application review. The purpose is to
learn from successful aspects of the review process and to identify areas that could
benefit from improvement. If you would like to have such a meeting with us, please
contact the Regulatory Project Manager for this application.

Sincerely,




Mary A. Malarkey                                      Marion F. Gruber, PhD
Director                                              Director
Office of Compliance                                  Office of Vaccines
 and Biologics Quality                                 Research and Review
Center for Biologics                                  Center for Biologics
 Evaluation and Research                               Evaluation and Research
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 34 of 209 PAGEID #: 1169




          Marks Decl.
           Exhibit B
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 35 of 209 PAGEID #: 1170




                                                                                           November 19, 2021

Pfizer Inc.
Attention: Mr. Amit Patel
235 East 42nd St
New York, NY 10017

Dear Mr. Patel:

On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Federal Food, Drug, and Cosmetic
Act (the FD&C Act or the Act), the Secretary of the Department of Health and Human Services
(HHS) determined that there is a public health emergency that has a significant potential to affect
national security or the health and security of United States citizens living abroad, and that
involves the virus that causes Coronavirus Disease 2019 (COVID-19). 1 On the basis of such
determination, the Secretary of HHS on March 27, 2020, declared that circumstances exist
justifying the authorization of emergency use of drugs and biological products during the
COVID-19 pandemic, pursuant to Section 564 of the Act (21 U.S.C. 360bbb-3), subject to terms
of any authorization issued under that section. 2

On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
Authorization (EUA) for emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
prevention of COVID-19 for individuals 16 years of age and older pursuant to Section 564 of the
Act. FDA reissued the letter of authorization on: December 23, 2020, 3 February 25, 2021, 4 May
1
 U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration that
Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the FD&C Act, 21 U.S.C. § 360bbb-3,
February 4, 2020.
2
 U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
(April 1, 2020).
3
  In the December 23, 2020 revision, FDA removed reference to the number of doses per vial after dilution from the
letter of authorization, clarified the instructions for vaccination providers reporting to VAERS, and made other
technical corrections. FDA also revised the Fact Sheet for Healthcare Providers Administering Vaccine
(Vaccination Providers) to clarify the number of doses of vaccine per vial after dilution and the instructions for
reporting to VAERS. In addition, the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination
Providers) and the Fact Sheet for Recipients and Caregivers were revised to include additional information on safety
monitoring and to clarify information about the availability of other COVID-19 vaccines.
4
  In the February 25, 2021 revision, FDA allowed flexibility on the date of submission of monthly periodic safety
reports and revised the requirements for reporting of vaccine administration errors by Pfizer Inc. The Fact Sheet for
Health Care Providers Administering Vaccine (Vaccination Providers) was revised to provide an update to the
storage and transportation temperature for frozen vials, direct the provider to the correct CDC website for
information on monitoring vaccine recipients for the occurrence of immediate adverse reactions, to include data
from a developmental toxicity study, and add adverse reactions that have been identified during post authorization
use. The Fact Sheet for Recipients and Caregivers was revised to add adverse reactions that have been identified
during post authorization use.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 36 of 209 PAGEID #: 1171

Page 2 – Pfizer Inc.


10, 2021, 5 June 25, 2021, 6 and August 12, 2021. 7 On August 23, 2021, FDA approved
COMIRNATY (COVID-19 Vaccine, mRNA) 8 and reissued the letter in its entirety for both
Pfizer-BioNTech COVID‑19 Vaccine and certain uses of COMIRNATY (COVID-19 Vaccine,
mRNA). 9 Subsequently, FDA reissued the letter of authorization on September 22, 2021, 10
October 20, 2021, 11 and October 29, 2021. 12

5
  In the May 10, 2021 revision, FDA authorized Pfizer-BioNTech Vaccine for the prevention of COVID-19 in
individuals 12 through 15 years of age, as well as for individuals 16 years of age and older. In addition, FDA
revised the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers) to include the
following Warning: “Syncope (fainting) may occur in association with administration of injectable vaccines, in
particular in adolescents. Procedures should be in place to avoid injury from fainting.” In addition, the Fact Sheet
for Recipients and Caregivers was revised to instruct vaccine recipients or their caregivers to tell the vaccination
provider about fainting in association with a previous injection.
6
 In the June 25, 2021 revision, FDA clarified terms and conditions that relate to export of Pfizer-BioNTech
COVID‑19 Vaccine from the United States. In addition, the Fact Sheet for Healthcare Providers Administering
Vaccine (Vaccination Providers) was revised to include a Warning about myocarditis and pericarditis following
administration of the Pfizer-BioNTech COVID-19 Vaccine. The Fact Sheet for Recipients and Caregivers was
updated to include information about myocarditis and pericarditis following administration of the Pfizer-BioNTech
COVID‑19 Vaccine.
7
 In the August 12, 2021 revision, FDA authorized a third dose of the Pfizer-BioNTech COVID-19 Vaccine
administered at least 28 days following the two dose regimen of this vaccine in individuals 12 years of age or older
who have undergone solid organ transplantation, or individuals 12 years of age or older who are diagnosed with
conditions that are considered to have an equivalent level of immunocompromise.
8
  COMIRNATY (COVID-19 Vaccine, mRNA) was approved for active immunization to prevent COVID-19 caused
by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age and older.
9
  In the August 23, 2021 revision, FDA clarified that, subsequent to the FDA approval of COMIRNATY (COVID-
19 Vaccine, mRNA) for the prevention of COVID-19 for individuals 16 years of age and older, this EUA would
remain in place for the Pfizer-BioNTech COVID-19 Vaccine for the previously-authorized indication and uses. It
also authorized COMIRNATY (COVID-19 Vaccine, mRNA) under this EUA for certain uses that are not included
in the approved biologics license application (BLA). In addition, the Fact Sheet for Healthcare Providers
Administering Vaccine (Vaccination Providers) was revised to provide updates on expiration dating of the
authorized Pfizer-BioNTech COVID-19 Vaccine and updated language regarding warnings and precautions related
to myocarditis and pericarditis. The Fact Sheet for Recipients and Caregivers was updated as the Vaccine
Information Fact Sheet for Recipients and Caregivers, which comprises the Fact Sheet for the authorized Pfizer-
BioNTech COVID-19 Vaccine and information about the FDA-licensed vaccine, COMIRNATY (COVID-19
Vaccine, mRNA).
10
  In the September 22, 2021 revision, FDA authorized the administration of a single booster dose of COMIRNATY
(COVID-19 Vaccine, mRNA) or Pfizer-BioNTech COVID-19 Vaccine at least 6 months after completing the
primary series of this vaccine in individuals: 65 years of age and older; 18 through 64 years of age at high risk of
severe COVID-19; and 18 through 64 years of age whose frequent institutional or occupational exposure to SARS-
CoV-2 puts them at high risk of serious complications of COVID-19 including severe COVID-19.
11
  In the October 20, 2021 revision, FDA clarified eligibility for the booster dose of COMIRNATY (COVID-19
Vaccine, mRNA) or Pfizer-BioNTech COVID-19 Vaccine and authorized the administration of a single booster
dose of Pfizer-BioNTech COVID‑19 Vaccine or COMIRNATY (COVID-19 Vaccine, mRNA) as a heterologous
booster dose following completion of primary vaccination with another authorized COVID-19 vaccine. The eligible
population(s) and dosing interval for the heterologous booster dose are the same as those authorized for a booster
dose of the vaccine used for primary vaccination.
12
  In the October 29, 2021 revision, FDA authorized: 1) the use of Pfizer-BioNTech COVID-19 Vaccine for children
5 through 11 years of age; and 2) a manufacturing change to include an additional formulation of the Pfizer-
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 37 of 209 PAGEID #: 1172

Page 3 – Pfizer Inc.



On November 19, 2021, having concluded that revising this EUA is appropriate to protect the
public health or safety under Section 564(g)(2) of the Act, FDA is again reissuing the October
29, 2021 letter of authorization in its entirety with revisions incorporated to amend the EUA for
COMIRNATY (COVID-19 Vaccine, mRNA) and Pfizer-BioNTech COVID-19 Vaccine to
authorize use of the vaccine as a single booster dose in individuals 18 years of age or older, at
least 6 months after completing the primary series of this vaccine (i.e., as a homologous booster
dose), and to authorize use of the vaccine as a single booster dose following completion of
primary vaccination with another authorized COVID-19 vaccine (i.e., as a heterologous booster
dose) in individuals 18 years of age or older. The dosing interval for the heterologous booster
dose is the same as that authorized for a booster dose of the vaccine used for primary
vaccination. The authorized uses, as well as the two formulations that have three presentations,
are described in the Scope of Authorization section of this letter (Section II).

For the December 11, 2020 authorization for individuals 16 years of age and older, FDA
reviewed safety and effectiveness data from an ongoing Phase 1/2/3 trial in approximately
44,000 participants randomized 1:1 to receive Pfizer-BioNTech COVID‑19 Vaccine or saline
control. The trial enrolled participants 12 years of age and older. FDA’s review at that time
considered the safety and effectiveness data as they relate to the request for emergency use
authorization in individuals 16 years of age and older. FDA’s review of the available safety data
from 37,586 of the participants 16 years of age and older, who were followed for a median of
two months after receiving the second dose, did not identify specific safety concerns that would
preclude issuance of an EUA. FDA’s analysis of the available efficacy data from 36,523
participants 12 years of age and older without evidence of SARS-CoV-2 infection prior to 7 days
after dose 2 confirmed that the vaccine was 95% effective (95% credible interval 90.3, 97.6) in
preventing COVID-19 occurring at least 7 days after the second dose (with 8 COVID-19 cases in
the vaccine group compared to 162 COVID-19 cases in the placebo group). Based on these data,
and review of manufacturing information regarding product quality and consistency, FDA
concluded that it is reasonable to believe that Pfizer-BioNTech COVID‑19 Vaccine may be
effective. Additionally, FDA determined it is reasonable to conclude, based on the totality of the
scientific evidence available, that the known and potential benefits of Pfizer-BioNTech
COVID‑19 Vaccine outweigh the known and potential risks of the vaccine, for the prevention of
COVID-19 in individuals 16 years of age and older. Finally, on December 10, 2020, the
Vaccines and Related Biological Products Advisory Committee voted in agreement with this
conclusion.

For the May 10, 2021 authorization for individuals 12 through 15 years of age, FDA reviewed
safety and effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial that enrolled
approximately 46,000 participants, including 2,260 participants 12 through 15 years of age.

BioNTech COVID-19 Vaccine that uses tromethamine (Tris) buffer instead of phosphate buffered saline (PBS) used
in the originally authorized Pfizer-BioNTech COVID-19 Vaccine. The formulation of the Pfizer-BioNTech COVID-
19 Vaccine that uses Tris buffer was authorized in two presentations: 1) Multiple dose vials, with gray caps and
labels with a gray border, formulated to provide, without need for dilution, doses (each 0.3 mL dose containing 30
µg nucleoside-modified messenger RNA (modRNA)) for individuals 12 years of age and older; and 2) Multiple dose
vials, with orange caps and labels with an orange border, formulated to provide, after dilution, doses (each 0.2 mL
dose containing 10 µg modRNA) for individuals 5 through 11 years of age. The formulation that uses Tris buffer is
the only formulation that is authorized for use in individuals 5 through 11 years of age.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 38 of 209 PAGEID #: 1173

Page 4 – Pfizer Inc.


Trial participants were randomized 1:1 to receive Pfizer-BioNTech COVID-19 Vaccine or saline
control. FDA’s review of the available safety data from 2,260 participants 12 through 15 years
of age, who were followed for a median of 2 months after receiving the second dose, did not
identify specific safety concerns that would preclude issuance of an EUA. FDA’s analysis of
SARS-CoV-2 50% neutralizing antibody titers 1 month after the second dose of Pfizer-
BioNTech COVID-19 Vaccine in a subset of participants who had no serological or virological
evidence of past SARS-CoV-2 infection confirm that the geometric mean antibody titer in
participants 12 through 15 years of age was non-inferior to the geometric mean antibody titer in
participants 16 through 25 years of age. FDA’s analysis of available descriptive efficacy data
from 1,983 participants 12 through 15 years of age without evidence of SARS-CoV-2 infection
prior to 7 days after dose 2 confirm that the vaccine was 100% effective (95% confidence
interval 75.3, 100.0) in preventing COVID-19 occurring at least 7 days after the second dose
(with no COVID-19 cases in the vaccine group compared to 16 COVID-19 cases in the placebo
group). Based on these data, FDA concluded that it is reasonable to believe that Pfizer-
BioNTech COVID‑19 Vaccine may be effective in individuals 12 through 15 years of age.
Additionally, FDA determined it is reasonable to conclude, based on the totality of the scientific
evidence available, that the known and potential benefits of Pfizer-BioNTech COVID‑19
Vaccine outweigh the known and potential risks of the vaccine, for the prevention of COVID-19
in individuals 12 through 15 years of age.

For the August 12, 2021 authorization of a third primary series dose in individuals 12 years of
age or older who have undergone solid organ transplantation, or individuals 12 years of age or
older who are diagnosed with conditions that are considered to have an equivalent level of
immunocompromise, FDA reviewed safety and effectiveness data reported in two manuscripts
on solid organ transplant recipients. The first study was a single arm study conducted in 101
individuals who had undergone various solid organ transplant procedures (heart, kidney, liver,
lung, pancreas) a median of 97±8 months earlier. A third dose of the Pfizer-BioNTech COVID-
19 Vaccine was administered to 99 of these individuals approximately 2 months after they had
received a second dose. Levels of total SARS-CoV-2 binding antibodies meeting the pre-
specified criteria for success occurred four weeks after the third dose in 26/59 (44.0%) of those
who were initially considered to be seronegative and received a third dose of the Pfizer-
BioNTech COVID-19 Vaccine; 67/99 (68%) of the entire group receiving a third vaccination
were subsequently considered to have levels of antibodies indicative of a significant response. In
those who received a third vaccine dose, the adverse event profile was similar to that after the
second dose and no grade 3 or grade 4 events were reported. A supportive secondary study
describes a double-blind, randomized-controlled study conducted in 120 individuals who had
undergone various solid organ transplant procedures (heart, kidney, kidney-pancreas, liver, lung,
pancreas) a median of 3.57 years earlier (range 1.99-6.75 years). A third dose of a similar
messenger RNA vaccine (the Moderna COVID-19 vaccine) was administered to 60 individuals
approximately 2 months after they had received a second dose (i.e., doses at 0, 1 and 3 months);
saline placebo was given to 60 individuals for comparison. The primary outcome was anti-RBD
antibody at 4 months greater than 100 U/mL. This titer was selected based on NHP challenge
studies as well as a large clinical cohort study to indicate this antibody titer was protective.
Secondary outcomes were based on a virus neutralization assay and polyfunctional T cell
responses. Baseline characteristics were comparable between the two study arms as were pre-
intervention anti-RBD titer and neutralizing antibodies. Levels of total SARS-CoV-2 binding
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 39 of 209 PAGEID #: 1174

Page 5 – Pfizer Inc.


antibodies indicative of a significant response occurred four weeks after the third dose in 33/60
(55.0%) of the Moderna COVID-19 vaccinated group and 10/57 (17.5%) of the placebo
individuals. In the 60 individuals who received a third vaccine dose, the adverse event profile
was similar to that after the second dose and no grade 3 or grade 4 adverse events were reported.
Despite the moderate enhancement in antibody titers, the totality of data (i.e., supportive paper
by Hall et al. demonstrated efficacy of the product in the elderly and persons with co-
morbidities) supports the conclusion that a third dose of the Pfizer-BioNTech COVID-19
Vaccine may be effective in this population, and that the known and potential benefits of a third
dose of Pfizer-BioNTech COVID-19 Vaccine outweigh the known and potential risks of the
vaccine for immunocompromised individuals at least 12 years of age who have received two
doses of the Pfizer-BioNTech COVID-19 Vaccine and who have undergone solid organ
transplantation, or who are diagnosed with conditions that are considered to have an equivalent
level of immunocompromise.

For the September 22, 2021 authorization of a single booster dose administered at least 6 months
after completing the primary series in individuals: 65 years of age and older; 18 through 64 years
of age at high risk of severe COVID-19; and 18 through 64 years of age whose frequent
institutional or occupational exposure to SARS-CoV-2 puts them at high risk of serious
complications of COVID-19 including severe COVID-19, FDA reviewed safety and
effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial in which 329 participants
18 through 75 years of age received a booster dose of the Pfizer-BioNTech COVID-19 Vaccine
approximately 6 months (range 4.8 to 8.8 months) after completion of the primary series. FDA’s
review of the available safety data from 329 participants 18 through 75 years of age, who had
been followed for a median of 2.6 months after receiving the booster dose, did not identify
specific safety concerns that would preclude issuance of an EUA. The effectiveness of the
booster dose of the Pfizer-BioNTech COVID-19 Vaccine is based on an assessment of 50%
neutralizing antibody titers (NT50) against SARS-CoV-2 (USA_WA1/2020). FDA’s analysis of
SARS-CoV-2 NT50 one month after the booster dose compared to 1 month after the primary
series in study participants 18 through 55 years of age who had no serological or virological
evidence of past SARS-CoV-2 infection up to 1 month after the booster dose confirmed
noninferiority for both geometric mean ratio and difference in seroresponse rates. Based on the
totality of the scientific evidence available, including data from the above-referenced clinical
trial, FDA concluded that a booster dose the Pfizer-BioNTech COVID-19 Vaccine may be
effective, and that the known and potential benefits of a single booster dose at least 6 months
after completing the primary series outweigh the known and potential risks for individuals 65
years of age and older; individuals 18 through 64 years of age at high risk of severe COVID-19;
and individuals 18 through 64 years of age whose frequent institutional or occupational exposure
to SARS-CoV-2 puts them at high risk of serious complications of COVID-19 including severe
COVID-19.

For the October 20, 2021 authorization of a single booster dose as a heterologous booster dose
following completion of primary vaccination with another authorized COVID-19 vaccine, FDA
reviewed data from an ongoing Phase1/2 clinical trial in participants 19-85 years of age. In this
trial, adults who had completed primary vaccination with a Moderna COVID-19 Vaccine 2-dose
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 40 of 209 PAGEID #: 1175

Page 6 – Pfizer Inc.


series (N=151), a Janssen COVID-19 Vaccine single dose (N=156), or a Pfizer-BioNTech
COVID-19 Vaccine 2-dose series (N=151) at least 12 weeks prior to enrollment and who
reported no history of SARS-CoV-2 infection were randomized 1:1:1 to receive a booster dose of
one of three vaccines: Moderna COVID-19 Vaccine, Janssen COVID-19 Vaccine, or Pfizer-
BioNTech COVID-19 Vaccine. Adverse events were assessed through 28 days after the booster
dose. An overall review of adverse reactions reported following the Pfizer-BioNTech COVID-
19 Vaccine heterologous booster dose did not identify any new safety concerns, as compared
with adverse reactions reported following Pfizer-BioNTech COVID-19 Vaccine primary series
doses or homologous booster dose. Neutralizing antibody titers, as measured by a pseudovirus
neutralization assay using a lentivirus expressing the SARS-CoV-2 Spike protein with D614G
mutation, were assessed on Day 1 prior to administration of the booster dose and on Day 15 after
the booster dose. A booster response to the Pfizer-BioNTech COVID-19 Vaccine was
demonstrated regardless of primary vaccination. Based on the on the totality of the scientific
evidence available, including data from the above-referenced clinical trial, FDA concluded that a
heterologous booster dose of the Pfizer-BioNTech COVID-19 Vaccine may be effective, and
that the known and potential benefits of a heterologous booster dose of the Pfizer-BioNTech
COVID-19 Vaccine following completion of primary vaccination with another authorized
COVID-19 vaccine outweigh the known and potential risks.

For the October 29, 2021 authorization for the Pfizer-BioNTech COVID-19 Vaccine that uses
Tris buffer for individuals 5 through 11 years of age, FDA reviewed safety and effectiveness data
from an ongoing Phase 1/2/3 trial that has enrolled 4,695 participants 5 through 11 years of age,
of whom 3,109 participants received Pfizer-BioNTech COVID-19 Vaccine (containing 10 µg
modRNA) formulated using PBS buffer and approximately 1,538 participants received saline
control in Phase 2/3. FDA’s review of the available safety data from 3,109 participants 5
through 11 years of age who received Pfizer-BioNTech COVID-19 Vaccine (containing 10 µg
modRNA), including 1,444 who were followed for at least 2 months after receiving the second
dose, did not identify specific safety concerns that would preclude issuance of an EUA. SARS-
CoV-2 50% neutralizing antibody titers 1 month after the second dose were compared between a
subset of participants 5 through 11 years of age who received Pfizer-BioNTech COVID-19
Vaccine (containing 10 µg modRNA) and a subset of participants 16 through 25 years of age
who received Pfizer-BioNTech COVID-19 Vaccine (containing 30 µg modRNA) in the above-
referenced ongoing Phase 1/2/3 trial that enrolled approximately 46,000 participants.
Immunobridging analyses included a subset of participants from each study who had no
serological or virological evidence of past SARS-CoV-2 infection. FDA’s analyses confirm that
immunobridging criteria were met for both geometric mean antibody titers and seroresponse
rates. FDA’s analysis of available descriptive efficacy data from 1,968 participants 5 through 11
years of age without evidence of SARS-CoV-2 infection prior to 7 days after dose 2 confirm that
the vaccine was 90.7% effective (95% confidence interval 67.7, 98.3) in preventing COVID-19
occurring at least 7 days after the second dose (with 3 COVID-19 cases in the vaccine group
compared to 16 COVID-19 cases in the placebo group). Based on these data, FDA concluded
that it is reasonable to believe that Pfizer-BioNTech COVID‑19 Vaccine may be effective in
individuals 5 through 11 years of age. Additionally, FDA determined it is reasonable to
conclude, based on the totality of the scientific evidence available, that the known and potential
benefits of Pfizer-BioNTech COVID‑19 Vaccine outweigh the known and potential risks of the
vaccine, for the prevention of COVID-19 in individuals 5 through 11 years of age. Finally, on
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 41 of 209 PAGEID #: 1176

Page 7 – Pfizer Inc.


October 26, 2021, the Vaccines and Related Biological Products Advisory Committee voted in
agreement with this conclusion.

For the October 29, 2021 authorization of the manufacturing change to include an additional
formulation of the Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer instead of PBS
buffer used in the originally authorized Pfizer-BioNTech COVID-19 Vaccine, FDA reviewed
data on analytical comparability, which uses laboratory testing to demonstrate that a change in
product formulation is not expected to impact safety or effectiveness. In the case of Pfizer-
BioNTech COVID-19 Vaccine, multiple different release parameters were evaluated, ranging
from product appearance to size of the lipid-nanoparticle to the integrity of the modRNA in the
product. Release and characterization tests include tests for purity, composition, and critical
attributes of mRNA associated with the activity of the vaccine. In this case, analytical
comparability to the current PBS formulation of the Pfizer-BioNTech COVID-19 Vaccine was
demonstrated for the Tris formulation of the Pfizer-BioNTech COVID-19 Vaccine through a
combination of release and characterization testing.

For the November 19, 2021 authorization expanding the eligible population for the homologous
and heterologous booster doses to individuals 18 years of age and older, FDA reviewed data
provided by the sponsor and other data available to FDA, including real world evidence. Data
previously reviewed to support the September 22, 2021 authorization of a homologous booster
dose, together with new real-world data indicating increasing COVID-19 cases in the United
States, including among vaccinated individuals, and suggesting a decreased risk of myocarditis
following mRNA COVID-19 vaccine booster doses compared with second primary series doses,
support expansion of the population eligible for a Pfizer-BioNTech COVID-19 vaccine
homologous booster dose to include all individuals 18 years of age and older who completed the
primary series at least 6 months previously. Data previously reviewed to support the October 20,
2021 authorization of a heterologous booster dose, together with data and information to support
authorization of the EUA amendment to expand the eligible population for a homologous booster
dose of the Moderna COVID-19 Vaccine, support a revision to the Pfizer-BioNTech COVID-19
Vaccine EUA such that the eligible population for a heterologous booster dose of the Pfizer-
BioNTech COVID-19 Vaccine is all adults 18 years of age and older who completed primary
vaccination with another authorized COVID-19 vaccine. Based on the totality of the scientific
evidence available, FDA concludes that a homologous or heterologous booster dose of the
Pfizer-BioNTech COVID-19 Vaccine may be effective, and that the known and potential
benefits of the booster dose of the Pfizer-BioNTech Vaccine following completion of primary
vaccination with Pfizer-BioNTech COVID-19 Vaccine or another authorized COVID-19
vaccine, outweigh the known and potential risks in individuals 18 years of age and older.

Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
Act are met, I am authorizing the emergency use of Pfizer-BioNTech COVID‑19 Vaccine 13 for
the prevention of COVID-19, as described in the Scope of Authorization section of this letter
(Section II) and subject to the terms of this authorization. Additionally, as specified in


13
   Reference to the Pfizer-BioNTech COVID-19 Vaccine hereinafter refers to both the PBS and Tris formulations,
unless specifically delineated otherwise.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 42 of 209 PAGEID #: 1177

Page 8 – Pfizer Inc.


subsection III.BB., I am authorizing use of COMIRNATY (COVID-19 Vaccine, mRNA) under
this EUA as described in the Scope of Authorization section of this letter (Section II).

I.         Criteria for Issuance of Authorization

I have concluded that the emergency use of Pfizer-BioNTech COVID‑19 Vaccine 14 for the
prevention of COVID-19 when administered as described in the Scope of Authorization (Section
II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:

           A. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
              severe respiratory illness, to humans infected by this virus;

           B. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
              that Pfizer-BioNTech COVID‑19 Vaccine may be effective in preventing COVID-19,
              and that, when used under the conditions described in this authorization, the known and
              potential benefits of Pfizer-BioNTech COVID‑19 Vaccine when used to prevent
              COVID-19 outweigh its known and potential risks; and

           C. There is no adequate, approved, and available alternative 15 Pfizer-BioNTech
              COVID‑19 Vaccine to prevent COVID-19. 16

II.        Scope of Authorization

I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
limited as follows:

       •   Pfizer Inc. will supply Pfizer-BioNTech COVID‑19 Vaccine either directly or through
           authorized distributor(s), 17 to emergency response stakeholders 18 as directed by the U.S.

14
  In this section (Section I), references to Pfizer-BioNTech COVID‑19 Vaccine also apply to COMIRNATY
(COVID-19 Vaccine, mRNA).
15
  Although COMIRNATY (COVID-19 Vaccine, mRNA) is approved to prevent COVID-19 in individuals 16 years
of age and older, there is not sufficient approved vaccine available for distribution to this population in its entirety at
the time of reissuance of this EUA. Additionally, there are no COVID-19 vaccines that are approved to provide:
COVID-19 vaccination in individuals 5 through 15 years of age; a third primary series dose to certain
immunocompromised populations described in this EUA; a homologous booster dose to the authorized population
described in this EUA; or a heterologous booster dose following completion of primary vaccination with another
authorized COVID-19 vaccine.
16
     No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
17
   “Authorized Distributor(s)” are identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
distribute authorized Pfizer-BioNTech COVID‑19 Vaccine.
18
   For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates
that have legal responsibility and authority for responding to an incident, based on political or geographical
boundary lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public
health range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some
cases (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans),
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 43 of 209 PAGEID #: 1178

Page 9 – Pfizer Inc.


         government, including the Centers for Disease Control and Prevention (CDC) and/or
         other designee, for use consistent with the terms and conditions of this EUA; and
     •   Pfizer-BioNTech COVID‑19 Vaccine may be administered by a vaccination provider 19
         without an individual prescription for each vaccine recipient.

For use in individuals 12 years of age and older
     •   The Pfizer-BioNTech COVID-19 Vaccine formulations that use Tris and PBS buffers
         (each 0.3 mL dose containing 30 µg modRNA), as described in more detail under
         Product Description below, covered by this authorization will be administered by
         vaccination providers and used only to prevent COVID-19 in individuals 12 years of age
         and older with a two-dose primary regimen (3 weeks apart) and to provide:
             o a third primary series dose at least 28 days following the second dose to
                individuals 12 years of age or older who have undergone solid organ
                transplantation, or who are diagnosed with conditions that are considered to have
                an equivalent level of immunocompromise;
             o a single booster dose at least 6 months after completion of a primary series of the
                vaccine to individuals 18 years of age or older; and
             o a single booster dose as a heterologous booster dose following completion of
                primary vaccination with another authorized COVID-19 vaccine, in individuals
                18 years of age and older, where the dosing interval for the heterologous booster
                dose is the same as that authorized for a booster dose of the vaccine used for
                primary vaccination.

For use in individuals 5 through 11 years of age
     •   The Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer (each 0.2 mL dose
         containing 10 µg modRNA), as described in more detail under Product Description
         below, covered by this authorization will be administered by vaccination providers and



there might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
official capacity under the authority of the state health department to administer COVID-19 vaccines). In such
cases, it is expected that the conditions of authorization that apply to emergency response stakeholders and
vaccination providers will all be met.
19
   For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
officer) to administer or provide vaccination services in accordance with the applicable emergency response
stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
COVID-19 Vaccination Program. If the vaccine is exported from the United States, a “vaccination provider” is a
provider that is authorized to administer this vaccine in accordance with the laws of the country in which it is
administered. For purposes of this letter, “healthcare provider” also refers to a person authorized by the U.S.
Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical Countermeasures
against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy technicians and
State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g., HHS. Fourth
Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9, 2020).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 44 of 209 PAGEID #: 1179

Page 10 – Pfizer Inc.


        used only to prevent COVID-19 in individuals 5 through 11 years of age with a two-dose
        primary regimen (3 weeks apart).

For use in individuals who are 11 years old at the time of the first dose, and turn 12 years old
before the second dose:
    •   Notwithstanding the age limitations for use of the different formulations and
        presentations described above, individuals who will turn from 11 years to 12 years of age
        between their first and second dose in the primary regimen may receive, for either dose,
        either: (1) the Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer (each 0.2 mL
        dose containing 10 µg modRNA) covered by this authorization; or (2) the Pfizer-
        BioNTech COVID-19 Vaccine and COMIRNATY formulations provided in one of the
        presentations for individuals 12 years of age and older (each 0.3 mL dose containing 30
        µg modRNA) covered by this authorization.
    •   The vaccine will be administered by vaccination providers and used only to prevent
        COVID-19 with a two-dose primary regimen (3 weeks apart).

This authorization also covers the use of the licensed COMIRNATY (COVID-19 Vaccine,
mRNA) product when used to provide: (1) a two-dose primary regimen (0.3 mL each, 3 weeks
apart) for individuals 12 through 15 years of age; (2) a third primary series dose at least 28 days
following the second dose to individuals 12 years of age or older who have undergone solid
organ transplantation or who are diagnosed with conditions that are considered to have an
equivalent level of immunocompromise; (3) a single booster dose (0.3 mL) at least 6 months
after completion of the primary series to individuals 18 years of age and older; and (4) a single
booster dose (0.3 mL) as a heterologous booster dose following completion of primary
vaccination with another authorized COVID-19 vaccine in individuals 18 years of age and older,
where the dosing interval for the heterologous booster dose is the same as that authorized for a
booster dose of the vaccine used for primary vaccination.

The Pfizer-BioNTech COVID-19 Vaccine that uses PBS buffer and COMIRNATY (COVID-19
Vaccine, mRNA) have the same formulation. The products are legally distinct with certain
differences that do not impact safety or effectiveness. Accordingly, under this EUA, the Pfizer-
BioNTech COVID-19 Vaccine that uses PBS buffer and COMIRNATY (COVID-19 Vaccine,
mRNA) can be used interchangeably as described above, without presenting any safety or
effectiveness concerns.

As described below under Product Description, the Pfizer-BioNTech COVID-19 Vaccine
formulations that use Tris and PBS buffers, which are covered by this authorization for use in
individuals 12 years of age and older, contain the same modRNA and lipids, and the same
quantity of these ingredients, per 0.3 mL dose. The two formulations differ with respect to
certain inactive ingredients only and have been shown to be analytically comparable. 20

20
   Analytical comparability assessments use laboratory testing to demonstrate that a change in product formulation
does not impact a product's safety or effectiveness. For the Pfizer-BioNTech COVID-19 Vaccine, multiple different
release parameters were evaluated to assess the comparability of the modified formulation (the formulation with the
Tris buffer) to the originally-authorized formulation (the formulation with the PBS buffer). These release
parameters ranged from product appearance to size of the lipid-nanoparticle to the integrity of the modRNA in the
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 45 of 209 PAGEID #: 1180

Page 11 – Pfizer Inc.


Accordingly, under this EUA, for individuals 12 years of age and older, COMIRNATY
(COVID-19 Vaccine, mRNA) and these two formulations of the Pfizer-BioNTech COVID-19
Vaccine, when prepared according to their respective instructions for use, can be used
interchangeably without presenting any safety or effectiveness concerns.

Therefore, for individuals 12 years of age and older, COMIRNATY (COVID-19 Vaccine,
mRNA) is authorized to complete the primary regimen or provide a booster dose for individuals
who received their initial primary dose(s) with the Pfizer-BioNTech COVID-19 Vaccine
(whether the PBS formulation or Tris formulation), and the Pfizer-BioNTech COVID-19
Vaccine (whether the PBS formulation or Tris formulation) is authorized to complete the
primary regimen or provide a booster for individuals who received their initial primary dose(s)
with COMIRNATY (COVID-19 Vaccine, mRNA).

Product Description 21

The Pfizer-BioNTech COVID-19 Vaccine, supplied in two formulations, is provided in three
different vials:

For use in individuals 12 years of age and older
     •   The Pfizer-BioNTech COVID-19 Vaccine that uses PBS buffer is available in multiple
         dose vials with purple caps. It is formulated to provide, after dilution, 0.3 mL doses
         (each containing 30 µg modRNA) and can be used for all authorized indications in
         individuals 12 years of age and older.
     •   The Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer, and is available in
         multiple dose vials with gray caps and labels with gray borders, is formulated to provide,
         after dilution, 0.3 mL doses (each containing 30 µg modRNA) and can be used for all
         authorized indications in individuals 12 years of age and older.

For use in individuals 5 through 11 years of age
     •   The Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer, and is available in
         multiple dose vials with orange caps and labels with orange borders, is formulated to
         provide, after dilution, 0.2 mL doses (each containing 10 µg modRNA) and can be used
         for administration to individuals 5 through 11 years of age.

For use in individuals 12 years of age and older
The Pfizer-BioNTech COVID-19 Vaccine that uses PBS buffer (supplied in multiple dose vials
with purple caps) is supplied as a frozen suspension; each vial must be diluted with 1.8 mL of
sterile 0.9% Sodium Chloride Injection, USP prior to use to form the vaccine. The Pfizer-

product. Release and characterization tests include tests for purity, composition, and critical attributes of mRNA
associated with the activity of the vaccine. The combination of release testing and characterization testing
demonstrated that the modified formulation is analytically comparable to the original formulation.

 For COMIRNATY (COVID-19 Vaccine, mRNA) product description, please see the COMIRNATY (COVID-19
21

Vaccine, mRNA) prescribing information, found here: https://www.fda.gov/media/151707/download.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 46 of 209 PAGEID #: 1181

Page 12 – Pfizer Inc.


BioNTech COVID-19 Vaccine does not contain a preservative. Each 0.3 mL dose of the Pfizer-
BioNTech COVID-19 Vaccine contains 30 µg of modRNA encoding the viral spike (S)
glycoprotein of SARS-CoV-2. Each dose of the Pfizer-BioNTech COVID-19 Vaccine also
includes the following ingredients: lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-
diyl)bis(2-hexyldecanoate), 0.05 mg 2[(polyethylee glycol)-2000]-N,N-ditetradecylacetamide,
0.09 mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.2 mg cholesterol), 0.01 mg
potassium chloride, 0.01 mg monobasic potassium phosphate, 0.36 mg sodium chloride, 0.07 mg
dibasic sodium phosphate dihydrate, and 6 mg sucrose. The diluent (0.9% Sodium Chloride
Injection) contributes an additional 2.16 mg sodium chloride per dose.

The Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer and that is supplied in multiple
dose vials with gray caps is supplied as a frozen suspension and should not be diluted. The
Pfizer-BioNTech COVID-19 Vaccine does not contain a preservative. Each 0.3 mL dose of the
Pfizer-BioNTech COVID-19 Vaccine contains 30 µg of a modRNA encoding the viral spike (S)
glycoprotein of SARS-CoV-2. Each dose of the Pfizer-BioNTech COVID-19 Vaccine also
includes the following ingredients: lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-
diyl)bis(2-hexyldecanoate), 0.05 mg 2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide,
0.09 mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.19 mg cholesterol), 0.06 mg
tromethamine, 0.4 mg tromethamine hydrochloride, and 31 mg sucrose.

For use in individuals 5 through 11 years of age
The Pfizer-BioNTech COVID-19 Vaccine that uses Tris buffer and that is supplied in multiple
dose vials with orange caps is supplied as a frozen suspension; each vial must be diluted with
1.3 mL of sterile 0.9% Sodium Chloride Injection, USP prior to use to form the vaccine. Each
dose of the Pfizer-BioNTech COVID-19 Vaccine contains 10 µg of a modRNA encoding the
viral spike (S) glycoprotein of SARS-CoV-2. Each dose of the Pfizer-BioNTech COVID-19
Vaccine also includes the following ingredients: lipids (0.14 mg (4-
hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.02 mg 2[(polyethylene
glycol)-2000]-N,N-ditetradecylacetamide, 0.03 mg 1,2-distearoyl-sn-glycero-3-phosphocholine,
and 0.06 mg cholesterol), 10.3 mg sucrose, 0.02 mg tromethamine, and 0.13 mg tromethamine
hydrochloride. The diluent (0.9% Sodium Chloride Injection, USP) contributes 0.9 mg sodium
chloride per dose.

The manufacture of the authorized Pfizer-BioNTech COVID‑19 Vaccine is limited to those
facilities identified and agreed upon in Pfizer’s request for authorization.

The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
“Emergency Use Authorization.” The Pfizer-BioNTech COVID‑19 Vaccine is authorized to be
distributed, stored, further redistributed, and administered by emergency response stakeholders
when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
fact that the vial and carton labels may not contain information that otherwise would be required
under the FD&C Act.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 47 of 209 PAGEID #: 1182

Page 13 – Pfizer Inc.


Pfizer-BioNTech COVID‑19 Vaccine is authorized for emergency use with the following
product-specific information required to be made available to vaccination providers and
recipients, respectively (referred to as “authorized labeling”):

     •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
         Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
         Coronavirus Disease 2019 (COVID-19) - For 12 Years of Age and Older Dilute Before
         Use
     •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
         Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
         Coronavirus Disease 2019 (COVID-19) - For 12 Years of Age and Older Do Not Dilute
     •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
         Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
         Coronavirus Disease 2019 (COVID-19) - For 5 Through 11 Years of Age Dilute Prior To
         Use
     •   Vaccine Information Fact Sheet for Recipients and Caregivers About COMIRNATY
         (COVID-19 Vaccine, mRNA) and Pfizer-BioNTech COVID-19 Vaccine to Prevent
         Coronavirus Disease (COVID-19) For Use in Individuals 12 Years of Age and Older
     •   Vaccine Information Fact Sheet for Recipients and Caregivers About the Pfizer-
         BioNTech COVID-19 Vaccine to Prevent Coronavirus Disease (COVID-19) for Use in
         Individuals 5 Through 11 Years of Age
I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
the known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine,22 when used to
prevent COVID-19 and used in accordance with this Scope of Authorization (Section II),
outweigh its known and potential risks.

I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
evidence available to FDA, that it is reasonable to believe that Pfizer-BioNTech COVID‑19
Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

Having reviewed the scientific information available to FDA, including the information
supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
forth in Section 564(c) of the Act concerning safety and potential effectiveness.

The emergency use of Pfizer-BioNTech COVID‑19 Vaccine under this EUA must be consistent
with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
(Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and
under the circumstances set forth in the Secretary of HHS’s determination under Section
564(b)(1)(C) described above and the Secretary of HHS’s corresponding declaration under Section
564(b)(1), Pfizer-BioNTech COVID‑19 Vaccine is authorized to prevent COVID-19 as described in


22
  The conclusions supporting authorization stated in this section (Section II) also apply to COMIRNATY (COVID-
19 Vaccine, mRNA).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 48 of 209 PAGEID #: 1183

Page 14 – Pfizer Inc.


the Scope of Authorization (Section II) under this EUA, despite the fact that it does not meet certain
requirements otherwise required by applicable federal law.

III.     Conditions of Authorization

Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

Pfizer Inc. and Authorized Distributor(s)

            A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
               BioNTech COVID‑19 Vaccine is distributed, as directed by the U.S. government,
               including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
               will be made available to vaccination providers, recipients, and caregivers consistent
               with the terms of this letter.

            B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
               chain is maintained until delivered to emergency response stakeholders’ receipt sites.

            C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
               stakeholders (e.g., emergency response stakeholders, authorized distributors, and
               vaccination providers) involved in distributing or receiving authorized Pfizer-
               BioNTech COVID‑19 Vaccine. Pfizer Inc. will provide to all relevant stakeholders a
               copy of this letter of authorization and communicate any subsequent amendments that
               might be made to this letter of authorization and its authorized labeling.

            D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
               video regarding vaccine handling, storage/cold-chain management, preparation,
               disposal) that are consistent with the authorized emergency use of the vaccine as
               described in the letter of authorization and authorized labeling, without FDA’s review
               and concurrence, when necessary to meet public health needs during an emergency.
               Any instructional and educational materials that are inconsistent with the authorized
               labeling are prohibited.

            E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
               Sheets for the vaccine. Any request for changes to this EUA must be submitted to
               Office of Vaccines Research and Review (OVRR)/Center for Biologics Evaluation
               and Research (CBER). Such changes require appropriate authorization prior to
               implementation.23

23
   The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
require data collection or study. For changes to the authorization, including the authorized labeling, of the type
listed in (3), (6), or (7), review and concurrence is required from the Preparedness and Response Team
(PREP)/Office of the Center Director (OD)/CBER and the Office of Counterterrorism and Emerging Threats
(OCET)/Office of the Chief Scientist (OCS).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 49 of 209 PAGEID #: 1184

Page 15 – Pfizer Inc.


          F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
             • Serious adverse events (irrespective of attribution to vaccination);
             • Cases of Multisystem Inflammatory Syndrome in children and adults; and
             • Cases of COVID-19 that result in hospitalization or death, that are reported to
                 Pfizer Inc.
             These reports should be submitted to VAERS as soon as possible but no later than
             15 calendar days from initial receipt of the information by Pfizer Inc.

          G. Pfizer Inc. must submit to Investigational New Drug application (IND) number
             19736 periodic safety reports at monthly intervals in accordance with a due date
             agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER
             beginning after the first full calendar month after authorization. Each periodic safety
             report is required to contain descriptive information which includes:
             • A narrative summary and analysis of adverse events submitted during the
                 reporting interval, including interval and cumulative counts by age groups, special
                 populations (e.g., pregnant women), and adverse events of special interest;
             • A narrative summary and analysis of vaccine administration errors, whether or
                 not associated with an adverse event, that were identified since the last reporting
                 interval;
             • Newly identified safety concerns in the interval; and
             • Actions taken since the last report because of adverse experiences (for example,
                 changes made to Healthcare Providers Administering Vaccine (Vaccination
                 Providers) Fact Sheet, changes made to studies or studies initiated).

          H. No changes will be implemented to the description of the product, manufacturing
             process, facilities, or equipment without notification to and concurrence by FDA.

          I. All manufacturing facilities will comply with Current Good Manufacturing Practice
             requirements.

          J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
             product lot at least 48 hours prior to vaccine distribution. The CoA will include the
             established specifications and specific results for each quality control test performed
             on the final drug product lot.

          K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports, starting in
             July 2021, that include a listing of all Drug Substance and Drug Product lots
             produced after issuance of this authorization. This report must include lot number,
             manufacturing site, date of manufacture, and lot disposition, including those lots that
             were quarantined for investigation or those lots that were rejected. Information on the
             reasons for lot quarantine or rejection must be included in the report.

          L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
             Pfizer-BioNTech COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity,
             release date).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 50 of 209 PAGEID #: 1185

Page 16 – Pfizer Inc.


          M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
             records maintained in connection with this EUA.

          N. Pfizer Inc. will conduct post-authorization observational studies to evaluate the
             association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
             adverse events of special interest, including myocarditis and pericarditis, along with
             deaths and hospitalizations, and severe COVID-19. The study population should
             include individuals administered the authorized Pfizer-BioNTech COVID-19
             Vaccine under this EUA in the general U.S. population (5 years of age and older),
             individuals who receive a booster dose, populations of interest such as healthcare
             workers, pregnant women, immunocompromised individuals, subpopulations with
             specific comorbidities. The studies should be conducted in large scale databases with
             an active comparator. Pfizer Inc. will provide protocols and status update reports to
             the IND 19736 with agreed-upon study designs and milestone dates.

Emergency Response Stakeholders

          O. Emergency response stakeholders will identify vaccination sites to receive authorized
             Pfizer-BioNTech COVID‑19 Vaccine and ensure its distribution and administration,
             consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.

          P. Emergency response stakeholders will ensure that vaccination providers within their
             jurisdictions are aware of this letter of authorization, and the terms herein and any
             subsequent amendments that might be made to the letter of authorization, instruct
             them about the means through which they are to obtain and administer the vaccine
             under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
             Providers Administering Vaccine (Vaccination Providers) and Vaccine Information
             Fact Sheet for Recipients and Caregivers] is made available to vaccination providers
             through appropriate means (e.g., e-mail, website).

          Q. Emergency response stakeholders receiving authorized Pfizer-BioNTech COVID‑19
             Vaccine will ensure that appropriate storage and cold chain is maintained.

Vaccination Providers

          R. Vaccination providers will administer the vaccine in accordance with the
             authorization and will participate and comply with the terms and training required by
             CDC’s COVID-19 Vaccination Program.

          S. Vaccination providers will provide the Vaccine Information Fact Sheet for Recipients
             and Caregivers to each individual receiving vaccination and provide the necessary
             information for receiving their second dose and/or third dose.

          T. Vaccination providers administering the vaccine must report the following
             information associated with the administration of the vaccine of which they become
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 51 of 209 PAGEID #: 1186

Page 17 – Pfizer Inc.


              aware to VAERS in accordance with the Fact Sheet for Healthcare Providers
              Administering Vaccine (Vaccination Providers):
              • Vaccine administration errors whether or not associated with an adverse event
              • Serious adverse events (irrespective of attribution to vaccination)
              • Cases of Multisystem Inflammatory Syndrome in children and adults
              • Cases of COVID-19 that result in hospitalization or death
              Complete and submit reports to VAERS online at
              https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
              words “Pfizer-BioNTech COVID‑19 Vaccine EUA” in the description section of
              the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
              7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
              by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.

          U. Vaccination providers will conduct any follow-up requested by the U.S
             government, including CDC, FDA, or other designee, regarding adverse events to
             the extent feasible given the emergency circumstances.

          V. Vaccination providers will monitor and comply with CDC and/or emergency
             response stakeholder vaccine management requirements (e.g., requirements
             concerning obtaining, tracking, and handling vaccine) and with requirements
             concerning reporting of vaccine administration data to CDC.

          W. Vaccination providers will ensure that any records associated with this EUA are
             maintained until notified by FDA. Such records will be made available to CDC,
             and FDA for inspection upon request.
Conditions Related to Printed Matter, Advertising, and Promotion

          X. All descriptive printed matter, advertising, and promotional material, relating to the
             use of the Pfizer-BioNTech COVID‑19 Vaccine shall be consistent with the
             authorized labeling, as well as the terms set forth in this EUA, and meet the
             requirements set forth in Section 502(a) and (n) of the FD&C Act and FDA
             implementing regulations.

          Y. All descriptive printed matter, advertising, and promotional material relating to the
             use of the Pfizer-BioNTech COVID‑19 Vaccine clearly and conspicuously shall state
             that:
             • This product has not been approved or licensed by FDA, but has been authorized
                 for emergency use by FDA, under an EUA to prevent Coronavirus Disease 2019
                 (COVID-19) for use either in individuals 12 years of age and older, or in
                 individuals 5 through 11 years of age, as appropriate; and
             • The emergency use of this product is only authorized for the duration of the
                 declaration that circumstances exist justifying the authorization of emergency use
                 of the medical product under Section 564(b)(1) of the FD&C Act unless the
                 declaration is terminated or authorization revoked sooner.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 52 of 209 PAGEID #: 1187

Page 18 – Pfizer Inc.



Condition Related to Export

            Z. If the Pfizer-BioNTech COVID‑19 Vaccine is exported from the United States,
               conditions C, D, and O through Y do not apply, but export is permitted only if 1) the
               regulatory authorities of the country in which the vaccine will be used are fully
               informed that this vaccine is subject to an EUA and is not approved or licensed by
               FDA and 2) the intended use of the vaccine will comply in all respects with the laws
               of the country in which the product will be used. The requirement in this letter that
               the authorized labeling (i.e., Fact Sheets) be made available to vaccination providers,
               recipients, and caregivers in condition A will not apply if the authorized labeling (i.e.,
               Fact Sheets) are made available to the regulatory authorities of the country in which
               the vaccine will be used.

Conditions With Respect to Use of Licensed Product

            AA. COMIRNATY (COVID-19 Vaccine, mRNA) is licensed for individuals 16 years of
              age and older. There remains, however, a significant amount of Pfizer-BioNTech
              COVID-19 Vaccine that was manufactured and labeled in accordance with this
              emergency use authorization. The authorization remains in place with respect to the
              Pfizer-BioNTech COVID-19 Vaccine for this population.

            BB. This authorization also covers the use of the licensed COMIRNATY (COVID-19
               Vaccine, mRNA) product when used to provide: (1) a two-dose primary regimen for
               individuals 12 through 15 years of age; 24 (2) a third primary series dose to individuals
               12 years of age or older who have undergone solid organ transplantation or who are
               diagnosed with conditions that are considered to have an equivalent level of
               immunocompromise; (3) a single booster dose at least 6 months after completing the
               primary series to individuals 18 years of age or older; and (4) a heterologous booster
               dose in individuals 18 years of age and older who have completed primary
               vaccination with a different authorized COVID-19 vaccine as described in the Scope
               of Authorization (Section II) under this EUA. Conditions A through W in this letter
               apply when COMIRNATY (COVID-19 Vaccine, mRNA) is provided for the uses
               described in this subsection III.BB., except that product manufactured and labeled in
               accordance with the approved BLA is deemed to satisfy the manufacturing, labeling,
               and distribution requirements of this authorization.

IV.     Duration of Authorization

This EUA will be effective until the declaration that circumstances exist justifying the
authorization of the emergency use of drugs and biological products during the COVID-19
pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
564(g) of the Act.


24
  As noted above, this includes the first dose of a two-dose primary regimen for individuals who are 11 years old
and will turn 12 years of age between their first and second dose in the primary regimen.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 53 of 209 PAGEID #: 1188

Page 19 – Pfizer Inc.




                                     Sincerely,

                                     --/S/--

                                     ____________________________
                                     Jacqueline A. O'Shaughnessy, Ph.D.
                                     Acting Chief Scientist
                                     Food and Drug Administration

Enclosures
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 54 of 209 PAGEID #: 1189




          Marks Decl.
           Exhibit C
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 55 of 209 PAGEID #: 1190


                     Summary Basis for Regulatory Action
 Date:                      11/8/2021
 From:                      Ramachandra Naik, PhD, Review Committee Chair,
                            DVRPA/OVRR



 BLA STN:                   125742/0
                            BioNTech Manufacturing GmbH (in partnership with
 Applicant:
                            Pfizer, Inc.)
 Submission Receipt
                            May 18, 2021
 Date:
 PDUFA Action Due Date:     January 16, 2022
 Proper Name:               COVID-19 Vaccine, mRNA
 Proprietary Name:          COMIRNATY
                            Active immunization to prevent coronavirus disease
                            2019 (COVID-19) caused by severe acute respiratory
 Indication:
                            syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
                            years of age and older

Recommended Action: The Review Committee recommends approval of this product.




______________________________________________________________________
Director, Office of Vaccines Research and Review




______________________________________________________________________
Director, Office of Compliance and Biologics Quality
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 56 of 209 PAGEID #: 1191



              Discipline Reviews                       Reviewer / Consultant - Office/Division
 CMC
  • CMC Product (OVRR)                             Xiao Wang, PhD, OVRR/DVP
                                                   Anissa Cheung, MSc, OVRR/DVP
   •   Facilities Review (OCBQ/DMPQ)               Kathleen Jones, PhD, OCBQ/DMPQ
                                                   Laura Fontan, PhD, OCBQ/DMPQ
                                                   Gregory Price, PhD, OCBQ/DMPQ
                                                   CDR Donald Ertel, MS, OCBQ/DMPQ
                                                   Nicole Li, MS, OCBQ/DMPQ
                                                   Christian Lynch, OCBQ/DMPQ
                                                   Alifiya Ghadiali, OCBQ/DMPQ
   •   Facilities Inspection (OCBQ/DMPQ and        Zhongren Wu, PhD, OCBQ/DMPQ
       OVRR/DVP)                                   Ekaterina Allen, PhD, OCBQ/DMPQ

   •   Lot Release, QC, Test Methods, Product      Hsiaoling Wang, PhD, OCBQ/DBSQC
       Quality (OCBQ/DBSQC)                        Emnet Yitbarek, PhD, OCBQ/DBSQC
                                                   Karla Garcia, MS, OCBQ/DBSQC
                                                   Anil Choudhary, PhD, MBA, OCBQ/DBSQC
                                                   Esmeralda Alvarado Facundo, PhD, OCBQ/DBSQC
                                                   Marie Anderson, PhD, OCBQ/DBSQC
                                                   Cheryl Hulme, OCBQ/DMPQ
 Clinical
   • Clinical (OVRR)                               Susan Wollersheim, MD, OVRR/DVRPA
                                                   CAPT Ann T. Schwartz, MD, OVRR/DVRPA
                                                   Lucia Lee, MD, OVRR/DVRPA
   •   Postmarketing Safety, Epidemiological       Deborah Thompson, MD, MSPH, OBE/DE
       Review (OBE/DE)
   •   Real World Evidence                         Yun Lu, PhD, OBE
   •   Benefit-Risk Assessment                     Hong Yang, PhD, OBE
                                                   Osman Yogurtcu, PhD, OBE
                                                   Patrick Funk, PhD, OBE
   • BIMO                                          Haecin Chun, MT (ASCP) SSB, MS, OCBQ/DIS
 Statistical
   • Clinical Data (OBE/DB)                        Lei Huang, PhD, OBE/DB
                                                   Ye Yang, PhD, OBE/DB
   • Nonclinical Data                              Xinyu Tang, PhD, OBE/DB
 Nonclinical/Pharmacology/Toxicology
   • Toxicology (OVRR)
                                                   Nabil Al-Humadi, PhD, OVRR/DVRPA
   • Developmental Toxicology (OVRR)
 Labeling
   • Promotional (OCBQ/APLB)                       CAPT Oluchi Elekwachi, PharmD, MPH,
                                                   OCBQ/APLB
   • Carton and Container Labels                   Daphne Stewart, OVRR/DVRPA
   • Labeling Review                               Laura Gottschalk, PhD, OVRR/DVRPA
   • Consults (CDISC, Datasets)                    Brenda Baldwin, PhD, OVRR/DVRPA
   • Documentation Review                          CAPT Michael Smith, PhD, OVRR/DVRPA
 Advisory Committee Summary                        No Advisory Committee meeting held




                                               2
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 57 of 209 PAGEID #: 1192


                                                   Table of Contents
1.   Introduction .................................................................................................................3
2.   Background ................................................................................................................4
3.   Chemistry, Manufacturing and Controls (CMC) ..........................................................6
        a.       Product Quality ............................................................................................. 6
        b.       Testing Specifications ................................................................................. 10
        c.       CBER Lot Release ..................................................................................... 11
        d.       Facilities Review / Inspection...................................................................... 11
        e.       Container/Closure System .......................................................................... 14
        f.    Environmental Assessment ........................................................................... 14
4.   Nonclinical Pharmacology/Toxicology ......................................................................14
5.   Clinical Pharmacology ..............................................................................................15
6.   Clinical/Statistical ......................................................................................................15
        a.       Clinical Program ......................................................................................... 15
        b.       Bioresearch Monitoring (BIMO) – Clinical/Statistical/Pharmacovigilance ... 22
7.   Safety and Pharmacovigilance .................................................................................22
8.   Labeling ....................................................................................................................25
9.   Advisory Committee Meetings ..................................................................................26
10. Other Relevant Regulatory Issues ............................................................................27
11. Recommendations and Benefit/Risk Assessment ....................................................27
        a.       Recommended Regulatory Action .............................................................. 27
        b.       Benefit/Risk Assessment ............................................................................ 28
        c.       Recommendation for Postmarketing Activities ........................................... 28


1. Introduction

BioNTech Manufacturing GmbH (in partnership with Pfizer Inc.) submitted a Biologics
License Application (BLA) STN BL 125742 for licensure of COVID-19 Vaccine, mRNA.
The proprietary name of the vaccine is COMIRNATY. COMIRNATY is a vaccine
indicated for active immunization to prevent coronavirus disease 2019 (COVID-19)
caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals
16 years of age and older. The vaccine is administered intramuscularly (IM) as a series
of two 30 μg doses (0.3 mL each) 3 weeks apart.

COMIRNATY (also referred to as BNT162b2 in this document) contains a nucleoside-
modified messenger RNA (mRNA) encoding the viral spike glycoprotein (S) of SARS-
CoV-2 that is formulated in lipids including ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-
diyl)bis(2-hexyldecanoate), 2-(polyethylene glycol 2000)-N,N-ditetradecylacetamide, 1,2-
distearoyl-sn-glycero-3-phosphocholine, and cholesterol.

                                                                3
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 58 of 209 PAGEID #: 1193



COMIRNATY is supplied as a concentrated multi-dose liquid formulation (0.45 mL
volume) stored frozen at -90°C to -60°C in a 2 mL Type 1 glass vial. A sterile diluent,
0.9% Sodium Chloride Injection, USP, is supplied separately in 2 mL glass vials
manufactured by Fresenius Kabi LLC and in 10 mL vials manufactured by Hospira, Inc.
The diluent is stored at 20°C to 25°C and will be shipped in parallel with shipments of
COMIRNATY, with arrivals synchronized so that the diluent is delivered before the
vaccine is delivered. Healthcare providers may also use other sources of sterile 0.9%
Sodium Chloride Injection, USP as a diluent for COMIRNATY, if necessary.

The COMIRNATY Multiple Dose Vial is thawed in a refrigerator (2°C to 8°C) for 2 to 3
hours or at room temperature (up to 25°C) for 30 minutes. The vial must be warmed to
room temperature for dilution. Once at room temperature, the COMIRNATY Multiple
Dose Vial is diluted with 1.8 mL of the diluent. After dilution, each vial of COMIRNATY
contain six doses of 0.3 mL of vaccine. Each 0.3 mL dose of COMIRNATY contains 30
μg of mRNA encoding the spike glycoprotein of SARS-CoV-2 and the following
ingredients: lipids (0.43 mg ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-
hexyldecanoate), 0.05 mg 2-(polyethylene glycol 2000)-N,N-ditetradecylacetamide, 0.09
mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.2 mg cholesterol), 0.01 mg
potassium chloride, 0.01 mg monobasic potassium phosphate, 2.52 mg sodium chloride,
0.07 mg dibasic sodium phosphate dihydrate, and 6 mg sucrose. After dilution, the vials
are stored at 2°C to 25°C and must be used within 6 hours from the time of dilution.
COMIRNATY is preservative-free.

The expiry dating period for COMIRNATY Multiple Dose Vial is 9 months from the date
of manufacture when stored at -90°C to -60°C. The date of manufacture shall be no later
than the date of final sterile filtration of the formulated drug product (at Pharmacia &
Upjohn Company LLC in Kalamazoo, Michigan, the date of manufacture is defined as
the date of sterile filtration for the final drug product; at Pfizer Manufacturing Belgium
NV in Puurs, Belgium, it is defined as the date of the (b) (4)
                                                                                .

2. Background

SARS-CoV-2 is a novel, zoonotic coronavirus that emerged in late 2019 and was
identified in patients with pneumonia of unknown cause. The virus was named SARS-
CoV-2 because of its similarity to the coronavirus responsible for severe acute
respiratory syndrome (SARS-CoV, a lineage B betacoronavirus). SARS-CoV-2 is an
enveloped, positive-sense, single-stranded RNA virus sharing more than 70% of its
sequence with SARS-CoV, and ~50% with the coronavirus responsible for Middle
Eastern respiratory syndrome (MERS-CoV). SARS-CoV-2 is the causative agent of
COVID-19, an infectious disease with respiratory and systemic manifestations. Disease
symptoms vary, with many persons presenting with asymptomatic or mild disease and
some progressing to severe respiratory tract disease including pneumonia and acute
respiratory distress syndrome (ARDS), leading to multiorgan failure and death.

The SARS-CoV-2 pandemic continues to present a challenge to global health and, as of
August 2021, has caused approximately 208 million cases of COVID-19, including 4.3
million deaths worldwide. In the United States (U.S.), more than 37 million cases have
                                            4
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 59 of 209 PAGEID #: 1194


been reported to the Centers for Disease Control and Prevention (CDC), of which 90%
have occurred in individuals 16 years of age or older. While the pandemic has caused
morbidity and mortality on an individual level, the continuing spread of SARS-CoV-2 and
emerging variants has caused significant challenges and disruptions in worldwide
healthcare systems, economies, and many aspects of human activity (travel,
employment, education).

In the U.S., there are no licensed vaccines or anti-viral drugs for the prevention of
COVID-19. In December 2020, the FDA issued emergency use authorizations (EUAs) for
two mRNA vaccines which encode the SARS-CoV-2 spike glycoprotein: Pfizer-BioNTech
COVID-19 Vaccine (manufactured by Pfizer, Inc. in partnership with BioNTech
manufacturing GmbH) for use in individuals 16 years of age and older, and Moderna
COVID-19 Vaccine (manufactured by ModernaTX, Inc.) for use in individuals 18 years of
age and older. In February 2021, the FDA issued an EUA for a replication-incompetent
adenovirus type 26 (Ad26)-vectored vaccine encoding a stabilized variant of the SARS-
CoV-2 spike glycoprotein, manufactured by Janssen Biotech, Inc. (Janssen COVID-19
Vaccine) for use in individuals 18 years of age and older. In May 2021, the FDA
expanded the emergency use authorization for the Pfizer-BioNTech COVID-19 Vaccine
to include adolescents 12 through 15 years of age. On October 22, 2020, FDA approved
remdesivir for use in adult and pediatric patients 12 years of age and older and weighing
at least 40 kilograms (about 88 pounds) for the treatment of COVID-19 requiring
hospitalization. Several other therapies are currently available under emergency use.

 Table 1. Regulatory History
               Regulatory Events / Milestones                            Date
                                                                April 6, 2020 (Part 1)
 1. Pre-IND meeting (Written Responses)
                                                                April 10, 2020 (Part 2)
 2. IND submission                                              April 22, 2020
 3. Fast Track designation granted                              July 7, 2020
 4. Submission of EUA request for individuals ≥16 years of
                                                                November 20, 2020
    age
 5. Issuance of EUA for individuals ≥16 years                   December 11, 2020
 6. Submission of EUA request for individuals 12-15 years of
                                                                April 9, 2021
    age
 7. Issuance of EUA for individuals 12-15 years of age          May 10, 2021
                                                                Clinical: March 9, 2021
 8. Pre-BLA meeting (Written Responses)
                                                                CMC: March 31, 2021
 9. BLA STN 125742/0 received                                   May 18, 2021
 10. BLA filed                                                  July 15, 2021
                                                                The Applicant
 11. Mid-Cycle communication
                                                                canceled
                                                                The Applicant
 12. Late-Cycle meeting
                                                                canceled
 13. Action Due Date                                            January 16, 2022




                                           5
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 60 of 209 PAGEID #: 1195


3. Chemistry, Manufacturing and Controls (CMC)

a. Product Quality

COMIRNATY Manufacturing Overview
COMIRNATY contains a nucleoside-modified messenger RNA (mRNA) encoding the
viral spike glycoprotein (S) of SARS-CoV-2 that is formulated in lipids including ((4-
hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2- hexyldecanoate), 2-(polyethylene
glycol 2000)-N,N-ditetradecylacetamide, 1,2-distearoyl-sn-glycero-3-phosphocholine,
and cholesterol. COMIRNATY is supplied as a frozen suspension to be diluted with a
diluent, 0.9% Sodium Chloride Injection, USP, that is supplied separately or can be
acquired elsewhere, if necessary. Manufacture of the mRNA drug substance will take
place in Andover, MA, USA. The final formulated drug product will be manufactured,
filled, finished, labeled and packaged in Puurs, Belgium or in Kalamazoo, MI, USA. The
0.9% Sodium Chloride Injection, USP diluent will be manufactured by Fresenius-Kabi
USA, LLC ((b) (4)                   ) and Hospira, Inc. ((b) (4)                 ).

The mRNA in COMIRNATY is a single-stranded, 5’-capped mRNA encoding the full-
length SARS-CoV-2 spike glycoprotein derived from the Wuhan-Hu-1 isolate (GenBank
MN908947.3 and GenBank QHD43416.1). The antigen-coding RNA sequence is codon-
optimized and contains two proline mutations ((b) (4)         87P), which ensures an
antigenically optimal trimerized pre-fusion confirmation (S-2P). The RNA also contains
common structural elements, including 5’-cap, 5’-UTR, 3’-UTR, and poly(A) tail, all of
which are designed for mediating high RNA stability and translation efficiency. During
RNA transcription, (b) (4) is replaced with the (b) (4)                          . This
nucleoside substitution has been demonstrated to enhance translation of in vitro
transcribed mRNA while reducing its reactogenicity.

Drug Substance (DS)
                                           (b) (4)
The manufacture of mRNA DS is divided into         major manufacturing process stages:




(b) (4)
                                           6
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 61 of 209 PAGEID #: 1196


Drug Product (DP)
The manufacturing process of the DP is divided into the following critical steps:
• Preparation of the DS: (b) (4)




•     Formation of LNP: In this step, (b)    (4)




•     Formulation of the bulk DP: The bulk DP is formulated by (b)      (4)

•     Filling: The bulk DP is sterile filtered and aseptically filled into 2 mL Type I
      borosilicate glass vials manufactured by (b) (4)
                                .
•     Labeling and storage: The filled vials are visually inspected, labeled, and frozen at
      -90°C to -60°C.

Composition
The composition of the formulation of COMIRNATY and the function of the ingredients
are provided in Table 2.

Table 2. Composition of COMIRNATY Multiple Dose Vial

    Ingredients                                           Amount per vial   Function

    SARS-CoV-2 spike glycoprotein mRNA
                                                              225 μg        Active Ingredient
    (UNII: 5085ZFP6SJ)
    ALC-0315 [4-hydroxybutyl)azanediyl)bis (hexane-6,1-
    diyl)bis(2-hexyldecanoate)                               3.23 mg        Lipid component
    (UNII: AVX8DX713V)
    ALC-0159 [2-(polyethylene glycol 2000)-N,N-
    ditetradecylacetamide]                                    0.4 mg        Lipid component
    (UNII: PJH39UMU6H)
    DSPC [1,2-distearoyl-sn-glycero-3-phosphocholine]
                                                              0.7 mg        Lipid component
    (UNII: 043IPI2M0K)
    Cholesterol
                                                              1.4 mg        Lipid component
    (UNII: 97C5T2UQ7J)
    Potassium chloride
                                                             0.07 mg        Excipient
    (UNII: 660YQ98I10)
    Monobasic potassium phosphate
                                                             0.07 mg        Excipient
    (UNII: 4J9FJ0HL51)
    Sodium Chloride                                           2.7 mg        Excipient
                                                7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 62 of 209 PAGEID #: 1197



 Ingredients                                                       Amount per vial      Function

 (UNII: 451W47IQ8X)
 Dibasic sodium phosphate dihydrate
                                                                        0.49 mg         Excipient
 (UNII: GR686LBA74)
 Sucrose
                                                                        46.0 mg         Excipient
 (UNII: C151H8M554)
 Water for Injection
                                                                            q.s.        Excipient
 (UNII: 059QF0KO0R)
UNII: Unique Ingredient Identifier
q.s. = quantum satis (as much as may suffice)

Stability of COMIRNATY in Multiple Dose Vial
                                                                                (b) (4)
For the long-term storage condition study, parameters monitored are Appearance,         by
(b) (4)       , LNP (b) (4)                                           , RNA content
and (b) (4)                         Assay, Lipid (ALC-0315, ALC-0159, DSPC, and
Cholesterol) Content by (b) (4)

                                                      , Container closure integrity test by (b) (4)
            , Endotoxin content by (b)          (4)                           , and Sterility.

The stability data provided in the submission support a dating period of 9 months from
the date of manufacture when stored at -90°C to -60°C for the COMIRNATY DP filled in
2 mL Type I borosilicate glass vials. Stability data on emergency use and process
performance qualification lots also support storage at -20°C ± 5°C for up to 2 weeks as
well as short term storage at 5°C ± 3°C for up to one month (within the 9-month expiry
dating period).

The Diluent for COMIRNATY
The contents of the vaccine vial are diluted with sterile 0.9% Sodium Chloride Injection,
USP. Vials of sterile 0.9% Sodium Chloride Injection, USP are provided but shipped
separately. The provided diluent or another sterile 0.9% Sodium Chloride Injection, USP
should be used as the diluent.

The provided 0.9% Sodium Chloride Injection, USP diluent will be supplied either as
cartons of 10 mL single-use vials manufactured by Hospira, Inc (NDC 0409-4888-10), or
2 mL single-use vials manufactured by Fresenius Kabi USA, LLC (NDC 63323-186-02).
The composition of the saline diluent and the function of the ingredients are provided in
Table 3.

Table 3. Composition of the Diluent
                                          Quantity
 Ingredients                                                    Function
                                     (per 0.3 mL dose)
 SODIUM CHLORIDE
                                           2.16 mg              Excipient
 (UNII: 451W47IQ8X)
 Water for Injection
                                            0.3 mL              Excipient
 (UNII: 059QF0KO0R)
UNII: Unique Ingredient Identifier


                                                         8
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 63 of 209 PAGEID #: 1198


COMIRNATY
Product Composition
COMIRNATY Multiple Dose Vial is supplied as a frozen suspension that is diluted at the
time of use with 1.8 mL of saline diluent. A single dose of COMIRNATY contains 30 ug
mRNA in a volume of 0.3 mL, and it does not contain preservative. [See section 10.b
regarding exception to the 21 CFR 610.15(a) requirement for a preservative.]

Stability of COMIRNATY
The Applicant conducted in-use stability studies to support the maximum temperature
and time period that COMIRNATY can retain its physicochemical properties. Based on
the data generated, COMIRNATY retains its quality attributes for up to 6 hours when
stored between 2°C to 25°C (35°F to 77°F).

The carton labels and the Package Insert (PI) state that after dilution, vials should be
stored between 2°C to 25°C (35°F to 77°F) and used within 6 hours from the time of
dilution. During storage, exposure to room light should be minimized, and direct
exposure to sunlight and ultraviolet light should be avoided. Any vaccine remaining in
vials must be discarded after 6 hours and cannot be refrozen.

Assays used in clinical studies

Diagnostic Assays Used to Support Clinical Efficacy Endpoints
Two clinical diagnostic assays (Cepheid Xpert Xpress RT-PCR assay for the detection of
SARS-CoV-2 in clinical specimens and Roche Elecsys Anti-SARS-CoV-2 assay for the
evaluation of serostatus to SARS-CoV-2) were used to assess clinical endpoints. Both
assays have received FDA authorization under EUA.

The Cepheid Xpert Xpress RT-PCR assay is a rapid, automated in vitro diagnostic test
for the qualitative detection of the N and E gene sequences from nasopharyngeal, nasal,
or mid-turbinate swab and/or nasal wash/aspirate specimens collected from patients
suspected of having COVID-19. This assay is used to assess viral infection of the
participants before vaccination and to confirm COVID-19 cases during study follow-up.

The Roche Elecsys Anti-SARS-CoV-2 assay is a rapid, automated in vitro diagnostic test
for detecting the presence of antibodies to nucleocapsid (N) protein of SARS-CoV-2
(antigen not present in COMIRNATY) in serum or plasma samples. This is a qualitative
assay marketed as an aid in identifying individuals with an adaptive immune response to
SARS-CoV-2, which would indicate a recent or prior infection. This assay is used to
assess serostatus of the participants before vaccination.

Data were submitted to support the suitability of both the Cepheid Xpert Xpress assay
and the Roche Elecsys Anti-SARS-CoV-2 assay for their intended uses in Phase 2/3
clinical studies when performed at Pfizer’s testing facility (Pfizer Vaccine Research and
Development; Pearl River, NY).

Immunogenicity Assays Used for Exploratory Immunogenicity Endpoints
Two immunogenicity assays (SARS-CoV-2 mNeonGreen (mNG) virus
microneutralization assay and (b) (4) direct Luminex assay (dLIA) for IgG

                                             9
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 64 of 209 PAGEID #: 1199


quantification) were used for evaluating the immune responses from clinical trial
samples.

The SARS-CoV-2 mNG microneutralization assay measures neutralizing antibodies
(50% inhibition titers) against SARS-CoV-2 using Vero cell monolayers in a 96-well plate
format. The SARS-CoV-2 mNG virus is derived from the USA_WA1/2020 strain that had
been rescued by reverse genetics and engineered to express a fluorescent reporter
gene (mNeonGreen) upon productive infection of cells. The validation protocol (that
includes evaluation of dilutional linearity, precision, limits of quantification, and limit of
detection) and the results of the validation study, executed at Pfizer Hackensack
Meridian Health Center (Nutley, New Jersey), were submitted to support the suitability of
the assay for testing of clinical trial immunogenicity samples.

The (b) (4)     S1 IgG dLIA measures IgG antibody levels to the subunit 1 (S1) of the
SARS-CoV-2 spike protein in human serum samples. Qualification data provided in the
submission support the (b) (4)    dLIA for quantification of human IgG antibodies that
bind to the S1 protein of SARS-CoV-2 and confirm that the assay is suitable for its
intended use.

b. Testing Specifications

Specifications and Methods
The tests and specifications applied for routine release of COMIRNATY are shown in
Table 4.

Table 4. Control of COMIRNATY: Tests and Specifications
      Quality Attribute              Analytical Procedure               Acceptance Criteria
 Appearance               Appearance (Visual)                 White to off-white suspension
 Appearance
                          Appearance (Particles)              May contain white to off-white
 (Visible
 Particulates)            (b) (4)                             opaque, amorphous particles

                          (b) (4)                             (b) (4)
 (b) (4)
 (b) (4)                  (b) (4)                             (b) (4)

 (b) (4)                  (b) (4)                             (b) (4)

 LNP (b) (4)              (b) (4)                             (b) (4)
 LNP (b) (4)              (b) (4)                             (b) (4)
 RNA (b) (4)              (b) (4)      assay                  (b) (4)
 RNA content              (b) (4)      assay                  (b) (4)
 ALC-0315 content         (b) (4)                             (b) (4)
 ALC-0159 content         (b) (4)                             (b) (4)
 DSPC content             (b) (4)                             (b) (4)
 Cholesterol content      (b) (4)                             (b) (4)
 Vial content (volume)    Container content                   Not less than (b)   (4)
                                                              (b) (4)
 Lipid identities         (b) (4)                                       (ALC-0315, ALC-
                                                              0159, Cholesterol, DSPC)

                                                   10
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 65 of 209 PAGEID #: 1200


   Quality Attribute                     Analytical Procedure                 Acceptance Criteria
 Identity of
 encoded RNA            (b) (4)                                     Identity confirmed

 (b) (4)                (b) (4)                                     (b) (4)

 RNA (b)     (4)        (b) (4)                                     (b) (4)
                        Endotoxin ((b) (4) )
 Bacterial Endotoxin
                        (b) (4)
                                                                    (b) (4)
 Sterility              Sterility ((b)   (4)                    )   No Growth Detected
 Container
 Closure Integrity
                        (b) (4)                                     Pass
Abbreviations: LNP = Lipid nanoparticles;      (b) (4)


The analytical methods and their validations and/or qualifications for the COMIRNATY
DS and DP were found to be adequate for their intended use.

c. CBER Lot Release
The lot release protocol template was submitted to CBER for review and found to be
acceptable after revisions. A lot release testing plan was developed by CBER and will be
used for routine lot release.

d. Facilities Review / Inspection
Facility information and data provided in the BLA were reviewed by CBER and found to
be sufficient and acceptable. The facilities involved in the manufacture of COMIRNATY
are listed in Table 5 below. The activities performed and inspectional histories are also
noted in Table 5 and are further described in the paragraphs that follow.




                                                         11
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 66 of 209 PAGEID #: 1201


Table 5. Facilities involved in the manufacture of COMIRNATY
                                    FEI         DUNS      Inspection/        Results/
       Name/address
                                  Number       number       waiver         Justification
 Pfizer Inc.
 875 Chesterfield Parkway
 West
 Chesterfield, MO 63017
                                                                               ORA
 (b) (4)                                                                   Surveillance
 Manufacture                      1940118     004954111     Waiver
                                                                        August 19-20, 2019
                                                                               NAI
 Drug Substance
 Release and stability testing

 Drug Product
 Release and stability testing
 Wyeth BioPharma Division
 of Wyeth Pharmaceuticals
 LLC
 1 Burtt Road                                                                  CBER
 Andover, MA 01810                                                           Pre-license
                                                          Pre-License
                                  1222181     174350868                      inspection
 Drug Substance                                            Inspection
                                                                          July 19-23, 2021
 Manufacture, release and
                                                                                VAI
 stability testing

 Drug Product
 Release and stability testing
 Pharmacia & Upjohn
 Company LLC
 7000 Portage Road
 Kalamazoo, MI 49001
                                                                          ORA/OBPO
                                                                          Surveillance
 Drug Product                     1810189     618054084     Waiver
                                                                         May 11-20, 2021
 LNP production, bulk drug
                                                                              VAI
 product formulation, fill and
 finish, primary packaging,
 secondary packaging,
 release and stability testing
 Pfizer Manufacturing
 Belgium NV
 Rijksweg 12
 Puurs, 2870
                                                                               CBER
 Belgium
                                                                            Pre-license
                                                          Pre-license
                                 1000654629   370156507                      inspection
 Drug Product                                             inspection
                                                                        June 24-July 2, 2021
 LNP production, bulk drug
                                                                                NAI
 product formulation, fill and
 finish, primary packaging,
 secondary packaging,
 release and stability testing




                                              12
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 67 of 209 PAGEID #: 1202


                                    FEI         DUNS      Inspection/        Results/
       Name/address
                                  Number       number       waiver         Justification

 Pfizer Ireland
 Pharmaceuticals
 Grange Castle Business
 Park                                                                    ORA Surveillance
 Clondalkin, Dublin 22           3004145594   985586408     Waiver      November 4-12, 2019
 Ireland                                                                       VAI

 Drug Product
 Release and stability testing


 (b) (4)                                                                      CDER
                                                                           Pre-approval
                                                                            inspection
                                 (b) (4)      (b) (4)       Waiver
                                                                         (b) (4)
 Drug Product
                                                                                VAI
 Release testing (sterility)
 (b) (4)
                                                                               ORA
                                                                            Surveillance
                                 (b) (4)      (b) (4)       Waiver       (b) (4)
 Drug Product                                                                   VAI
 Release testing (sterility)

ORA conducted a surveillance inspection of Pfizer Inc., Chesterfield, MO, from August
19 – 20, 2019. No Form FDA 483 was issued, and the inspection was classified as No
Action Indicated (NAI).

CBER conducted a pre-license inspection (PLI) of Wyeth BioPharma Division of Wyeth
Pharmaceuticals LLC from July 19 – 23, 2021. All inspectional issues were resolved, and
the inspection was classified as Voluntary Action Indicated (VAI).

ORA conducted a surveillance inspection of Pharmacia & Upjohn Company LLC from
May 11 – 20, 2021. All inspectional issues were resolved, and the inspection was
classified as VAI.

CBER conducted a PLI of Pfizer Manufacturing Belgium NV from June 24 - July 2, 2021.
No Form FDA 483 was issued, and the inspection was classified as NAI.

ORA conducted a surveillance inspection of Pfizer Ireland Pharmaceuticals from
November 4 – 12, 2019. All inspectional issues were resolved, and the inspection was
classified as VAI.

CDER conducted a pre-approval inspection of (b) (4)               from (b) (4)
       . All inspectional issues were resolved, and the inspection was classified as VAI.

ORA conducted a surveillance inspection of (b) (4)               from (b) (4)
       . All inspectional issues were resolved, and the inspection was classified as VAI.
                                              13
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 68 of 209 PAGEID #: 1203



e. Container/Closure System
The COMIRNATY drug product is filled and stored at -90°C to -60°C in a 2 mL glass vial
sealed with a bromobutyl rubber stopper and an aluminum seal with flip-off plastic cap.
The glass vials are supplied by (b) (4)


                                     The stopper and caps are supplied by (b)    (4)
                                                      , respectively.

Pfizer performed container closure integrity testing (CCIT) on the filled 2 mL glass vials
using a (b) (4)                test method. All acceptance criteria were met.

f. Environmental Assessment
The BLA included a request for categorical exclusion from an Environmental
Assessment under 21 CFR 25.31. The FDA concluded that this request is justified, and
no extraordinary circumstances exist that would require an environmental assessment.

4. Nonclinical Pharmacology/Toxicology

Nonclinical Toxicology
For the nonclinical safety evaluation, COMIRNATY was evaluated in two repeat dose
toxicity studies in Wistar Han rats and a Combined Fertility and Developmental Study
(Including Teratogenicity and Postnatal Investigations) in Wistar Han rats.

The repeat dose toxicity evaluations were conducted on COMIRNATY and a similar
vaccine termed BNT162b2 (V8). COMIRNATY and BNT162b2 (V8) have identical amino
acid sequences of the encoded antigens but COMIRNATY includes the presence of
optimized codons to improve antigen expression. The IM route of exposure was selected
as it is the route of clinical administration. Generation of an immune response to
COMIRNATY was confirmed in rats in both repeat-dose toxicity studies. In both repeat-
dose toxicity studies, administration of COMIRNATY by IM injection to male and female
rats once every week for a total of 3 doses was tolerated without evidence of systemic
toxicity. Edema and erythema at the injection sites, transient elevation in body
temperature, elevations in white blood cells and acute phase reactants and decreased
albumin:globulin ratios were observed. Injection site reactions were common in all
vaccine-administered animals and were greater after boost immunizations.

For the Combined Fertility and Developmental Study, COMIRNATY was administered to
female rats twice before the start of mating and twice during gestation at the human
clinical dose (30 μg RNA/dosing day). There were some effects (change in body weight
and food consumption and effects localized to the injection site) observed in rats in these
studies following administration of COMIRNATY that were not considered adverse and a
relationship to COMIRNATY was not established. There were no effects on mating
performance, fertility, or any ovarian or uterine parameters nor on embryo-fetal or
postnatal survival, growth, or development in the offspring. An immune response was
observed in female rats following administration of each vaccine candidate and these
responses were also detectable in the offspring (fetuses and pups).

                                             14
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 69 of 209 PAGEID #: 1204


Nonclinical Pharmacology and Pharmacokinetics
COMIRNATY was evaluated in nonclinical pharmacology studies using animal models of
mice, rats and nonhuman primates (NHP). The data from these studies indicate: (1)
strong antigen-binding IgG and high titer neutralizing antibodies in mice, rat and rhesus
macaques; (2) Th1-biased CD4+ T-cell response and IFNγ+, CD8+ T-cell response to
BNT162b2 in both mouse and NHP studies; and (3) protection of rhesus macaques from
an infectious SARS-CoV-2 challenge, with reduced detection of viral RNA in the
BNT162b2-immunized animals as compared with the control-immunized macaques.

Nonclinical pharmacokinetics (PK) evaluation included (1) biodistribution of COMIRNATY
using (b) (4) expressing RNA as a surrogate reporter in (b) (4) mice and in rats, and
(2) the biodistribution and metabolism of the two novel lipids (ALC-0315 and ALC-0159)
contained in COMIRNATY in in vitro studies and in a PK study in rats following
administration of (b) (4) expressing RNA encapsulated in LNPs made with
radiolabeled lipid markers. The study results indicate that following IM injection, the RNA
encapsulated in LNP mainly localizes to the site of injection and, to a lesser extent,
distributes to the liver. The metabolism of ALC-0315 and ALC-0159 was evaluated in
vitro using blood, liver microsomes, S9 fractions, and hepatocytes from mice, rats,
monkeys and humans and in vivo by examining the plasma, urine, feces, and liver
samples from the PK study in rats. Approximately 50% of ALC-0159 is excreted
unchanged in feces, while metabolism appears to play a role in the elimination of ALC-
0315.

5. Clinical Pharmacology

Pharmacodynamic data, comprised of humoral immune responses to COMIRNATY,
were obtained in the clinical studies. The data demonstrated that COMIRNATY induces
a humoral immune response against the SARS-CoV-2 spike protein. The exact
immunologic mechanism that confers protection against SARS-CoV-2 is unknown.

6. Clinical/Statistical

a. Clinical Program

Overview
The Applicant included data from two clinical studies in the BLA. The clinical studies
which will be discussed in this SBRA are shown in Table 6.

Table 6. Overview of Clinical Studies
  Study ID           C4591001                              BNT162-01
  NCT ID             04368728                              04380701
  Phase              1/2/3                                 1/2
                     Argentina, Brazil, Germany, South
  Countries                                                Germany
                     Africa, Turkey, U.S.
                     Phase 1: 30 participants
  Enrollment                                               24
                     Phase 2/3: 43,847 participants
  Age                16 - 85 YOA                           18 - 85 YOA
                     Evaluate VE for prevention of
                                                           Evaluate safety and
  Purpose            COVID-19 (pivotal clinical endpoint
                                                           immunogenicity
                     study)
                                             15
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 70 of 209 PAGEID #: 1205


  Study ID                 C4591001                                  BNT162-01
  Control                  Saline Placebo                            None
                           Phase 2/3: 2 groups, randomized
                                                                     1 group, randomized received
  Groups                   1:1 to receive COMIRNATY or
                                                                     COMIRNATY IM
                           Placebo IM
  Schedule                 D0, D21                                   D0, D21
  Total follow-up          6 Months (follow-up ongoing)              6 Months (follow-up ongoing)
YOA: years of age; VE: vaccine efficacy; IM: intramuscular; D: day


Study C4591001
Study C4591001 is an ongoing, randomized, placebo-controlled, observer-blind Phase
1/2/3 study being conducted in the U.S., Argentina, Brazil, Germany, South Africa and
Turkey. Initially the study was designed as a Phase 1/2 study in healthy adults in the
U.S. for vaccine candidate and dosage selection, as well as evaluation of
immunogenicity and preliminary efficacy. The protocol was expanded to include a Phase
2/3 portion of the study to evaluate clinical disease efficacy endpoint in individuals 12
years of age and older in the U.S. and additional sites outside of the U.S.

The Phase 1 portion of the study was designed to identify a preferred vaccine candidate,
vaccine dose, and administration schedule for further development based on the
vaccine’s safety, tolerability, and immunogenicity. To this end, two age groups were
evaluated in separate cohorts, younger adults 18 through 55 years of age (N=45) and
older adults 65 through 85 years of age (N=45). The study population included healthy
men and women and excluded participants at high risk of SARS-CoV-2 infection or with
serological evidence of prior or current SARS-CoV-2 infection. Two different vaccine
candidates were evaluated, and younger participants received increasing dose levels
(10, 20 and 30 μg) with progression to higher dose levels in a stepwise manner.
Evaluation of increasing doses in the older age group (65 through 85 years) was based
on recommendations from an internal review committee that reviewed safety and
immunogenicity data derived from adults 18 through 55 years of age. For each vaccine
candidate and dose, participants were randomized 4:1, such that 12 participants
received the vaccine candidate and 3 participants received placebo. Review of the safety
and immunogenicity from the Phase 1 portion of Study C4591001, in combination with
data from Study BNT162-01, supported the final vaccine candidate, dose and dosing
regimen (BNT162b2 administered at 30 μg, given 3 weeks apart) to proceed to the
Phase 2/3 portion of Study C4591001.

In Phase 2/3, participants were enrolled with stratification by age (younger adults: 18
through 55 years of age; older adults: over 55 years of age) with the goal for the older
age strata to consist of 40% of the entire study population. Adolescents were added to
the protocol, based on review of safety data in younger adults enrolled in the ongoing
study; thus, the age strata were revised as follows: 16 through 55 years of age, and 56
years of age and older. The study population for Phase 2/3 includes participants at
higher risk for acquiring COVID-19 and at higher risk of severe COVID-19, such as
participants working in the healthcare field, participants with autoimmune disease, and
participants with chronic but stable medical conditions such as hypertension, asthma,
diabetes, and infection with HIV, hepatitis B or hepatitis C. Participants were randomized
1:1 to receive 2 doses of either COMIRNATY or placebo, 3 weeks apart. The Phase 2
portion of the study evaluated reactogenicity and immunogenicity of the vaccine in 360

                                                         16
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 71 of 209 PAGEID #: 1206


participants in the early stage of Phase 2/3, and these participants also contribute to the
overall efficacy and safety data in the Phase 3 portion.

The ongoing Phase 3 portion of the study is evaluating the safety and efficacy of
COMIRNATY for the prevention of COVID-19 occurring at least 7 days after the second
dose of vaccine. Efficacy is being assessed throughout a participant’s blinded follow-up
in the study through surveillance for potential cases of COVID-19. If, at any time, a
participant develops acute respiratory illness, an illness visit occurs. Assessments for
illness visits include a nasal (mid-turbinate) swab, which is tested at a central laboratory
using a reverse transcription-polymerase chain reaction (RT-PCR) test (i.e., Cepheid;
FDA- authorized under EUA), or other sufficiently validated nucleic acid amplification-
based test (NAAT), to detect SARS-CoV-2. The central laboratory NAAT result is used
for the case definition, unless it was not possible to test the sample at the central
laboratory. In that case, the following NAAT results are acceptable: Cepheid Xpert
Xpress SARS-CoV-2, Roche cobas SARS-CoV-2 real-time RT-PCR test
(EUA200009/A001), and Abbott Molecular/RealTime SARS-CoV-2 assay
(EUA200023/A001).

The study design included a planned interim analysis of the first primary efficacy
endpoint (the efficacy of BNT162b2 against confirmed COVID-19 occurring from 7 days
after Dose 2 in participants without evidence of SARS-CoV-2 infection before
vaccination) at pre-specified numbers of COVID-19 cases (at least 62, 92, and 120
cases). All primary and secondary efficacy endpoints were analyzed in the final efficacy
analysis after at least 164 COVID-19 cases were accrued. Participants are expected to
participate for a maximum of approximately 26 months.

Per protocol, since December 14, 2020, following issuance of the emergency use
authorization for the Pfizer-BioNTech COVID-19 Vaccine, study participants 16 years of
age and older have been progressively unblinded to their treatment assignment (when
eligible per local recommendations) and offered BNT162b2 vaccination if they were
randomized to placebo.

The study was unblinded in stages as all ongoing participants were either individually
unblinded (when eligible per local recommendations) or the subject had concluded their
6-month post–Dose 2 study visit. Participants 16 years of age and older who participated
in the Phase 2/3 study were given the opportunity to receive COMIRNATY no later than
the 6-month timepoint after the second study vaccination. Participants who originally
received placebo but received COMIRNATY were moved to a new visit schedule to
receive both doses of COMIRNATY, 3 weeks apart.

The primary safety and efficacy endpoints were:

   1. Primary safety endpoint (descriptive): Solicited local adverse reactions (injection
      site pain, redness, swelling), solicited systemic adverse events (AE) (fever,
      fatigue, headache, chills, vomiting, diarrhea, new or worsened muscle pain, and
      new or worsened joint pain), unsolicited AEs, serious adverse events (SAEs).



                                             17
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 72 of 209 PAGEID #: 1207


   2. First primary efficacy endpoint: COVID-19 incidence per 1000 person-years of
      follow-up based on laboratory-confirmed NAAT in participants with no serological
      or virological evidence (up to 7 days after Dose 2) of past SARS-CoV-2 infection.

   3. Second primary efficacy endpoint: COVID-19 incidence per 1000 person-years of
      follow-up based on laboratory-confirmed NAAT in participants with and without
      serological or virological evidence (up to 7 days after Dose 2) of past SARS-CoV-
      2 infection.

The pertinent secondary endpoint was:

   1. Severe COVID-19 incidence per 1000 person-years of follow-up.

Study C4591001 results
The population in the protocol-specified, event-driven final primary efficacy analysis
included all participants 12 years of age and older who had been enrolled from July 27,
2020 and followed for the development of COVID-19 through November 14, 2020. For
participants without evidence of SARS-CoV-2 infection prior to 7 days after Dose 2, VE
against confirmed COVID-19 occurring at least 7 days after Dose 2 was 95.0% (95%
credible interval: 90.0, 97.9), which met the pre-specified success criterion. The case
split was 8 COVID-19 cases in the BNT162b2 group compared to 162 COVID-19 cases
in the placebo group. This protocol-specified, event-driven final primary efficacy analysis
was the basis for issuance of the emergency use authorization for the Pfizer-BioNTech
COVID-19 Vaccine on December 11, 2020.

Therefore, the primary study objective of VE against COVID-19 was met as the point
estimate was above 50% and the lower bound of the 95% CI of the point estimate of VE
was above 30%.

The population for the updated vaccine efficacy analysis per protocol included
participants 16 years of age and older who had been enrolled from July 27, 2020, and
followed for the development of COVID-19 during blinded placebo-controlled follow-up
through March 13, 2021, representing up to ~6 months of follow-up after Dose 2. Overall,
60.8% of participants in the COMIRNATY group and 58.7% of participants in the placebo
group had ≥4 months of follow-up time after Dose 2 in the blinded placebo-controlled
follow-up period. The overall VE against COVID-19 in participants without evidence of
prior SARS-CoV-2 infection was 91.1% (95% CI: 88.8 to 93.1). The overall VE against
COVID-19 in participants with or without evidence of prior SARS-CoV-2 infection was
90.9% (95% CI: 88.5 to 92.8).

Subgroup analyses of vaccine efficacy (although limited by small numbers of cases in
some subgroups) did not suggest meaningful differences in efficacy across genders,
ethnic groups, geographies, or for participants with obesity or medical comorbidities
associated with high risk of severe COVID-19.

The updated vaccine efficacy information is presented in Tables 7a and 7b.



                                            18
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 73 of 209 PAGEID #: 1208



Table 7a: First COVID-19 occurrence from 7 days after Dose 2 in participants
without evidence of prior SARS-CoV-2 infection - Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up Period *
                                      COMIRNATY                            Placebo
                                        Na=19,993                         Na=20,118
                                          Cases                             Cases
                                            n1b                              n1b
                                    Surveillance Timec               Surveillance Timec               Vaccine Efficacy %
 Subgroup                                  (n2d)                            (n2d)                         (95% CIe)
                                             77                              833                             91.1
 All participants                     6.092 (19,711)                   5.857 (19,741)                    (88.8, 93.1)
                                             70                              709                             90.5
   16 through 64 years                4.859 (15,519)                   4.654 (15,515)                    (87.9, 92.7)
                                              7                              124                             94.5
   65 years and older                  1.233 (4192)                     1.202 (4226)                     (88.3, 97.8)
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and SARS-CoV-2
not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit prior to 7 days
after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
surveillance time.


Table 7b: First COVID-19 occurrence from 7 days after Dose 2 in participants with
or without* evidence of prior SARS-CoV-2 infection - Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up Period *
                                                                                 Placebo
                                          COMIRNATY                             Na=21,210
                                            Na=21,047                             Cases
                                               Cases                                n1b                    Vaccine Efficacy
                                                n1b                         Surveillance Timec                    %
Subgroup                              Surveillance Timec (n2d)                     (n2d)                      (95% CIe)
                                                 81                                 854                          90.9
All participants                          6.340 (20,533)                      6.110 (20,595)                 (88.5, 92.8)
                                                 74                                 726                          90.2
  16 through 64 years                     5.073 (16,218)                      4.879 (16,269)                 (87.5, 92.4)
                                                 7                                  128                          94.7
  65 years and older                       1.267 (4315)                        1.232 (4326)                  (88.7, 97.9)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
*    Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
     SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
     prior to 7 days after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
     surveillance time.




                                                                19
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 74 of 209 PAGEID #: 1209


Efficacy Against Severe COVID-19
Vaccine efficacy against severe COVID-19 for participants with or without prior SARS-
CoV-2 infection is shown in Tables 8a and 8b. The VE against severe COVID-19 in
participants with or without evidence of prior SARS-CoV-2 infection was 95.3% (95% CI:
71.0 to 99.9) using the protocol definition of severe COVID-19 and 100.0% (95% CI: 87.6
to 100.0) based on the CDC definition of severe COVID-19.

Table 8a: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16
Years of Age and Older With or Without* Prior SARS-CoV-2 Infection Based on
Protocol† Definition From 7 Days After Dose 2 – Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up
                                        COMIRNATY                            Placebo
                                            Cases                             Cases
                                              n1a                               n1a                        Vaccine Efficacy
                                      Surveillance Timeb                Surveillance Timeb                        %
                                             (n2c)                             (n2c)                          (95% CId)
 7 days after Dose 2d                          1                                 21                              95.3
                                        6.353 (20,540)                    6.237 (20,629)                     (70.9, 99.9)

Table 8b: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16
Years of Age and Older With or Without* Prior SARS-CoV-2 Infection Based on
Centers for Disease Control and Prevention (CDC)‡ Definition From 7 Days After
Dose 2 – Evaluable Efficacy (7 Days) Population During the Placebo-Controlled
Follow-up
                                             COMIRNATY                             Placebo
                                                Cases                               Cases
                                                  n1a                                 n1a                    Vaccine Efficacy
                                           Surveillance Timeb                 Surveillance Timeb                     %
                                                  (n2c)                              (n2c)                       (95% CId)
 7 days after Dose 2d                               0                                 31                            100
                                             6.345 (20,513)                     6.225 (20,593)                 (87.6, 100.0)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
 * Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
     SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
     prior to 7 days after Dose 2 were included in the analysis.
†
  Severe illness from COVID-19 is defined in the protocol as confirmed COVID-19 and presence of at least 1 of the following:
      • Clinical signs at rest indicative of severe systemic illness (respiratory rate ≥30 breaths per minute, heart rate ≥125 beats
            per minute, saturation of oxygen ≤93% on room air at sea level, or ratio of arterial oxygen partial pressure to fractional
            inspired oxygen <300 mm Hg);
      • Respiratory failure [defined as needing highflow oxygen, noninvasive ventilation, mechanical ventilation or extracorporeal
            membrane oxygenation (ECMO)];
      • Evidence of shock (systolic blood pressure <90 mm Hg, diastolic blood pressure <60 mm Hg, or requiring vasopressors);
      • Significant acute renal, hepatic, or neurologic dysfunction;
      • Admission to an Intensive Care Unit;
      • Death.
‡
  Severe illness from COVID-19 as defined by CDC is confirmed COVID-19 and presence of at least 1 of the following:
      •     Hospitalization;
      •     Admission to the Intensive Care Unit;
      •     Intubation or mechanical ventilation;
      •     Death.
a. n1 = Number of participants meeting the endpoint definition.
b. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
c. n2 = Number of participants at risk for the endpoint.


                                                                 20
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 75 of 209 PAGEID #: 1210

d.   Two-side confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
     surveillance time

Study BNT162-01
Study BNT162-01 is an ongoing Phase 1/2, open-label, dose-finding study to evaluate
the safety and immunogenicity of several candidate vaccines, including BNT162b2 (1, 3,
10, 20, and 30 µg), conducted in Germany in healthy and immunocompromised adults.
Only safety and immunogenicity data in individuals 16 years of age and older, the
population for the intended use and who received the final vaccine formulation (30 µg
BNT162b2) are used to support this application. The 30 µg dosage of BNT162b2 was
administered to 12 adults 18 to 55 years of age and 12 adults 56 to 85 years of age.

The primary objective was to evaluate the safety of the BNT162 candidate vaccines.
Secondary and exploratory objectives were to describe humoral and cellular immune
responses following vaccination, measured at baseline and various time points after
vaccination, specifically 7 days post Dose 2. Adverse event monitoring was the same as
the safety monitoring in study C4591001.

The study started April 23, 2020. The BLA contains safety data (reactogenicity and AE
analyses) up to 1 month after Dose 2 (data cutoff date: October 23, 2020), neutralizing
antibody data up to ~2 months after Dose 2 (data cutoff date: October 23, 2020), and T-
cell data up to ~6 months after Dose 2 (data cutoff date: March 2, 2021).

Study BNT162-01 Results
Disposition of 30 µg BNT162b2 group:
 - Safety: Of a total of 24 participants, 12 participants 18 to 55 years of age and 12
    participants 56 to 85 years of age completed the visit at 1- month post-Dose 2.
 - Immunogenicity: Of the 12 participants, serum neutralizing antibody and T-cell
    responses were available for 10 and 12 participants, respectively.

Safety: The safety profiles for adult participants 18-55 and 56-85 years of age receiving
30 µg BNT162b2 in this study were similar to age-matched participants in study
C4591001.

Immunogenicity: Dose-dependent increases were noted 42 days after Dose 2, compared
to SARS-CoV-2 neutralizing GMTs at baseline (pre-Dose 1), and most pronounced at
the 30 μg dose level. The Th1 polarization of the T-helper response was indicated by
IFNγ and IL-2 production, and only minimal IL-4 production upon antigen-specific
(SARS-CoV-2 S protein peptide pools) re-stimulation.

Review of the safety and immunogenicity from Phase 1 part of Study C4591001, in
combination with data from Study BNT162-01, supported selection of the final vaccine
candidate and dose level (BNT162b2 at 30 μg, given as two doses 3 weeks apart) to
proceed into Phase 2/3 part of Study C4591001.

Lot Consistency
Consistency of process performance qualification (PPQ) batches manufactured at both
Pfizer Puurs and Pfizer Kalamazoo was demonstrated by verifying process parameters
and in-process testing results as well as DP release testing. Data obtained from the
analytical comparability assessments on the PPQ batches manufactured at both sites
                                                                 21
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 76 of 209 PAGEID #: 1211


provide evidence of reproducible and consistent manufacture of COMIRNATY DP of
acceptable product quality across all supply nodes.

b. Bioresearch Monitoring (BIMO) – Clinical/Statistical/Pharmacovigilance
BIMO inspection assignments were issued for a total of nine (9) clinical study sites that
participated in the conduct of study Protocol C4591001. Three (3) of these inspection
assignments focused on clinical study sites that enrolled the pediatric population and six
(6) of the study sites enrolled the adult population. The inspections did not reveal
findings that impact the BLA.

c. Pediatrics
The Applicant’s Pediatric Plan was presented to the FDA Pediatric Review Committee
(PeRC) on August 3, 2021. The committee agreed with the Applicant’s request for a
deferral for studies in participants 0 to <16 years of age because the biological product is
ready for approval for use in individuals 16 years of age and older before pediatric
studies in participants 0 to <16 years of age are completed (Section 505B(a)(3)(A)(i) of
PREA).

The PREA-required studies specified in the approval letter and agreed upon with the
Applicant are as follows:

   1. Study C4591001 to evaluate the safety and effectiveness of COMIRNATY in
      children 12 years through 15 years of age

   2. Study C4591007 to evaluate the safety and effectiveness of COMIRNATY in
      children 6 months to <12 years of age

   3. Study C4591023 to evaluate the safety and effectiveness of COMIRNATY in
      infants <6 months of age

7. Safety and Pharmacovigilance

The most commonly reported (≥10%) solicited adverse reactions in COMIRNATY
recipients 16 through 55 years of age following any dose were pain at the injection site
(88.6%), fatigue (70.1%), headache (64.9%), muscle pain (45.5%), chills (41.5%), joint
pain (27.5%), fever (17.8%), and injection site swelling (10.6%). The most commonly
reported (≥10%) solicited adverse reactions in COMIRNATY recipients 56 years of age
and older following any dose were pain at the injection site (78.2%), fatigue (56.9%),
headache, (45.9%), muscle pain (32.5%), chills (24.8%), joint pain (21.5%), injection site
swelling (11.8%), fever (11.5%), and injection site redness (10.4%).

Among participants 16 through 55 years of age who had received at least 1 dose of
COMIRNATY (N=12,995) or placebo (N=13,026), serious adverse events from Dose 1
up to the participant unblinding date in ongoing follow-up were reported by 103 (0.8%)
COMIRNATY recipients and 117 (0.9%) placebo recipients. In a similar analysis in
participants 56 years of age and older (COMIRNATY=8,931, placebo=8,895), serious
adverse events were reported by 165 (1.8%) COMIRNATY recipients and 151 (1.7%)
placebo recipients who received at least 1 dose of COMIRNATY or placebo,
respectively. In these analyses, 58.2% of study participants had at least 4 months of
                                             22
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 77 of 209 PAGEID #: 1212


follow-up after Dose 2. There were no notable patterns between treatment groups for
specific categories of serious adverse events (including neurologic, neuro-inflammatory,
and thrombotic events) that would suggest a causal relationship to COMIRNATY.

From Dose 1 through the March 13, 2021 data cutoff date, there were a total of 38
deaths, 21 in the COMIRNATY group and 17 in the placebo group. None of the deaths
were considered related to vaccination.

Since the issuance of the EUA (December 11, 2020), post-authorization safety data has
been reported from individuals 16 years of age and older following any dose of
COMIRNATY. Because these reactions are reported from a population of uncertain size,
it is not always possible to reliably estimate their frequency or establish a causal
relationship to vaccine exposure. Below are presented adverse reactions categorized as
important identified risks in the pharmacovigilance plan that have occurred during the
conduct of the clinical trial and have been reported following the issuance of the EUA.

Myocarditis/Pericarditis
During the time from Dose 1 to unblinding in Study C4591001, one report of pericarditis
was identified in the COMIRNATY group, occurring in a male participant ≥55 years of
age, with no medical history, 28 days after Dose 2; the event was assessed by the
investigator as not related to the study intervention and was ongoing at the time of the
data cutoff. One report of myocarditis was identified in a male participant <55 years of
age in the placebo group, occurring 5 days after his second placebo dose.

Post-EUA safety surveillance reports received by FDA and CDC identified serious risks
for myocarditis and pericarditis following administration of COMIRNATY. Reporting rates
for medical chart-confirmed myocarditis/pericarditis in VAERS have been higher among
males under 40 years of age than among females and older males and have been
highest in males 12-17 years of age (65 cases per million doses administered as per
CDC communication on August 20, 2021), particularly following the second dose, and
onset of symptoms within 7 days following vaccination. Although some cases of vaccine-
associated myocarditis/pericarditis required intensive care support, available data from
short-term follow up suggest that most individuals have had resolution of symptoms with
conservative management. Information is not yet available about potential long-term
sequelae and outcomes in affected individuals. A mechanism of action by which the
vaccine could cause myocarditis and pericarditis has not been established.

These safety findings of increased risk for myocarditis/pericarditis led to warning in
section 5.2 Warning and Precautions of the PI.

Myocarditis and pericarditis are considered important identified risks in the
pharmacovigilance plan included in the BLA. Of note, the Applicant will be required to
conduct postmarketing requirement (PMR) safety studies under Section 505(o) of the
Federal Food, Drug, and Cosmetic Act (FDCA) to assess the known serious risks of
myocarditis and pericarditis as well as an unexpected serious risk for subclinical
myocarditis (see Section 11c Recommendation for Postmarketing Activities, for study
details).


                                             23
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 78 of 209 PAGEID #: 1213


Moreover, since vaccine-associated myocarditis/pericarditis is the most clinically
significant identified risk, FDA undertook a quantitative benefit-risk assessment to model
the excess risk of myocarditis/pericarditis vs. the expected benefits of preventing COVID-
19 and associated hospitalizations, ICU admissions, and deaths. For estimation of risk,
the model took a conservative approach by relying on non-chart-confirmed cases from a
US healthcare claims database (OPTUM) that could provide a control group and greater
confidence in denominators for vaccine exposures. Thus, the estimates of excess risk in
this model are higher than the rates estimated from reports to VAERS (an uncontrolled
passive surveillance system), with an estimated excess risk approaching 200 cases per
million vaccinated males 16-17 years of age (the age/sex-stratified group with the
highest risk). For estimation of benefit, the model output was highly dependent on the
assumed COVID-19 incidence, as well as assumptions about vaccine efficacy and
duration of protection. The assessment therefore considered a range of scenarios
including but not limited to a “most likely” scenario associated with recent Delta variant
surge and diminished vaccine effectiveness (70% overall, 80% against COVID-19
hospitalization) compared to that observed in the clinical trial. The “worst-case” scenario
with low COVID-19 incidence reflecting the July 2021 nadir and the same somewhat
diminished vaccine effectiveness as in the “most likely” scenario.

For males and females 18 years of age and older and for females 16-17 years of age,
even before accounting for morbidity prevented from non-hospitalized COVID-19, the
model predicts that the benefits of prevented COVID-19 hospitalizations, ICU admissions
and deaths would clearly outweigh the predicted excess risk of vaccine-associated
myocarditis/pericarditis under all conditions examined. For males 16-17 years of age, the
model predicts that the benefits of prevented COVID-19 hospitalizations, ICU admissions
and deaths would clearly outweigh the predicted excess risk of vaccine-associated
myocarditis/pericarditis under the “most likely” scenario, but that predicted excess cases
of vaccine-associated myocarditis/pericarditis would exceed COVID-19 hospitalizations
and deaths under the “worst case” scenario. However, this predicted numerical
imbalance does not account for the greater severity and length of hospitalization, on
average, for COVID-19 compared with vaccine-associated myocarditis/pericarditis.
Additionally, the “worst case” scenario model predicts prevention of >13,000 cases of
non-hospitalized COVID-19 per million vaccinated males 16-17 years of age, which
would include prevention of clinically significant morbidity and/or long-term sequelae
associated with some of these cases. Finally, the model does not account for indirect
societal/public health benefits of vaccination. Considering these additional factors, FDA
concluded that even under the “worst case” scenario the benefits of vaccination
sufficiently outweigh risks to support approval of the vaccine in males 16-17 years of
age.

Mitigation of the observed risks and associated uncertainties will be accomplished
through labeling (including warning statements) and through continued safety
surveillance and postmarketing studies to further assess and understand these risks,
including an immunogenicity and safety study of lower dose levels of COMIRNATY in
individuals 12 through <30 years of age. The Applicant will be required to conduct
postmarketing requirement (PMR) safety studies under Section 505(o) of the Federal
Food, Drug, and Cosmetic Act (FDCA) to assess the known serious risks of myocarditis
and pericarditis and an unexpected serious risk for subclinical myocarditis (see section
11c for study details).
                                            24
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 79 of 209 PAGEID #: 1214



Anaphylaxis
The risk of anaphylaxis was recognized early in the post-authorization time period and it
is included as an important identified risk in the PVP. The estimated crude reporting rate
for anaphylaxis is 6.0 cases per million doses. Therefore, the incidence of anaphylaxis
after receipt of COMIRNATY is comparable with those reported after receipt of other
vaccines.

There were no reports of anaphylaxis associated with COMIRNATY in clinical study
participants through the cutoff date of March 13, 2021.

A contraindication for individuals with known history of a severe allergic reaction (e.g.,
anaphylaxis) to any component of COMIRNATY is included in section 4 of the PI.
Additionally, a warning statement is included in section 5.1 of the PI instructing that
“appropriate medical treatment used to manage immediate allergic reactions must be
immediately available in the event an acute anaphylactic reaction occurs following
administration of COMIRNATY”

Pharmacovigilance Plan (PVP)
The Applicant’s proposed pharmacovigilance plan (version 1.1) includes the following
important risks and missing information:
   • Important identified risks: Anaphylaxis; Myocarditis and Pericarditis
   • Important potential risk: Vaccine-Associated Enhanced Disease (VAED), including
      Vaccine-Associated Enhanced Respiratory Disease (VAERD)
   • Missing information: Use in pregnancy and lactation; Vaccine effectiveness; Use
      in pediatric individuals <12 years of age

In addition to routine pharmacovigilance, the Applicant will conduct the postmarketing
studies listed in Section 11c Recommendation for Postmarketing Activities.

Adverse event reporting under 21 CFR 600.80 and the postmarketing studies in Section
11c are adequate to monitor the postmarketing safety for COMIRNATY.

8. Labeling

The proprietary name, COMIRNATY, was reviewed by CBER’s Advertising and
Promotional Labeling Branch (APLB) on July 2, 2021, and found to be acceptable. CBER
communicated this decision to the Applicant on July 6, 2021. The APLB found the PI and
package/container labels to be acceptable from a promotional and comprehension
perspective. The Review Committee negotiated revisions to the PI, including modifying
the proposed proper name from “COVID-19 mRNA vaccine (nucleoside-modified)” to
“COVID-19 Vaccine, mRNA” and including a warning for an increased risk of myocarditis
and pericarditis following administration of COMIRNATY. All labeling issues regarding
the PI and the carton and container labels were acceptably resolved after exchange of
information and discussions with the Applicant.




                                             25
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 80 of 209 PAGEID #: 1215


9. Advisory Committee Meetings

Vaccines and Related Biological Products Committee (VRBPAC) meetings were
convened on October 22, 2020 to discuss, in general, development for EUA and
licensure of vaccines to prevent COVID-19 and on December 10, 2020, to discuss
BioNTech Manufacturing GmbH/Pfizer’s EUA request for the Pfizer-BioNTech COVID-19
Vaccine.

On October 22, 2020, the VRBPAC was presented with the following items for
discussion (no vote):
   1. Please discuss FDA’s approach to safety and effectiveness data as outlined in the
      respective guidance documents.

   2. Please discuss considerations for continuation of blinded Phase 3 clinical trials if
      an EUA has been issued for an investigational COVID-19 vaccine.

   3. Please discuss studies following licensure and/or issuance of an EUA for COVID-
      19 vaccines to
         a. Further evaluate safety, effectiveness and immune markers of protection
         b. Evaluate the safety and effectiveness in specific populations

In general, the VRBPAC endorsed FDA’s approach and recommendations on the safety
and effectiveness data necessary to support a BLA and EUA for COVID-19 vaccines as
outlined in the respective guidance documents. VRBPAC members recommended for
the median follow-up of 2 month to be the minimum follow-up period and suggested
longer follow-up periods to evaluate, both safety and efficacy, if feasible. The VRBPAC
endorsed the importance of additional studies to further evaluate safety and
effectiveness of the vaccine after EUA issuance and/or licensure and underscored the
need to evaluate the safety and effectiveness of COVID-19 vaccines in specific
populations.

On December 10, 2020, VRBPAC discussed Pfizer- BioNTech Manufacturing GmbH’s
EUA request for their vaccine to prevent COVID-19 in individuals 16 years of age and
older. The committee discussed the safety and efficacy data derived from the clinical
disease endpoint efficacy study C4591001.

The VRPBAC voted on one question:

   1. Based on the totality of scientific evidence available, do the benefits of the Pfizer-
      BioNTech COVID-19 Vaccine outweigh its risks for use in individuals 16 years of
      age and older?

             The results of the vote were as follows:
             Yes = 17        No = 4        Abstain = 1

The VRBPAC was presented with the following items for discussion (no vote):

   1. Pfizer has proposed a plan for continuation of blinded, placebo-controlled follow-
      up in ongoing trials if the vaccine were made available under EUA. Please discuss
                                             26
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 81 of 209 PAGEID #: 1216


       Pfizer’s plan, including how loss of blinded, placebo-controlled follow-up in
       ongoing trials should be addressed.

   2. Please discuss any gaps in plans described today and in the briefing documents
      for further evaluation of vaccine safety and effectiveness in populations who
      receive the Pfizer-BioNTech COVID-19 Vaccine under an EUA.

The committee discussed potential implications of loss of blinded, placebo-controlled
follow-up in ongoing trials including how this may impact availability of safety data to
support a BLA. The VRBPAC commented on the need to further assess vaccine effect
on asymptomatic infection and viral shedding, and further evaluation of safety and
effectiveness in subpopulations such as HIV-infected individuals, individuals with prior
exposure to SARS-CoV-2.

FDA did not refer this application to the VRBPAC because our review of the information
submitted to this BLA did not raise concerns or controversial issues that would have
benefited from an advisory committee discussion.

10. Other Relevant Regulatory Issues

a. Identification of BLA Lots
Upon CBER’s request inquiring about what BLA-compliant EUA-labeled lots may be
available for use upon licensure of COMIRNATY, the Applicant submitted information
listing which lots they considered to be manufactured according to the BLA. To address
the issue of these lots not bearing the vial label associated with BLA approval, CBER
worked with the Applicant to develop a Dear HCP letter to be included with lots
considered by CBER to be BLA-compliant. This letter explained that some lots labeled
for EUA use were also considered BLA-compliant and refers HCP to a website for
additional information. CBER requested and the Applicant agreed that only EUA-labeled
lots that had also undergone CBER lot release according to the BLA would be
considered BLA-compliant and listed at the website included in the Dear HCP letter.

b. Exception to the 21 CFR 610.15(a) Requirement for a Preservative
Under 21 CFR 610.15(a), a vaccine product in multiple-dose containers must (absent
certain exceptions) contain a preservative. The Applicant submitted a request for
exception to this requirement and provided a justification for the multi-dose presentation
of COMIRNATY not containing a preservative. CBER considered the Applicant’s request
for an exception to the 21 CFR 610.15(a) for COMIRNATY as a multiple dose
preservative-free presentation acceptable.

11. Recommendations and Benefit/Risk Assessment

a. Recommended Regulatory Action
   Based on the review of the clinical, pre-clinical, and product-related data submitted in
   the original BLA, the Review Committee recommends approval of COMIRNATY for
   the labeled indication and usage.



                                             27
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 82 of 209 PAGEID #: 1217


b. Benefit/Risk Assessment
   Considering the data submitted to support the safety and effectiveness of
   COMIRNATY that have been presented and discussed in this document, as well as
   the seriousness of COVID-19, the Review Committee is in agreement that the
   risk/benefit balance for COMIRNATY is favorable and supports approval for use in
   individuals 16 years of age and older.

c. Recommendation for Postmarketing Activities
   BioNTech Manufacturing GmbH has committed to conduct the following
   postmarketing activities, which will be included in the approval letter.

POSTMARKETING REQUIREMENTS UNDER SECTION 505(o)

1. Study C4591009, entitled “A Non-Interventional Post-Approval Safety Study of the
   Pfizer-BioNTech COVID-19 mRNA Vaccine in the United States,” to evaluate the
   occurrence of myocarditis and pericarditis following administration of COMIRNATY

       Final Protocol Submission: August 31, 2021
       Monitoring Report Submission: October 31, 2022
       Interim Report Submission: October 31, 2023
       Study Completion: June 30, 2025
       Final Report Submission: October 31, 2025

2. Study C4591021, entitled “Post Conditional Approval Active Surveillance Study
   Among Individuals in Europe Receiving the Pfizer-BioNTech Coronavirus Disease
   2019 (COVID-19) Vaccine,” to evaluate the occurrence of myocarditis and pericarditis
   following administration of COMIRNATY

       Final Protocol Submission: August 11, 2021
       Progress Report Submission: September 30, 2021
       Interim Report 1 Submission: March 31, 2022
       Interim Report 2 Submission: September 30, 2022
       Interim Report 3 Submission: March 31, 2023
       Interim Report 4 Submission: September 30, 2023
       Interim Report 5 Submission: March 31, 2024
       Study Completion: March 31, 2024
       Final Report Submission: September 30, 2024

3. Study C4591021 substudy to describe the natural history of myocarditis and
   pericarditis following administration of COMIRNATY

       Final Protocol Submission: January 31, 2022
       Study Completion: March 31, 2024
       Final Report Submission: September 30, 2024

4. Study C4591036, a prospective cohort study with at least 5 years of follow-up for
   potential long-term sequelae of myocarditis after vaccination (in collaboration with
   Pediatric Heart Network)

                                            28
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 83 of 209 PAGEID #: 1218


       Final Protocol Submission: November 30, 2021
       Study Completion: December 31, 2026
       Final Report Submission: May 31, 2027

5. Study C4591007 substudy to prospectively assess the incidence of subclinical
   myocarditis following administration of the second dose of COMIRNATY in a subset
   of participants 5 through 15 years of age

       Final Protocol Submission: September 30, 2021
       Study Completion: November 30, 2023
       Final Report Submission: May 31, 2024

6. Study C4591031 substudy to prospectively assess the incidence of subclinical
   myocarditis following administration of a third dose of COMIRNATY in a subset of
   participants 16 to 30 years of age

       Final Protocol Submission: November 30, 2021
       Study Completion: June 30, 2022
       Final Report Submission: December 31, 2022

POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
UNDER SECTION 506B

7. Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine Exposure during
   Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and Infant
   Outcomes in the Organization of Teratology Information Specialists
   (OTIS)/MotherToBaby Pregnancy Registry”

       Final Protocol Submission: July 1, 2021
       Study Completion: June 1, 2025
       Final Report Submission: December 1, 2025

8. Study C4591007 substudy to evaluate the immunogenicity and safety of lower dose
   levels of COMIRNATY in individuals 12 through <30 years of age

       Final Protocol Submission: September 30, 2021
       Study Completion: November 30, 2023
       Final Report Submission: May 31, 2024

9. Study C4591012, entitled “Post-emergency Use Authorization Active Safety
   Surveillance Study Among Individuals in the Veteran’s Affairs Health System
   Receiving Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine”

       Final Protocol Submission: January 29, 2021
       Study Completion: June 30, 2023
       Final Report Submission: December 31, 2023

10. Study C4591014, entitled “Pfizer-BioNTech COVID-19 BNT162b2 Vaccine
    Effectiveness Study - Kaiser Permanente Southern California”
                                          29
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 84 of 209 PAGEID #: 1219



       Final Protocol Submission: March 22, 2021
       Study Completion: December 31, 2022
       Final Report Submission: June 30, 2023

PEDIATRIC REQUIREMENTS

11. Deferred pediatric study C4591001 to evaluate the safety and effectiveness of
    COMIRNATY in children 12 years through 15 years of age

       Final Protocol Submission: October 7, 2020
       Study Completion: May 31, 2023
       Final Report Submission: October 31, 2023

12. Deferred pediatric study C4591007 to evaluate the safety and effectiveness of
    COMIRNATY in children 6 months to <12 years of age

       Final Protocol Submission: February 8, 2021
       Study Completion: November 30, 2023
       Final Report Submission: May 31, 2024

13. Deferred pediatric study C4591023 to evaluate the safety and effectiveness of
    COMIRNATY in infants <6 months of age

       Final Protocol Submission: January 31, 2022
       Study Completion: July 31, 2024
       Final Report Submission: October 31, 2024




                                           30
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 85 of 209 PAGEID #: 1220




          Marks Decl.
           Exhibit D
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 86 of 209 PAGEID #: 1221

                       Contains Nonbinding Recommendations



        Development and Licensure of
        Vaccines to Prevent COVID-19
                 Guidance for Industry




                                      U.S. Department of Health and Human Services
                                                      Food and Drug Administration
                                        Center for Biologics Evaluation and Research
                                                                           June 2020
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 87 of 209 PAGEID #: 1222

                           Contains Nonbinding Recommendations


                                      Preface
Public Comment
This guidance is being issued to address the coronavirus disease 2019 (COVID-19) public health
emergency. This guidance is being implemented without prior public comment because the
Food and Drug Administration (FDA or Agency) has determined that prior public participation
for this guidance is not feasible or appropriate (see section 701(h)(1)(C) of the Federal Food,
Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. 371(h)(1)(C)) and 21 CFR 10.115(g)(2)). This
guidance document is being implemented immediately, but it remains subject to comment in
accordance with the Agency’s good guidance practices.

Comments may be submitted at any time for Agency consideration. Submit written comments to
the Dockets Management Staff (HFA-305), Food and Drug Administration, 5630 Fishers Lane,
Rm. 1061, Rockville, MD 20852. Submit electronic comments to https://www.regulations.gov.
All comments should be identified with the docket FDA-2020-D-1137 and complete title of the
guidance in the request.

Additional Copies
Additional copies are available from the FDA webpage titled “COVID-19-Related Guidance
Documents for Industry, FDA Staff, and Other Stakeholders,” available at
https://www.fda.gov/emergency-preparedness-and-response/mcm-issues/covid-19-related-
guidance-documents-industry-fda-staff-and-other-stakeholders, the FDA webpage titled “Search
for FDA Guidance Documents,” available at https://www.fda.gov/regulatory-
information/search-fda-guidance-documents, and the FDA webpage titled “Biologics
Guidances,” available at https://www.fda.gov/vaccines-blood-biologics/guidance-compliance-
regulatory-information-biologics/biologics-guidances. You may also send an email request to
ocod@fda.hhs.gov to receive an additional copy of the guidance. Please include the docket
number FDA-2020-D-1137 and complete title of the guidance in the request.

Questions
For questions about this document, contact the Office of Communication, Outreach, and
Development (OCOD) by email at ocod@fda.hhs.gov or at 800-835-4709 or 240-402-8010.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 88 of 209 PAGEID #: 1223

                                             Contains Nonbinding Recommendations


                                                       Table of Contents

I.          INTRODUCTION..................................................................................................................... 1
II.         BACKGROUND ....................................................................................................................... 2
III.        CHEMISTRY, MANUFACTURING, AND CONTROLS – KEY CONSIDERATIONS . 3
       A.        General Considerations ..................................................................................................... 3
       B.        Manufacture of Drug Substance and Drug Product ....................................................... 3
       C.        Facilities and Inspections ................................................................................................... 5
IV.         NONCLINICAL DATA – KEY CONSIDERATIONS ......................................................... 6
       A.        General Considerations ..................................................................................................... 6
       B.        Toxicity Studies (Refs. 10-14) ............................................................................................ 6
       C.        Characterization of the Immune Response in Animal Models ...................................... 7
       D.        Studies to Address the Potential for Vaccine-associated Enhanced Respiratory
                 Disease ................................................................................................................................. 8
V.          CLINICAL TRIALS – KEY CONSIDERATIONS .............................................................. 9
       A.        General Considerations ..................................................................................................... 9
       B.        Trial Populations .............................................................................................................. 10
       C.        Trial Design....................................................................................................................... 12
       D.        Efficacy Considerations ................................................................................................... 13
       E.        Statistical Considerations ................................................................................................ 14
       F.        Safety Considerations ...................................................................................................... 15
VI.         POST-LICENSURE SAFETY EVALUATION – KEY CONSIDERATIONS ................ 16
       A.        General Considerations ................................................................................................... 16
       B.        Pharmacovigilance Activities for COVID-19 Vaccines ................................................ 16
       C.        Required Postmarketing Safety Studies ......................................................................... 17
VII.        DIAGNOSTIC AND SEROLOGICAL ASSAYS – KEY CONSIDERATIONS .............. 17
VIII. ADDITIONAL CONSIDERATIONS ................................................................................... 18
       A.        Additional Considerations in Demonstrating Vaccine Effectiveness .......................... 18
       B.        Emergency Use Authorization ........................................................................................ 19
IX.         REFERENCES........................................................................................................................ 20




                                                                             i
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 89 of 209 PAGEID #: 1224

                              Contains Nonbinding Recommendations


           Development and Licensure of
           Vaccines to Prevent COVID-19
                       Guidance for Industry
This guidance represents the current thinking of the Food and Drug Administration (FDA or Agency)
on this topic. It does not establish any rights for any person and is not binding on FDA or the public.
You can use an alternative approach if it satisfies the requirements of the applicable statutes and
regulations. To discuss an alternative approach, contact the FDA staff responsible for this guidance
as listed on the title page.


I.     INTRODUCTION

FDA plays a critical role in protecting the United States from threats such as emerging infectious
diseases, including the Coronavirus Disease 2019 (COVID-19) pandemic which has been caused by
the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2). FDA is committed to
providing timely guidance to support response efforts to this pandemic.

FDA is issuing this guidance to assist sponsors in the clinical development and licensure of vaccines
for the prevention of COVID-19.

This guidance is intended to remain in effect for the duration of the public health emergency related
to COVID-19 declared by the Secretary of Health and Human Services (HHS) on January 31, 2020,
effective January 27, 2020, including any renewals made by the HHS Secretary in accordance with
section 319(a)(2) of the Public Health Service Act (PHS Act) (42 U.S.C. 247d(a)(2)). The
recommendations described in the guidance are expected to assist the Agency and sponsors in the
clinical development and licensure of vaccines for the prevention of COVID-19 and reflect the
Agency’s current thinking on this issue.

Given this public health emergency, and as discussed in the Notice in the Federal Register of March
25, 2020, titled “Process for Making Available Guidance Documents Related to Coronavirus Disease
2019” (85 FR 16949), available at https://www.govinfo.gov/content/pkg/FR-2020-03-25/pdf/2020-
06222.pdf, this guidance is being implemented without prior public comment because FDA has
determined that prior public participation for this guidance is not feasible or appropriate (see section
701(h)(1)(C) of the Federal Food, Drug, and Cosmetic Act (FD&C Act), (21 U.S.C. 371(h)(1)(C)),
and 21 CFR 10.115(g)(2)). This guidance document is being implemented immediately, but it
remains subject to comment in accordance with the Agency’s good guidance practices. However,
FDA expects that the recommendations set forth in this revised guidance will continue to apply
outside the context of the current public health emergency.



                                                   1
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 90 of 209 PAGEID #: 1225

                                  Contains Nonbinding Recommendations

Therefore, within 60 days following the termination of the public health emergency, FDA intends to
revise and replace this guidance with an updated guidance that incorporates any appropriate changes
based on comments received on this guidance and the Agency’s experience with implementation.

In general, FDA’s guidance documents, including this guidance, do not establish legally enforceable
responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should be
viewed only as recommendations, unless specific regulatory or statutory requirements are cited. The
use of the word should in Agency guidance means that something is suggested or recommended, but
not required.


II.     BACKGROUND

There is currently an outbreak of respiratory disease caused by a novel coronavirus. The virus has
been named “SARS-CoV-2” and the disease it causes has been named “COVID-19.” On January 31,
2020, the Secretary of HHS issued a declaration of a public health emergency related to COVID-19
and mobilized the Operating Divisions of HHS. 1 In addition, on March 13, 2020, the President
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declared a national emergency in response to COVID-19. 2           1F




The SARS-CoV-2 pandemic presents an extraordinary challenge to global health. There are
currently no FDA-licensed vaccines to prevent COVID-19. Commercial vaccine manufacturers and
other entities are developing COVID-19 vaccine candidates using different technologies including
RNA, DNA, protein, and viral vectored vaccines.

This guidance describes FDA’s current recommendations regarding the data needed to facilitate
clinical development and licensure of vaccines to prevent COVID-19. There are currently no
accepted surrogate endpoints that are reasonably likely to predict clinical benefit of a COVID-19
vaccine. Thus, at this time, the goal of development programs should be to pursue traditional
approval via direct evidence of vaccine safety and efficacy in protecting humans from SARS-CoV-2
infection and/or clinical disease.

This guidance provides an overview of key considerations to satisfy regulatory requirements set forth
in the investigational new drug application (IND) regulations in 21 CFR Part 312 and licensing
regulations in 21 CFR Part 601 for chemistry, manufacturing, and controls (CMC), and nonclinical
and clinical data through development and licensure, and for post-licensure safety evaluation of
COVID-19 preventive vaccines. 3 FDA is committed to supporting all scientifically sound
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approaches to attenuating the clinical impact of COVID-19. Sponsors engaged in the development
of vaccines to prevent COVID-19 should also see the guidance for industry and investigators,
COVID-19 Public Health Emergency: General Considerations for Pre-IND Meeting Requests for
COVID-19 Related Drugs and Biological Products (Ref. 1).



1
  Secretary of Health and Human Services Alex M. Azar, Determination that a Public Health Emergency Exists. (Jan. 31,
2020, renewed April 21, 2020), available at https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
2
  Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak
(Mar. 13, 2020), available at https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
3
  Novel devices used to administer COVID-19 vaccines raise additional issues which are not addressed in this guidance.
                                                            2
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 91 of 209 PAGEID #: 1226

                              Contains Nonbinding Recommendations


There are many COVID-19 vaccines currently in development and FDA recognizes that the
considerations presented here do not represent all the considerations necessary to satisfy statutory
and regulatory requirements applicable to the licensure of vaccines intended to prevent COVID-19.
The nature of a particular vaccine and its intended use may impact specific data needs. We encourage
sponsors to contact the Center for Biologics Evaluation and Research (CBER) Office of Vaccines
Research and Review (OVRR) with specific questions.


III.   CHEMISTRY, MANUFACTURING, AND CONTROLS – KEY CONSIDERATIONS

       A.       General Considerations

            •      COVID-19 vaccines licensed in the United States must meet the statutory and
                   regulatory requirements for vaccine development and approval, including for
                   quality, development, manufacture, and control (section 351(a) of the Public
                   Health Service Act (PHS Act), (42 U.S.C. 262)). The vaccine product must be
                   adequately characterized and its manufacture in compliance with applicable
                   standards including current good manufacturing practice (cGMP) (section
                   501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)( B)) and 21 CFR Parts 210,
                   211, and 610). It is critical that vaccine production processes for each vaccine are
                   well defined and appropriately controlled to ensure consistency in manufacturing.

            •      COVID-19 vaccine development may be accelerated based on knowledge gained
                   from similar products manufactured with the same well-characterized platform
                   technology, to the extent legally and scientifically permissible. Similarly, with
                   appropriate justification, some aspects of manufacture and control may be based
                   on the vaccine platform, and in some instances, reduce the need for product-
                   specific data. FDA recommends that vaccine manufacturers engage in early
                   communications with OVRR to discuss the type and extent of chemistry,
                   manufacturing, and control information needed for development and licensure of
                   their COVID-19 vaccine.

       B.       Manufacture of Drug Substance and Drug Product

            •      Data should be provided to show that all source material used in manufacturing is
                   adequately controlled, including, for example, history and qualification of cell
                   banks, history and qualification of virus banks, and identification of all animal
                   derived materials used for cell culture and virus growth.

            •      Complete details of the manufacturing process must be provided in a Biologics
                   License Application (BLA) to support licensure of a COVID-19 vaccine (21 CFR
                   601.2). Accordingly, sponsors should submit data and information identifying
                   critical process parameters, critical quality attributes, batch records, defined hold
                   times, and the in-process testing scheme. Specifications should be established for



                                                   3
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 92 of 209 PAGEID #: 1227

                          Contains Nonbinding Recommendations

               each critical parameter. Validation data from the manufacture of platform-related
               products may provide useful supportive information, particularly in the
               identification of critical parameters.

        •      In-process control tests must be established that allow quality to be monitored for
               each lot for all stages of production (section 501(a)(2)(B) of the FD&C Act (21
               U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.110(a)).

        •      Data to support the consistency of the manufacturing process should be provided,
               including process validation protocols and study reports, data from engineering
               lots, and drug substance process performance qualification.

        •      The manufacturing process must be adequately validated (section 501(a)(2)(B) of
               the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.100(a)
               and 211.110). Validation would typically include a sufficient number of
               commercial-scale batches that can be manufactured routinely, meeting
               predetermined in-process controls, critical process parameters, and lot release
               specifications. Typically, data on the manufacture of at least three commercial-
               scale batches are sufficient to support the validation of the manufacturing process
               (Ref. 2).

        •      A quality control system should be in place for all stages of manufacturing,
               including a well-defined testing program to ensure in process/intermediate product
               quality and product quality throughout the formulation and filling process. This
               system should also include a well-defined testing program to ensure drug
               substance quality profile and drug product quality for release. Data on the
               qualification/validation for all quality indicating assays should be submitted to the
               BLA to support licensure.

        •      All quality-control release tests, including key tests for vaccine purity, identity and
               potency, should be validated and shown to be suitable for the intended purpose.
               Release specifications are product specific and will be discussed with the sponsor
               as part of the review of a BLA.

        •      If adequately justified, final validation of formulation and filling operations may
               be completed after product approval if the impact on product quality is not
               compromised. It is important that any data that will be submitted after product
               approval be agreed upon prior to licensure and be submitted as a postmarketing
               commitment using the appropriate submission category.

        •      For vaccine licensure, the stability and expiry date of the vaccine in its final
               container, when maintained at the recommended storage temperature, should be
               demonstrated using final containers from at least three final lots made from
               different vaccine bulks.

        •      Storage conditions, including container closure integrity, must be fully validated
               (21 CFR 211.166).

                                                4
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 93 of 209 PAGEID #: 1228

                           Contains Nonbinding Recommendations

          •      The vaccine must have been shown to maintain its potency for a period equal to
                 that from the date of release to the expiry date (21 CFR 601.2 and 610.10). Post
                 marketing commitments to provide full shelf life data may be acceptable with
                 appropriate justification.

          •      A product specific stability program should be established to verify that licensed
                 product maintains quality over the defined shelf life.

     C.       Facilities and Inspections

          •      Facilities must be of suitable size and construction to facilitate operations and
                 should be adequately designed to prevent contamination, cross-contamination and
                 mix-ups (section 501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as
                 applicable,21 CFR 211.42(a)). All utilities (including plumbing and sanitation)
                 must be validated, and HVAC systems must provide adequate control over air
                 pressure, micro-organisms, dust, humidity, and temperature, and sufficient
                 protection or containment as needed (section 501(a)(2)(B) of the FD&C Act (21
                 U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.46(c)) (Ref. 3). Facility and
                 equipment cleaning and maintenance processes must be developed and validated
                 (section 501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as
                 applicable, 21 CFR 211.56(c) and 211.67(b)).

          •      Manufacturing equipment should be qualified and sterile filtration and sterilization
                 processes validated. Aseptic processes should be adequately validated using
                 media simulations and personnel should be trained and qualified for their intended
                 duties.

          •      A quality control unit must be established and must have the responsibility for
                 oversight of manufacturing, and review and release of components, containers and
                 closures, labeling, in-process material, and final products (section 501(a)(2)(B) of
                 the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.22). The
                 quality control unit must have the responsibility for approving validation
                 protocols, reports, investigate deviations, and institute corrective and preventive
                 actions.

          •      FDA recommends that vaccine manufacturers engage in early communication
                 with CBER’s Office of Compliance and Biologics Quality, Division of
                 Manufacturing and Product Quality to discuss facility preparation and inspection
                 timing.

          •      Pre-license inspections of manufacturing sites are considered part of the review of
                 a BLA and are generally conducted following the acceptance of a BLA filing (21
                 CFR 601.20). During the COVID-19 public health emergency, FDA is utilizing
                 all available tools and sources of information to support regulatory decisions on
                 applications that include sites impacted by FDA’s ability to inspect due to
                 COVID-19. During this interim period, we are using additional tools, where
                 available, to determine the need for an on-site inspection and to support the
                                                 5
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 94 of 209 PAGEID #: 1229

                                   Contains Nonbinding Recommendations

                      application assessment, such as reviewing a firm’s previous compliance history,
                      and requesting records in advance of or in lieu of on-site inspections or voluntarily
                      from facilities and sites.


IV.      NONCLINICAL DATA – KEY CONSIDERATIONS

         A.       General Considerations

              •       The purpose of nonclinical studies of a COVID-19 vaccine candidate is to define
                      its immunogenicity and safety characteristics through in vitro and in vivo testing.
                      Nonclinical studies in animal models 4 help identify potential vaccine related
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                      safety risks and guide the selection of dose, dosing regimen, and route of
                      administration to be used in clinical studies. The extent of nonclinical data
                      required to support proceeding to first in human (FIH) clinical trials depends on
                      the vaccine construct, the supportive data available for the construct and data from
                      closely related vaccines.

              •       Data from studies in animal models administered certain vaccine constructs
                      against other coronaviruses (SARS-CoV and MERS-CoV) have raised concerns of
                      a theoretical risk for COVID-19 vaccine-associated enhanced respiratory disease
                      (ERD). In these studies, animal models were administered vaccine constructs
                      against other coronaviruses and subsequently challenged with the respective wild-
                      type virus. These studies have shown evidence of immunopathologic lung
                      reactions characteristic of a Th-2 type hypersensitivity similar to ERD described
                      in infants and animals that were administered formalin-inactivated respiratory
                      syncytial virus (RSV) vaccine and that were subsequently challenged with RSV
                      virus due to natural exposure or in the laboratory, respectively (Refs. 4-9).
                      Vaccine candidates should be assessed in light of these studies as described in
                      section D, below.

              •       FDA recommends that vaccine manufacturers engage in early communications
                      with FDA to discuss the type and extent of nonclinical testing required for the
                      particular COVID-19 vaccine candidate to support proceeding to FIH clinical
                      trials and further clinical development.

         B.       Toxicity Studies (Refs. 10-14)

              •       For a COVID-19 vaccine candidate consisting of a novel product type and for
                      which no prior nonclinical and clinical data are available, nonclinical safety
                      studies will be required prior to proceeding to FIH clinical trials 21 CFR
                      312.23(a)(8).

4
 The preclinical program for any investigational product should be individualized with respect to scope, complexity, and
overall design. We support the principles of the “3Rs,” to reduce, refine, and replace animal use in testing when feasible.
Proposals, with justification for any potential alternative approaches (e.g., in vitro or in silico testing), should be
submitted during early communication meetings with FDA (see section VI of this document). We will consider if such
an alternative method could be used in place of an animal test method.
                                                             6
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 95 of 209 PAGEID #: 1230

                           Contains Nonbinding Recommendations


          •      In some cases, it may not be necessary to perform nonclinical safety studies prior
                 to FIH clinical trials because adequate information to characterize product safety
                 may be available from other sources. For example, if the COVID-19 vaccine
                 candidate is made using a platform technology utilized to manufacture a licensed
                 vaccine or other previously studied investigational vaccines and is sufficiently
                 characterized, it may be possible to use toxicology data (e.g., data from repeat
                 dose toxicity studies, biodistribution studies) and clinical data accrued with other
                 products using the same platform to support FIH clinical trials for that COVID-19
                 vaccine candidate. Vaccine manufacturers should summarize the findings and
                 provide a rationale if considering using these data in lieu of performing
                 nonclinical safety studies.

          •      When needed to support proceeding to FIH clinical trials, nonclinical safety
                 assessments including toxicity and local tolerance studies must be conducted
                 under conditions consistent with regulations prescribing good laboratory practices
                 for conducting nonclincial laboratory studies (GLP) (21 CFR Part 58). Such
                 studies should be completed and analysed prior to initiation of FIH clinical trials.
                 When toxicology studies do not adequately characterize risk, additional safety
                 testing should be conducted as appropriate.

          •      Data from toxicity studies may be submitted as unaudited final draft toxicicologic
                 reports to accelerate proceeding to FIH clincial trials with COVID-19 vaccine
                 candidates. The final, fully quality-assured reports should be available to FDA
                 within 120 days of the start of the FIH clinical trial.

          •      Use of COVID-19 preventive vaccines in pregnancy and in women of
                 childbearing potential will be an important consideration for vaccination
                 programs. Therefore, FDA recommends that prior to enrolling pregnant women
                 and women of childbearing potential who are not actively avoiding pregnancy in
                 clinical trials, sponsors conduct developmental and reproductive toxicity (DART)
                 studies with their respective COVID-19 vaccine candidate. Alternatively,
                 sponsors may submit available data from DART studies with a similar product
                 using comparable platform technology if, after consultation with the agency, the
                 agency agrees those data are scientifically sufficient.

          •      Biodistribution studies in an animal species should be considered if the vaccine
                 construct is novel in nature and there are no existing biodistribution data from the
                 platform technology. These studies should be conducted if there is a likelihood of
                 altered infectivity and tissue tropism or if a novel route of administration and
                 formulation is to be used.

     C.       Characterization of the Immune Response in Animal Models

          •      Immunogenicity studies in animal models responsive to the selected COVID-19
                 vaccine antigen should be conducted to evaluate the immunologic properties of
                 the COVID-19 vaccine candidate and to support FIH clinical trials. The aspects of

                                                 7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 96 of 209 PAGEID #: 1231

                           Contains Nonbinding Recommendations

                 immunogenicity to be measured should be appropriate for the vaccine construct
                 and its intended mechanism of action.

          •      Studies should include an evaluation of humoral, cellular, and functional immune
                 responses, as appropriate to each of the included COVID-19 antigens. Use of
                 antigen-specific enyzme linked immunosorbent assays (ELISA) should be
                 considered to characterize the humoral response. Evaluation of cellular reponses
                 should include the examination of CD8+ and CD4+ T cell responses using
                 sensitive and specific assays. The functional activity of immune responses should
                 be evaluated in vitro in neutralization assays using either wild-type virus or
                 pseudovirion virus. The assays used for immunogencity evaluation should be
                 demonstrated to be suitable for their intended purpose.

     D.       Studies to Address the Potential for Vaccine-associated Enhanced Respiratory
              Disease

          •      Current knowledge and understanding of the potential risk of COVID-19 vaccine
                 associated ERD is limited, as is understanding of the value of available animal
                 models in predicting the likelihood of such occurrence in humans. Nevertheless,
                 studies in animal models (e.g., rodents and non-human primates) are considered
                 important to address the potential for vaccine-associated ERD.

          •      Post-vaccination animal challenge studies and the characterization of the type of
                 the nonclinical and clinical immune response induced by the particular COVID-19
                 vaccine candidate can be used to evaluate the likelihood of the vaccine to induce
                 vaccine-associated ERD in humans.

          •      To support proceeding to FIH clinical trials, sponsors should conduct studies
                 characterizing the vaccine-induced immune response in animal models evaluating
                 immune markers of potential ERD outcomes. These should include assessments
                 of functional immune responses (e.g., neutralizing antibody) versus total antibody
                 responses and Th1/Th2 balance in animals vaccinated with clinically relevant
                 doses of the COVID-19 vaccine candidate.

          •      COVID-19 vaccine candidates with immunogenicity data demonstrating high
                 neutralizing antibody titers and Th1-type T cell polarization may be allowed to
                 proceed to FIH trials without first completing postvaccination challenge studies in
                 appropriate animal models, provided adequate risk mitigation strategies are put in
                 place in the FIH trials. In these situations, postvaccination challenge studies are
                 expected to be conducted in parallel with FIH trials to ensure the potential for
                 vaccine-associated ERD is addressed prior to enrolling large numbers of human
                 subjects into Phase 2 and 3 clinical trials. For COVID-19 vaccine candidates for
                 which other data raise increased concerns about ERD, postvaccination animal
                 challenge data and/or animal immunopathology studies are critical to assess
                 protection and/or ERD prior to advancing to FIH clinical trials.



                                                8
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 97 of 209 PAGEID #: 1232

                           Contains Nonbinding Recommendations

          •      The totality of data for a specific COVID-19 vaccine candidate, including data
                 from postvaccination challenge studies in small animal models and from FIH
                 clinical trials characterizing the type of immune responses induced by the vaccine
                 will be considered in determining whether Phase 3 studies can proceed in the
                 absence of postvaccination challenge data to address risk of ERD.


V.   CLINICAL TRIALS – KEY CONSIDERATIONS

     A.       General Considerations

          •      Understanding of SARS-CoV-2 immunology, and specifically vaccine immune
                 responses that might predict protection against COVID-19, is currently limited
                 and evolving. Thus, while evaluation of immunogenicity is an important
                 component of COVID-19 vaccine development, at this time, the goal of
                 development programs should be to pursue traditional approval via direct evidence
                 of vaccine efficacy in protecting humans from SARS-CoV-2 infection and/or
                 disease.

          •      Clinical development programs for COVID-19 vaccines might be expedited by
                 adaptive and/or seamless clinical trial designs (described below) that allow for
                 selection between vaccine candidates and dosing regimens and for more rapid
                 progression through the usual phases of clinical development.

          •      Regardless of whether clinical development programs proceed in discrete phases
                 with separate studies or via a more seamless approach, an adequate body of data,
                 including data to inform the risk of vaccine-associated ERD, will be needed as
                 clinical development progresses to support the safety of vaccinating the proposed
                 study populations and number of participants and, for later stage development, to
                 ensure that the study design is adequate to meet its objectives.

          •      FDA can provide early advice, and potentially concurrence in principle, on plans
                 for expedited/seamless clinical development. However, sponsors should plan to
                 submit summaries of data available at each development milestone for FDA
                 review and concurrence prior to advancing to the next phase of development.

          •      Conducting clinical trials in the setting of a public health emergency presents
                 operational challenges. FDA has issued guidance to provide general
                 considerations to assist sponsors in assuring the safety of trial participants,
                 maintaining compliance with good clinical practice (GCP), and minimizing risks
                 to trial integrity for the duration of the COVID-19 public health emergency. It
                 should be noted that not all of the recommendations in that guidance may be
                 applicable to vaccine development, given some of the different considerations for
                 these products (Ref. 15).




                                                9
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 98 of 209 PAGEID #: 1233

                            Contains Nonbinding Recommendations

     B.       Trial Populations

          •      Once acceptable pre-clinical data are available, FIH and other early phase studies
                 (which typically expose 10–100 participants to each vaccine candidate being
                 evaluated) should first enroll healthy adult participants who are at low risk of
                 severe COVID-19. Exclusion of participants at higher risk of severe COVID-19
                 from early phase studies is necessary to mitigate potential risk of vaccine-
                 associated ERD until additional data to inform that potential risk becomes
                 available through ongoing product development.

                 o As the understanding of COVID-19 pathogenesis continues to evolve,
                   exclusion criteria should reflect the current understanding of risk factors for
                   more severe COVID-19, such as those described by the Centers for Disease
                   Control and Prevention (Ref. 16).

                 o Older adult participants (e.g., over 55 years of age) may be enrolled in FIH
                   and other early phase studies so long as they do not have medical
                   comorbidities associated with an increased risk of severe COVID-19. Some
                   preliminary safety data in younger adults (e.g., 7 days after a single
                   vaccination) should be available prior to enrolling older adult participants,
                   especially for vaccine platforms without prior clinical experience.

                 o If possible, early clinical studies should also exclude participants at high risk
                   of SARS-CoV-2 exposure (e.g., healthcare workers).

          •     Sponsors should collect and evaluate at least preliminary clinical safety and
                immunogenicity data for each dose level and age group (e.g., younger versus older
                adults) to support progression of clinical development to include larger numbers
                (e.g., hundreds) of participants and participants at higher risk of severe COVID-19.

                 o Preliminary immunogenicity data from early phase development should
                   include assessments of neutralizing vs. total antibody responses and Th1 vs.
                   Th2 polarization.

                 o Additional data to further inform potential risk of vaccine-associated ERD and
                   to support progression of clinical development, if available, may include
                   preliminary evaluation of COVID-19 disease outcomes from earlier clinical
                   development and results of non-clinical studies evaluating protection and/or
                   histopathological markers of vaccine-associated ERD following SARS-CoV-2
                   challenge.

          •      To generate sufficient data to meet the BLA approval standard, late phase clinical
                 trials to demonstrate vaccine efficacy with formal hypothesis testing will likely
                 need to enroll many thousands of participants, including many with medical
                 comorbidities for trials seeking to assess protection against severe COVID-19.

                 o Initiation of late phase trials should be preceded by adequate characterization
                   of safety and immunogenicity (e.g., in a few hundred participants for each
                                                 10
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 99 of 209 PAGEID #: 1234

                         Contains Nonbinding Recommendations

                  vaccine candidate, dose level, and age group to be evaluated) to support
                  general safety, potential for vaccine efficacy, and low risk of vaccine-
                  associated ERD.

               o Results of non-clinical studies evaluating protection and/or histopathological
                 markers of vaccine-associated ERD following SARS-CoV-2 challenge and
                 COVID-19 disease outcomes from earlier clinical development are other
                 potentially important sources of information to support clinical trials with
                 thousands of participants.

        •      Although establishing vaccine safety and efficacy in SARS-CoV-2 naïve
               individuals is critical, vaccine safety and COVID-19 outcomes in individuals with
               prior SARS-CoV-2 infection, which might have been asymptomatic, is also
               important to examine because pre-vaccination screening for prior infection is
               unlikely to occur in practice with the deployment of licensed COVID-19 vaccines.
               Therefore, COVID-19 vaccine trials need not screen for or exclude participants
               with history or laboratory evidence of prior SARS-CoV-2 infection. However,
               individuals with acute COVID-19 (or other acute infectious illness) should be
               excluded from COVID-19 vaccine trials.

        •      FDA encourages the inclusion of diverse populations in all phases of vaccine
               clinical development. This inclusion helps to ensure that vaccines are safe and
               effective for everyone in the indicated populations.

               o FDA strongly encourages the enrollment of populations most affected by
                 COVID-19, specifically racial and ethnic minorities.

               o Evaluation of vaccine safety and efficacy in late phase clinical development in
                 adults should include adequate representation of elderly individuals and
                 individuals with medical comorbidities.

               o FDA encourages vaccine developers to consider early in their development
                 programs data that might support inclusion of pregnant women and women of
                 childbearing potential who are not actively avoiding pregnancy in pre-
                 licensure clinical trials (Ref. 17).

               o It is important for developers of COVID-19 vaccines to plan for pediatric
                 assessments of safety and effectiveness, given the nature of the COVID-19
                 public health emergency, and to help ensure compliance with the Pediatric
                 Research Equity Act (PREA) (section 505B of the FD&C Act (21 U.S.C.
                 355c)) (Ref. 18). The epidemiology and pathogenesis of COVID-19, and the
                 safety and effectiveness of COVID-19 vaccines, may be different in children
                 compared with adults. In order to ensure compliance with 21 CFR Part 50
                 Subpart D (Additional safeguards for children in clinical investigations),
                 considerations on the prospect of direct benefit and acceptable risk to support
                 initiation of pediatric studies, and the appropriate design and endpoints for
                 pediatric studies, should be discussed in the context of specific vaccine
                 development programs.
                                             11
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 100 of 209 PAGEID #: 1235

                              Contains Nonbinding Recommendations

      C.       Trial Design

           •      Early phase trials often aim to down-select among multiple vaccine candidates
                  and/or dosing regimens via randomization of participants to different treatment
                  groups. While including a placebo control and blinding are not required for early
                  phase studies, doing so may assist in interpretation of preliminary safety data.

           •      Later phase trials, including efficacy trials, should be randomized, double-blinded,
                  and placebo controlled.

                  o An individually randomized controlled trial with 1:1 randomization between
                    vaccine and placebo groups is usually the most efficient study design for
                    demonstrating vaccine efficacy. Other types of randomization, such as cluster
                    randomization, may be acceptable but require careful consideration of
                    potential biases that are usually avoided with individual randomization.

                  o An efficacy trial that evaluates multiple vaccine candidates against a single
                    placebo group may be an acceptable approach to further increase efficiency,
                    provided that the trial is adequately designed with appropriate statistical
                    methods to evaluate efficacy.

                  o If the availability of a COVID-19 vaccine proven to be safe and effective
                    precludes ethical inclusion of a placebo control group, that vaccine could serve
                    as the control treatment in a study designed to evaluate efficacy with non-
                    inferiority hypothesis testing.

           •      Protocols for adaptive trials should include pre-specified criteria for adding or
                  removing vaccine candidates or dosing regimens, and protocols for seamless trials
                  should include pre-specified criteria (e.g., safety and immunogenicity data) for
                  advancing from one phase of the study to the next.

           •      Follow-up of study participants for COVID-19 outcomes (in particular, for severe
                  COVID-19 disease manifestations) should continue as long as feasible, ideally at
                  least one to two years, to assess duration of protection and potential for vaccine-
                  associated ERD as immune responses to the vaccine wane.

           •      Efficacy trials should include contingency plans for continued follow up and
                  analysis of safety and effectiveness outcomes in the event that a safe and effective
                  vaccine becomes available (e.g., as demonstrated in a planned interim analysis or
                  as demonstrated in another clinical trial). In that case, discussion with the agency
                  may be necessary to address ethical arguments to break the blind and offer vaccine
                  to placebo recipients.

           •      In cases where statistical equivalency testing of vaccine immune responses in
                  humans is required to support manufacturing consistency (clinical lot-to-lot
                  consistency trial), this testing can be incorporated into the design of an efficacy
                  trial and does not need to be conducted in a separate study.

                                                  12
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 101 of 209 PAGEID #: 1236

                             Contains Nonbinding Recommendations

      D.       Efficacy Considerations

           •      Either laboratory-confirmed COVID-19 or laboratory-confirmed SARS-CoV-2
                  infection is an acceptable primary endpoint for a COVID-19 vaccine efficacy trial.

                  o Acute cases of COVID-19 should be virologically confirmed (e.g., by RT-
                    PCR).

                  o SARS-CoV-2 infection, including asymptomatic infection, can be monitored
                    for and confirmed either by virologic methods or by serologic methods
                    evaluating antibodies to SARS-CoV-2 antigens not included in the vaccine.

           •      Standardization of efficacy endpoints across clinical trials may facilitate
                  comparative evaluation of vaccines for deployment programs, provided that such
                  comparisons are not confounded by differences in trial design or study
                  populations. To this end, FDA recommends that either the primary endpoint or a
                  secondary endpoint (with or without formal hypothesis testing) be defined as
                  virologically confirmed SARS-CoV-2 infection with one or more of the following
                  symptoms:
                  o   Fever or chills
                  o   Cough
                  o   Shortness of breath or difficulty breathing
                  o   Fatigue
                  o   Muscle or body aches
                  o   Headache
                  o   New loss of taste or smell
                  o   Sore throat
                  o   Congestion or runny nose
                  o   Nausea or vomiting
                  o   Diarrhea

           •      As it is possible that a COVID-19 vaccine might be much more effective in
                  preventing severe versus mild COVID-19, sponsors should consider powering
                  efficacy trials for formal hypothesis testing on a severe COVID-19 endpoint.
                  Regardless, severe COVID-19 should be evaluated as a secondary endpoint (with
                  or without formal hypothesis testing) if not evaluated as a primary endpoint. FDA
                  recommends that severe COVID-19 be defined as virologically confirmed SARS-
                  CoV-2 infection with any of the following:

                  o Clinical signs at rest indicative of severe systemic illness (respiratory rate ≥ 30
                    per minute, heart rate ≥ 125 per minute, SpO2 ≤ 93% on room air at sea level
                    or PaO2/FiO2 < 300 mm Hg)
                  o Respiratory failure (defined as needing high-flow oxygen, noninvasive
                    ventilation, mechanical ventilation or ECMO)
                  o Evidence of shock (SBP < 90 mm Hg, DBP < 60 mm Hg, or requiring
                    vasopressors)
                  o Significant acute renal, hepatic, or neurologic dysfunction

                                                 13
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 102 of 209 PAGEID #: 1237

                             Contains Nonbinding Recommendations

                  o Admission to an ICU
                  o Death

           •      SARS-CoV-2 infection (whether or not symptomatic) should be evaluated as a
                  secondary or exploratory endpoint, if not evaluated as a primary endpoint.

           •      The above diagnostic criteria may need to be modified in certain populations; for
                  example, in pediatric patients and those with respiratory comorbidities. Sponsors
                  should discuss their proposed case definitions with the Agency prior to initiating
                  enrollment.

      E.       Statistical Considerations

           •      To ensure that a widely deployed COVID-19 vaccine is effective, the primary
                  efficacy endpoint point estimate for a placebo-controlled efficacy trial should be at
                  least 50%, and the statistical success criterion should be that the lower bound of
                  the appropriately alpha-adjusted confidence interval around the primary efficacy
                  endpoint point estimate is >30%.

                  o The same statistical success criterion should be used for any interim analysis
                    designed for early detection of efficacy.

                  o A lower bound ≤30% but >0% may be acceptable as a statistical success
                    criterion for a secondary efficacy endpoint, provided that secondary endpoint
                    hypothesis testing is dependent on success on the primary endpoint.

           •      For non-inferiority comparison to a COVID-19 vaccine already proven to be
                  effective, the statistical success criterion should be that the lower bound of the
                  appropriately alpha-adjusted confidence interval around the primary relative
                  efficacy point estimate is >-10%.

           •      For each vaccine candidate, appropriate statistical methods should be used to
                  control type 1 error for hypothesis testing on multiple endpoints and/or interim
                  efficacy analyses.

           •      Late phase studies should include interim analyses to assess risk of vaccine-
                  associated ERD (see section F) and futility.

           •      Study sample sizes and timing of interim analyses should be based on the
                  statistical success criteria for primary and secondary (if applicable) efficacy
                  analyses and realistic, data-driven estimates of vaccine efficacy and incidence of
                  COVID-19 (or SARS-CoV-2 infection) for the populations and locales in which
                  the trial will be conducted.




                                                  14
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 103 of 209 PAGEID #: 1238

                            Contains Nonbinding Recommendations

      F.       Safety Considerations

           •      The general safety evaluation of COVID-19 vaccines, including the size of the
                  safety database to support vaccine licensure, should be no different than for other
                  preventive vaccines for infectious diseases. Safety assessments throughout
                  clinical development should include:

                  o Solicited local and systemic adverse events for at least 7 days after each study
                    vaccination in an adequate number of study participants to characterize
                    reactogenicity (including at least a subset of participants in late phase efficacy
                    trials).

                  o Unsolicited adverse events in all study participants for at least 21–28 days
                    after each study vaccination.

                  o Serious and other medically attended adverse events in all study participants
                    for at least 6 months after completion of all study vaccinations. Longer safety
                    monitoring may be warranted for certain vaccine platforms (e.g., those that
                    include novel adjuvants).

                  o All pregnancies in study participants for which the date of conception is prior
                    to vaccination or within 30 days after vaccination should be followed for
                    pregnancy outcomes, including pregnancy loss, stillbirth, and congenital
                    anomalies.

           •      The pre-licensure safety database for preventive vaccines for infectious diseases
                  typically consists of at least 3,000 study participants vaccinated with the dosing
                  regimen intended for licensure. FDA anticipates that adequately powered efficacy
                  trials for COVID-19 vaccines will be of sufficient size to provide an acceptable
                  safety database for each of younger adult and elderly populations, provided that no
                  significant safety concerns arise during clinical development that would warrant
                  further pre-licensure evaluation.

           •      COVID-19 vaccine trials should periodically monitor for unfavorable imbalances
                  between vaccine and control groups in COVID-19 disease outcomes, in particular
                  for cases of severe COVID-19 that may be a signal for vaccine-associated ERD.

                  o Studies should include pre-specified criteria for halting based on signals of
                    potential vaccine-associated ERD.

                  o FDA recommends use of an independent data safety monitoring board
                    (DSMB) (Ref. 18) for vaccine-associated ERD and other safety signal
                    monitoring, especially during later stage development.




                                                 15
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 104 of 209 PAGEID #: 1239

                             Contains Nonbinding Recommendations

VI.   POST-LICENSURE SAFETY EVALUATION – KEY CONSIDERATIONS

      A.       General Considerations

           • As with all licensed vaccines, there can be limitations in the safety database accrued
           from the pre-licensure clinical studies of a COVID-19 vaccine. For example:
                  o The number of subjects receiving a COVID-19 vaccine in pre-licensure
                    clinical studies may not be adequate to detect some adverse reactions that may
                    occur infrequently.
                  o Pre-licensure safety data in some subpopulations likely to receive a COVID-19
                    vaccine (e.g., pregnant individuals, or individuals with medical comorbidities)
                    may be limited at the time of licensure.
                  o For some COVID-19 vaccines, the safety follow-up period to monitor for
                    possible vaccine-associated ERD and other adverse reactions may not have
                    been completed for all subjects enrolled in pre-licensure clinical studies before
                    the vaccine is licensed.

           •      For COVID-19 vaccines, it is likely that during the early postmarketing period, a
                  large population might be vaccinated in a relatively short timeframe. Thus, FDA
                  recommends early planning of pharmacovigilance activities before licensure.

           •      To facilitate accurate recording and identification of vaccines in health records,
                  manufacturers should consider establishment of individual Current Procedural
                  Terminology (CPT) codes and the use of bar codes to label the immediate
                  container.

      B.       Pharmacovigilance Activities for COVID-19 Vaccines

           •      Routine pharmacovigilance for licensed biological products includes expedited
                  reporting of serious and unexpected adverse events as well as periodic safety
                  reports in accordance with 21 CFR 600.80 (Postmarketing reporting of adverse
                  experiences).

           •      FDA recommends that at the time of a BLA submission for a COVID-19 vaccine,
                  applicants submit a Pharmacovigilance Plan (PVP) as described in the FDA
                  Guidance for Industry; E2E Pharmacovigilance Planning (Ref. 20). The contents
                  of a PVP for a COVID-19 vaccine will depend on its safety profile and will be
                  based on data, which includes the pre-licensure clinical safety database, preclinical
                  data, and available safety information for related vaccines, among other
                  considerations.

           •      The PVP should include actions designed to address all important identified risks,
                  important potential risks or important missing information.
                  Pharmacoepidemiologic studies or other actions to evaluate notable potential risks,
                  such as vaccine-associated ERD, should be considered. FDA may recommend
                  one or more of the following as components of a PVP for a COVID-19 vaccine:
                                                 16
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 105 of 209 PAGEID #: 1240

                             Contains Nonbinding Recommendations


                   o Submission of reports of specific adverse events of interest in an expedited
                     manner beyond routine required reporting;
                   o Submission of adverse event report summaries at more frequent intervals than
                     specified for routine required reporting;
                   o Ongoing and/or extended safety follow-up (under an IND) for vaccine-
                     associated ERD of subjects enrolled in pre-licensure clinical studies;
                   o A pharmacoepidemiologic study to further evaluate (an) important identified
                     or potential risk(s) from the clinical development program, such as vaccine-
                     associated ERD or other uncommon or delayed-onset adverse events of special
                     interest;
                   o A pregnancy exposure registry that actively collects information on
                     vaccination during pregnancy and associated pregnancy and infant outcomes
                     (Ref. 21).

       C.       Required Postmarketing Safety Studies

            •      Section 505(o)(3) of the FD&C Act (21 U.S.C. 355(o)(3)) authorizes FDA to
                   require certain postmarketing studies or clinical trials for prescription drugs
                   approved under section 505(b) of the FD&C Act (21 U.S.C. 355(b)) and
                   biological products approved under section 351 of the PHS Act (42 U.S.C. 262)
                   (Ref. 22). Under section 505(o)(3), FDA can require such studies or trials at the
                   time of approval to assess a known serious risk related to the use of the drug, to
                   assess signals of serious risk related to the use of the drug, or to identify an
                   unexpected serious risk when available data indicate the potential for a serious
                   risk. Under section 505(o)(3), FDA can also require such studies or trials after
                   approval if FDA becomes aware of new safety information, which is defined at
                   section 505-1(b)(3) of the FD&C Act (21 U.S.C. 355-1(b)(3)).

            •      For COVID-19 vaccines, FDA may require postmarketing studies or trials to
                   assess known or potential serious risks when such studies or trials are warranted.


VII.   DIAGNOSTIC AND SEROLOGICAL ASSAYS – KEY CONSIDERATIONS

            •      Diagnostic assays used to support the pivotal efficacy analysis (e.g., RT-PCR)
                   should be sensitive and accurate for the purpose of confirming infection and
                   should be validated before use.

            •      Assays used for immunogenicity evaluation should be suitable for their intended
                   purpose of assessing relevant immune responses to vaccination and be validated
                   before use in pivotal clinical trials.




                                                  17
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 106 of 209 PAGEID #: 1241

                            Contains Nonbinding Recommendations

VIII. ADDITIONAL CONSIDERATIONS

      A.       Additional Considerations in Demonstrating Vaccine Effectiveness

           •      Given the current state of knowledge about COVID-19, the most direct approach
                  to demonstrate effectiveness for a COVID-19 vaccine candidate is based on
                  clinical endpoint efficacy trials showing protection against disease (see section V.
                  D. above).

           •      Once additional understanding of SARS-CoV-2 immunology, and specifically
                  vaccine immune responses that might be reasonably likely to predict protection
                  against COVID-19, is acquired, accelerated approval of a COVID-19 vaccine
                  pursuant to section 506 of the FD&C Act (21 U.S.C. 356) and 21 CFR 601.40
                  may be considered if an applicant provides sufficient data and information to meet
                  the applicable legal requirements. For a COVID-19 vaccine, it may be possible to
                  approve a product under these provisions based on adequate and well-controlled
                  clinical trials establishing an effect of the product on a surrogate endpoint (e.g.,
                  immune response) that is reasonably likely to predict clinical benefit.

           •      A potential surrogate endpoint likely would depend on the characteristics of the
                  vaccine, such as antigen structure, mode of delivery, and antigen processing and
                  presentation in the individual vaccinated. For example, an immune marker
                  established for an adenovirus-based vaccine cannot be presumed applicable to a
                  VSV-based vaccine, given that the two vaccines present antigen in different ways
                  and engender different types of protective immune responses.

           •      Since SARS-CoV-2 represents a novel pathogen, a surrogate endpoint reasonably
                  likely to predict protection from COVID-19 should ideally be derived from human
                  efficacy studies examining clinical disease endpoints. If the surrogate endpoint is
                  derived from other data sources, sponsors should consult the FDA to reach
                  agreement on the use of the surrogate endpoint.

           •      An adequate dataset evaluating the safety of the vaccine in humans would need to
                  be provided for consideration of licensure.

           •      For drugs granted accelerated approval, postmarketing confirmatory trials have
                  been required to verify and describe the predicted effect on clinical benefit. These
                  studies should usually be underway at the time of the accelerated approval, 21
                  CFR Part 601, Subpart E, and must be completed with due diligence (section
                  506(c)(3)(A) of the FD&C Act (21 U.S.C. 356(c)(3)(A)) and 21 CFR 601.41).

           •      If it is no longer possible to demonstrate vaccine effectiveness by way of
                  conducting clinical disease endpoint efficacy studies, the use of a controlled
                  human infection model to obtain evidence to support vaccine efficacy may be
                  considered. However, many issues, including logistical, human subject protection,
                  ethical, and scientific issues, would need to be satisfactorily addressed. At this


                                                 18
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 107 of 209 PAGEID #: 1242

                             Contains Nonbinding Recommendations

                  time no controlled human infection models for SARS-CoV-2 have been
                  established or characterized.

      B.       Emergency Use Authorization

           •      An Emergency Use Authorization (EUA) may be issued only after several
                  statutory requirements are met (section 564 of the FD&C Act (21 U.S.C. 360bbb-
                  2)) (Ref. 23). Among these requirements is a determination by FDA that the
                  known and potential benefits of a product, when used to diagnose, prevent, or treat
                  serious or life-threatening diseases, outweigh the known and potential risks of the
                  product.

           •      Issuance of an EUA (Ref. 23) may be appropriate for a COVID-19 vaccine
                  provided the standard for issuing an EUA is met. Issuance of an EUA for a
                  COVID-19 vaccine prior to the completion of large randomized clinical efficacy
                  trials could reduce the ability to demonstrate effectiveness of the investigational
                  vaccine in a clinical disease endpoint efficacy trial to support licensure, and such
                  clinical disease endpoint efficacy trials may be needed to investigate the potential
                  for vaccine-associated ERD. Thus, for a vaccine for which there is adequate
                  manufacturing information, issuance of an EUA may be appropriate once studies
                  have demonstrated the safety and effectiveness of the vaccine but before the
                  manufacturer has submitted and/or FDA has completed its formal review of the
                  biologics license application.

           •      In the case of investigational vaccines being developed for the prevention of
                  COVID-19, any assessment regarding an EUA would be made on a case by case
                  basis considering the target population, the characteristics of the product, the
                  preclinical and human clinical study data on the product, and the totality of the
                  available scientific evidence relevant to the product.




                                                 19
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 108 of 209 PAGEID #: 1243

                             Contains Nonbinding Recommendations

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                                               20
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 109 of 209 PAGEID #: 1244

                             Contains Nonbinding Recommendations


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* When finalized, this guidance will represent FDA’s current thinking on this topic.




                                                 21
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 110 of 209 PAGEID #: 1245




          Marks Decl.
           Exhibit E
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 111 of 209 PAGEID #: 1246




 August 23, 2021

 Meryl Nass, M.D.
 Robert F. Kennedy, Jr.
 Children’s Health Defense
 1227 North Peachtree Parkway
 Suite 202
 Peachtree City, GA 30269

 Re: Citizen Petition (Docket Number FDA-2021-P-0460)

 Dear Dr. Nass and Mr. Kennedy,

 This letter responds to the citizen petition dated May 16, 2021 that you submitted to the Food
 and Drug Administration (FDA, the Agency, we) on behalf of Children’s Health Defense
 (Petitioner) relating to: clinical trials, Emergency Use Authorization, licensure, and advertising
 and promotion of vaccines to prevent Coronavirus Disease 2019 (COVID-19) caused by severe
 acute respiratory syndrome coronavirus 2 (SARS-CoV-2) (the Petition).

 In the Petition, Petitioner requests that FDA:

    1. “revoke all EUAs and refrain from approving any future EUA, NDA, or BLA for any
    COVID vaccine for all demographic groups”;
    2. “immediately refrain from allowing minors to participate in COVID vaccine trials, refrain
    from amending EUAs to include children, and immediately revoke all EUAs that permit
    vaccination of children under 16 for the Pfizer vaccine and under 18 for other COVID
    vaccines”;
    3. “immediately revoke tacit approval that pregnant women may receive any EUA or licensed
    COVID vaccines and immediately issue public guidance to that effect”;
    4. “immediately amend [FDA’s] existing guidance for the use of the chloroquine drugs,
    ivermectin, and any other drugs demonstrated to be safe and effective against COVID…and
    immediately issue notifications to all stakeholders”;
    5. “issue guidance to the Secretary of the Defense [sic] and the President not to grant an
    unprecedented Presidential waiver of prior consent regarding COVID vaccines for
    Servicemembers [sic]”;
    6. “issue guidance…to affirm that all citizens have the option to accept or refuse
    administration of investigational COVID vaccines without adverse work, educational or other
    non-health related consequences”; and




 U.S. Food and Drug Administration
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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 112 of 209 PAGEID #: 1247




    7. “[p]ending revocation of COVID vaccine EUAs, FDA should issue guidance that all
    marketing and promotion of COVID vaccines must refrain from labeling them ‘safe and
    effective.’”

 Petition at 1-2.

 In this letter, we discuss the safety of licensed and authorized vaccines. We then turn to the
 requests contained in the Petition. We consider each of your requests in light of the legal
 standards for FDA action, and provide our conclusions based on the facts, the science, and the
 law.

 This letter responds to the Petition in full. FDA has carefully reviewed the Petition and other
 relevant information available to the Agency. Based on our review of these materials and for the
 reasons described below, we conclude that the Petition does not contain facts demonstrating any
 reasonable grounds for the requested action. In accordance with 21 CFR § 10.30(e)(3), and for
 the reasons stated below, FDA is denying the Petition.

 Here is an outline of our response:

           I.       Background
          II.       Vaccines That Are FDA-Licensed or Receive an Emergency Use Authorization
                    Meet Relevant Statutory Requirements
                       a. Vaccines that are FDA-Licensed are Safe
                                i. Vaccines that are FDA-Licensed are Shown to Be Safe at the Time
                                   of Licensure
                               ii. Vaccine Safety Continues to Be Monitored Post-Licensure
                       b. An Emergency Use Authorization for a COVID-19 Preventative Vaccine
                           Is Issued Only If the Relevant Statutory Standards Are Met
         III.       Discussion
                       a. Investigational New Drugs
                       b. The Citizen Petition
                                i. Petitioner’s Request to Revoke all Emergency Use Authorizations
                                   for COVID-19 Vaccines and Refrain from Issuing any Future EUA
                                   or Approving any Future NDA, or BLA for any COVID-19
                                   Vaccine for all Demographic Groups because the Current Risks of
                                   Serious Adverse Events or Deaths Outweigh the Benefits, and
                                   Because Existing, Approved Drugs Provide Highly Effective
                                   Prophylaxis and Treatment against COVID-19, Mooting the EUAs
                                       1. Petitioner’s Request to Revoke all Emergency Use
                                           Authorizations for COVID-19 Vaccines
                                       2. Petitioner’s Request to Refrain from Granting any Future
                                           EUA for a COVID-19 Vaccine for any Population
                                       3. Petitioner’s Request to Refrain from Approving any Future
                                           NDA for any COVID-19 Vaccine for any Population


                                                                                                  2
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 113 of 209 PAGEID #: 1248




                                 4. Petitioner’s Request to Refrain from Licensing any Future
                                     BLA for any COVID-19 Vaccine for any Population
                         ii. Petitioner’s Request Regarding COVID-19 Vaccines in Children
                                 1. Request to Immediately Refrain from Allowing COVID-19
                                     Vaccine Trials to Include Pediatric Subjects
                                 2. Request that FDA Refrain from Issuing EUA Amendments
                                     for Authorized COVID-19 Vaccines to Include Indications
                                     for Pediatric Populations
                                 3. Request that FDA Immediately Revoke all EUAs for
                                     COVID-19 Vaccines with Pediatric Indications
                        iii. Petitioner’s Request that FDA Immediately Revoke Tacit
                             Approval that Pregnant Women may Receive any EUA or
                             Licensed COVID-19 Vaccines and Immediately Issue Public
                             Guidance
                                 1. Covid-19 in Pregnancy
                                 2. Certain Content and Format Requirements for Prescription
                                     Drug Labeling for Products Approved Under NDAs or
                                     BLAs
                                 3. Inclusion of Contraindications and Pregnancy Information
                                     in the Labeling for the Authorized COVID-19 Vaccines
                                 4. Inclusion of Contraindications and Pregnancy Information
                                     in the Labeling for Licensed COVID-19 Vaccines
                        iv. Petitioner’s Request that FDA Immediately Amend its Guidance
                             regarding Certain Approved Drugs [chloroquine drugs, ivermectin,
                             “and any other drugs demonstrated to be safe and effective against
                             COVID”]
                         v. Petitioner’s Request that FDA Issue Guidance to the Secretary of
                             Defense and the President
                        vi. Petitioner’s Request that FDA Issue Guidance to Stakeholders
                             Regarding the Option to Refuse or Accept Administration of
                             Investigational COVID-19 Vaccines
                       vii. Petitioner’s Request that FDA Issue Guidance Regarding
                             Marketing and Promotion of COVID-19 Vaccines
                  c. Conclusion
               Appendix I: Aspects of Vaccine Development and Process for Licensure


 I.     Background
 There is currently a pandemic of respiratory disease, COVID-19, caused by a novel coronavirus,
 SARS-CoV-2. The COVID-19 pandemic presents an extraordinary challenge to global health.
 On January 31, 2020, the Department of Health and Human Services (HHS) issued a declaration




                                                                                              3
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 114 of 209 PAGEID #: 1249




 of a public health emergency related to COVID-19. 1On February 4, 2020, pursuant to section
 564 of the FD&C Act (21 U.S.C. § 360bbb-3), the Secretary of HHS determined that there is a
 public health emergency that has a significant potential to affect national security or the health
 and security of U.S. citizens living abroad, and that involves the virus that causes COVID-19. 2
 On the basis of such determination, on March 27, 2020, the Secretary then declared that
 circumstances exist justifying the authorization of emergency use of drugs and biological
 products during the COVID-19 pandemic (“COVID-19 EUA Declaration”), pursuant to section
 564(b)(1) of the FD&C Act. 3 In addition, on March 13, 2020, the President declared a national
 emergency in response to COVID-19. 4

 Commercial vaccine manufacturers and other entities are developing COVID-19 vaccine
 candidates, and clinical studies of these vaccines are underway and/or have been
 completed. Between December 11, 2020 and February 27, 2021, FDA issued emergency use
 authorizations for three vaccines to prevent COVID-19, including vaccines sponsored by Pfizer
 Inc. (Pfizer); ModernaTX, Inc. (Moderna); and Janssen Biotech, Inc. (Janssen), a pharmaceutical
 company of Johnson & Johnson. FDA received a Biologics License Application (BLA) for the
 COVID-19 vaccine, BNT162b2, intended to prevent COVID-19 in individuals 16 years of age
 and older. As announced by FDA on August 23, 2021, the Agency is issuing a biologics license
 for this COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty) to BioNTech
 Manufacturing GmbH. 5

 II.     Vaccines That Are FDA-Licensed or Receive an Emergency Use Authorization Meet
         Relevant Statutory Requirements
         a. Vaccines that are FDA-Licensed are Safe
                   i. Vaccines that are FDA-Licensed Are Shown to Be Safe at the Time of
                      Licensure
 FDA has a stringent regulatory process for licensing vaccines. 6,7 The Public Health Service
 Act (PHS Act) authorizes FDA to license biological products, including vaccines, if they have


 1
   Secretary of Health and Human Services Alex M. Azar, Determination that a Public Health Emergency Exists.
 (Originally issued on Jan. 31, 2020, and subsequently renewed),
 https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx
 2
   HHS, Determination of Public Health Emergency, 85 FR 7316, February 7, 2020,
 https://www.federalregister.gov/documents/2020/02/07/2020-02496/determination-of-public-health-emergency.
 3
   HHS, Emergency Use Authorization Declaration, 85 FR 18250, April 1, 2020,
 https://www.federalregister.gov/documents/2020/04/01/2020-06905/emergency-use-authorization-declaration.
 4
   Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
 Outbreak, issued March 13, 2020, https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-
 declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/ .
 5
   BioNTech Manufacturing GmbH is the biologics license holder for this vaccine, which is manufactured by Pfizer
 Inc. for BioNTech Manufacturing GmbH (hereinafter “BioNTech”). The basis for FDA's licensure decision is set
 forth in FDA's Summary Basis for Regulatory Action (SBRA) for the BioNTech application. This memorandum
 will be posted on fda.gov. We incorporate by reference the SBRA for the BLA.
 6
   CDC, Ensuring the Safety of Vaccines in the United States, February 2013,
 https://www.cdc.gov/vaccines/hcp/patient-ed/conversations/downloads/vacsafe-ensuring-bw-office.pdf.
 7
   FDA, Vaccine Safety Questions and Answers, last updated March 2018, https://www.fda.gov/vaccines-blood-
 biologics/safety-availability-biologics/vaccine-safety-questions-and-answers.

                                                                                                                   4
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 115 of 209 PAGEID #: 1250




 been demonstrated to be “safe, pure, and potent.” 8 Prior to approval by FDA, vaccines are
 extensively tested in non-clinical studies and in humans. FDA’s regulations describe some of the
 extensive data and information that each sponsor of a vaccine must submit to FDA in order to
 demonstrate the product’s safety before FDA will consider licensing the vaccine. FDA requires
 that the sponsor’s biologics license application (BLA) include, among other things, data derived
 from nonclinical and clinical studies showing the product’s safety, purity, and potency; a full
 description of manufacturing methods for the product; data establishing the product’s stability
 through the dating period; and a representative sample of the product and summaries of results of
 tests performed on the lot(s) represented by the sample. 9
 As is evident from the language of the PHS Act and FDA’s regulations, the licensure process for
 a vaccine requires the sponsor to establish, through carefully controlled laboratory and clinical
 studies, as well as through other data, that the product is safe and effective for its approved
 indication(s) and use. FDA’s multidisciplinary review teams then rigorously evaluate the
 sponsor’s laboratory and clinical data, as well as other information, to help assess whether the
 safety, purity, and potency of a vaccine has been demonstrated. 10 Only when FDA’s standards
 are met is a vaccine licensed.
 FDA regulations explicitly state that “[a]pproval of a biologics license application or issuance of
 a biologics license shall constitute a determination that the establishment(s) and the product meet
 applicable requirements to ensure the continued safety, purity, and potency of such products.” 11
 Therefore, the manufacturers of vaccines that have been licensed in the U.S. have necessarily
 demonstrated the safety of the vaccines within the meaning of the applicable statutory and
 regulatory provisions before the vaccines were licensed and allowed to be marketed.
 For more information on FDA’s thorough process for evaluating the safety of vaccines, see
 Appendix I of this letter, Aspects of Vaccine Development and Process for Licensure.
                  ii. Vaccine Safety Continues to Be Monitored Post-Licensure
 FDA’s oversight of vaccine safety continues after licensure of the product. Once the licensed
 vaccine is on the market, post-marketing surveillance of vaccine safety is conducted in order to
 detect any rare, serious, or unexpected adverse events, as well as to monitor vaccine lots. FDA
 employs multiple surveillance systems and databases to continue to evaluate the safety of these
 vaccines. In certain cases, FDA may require the manufacturer to conduct post-marketing studies
 to further assess known or potential serious risks.
         b. An Emergency Use Authorization for a COVID-19 Preventative Vaccine Is Issued
             Only If the Relevant Statutory Standards Are Met
 Congress established the Emergency Use Authorization (EUA) pathway to ensure that, during
 public health emergencies, potentially lifesaving medical products could be made available
 before being approved. The EUA process allows the Secretary of HHS, in appropriate
 circumstances, to declare that EUAs are justified for products to respond to certain types of


 8
   42 U.S.C. § 262(a)(2)(C)(i)(I).
 9
   21 CFR § 601.2(a).
 10
    FDA, Vaccines, last updated January 2021, https://www.fda.gov/vaccines-blood-biologics/vaccines.
 11
    21 CFR § 601.2(d) (emphasis added).

                                                                                                       5
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 116 of 209 PAGEID #: 1251




 threats. When such a declaration is made, FDA may issue an EUA, which is different from the
 regulatory process for vaccine licensure.
 Section 564 of the Food Drug & Cosmetic Act (FD&C Act) (21 U.S.C. § 360bbb-3) authorizes
 FDA to, under certain circumstances, issue an EUA to allow unapproved medical products or
 unapproved uses of approved medical products to be used in an emergency to diagnose, treat, or
 prevent serious or life-threatening diseases or conditions caused by chemical, biological,
 radiological, or nuclear threat agents when there are no adequate, approved, and available
 alternatives.
 On February 4, 2020, pursuant to section 564(b)(1)(C) of the FD&C Act (21 U.S.C. § 360bbb-
 3(b)(1)(C)), the Secretary of HHS determined that there is a public health emergency that has a
 significant potential to affect national security or the health and security of United States (U.S.)
 citizens living abroad, and that involves the virus that causes COVID-19. 12 On the basis of such
 determination, on March 27, 2020, the Secretary then declared that circumstances exist justifying
 the authorization of emergency use of drugs and biological products during the COVID-19
 pandemic, pursuant to section 564(b)(1) of the FD&C Act (21 U.S.C. § 360bbb-3(b)(1)). 13
 Based on this declaration and determination, under section 564(c) of the FD&C Act (21 U.S.C. §
 360bbb-3(c)), FDA may issue an EUA during the COVID-19 pandemic after FDA concludes
 that the following statutory requirements are met:

      •   The agent referred to in the March 27, 2020 EUA declaration by the Secretary (SARS-
          CoV-2) can cause a serious or life-threatening disease or condition.

      •   Based on the totality of scientific evidence available, including data from adequate and
          well-controlled trials, if available, it is reasonable to believe that the product may be
          effective in diagnosing, treating, or preventing such serious or life-threatening disease or
          condition that can be caused by SARS-CoV-2.

      •   The known and potential benefits of the product, when used to diagnose, prevent, or treat
          the identified serious or life-threatening disease or condition, outweigh the known and
          potential risks of the product.

      •   There is no adequate, approved, and available alternative to the product for diagnosing,
          preventing, or treating the disease or condition.

 Although EUAs are governed under a different statutory framework than BLAs, FDA has made
 clear that issuance of an EUA for a COVID-19 vaccine would require that the vaccine
 demonstrated clear and compelling safety and efficacy in a large, well-designed Phase 3 clinical
 trial. In the guidance document Emergency Use Authorization for Vaccines to Prevent COVID-
 19 (October 2020 Guidance), FDA has provided recommendations that describe key information


 12
    HHS, Determination of Public Health Emergency, 85 FR 7316, February 7, 2020,
 https://www.federalregister.gov/documents/2020/02/07/2020-02496/determination-of-public-health-emergency.
 13
    HHS, Emergency Use Authorization Declaration, 85 FR 18250, April 1, 2020,
 https://www.federalregister.gov/documents/2020/04/01/2020-06905/emergency-use-authorization-declaration.

                                                                                                             6
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 117 of 209 PAGEID #: 1252




 that would support issuance of an EUA for a vaccine to prevent COVID-19. 14 In the October
 2020 Guidance, FDA explained that, in the case of such investigational vaccines, any assessment
 regarding an EUA will be made on a case-by-case basis considering the target population, the
 characteristics of the product, the preclinical and human clinical study data on the product, and
 the totality of the available scientific evidence relevant to the product. 15 FDA has also stated, in
 this guidance, that for a COVID-19 vaccine for which there is adequate manufacturing
 information to ensure its quality and consistency, issuance of an EUA would require a
 determination by FDA that the vaccine’s benefits outweigh its risks based on data from at least
 one well-designed Phase 3 clinical trial that demonstrates the vaccine’s safety and efficacy in a
 clear and compelling manner. 16
 A Phase 3 trial of a vaccine is generally a large clinical trial in which a large number of people
 are assigned to receive the investigational vaccine or a control. In general, in Phase 3 trials that
 are designed to show whether a vaccine is effective, neither people receiving the vaccine nor
 those assessing the outcome know who received the vaccine or the comparator.
 In a Phase 3 study of a COVID-19 vaccine, the efficacy of the investigational vaccine to prevent
 disease will be assessed by comparing the number of cases of disease in each study group. For
 Phase 3 trials, FDA has recommended to manufacturers in guidance that the vaccine should be at
 least 50% more effective than the comparator, and that the outcome be reliable enough so that it
 is not likely to have happened by chance. 17 During the entire study, subjects will be monitored
 for safety events. If the evidence from the clinical trial meets the pre-specified criteria for
 success for efficacy and the safety profile is acceptable, the results from the trial can potentially
 be submitted to FDA in support of an EUA request.
 Investigational COVID-19 vaccines continue to be studied in Phase 2 or Phase 3 trials.
 Following clinical trials, manufacturers analyze data prior to submitting to FDA a BLA to
 request approval from FDA to market the vaccine. A BLA for a new vaccine includes
 information and data regarding the safety, effectiveness, chemistry, manufacturing and controls,
 and other details regarding the product. During the current public health emergency,
 manufacturers may, with the requisite data and taking into consideration input from FDA, choose
 to submit a request for an EUA.
 Importantly, FDA has made clear that any vaccine that meets FDA’s standards for effectiveness
 is also expected to meet the Agency’s safety standards. FDA has stated that the duration of
 safety follow-up for a vaccine authorized under an EUA may be shorter than with a BLA (which
 the Agency expects will ultimately be submitted by manufacturers of vaccines that are
 authorized under an EUA). Specifically, FDA’s guidance to manufacturers recommends that
 data from Phase 3 studies to support an EUA include a median follow-up duration of at least 2
 months after completion of the full vaccination regimen. 18 Furthermore, robust safety
 monitoring is conducted after a vaccine is made available. The monitoring systems include the

 14
    Emergency Use Authorization for Vaccines to Prevent COVID-19; Guidance for Industry, October 2020 (October
 2020 Guidance), https://www.fda.gov/media/142749/download.
 15
    Id. at 3.
 16
    Id. at 4.
 17
    Development and Licensure of Vaccines to Prevent COVID-19; Guidance for Industry, June 2020,
 https://www.fda.gov/media/139638/download.
 18
    October 2020 Guidance at 10-11.

                                                                                                             7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 118 of 209 PAGEID #: 1253




 Vaccine Adverse Event Reporting System (VAERS), FDA’s Biologics Effectiveness and Safety
 (BEST) System, and the Centers for Disease Control and Prevention’s (CDC) Vaccine Safety
 Datalink. In addition, FDA has a partnership with the Centers for Medicare & Medicaid
 Services (CMS) to study vaccine safety. Other tools to monitor vaccine safety are under
 development. Collectively, these programs will help detect any new, unusual and rare side
 effects after vaccination that might not have been observed during clinical trials, as well as
 monitor for increases in any known side effects.
 It is FDA’s expectation that, following submission of an EUA request and issuance of an EUA, a
 sponsor would continue to evaluate the vaccine and would also work towards submission of a
 BLA as soon as possible.
 III.     Discussion

 The Petition makes a request regarding clinical trials of COVID-19 vaccines that include or
 propose to include children. FDA’s investigational new drug process applies to the development
 of new drugs and biological products, including vaccines. 19

          a. Investigational New Drugs
 Before a vaccine is licensed (approved) by FDA for use by the public, FDA requires that it
 undergo a rigorous and extensive development program to determine the vaccine’s safety and
 effectiveness. This development program encompasses preclinical research (laboratory research,
 animal studies 20) and clinical studies. At the preclinical stage, the sponsor focuses on collecting
 the data and information necessary to establish that the product will not expose humans to
 unreasonable risks when used in limited, early-stage clinical studies. Clinical studies, in humans,
 are conducted under well-defined conditions and with careful safety monitoring through all the
 phases of the investigational new drug process. FDA’s regulations governing the conduct of
 clinical investigations are set out at 21 CFR Part 312.
 Before conducting a clinical investigation in the U.S. in which a new drug or biological product
 is administered to humans, a sponsor must submit an investigational new drug application (IND)
 to FDA. 21 The IND describes the proposed clinical study in detail and, among other things,
 helps protect the safety and rights of human subjects. 22 In addition to other information, an IND
 must contain information on clinical protocols and clinical investigators. Detailed protocols for
 proposed clinical studies permit FDA to assess whether the initial-phase trials will expose
 subjects to unnecessary risks. Information on the qualifications of clinical investigators
 (professionals, generally physicians, who oversee the administration of the experimental drug)
 permits FDA to assess whether they are qualified to fulfill their clinical trial duties. The IND

 19
    See 21 CFR § 312.2 (explaining that the IND regulations apply to clinical investigations of both drugs and
 biologics).
 20
    We support the principles of the “3Rs,” to reduce, refine, and replace animal use in testing when feasible. We
 encourage sponsors to consult with us if they wish to use a non-animal testing method they believe is suitable,
 adequate, validated, and feasible. We will consider if such an alternative method could be assessed for equivalency
 to an animal test method.
 21
    See 21 CFR § 312.20(a).
 22
    For additional information regarding the IND review process and general responsibilities of sponsor-investigators
 related to clinical investigations see Investigational New Drug Applications Prepared and Submitted by Sponsor-
 Investigators; Draft Guidance for Industry, May 2015, https://www.fda.gov/media/92604/download.

                                                                                                                    8
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 119 of 209 PAGEID #: 1254




 includes commitments to obtain informed consent from the research subjects, to obtain review of
 the study by an institutional review board (IRB), 23 and to adhere to the investigational new drug
 regulations.
 Once the IND is submitted, the sponsor must wait 30 calendar days before initiating any clinical
 trials, unless FDA informs the sponsor that the trial may begin earlier. During this time,
 FDA reviews the IND. FDA’s primary objectives in reviewing an IND are, in all phases of the
 investigation, to assure the safety and rights of subjects, and, in Phase 2 and Phase 3, to help
 assure that the quality of the scientific evaluation of drugs is adequate to permit an evaluation of
 the drug’s effectiveness and safety. 24
 FDA’s regulations provide that, once an IND is in effect, the sponsor may conduct a clinical
 investigation of the product, with the investigation generally being divided into three phases.
 With respect to vaccines, the initial human studies, referred to as Phase 1 studies, are generally
 safety and immunogenicity studies performed in a small number of closely monitored subjects.
 Phase 2 studies may include up to several hundred individuals and are designed to provide
 information regarding the incidence of common short-term side effects such as redness and
 swelling at the injection site or fever and to further describe the immune response to the
 investigational vaccine. If an investigational new vaccine progresses past Phase 1 and Phase 2
 studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
 determined by the number of subjects required to establish the effectiveness of the new vaccine,
 which may be in the thousands or tens of thousands of subjects. Phase 3 studies provide the
 critical documentation of effectiveness and important additional safety data required for
 licensing.
 Additionally, FDA regulations require that an IRB must review clinical investigations involving
 children as subjects covered by 21 CFR 50, subpart D and only approve those clinical
 investigations involving children as subjects that satisfy the criteria in 21 CFR 50, subpart D,
 Additional Safeguards for Children in Clinical Investigations. As explained in the preamble to
 the final rule, “[t]hese safeguards are intended to ensure that the rights and welfare of children
 who participate in clinical investigations are adequately protected.” 25
 At any stage of development, if data raise significant concerns about either safety or
 effectiveness, FDA may request additional information or studies; FDA may also halt ongoing
 clinical studies. The FD&C Act provides a specific mechanism, called a “clinical hold,” for
 prohibiting sponsors of clinical investigations from conducting the investigation (section

 23
    The IRB is a panel of scientists and non-scientists in hospitals and research institutions that oversees clinical
 research. IRBs approve clinical study protocols, which describe the type of people who may participate in the
 clinical study; the schedule of tests and procedures; the medications and dosages to be studied; the length of the
 study; the study's objectives; and other details. IRBs make sure that the study is acceptable, that participants have
 given consent and are fully informed of the risks, and that researchers take appropriate steps to protect patients from
 harm. See The FDA's Drug Review Process: Ensuring Drugs Are Safe and Effective web page, last updated
 November 2017, https://www.fda.gov/drugs/drug-information-consumers/fdas-drug-review-process-ensuring-drugs-
 are-safe-and-effective.
 24
    21 CFR § 312.22(a).
 25
    Preamble to final rule, “Additional Safeguards for Children in Clinical Investigations of Food and Drug
 Administration-Regulated Products” (78 FR 12937 at 12938, February 26, 2013),
 https://www.federalregister.gov/documents/2013/02/26/2013-04387/additional-safeguards-for-children-in-clinical-
 investigations-of-food-and-drug.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 120 of 209 PAGEID #: 1255




 505(i)(3) of the FD&C Act; 21 U.S.C. § 355(i)(3)), and FDA’s IND regulations in 21 CFR §
 312.42 identify the circumstances that may justify a clinical hold. Generally, a clinical hold is an
 order issued by FDA to the sponsor of an IND to delay a proposed clinical investigation or to
 suspend an ongoing investigation. 26

            b. The Citizen Petition

                     i.     Petitioner’s Request to Revoke all Emergency Use Authorizations for
                            COVID-19 Vaccines and Refrain from Issuing any Future EUA or
                            Approving any Future NDA, or BLA for any COVID-19 Vaccine for all
                            Demographic Groups because the Current Risks of Serious Adverse
                            Events or Deaths Outweigh the Benefits, and Because Existing,
                            Approved Drugs Provide Highly Effective Prophylaxis and Treatment
                            against COVID-19, Mooting the EUAs
 Petitioner makes several requests regarding COVID-19 vaccines in the Petition and, in support of
 these requests, argues that (1) the rates of serious adverse events or deaths outweigh the benefits
 of these vaccines and (2) approved drugs provide highly effective prophylaxis/treatment against
 COVID, thereby “mooting” the EUAs. We interpret this as an argument that the authorizations
 of COVID-19 vaccines to date did not meet the relevant legal standard. Below, we address each
 of Petitioner’s requests and the information provided by Petitioner in support of these requests.

                                1. Petitioner’s Request to Revoke all Emergency Use
                                   Authorizations for COVID-19 Vaccines
 In this section, we address Petitioner’s request that FDA “revoke all EUAs . . . for any COVID
 vaccine for all demographic groups because the current risks of serious adverse events or deaths
 outweigh the benefits, and because existing, approved drugs provide highly effective prophylaxis
 and treatment against COVID, mooting the EUAs.” Petition at 1.

                                    a. EUAs for COVID-19 Vaccines
 As noted above in Section II above, FDA may issue an EUA during the COVID-19 public health
 emergency after FDA concludes that the statutory requirements provided in section 564 of the
 FD&C Act are met. In an attempt to prevent the spread of disease and to control the pandemic,
 numerous COVID-19 vaccine candidates have been developed. COVID-19 vaccines that have
 been developed or are currently in development are based on various platforms and include
 mRNA, DNA, viral vectored, subunit, inactivated, and live-attenuated vaccines. Most COVID-
 19 candidate vaccines express the spike protein or parts of the spike protein, i.e., the receptor
 binding domain, as the immunogenic determinant.

 To date, FDA has issued EUAs for three COVID-19 vaccines (“the Authorized COVID-19
 Vaccines”), as described in the Scope of Authorization for these COVID-19 vaccines, pursuant


 26
      21 CFR § 312.42(a).

                                                                                                  10
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 121 of 209 PAGEID #: 1256




 to section 564 of the FD&C Act. Additionally, FDA has expanded the authorized age range for
 one COVID-19 vaccine.

      •   On December 11, 2020, FDA issued an EUA for emergency use of Pfizer-BioNTech
          COVID-19 Vaccine for the prevention of COVID-19 in individuals 16 years of age and
          older.
              o On May 10, 2021, FDA authorized the emergency use of Pfizer-BioNTech
                 COVID-19 Vaccine to include individuals 12 through 15 years of age.
      •   On December 18, 2020, FDA issued an EUA for emergency use of Moderna COVID-19
          Vaccine for the prevention of COVID-19 in individuals 18 years of age and older.
      •   On February 27, 2021, FDA issued an EUA for emergency use of Janssen COVID-19
          Vaccine for the prevention of COVID-19 in individuals 18 years of age and older.
 The Agency issued these EUAs after a thorough evaluation of scientific data regarding the
 safety, effectiveness, and manufacturing information (which helps ensure product quality and
 consistency) of these COVID-19 vaccines and after reaching a determination that these vaccines
 meet the statutory requirements under section 564 of the FD&C Act. This letter incorporates by
 reference the EUA Review Memoranda for the Authorized COVID-19 Vaccines, 27 which discuss
 this determination, and the data upon which it was based, in detail as well as the Summary Basis
 of Regulatory Action for the BioNTech COVID-19 vaccine (COVID-19 Vaccine, mRNA;
 Comirnaty). 28

 Petitioner argues that the authorizations for these vaccines should be revoked, and that future
 COVID vaccines should not be authorized or licensed, because (1) “the current risks of serious
 adverse events or deaths outweigh the benefits,” and (2) “existing, approved drugs provide
 highly effective prophylaxis and treatment against COVID, mooting the EUAs.” We address
 each of Petitioner’s arguments, and data submitted in the Petition in support of these arguments,
 below.

 FDA disagrees with Petitioner’s position that the Authorized COVID-19 Vaccines did not meet
 the statutory standard at the time of authorization, and finds no basis in the information
 submitted in the Petition, or in any postmarket data regarding these vaccines, to support a
 revocation of any of these authorizations. FDA is not aware of any information indicating that
 the known and potential benefits of the Authorized COVID-19 Vaccines are outweighed by their
 known and potential risks, nor has Petitioner provided any such information in the Petition. The

 27
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021),
 https://www.fda.gov/media/148542/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization of an Additional Dose in Certain Immunocompromised Individuals
 (August 12, 2021) https://www.fda.gov/media/151613/download; FDA, Moderna COVID-19 Vaccine EUA
 Decision Memorandum (Dec. 18, 2020), https://www.fda.gov/media/144673/download; FDA, Moderna COVID-19
 Vaccine EUA Amendment Decision Memorandum for Authorization of an Additional Dose in Certain
 Immunocompromised Individuals (August 12, 2021) https://www.fda.gov/media/151611/download; FDA, Janssen
 COVID-19 Vaccine EUA Decision Memorandum (Feb. 27, 2021), https://www.fda.gov/media/146338/download.
 28
    This letter incorporates by reference FDA's Summary Basis for Regulatory Action (SBRA) for the BioNTech
 BLA. This memorandum will be posted on www.fda.gov.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 122 of 209 PAGEID #: 1257




 known and potential benefits of the Authorized COVID-19 Vaccines continue to outweigh their
 known and potential risks, given the risk of COVID-19 and related, potentially severe,
 complications. Furthermore, as explained below, there is no adequate, approved, and available
 alternative to the Authorized COVID-19 Vaccines for preventing COVID-19. Accordingly, this
 request is denied.

                                   b. Standard for Revocation of EUAs is not Met for the
                                      Authorized COVID-19 Vaccines
 Section 564(g)(2) of the FD&C Act provides the standard for revocation of an EUA. Under this
 statutory authority, FDA may revise or revoke an EUA if:

         (A) the circumstances described under [section 564(b)(1) of the FD&C Act] no longer
         exist;
         (B) the criteria under [section 564(c) of the FD&C Act] for issuance of such authorization
         are no longer met; or
         (C) other circumstances make such revision or revocation appropriate to protect the
         public health or safety.

 FDA’s guidance entitled Emergency Use Authorization of Medical Products and Related
 Authorities (“EUA Guidance”), 29 notes that once an EUA is issued for a product, in general, that
 EUA will remain in effect for the duration of the EUA declaration under which it was issued,
 “unless the EUA is revoked because the criteria for issuance . . . are no longer met or revocation
 is appropriate to protect public health or safety (section 564(f),(g) [of the FD&C Act]).” 30
 Regarding the circumstances that would make a revision or revocation appropriate to protect the
 public health or safety, FDA explains in the EUA guidance that

                  Such circumstances may include significant adverse inspectional
                  findings (e.g., when an inspection of the manufacturing site and
                  processes has raised significant questions regarding the purity,
                  potency, or safety of the EUA product that materially affect the
                  risk/benefit assessment upon which the EUA was based); reports
                  of adverse events (number or severity) linked to, or suspected of
                  being caused by, the EUA product; product failure; product
                  ineffectiveness (such as newly emerging data that may contribute
                  to revision of the FDA's initial conclusion that the product "may be
                  effective" against a particular CBRN agent); a request from the
                  sponsor to revoke the EUA; a material change in the risk/benefit
                  assessment based on evolving understanding of the disease or
                  condition and/or availability of authorized MCMs; or as provided
                  in section 564(b)(2), a change in the approval status of the product
                  may make an EUA unnecessary.


 29
    Emergency Use Authorization of Medical Products and Related Authorities; Guidance for Industry and Other
 Stakeholders, January 2017 (EUA Guidance), https://www.fda.gov/media/97321/download.
 30
    Id. at 28.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 123 of 209 PAGEID #: 1258




 EUA guidance at 29.

 Thus, in addressing Petitioner’s request for FDA to revoke the Authorized COVID-19 Vaccines,
 we assess whether any of the statutory conditions under which FDA may revoke an EUA are
 met, namely: (1) whether the circumstances justifying their issuance under section 564(b)(1) of
 the FD&C Act no longer exist, (2) whether the criteria for their issuance under section 564(c) of
 the FD&C Act are no longer met, and (3) whether other circumstances make a revision or
 revocation appropriate to protect the public health or safety.

                                           i. Circumstances Continue to Justify the Issuance of
                                              the EUAs for the Authorized COVID-19 Vaccines
 As explained above in section II.b., on February 4, 2020, pursuant to section 564(b)(1)(C) of the
 FD&C Act (21 U.S.C. § 360bbb-3(b)(1)(C)), the Secretary of HHS determined that there is a
 public health emergency that has a significant potential to affect national security or the health
 and security of U.S. citizens living abroad, and that involves the virus that causes COVID-19. 31
 On the basis of such determination, on March 27, 2020, the Secretary then declared that
 circumstances exist justifying the authorization of emergency use of drugs and biological
 products during the COVID-19 pandemic (“COVID-19 EUA Declaration”), pursuant to section
 564(b)(1) of the FD&C Act (21 U.S.C. § 360bbb-3(b)(1)). 32
 Based on this declaration and determination, under section 564(c) of the FD&C Act (21 U.S.C. §
 360bbb-3(c)), FDA may issue an EUA during the COVID-19 pandemic after FDA concludes
 that the statutory requirements provided in section 564(c) are met. Section 564(b)(2) sets forth
 the statutory standard for termination of an EUA declaration. An EUA declaration remains in
 place until the earlier of: (1) a determination by the HHS Secretary that the circumstances that
 precipitated the declaration have ceased (after consultation as appropriate with the Secretary of
 Defense) or (2) a change in the approval status of the product such that the authorized use(s) of
 the product are no longer unapproved. Neither of those statutory criteria is satisfied with respect
 to the Authorized COVID-19 Vaccines.

 Thus, the circumstances described under section 564(b)(1) of the FD&C Act continue to exist.
 FDA therefore is not revoking the EUAs for the Authorized COVID-19 Vaccines under the
 authority in section 564(g)(2)(A) of the FD&C Act.

                                          ii. The Criteria for The Issuance of the Authorized
                                              COVID-19 Vaccines Continue to Be Met
 This section describes in detail why the criteria under section 564(c) of the FD&C Act continue
 to be met with respect to the Authorized COVID-19 Vaccines and why, therefore, FDA is not
 revoking the EUAs for the Authorized COVID-19 Vaccines under the authority in section
 564(g)(2)(B) of the FD&C Act.


 31
    HHS, Determination of Public Health Emergency, 85 FR 7316, February 7, 2020,
 https://www.federalregister.gov/documents/2020/02/07/2020-02496/determination-of-public-health-emergency.
 32
    HHS, Emergency Use Authorization Declaration, 85 FR 18250, April 1, 2020,
 https://www.federalregister.gov/documents/2020/04/01/2020-06905/emergency-use-authorization-declaration.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 124 of 209 PAGEID #: 1259




                                                1. Serious or life-threatening disease or
                                                   condition.
 Section 564(c)(1) of the FD&C Act requires that, for an EUA to be issued for a medical product,
 FDA must conclude “the agent(s) referred to in [the HHS Secretary’s EUA declaration] can
 cause a serious or life-threatening disease or condition.” FDA has concluded that SARS-CoV-2,
 which is the subject of the EUA declaration, meets this standard.

 The SARS-CoV-2 pandemic continues to present an extraordinary challenge to global health
 and, as of August 3, 2021, has caused more than 199 million cases of COVID-19 and claimed the
 lives of more than 4.2 million people worldwide. 33 In the United States, more than 34 million
 cases and over 611,000 deaths have been reported to the CDC. 34 On January 31, 2020, the U.S.
 Secretary of Health and Human Services (HHS) declared a public health emergency related to
 COVID-19 and mobilized the Operating Divisions of HHS, and the U.S. President declared a
 national emergency in response to COVID-19 on March 13, 2020.
 FDA is not aware of science indicating that there is any change in the ability of the SARS-CoV-2
 virus to cause a serious or life-threatening disease or condition, namely COVID-19, nor has
 Petitioner provided any information about such a change. Therefore, the criterion under section
 564(c)(1) continues to be met with respect to the Authorized COVID-19 Vaccines.

                                                2. Evidence of Effectiveness
 Section 564(c)(2)(A) of the FD&C Act requires that, for an EUA to be issued for a medical
 product, FDA must conclude “based on the totality of scientific evidence available to the
 Secretary, including data from adequate and well-controlled trials, if available, it is reasonable to
 believe that the product may be effective to prevent, diagnose, or treat such serious or life-
 threatening disease or condition that can be caused by SARS-CoV-2.”

 FDA issued EUAs for the Authorized COVID-19 Vaccines after determining that, among other
 things, these products were demonstrated in clinical trials to prevent symptomatic and severe
 COVID-19 in vaccinated clinical trial subjects. 35 FDA is not aware of any data that changes this
 conclusion, nor has Petitioner provided any such data in the Petition. This section addresses
 Petitioner’s arguments regarding the effectiveness of the Authorized COVID-19 vaccines and
 explains why the information submitted by Petitioner does not change FDA’s analysis regarding
 the effectiveness of these vaccines.

 After FDA approves a vaccine or authorizes a vaccine for emergency use, the vaccine continues
 to be studied to determine how well it works under real-world conditions. FDA, CDC, and other
 federal partners have been assessing, and will continue to assess, COVID-19 vaccine


 33
    Johns Hopkins University School of Medicine, Coronavirus Resource Center,
 https://coronavirus.jhu.edu/map.html.
 34
    CDC, COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#trends_dailytrendscases.
 35
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020), at 23,
 https://www.fda.gov/media/144416/download; FDA, Moderna COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 18, 2020), at 24, https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA
 Decision Memorandum (Feb. 27, 2021), at 25, https://www.fda.gov/media/146338/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 125 of 209 PAGEID #: 1260




 effectiveness under real-world conditions. Such evaluations will help us understand if vaccines
 are performing as expected outside the more controlled setting of a clinical trial.

 Petitioner raises concerns regarding the post-market effectiveness of the Authorized COVID-19
 Vaccines (Petition at 6). Petitioner points to CDC-reported “breakthrough cases” to suggest that
 the Authorized COVID-19 Vaccines are not effective and argues that the EUAs for the
 Authorized COVID-19 Vaccines should therefore be revoked because the current risks of these
 vaccines outweigh their benefits. This perspective fails to recognize several important points
 regarding the concept of breakthrough cases and regarding the CDC publication cited in the
 Petition.

 First, we note that the Letters of Authorization for the Authorized COVID-19 Vaccines require
 EUA-holders to report to VAERS “cases of COVID-19 that result in hospitalization or death,
 that are reported to [the EUA holder].” 36 Thus, the possibility that individuals who received one
 of the Authorized COVID-19 Vaccines could develop breakthrough COVID-19 cases was
 recognized by FDA when the Agency evaluated the EUA requests for these vaccines and
 determined that their known and potential benefits outweigh their known and potential and risks.

 Second, the Authorized COVID-19 Vaccines are indicated to prevent symptomatic COVID-19, 37
 not to prevent SARS-CoV-2 infection. Over 353 million doses of COVID-19 vaccines have
 been administered in the United States 38 and FDA’s ongoing post authorization monitoring
 informs us that the known and potential benefits continue to outweigh the known and potential
 risks. Additionally, CDC’s post-authorization data regarding the Authorized COVID-19
 Vaccines continues to support FDA’s conclusion that these vaccines prevent symptomatic
 COVID-19. 39

 Third, a vaccine does not need to be 100% effective in preventing the target disease in order to
 meet the licensure or EUA standard. It is expected that some vaccinated individuals will contract
 the target disease despite having been vaccinated against it. No FDA licensed or authorized
 vaccine is 100% effective, but scientific data has nevertheless demonstrated that vaccinations
 have been a very effective approach to protecting the public's health in the United States. 40

 36
    Section 8, Requirements and Instructions for Reporting Adverse Events and Vaccine Administration Errors,
 Pfizer-BioNTech COVID-19 Fact Sheet for Healthcare Providers Administering Vaccine,
 https://www.fda.gov/media/144413/download; Section 8, Requirements and Instructions for Reporting Adverse
 Events and Vaccine Administration Errors, Moderna COVID-19 Fact Sheet for Healthcare Providers Administering
 Vaccine, https://www.fda.gov/media/144637/download; Section 8, Requirements and Instructions for Reporting
 Adverse Events and Vaccine Administration Errors, Janssen COVID-19 Fact Sheet for Healthcare Providers
 Administering Vaccine, https://www.fda.gov/media/146304/download.
 37
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020), at 23,
 https://www.fda.gov/media/144416/download; FDA, Moderna COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 18, 2020), at 24, https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA
 Decision Memorandum (Feb. 27, 2021), at 25, https://www.fda.gov/media/146338/download.
 38
    CDC, COVID Data Tracker Weekly Review, Interpretive Summary for August 13, 2021,
 https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html
 39
    CDC, COVID-19 Vaccine Effectiveness Research, https://www.cdc.gov/vaccines/covid-19/effectiveness-
 research/protocols.html.
 40
    Vaccine Safety Questions and Answers, last updated March 2018, https://www.fda.gov/vaccines-blood-
 biologics/safety-availability-biologics/vaccine-safety-questions-and-answers.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 126 of 209 PAGEID #: 1261




 Similarly, a COVID-19 vaccine need not be 100% effective in preventing symptomatic COVID-
 19, or even close to 100% effective in doing so, in order to have a significant effect in altering
 the course of the COVID-19 pandemic. As FDA noted in its June 2020 Guidance for Industry,
 Development and Licensure of Vaccines to Prevent COVID-19, (“The Vaccine Development
 and Licensure Guidance”) “[t]o ensure that a widely deployed COVID-19 vaccine is effective,
 the primary efficacy endpoint point estimate for a placebo-controlled efficacy trial should be at
 least 50%, and the statistical success criterion should be that the lower bound of the appropriately
 alpha-adjusted confidence interval around the primary efficacy endpoint point estimate is
 >30%.” 41 This statistical consideration provided in the Vaccine Development and Licensure
 Guidance reflects FDA’s assessment that a vaccine with at least 50 percent efficacy would have
 a significant impact on disease, both at the individual and societal level.
 Finally, we note that Petitioner refers to “CDC-reported” breakthrough cases in support of its
 argument that there are effectiveness concerns with the Authorized COVID-19 Vaccines but fails
 to acknowledge that CDC reported a set of breakthrough cases that includes a large proportion of
 asymptomatic individuals who tested positive for SARS-CoV-2. Petitioner thus applies a
 narrower definition of the term “breakthrough case” to a set of cases than CDC has in its
 COVID-19 Vaccine Breakthrough Case Investigation. 42 Petitioner refers to breakthrough cases
 in which vaccinated individuals “fall ill and potentially transmit the virus” (Petition at 6) and
 states that “CDC reported over 9,000 ‘breakthrough cases’ and 132 COVID-caused deaths
 among vaccinated people.” Petition at 6.

 CDC’s objective in the COVID-19 Vaccine Breakthrough Case Investigation is to 43 ensure the
 COVID-19 vaccines are working as expected and to “identify patterns or trends” in:

      •   Patients’ characteristics, such as age or underlying medical conditions
      •   The specific vaccine that patients received
      •   Whether a specific SARS-CoV-2 variant caused the infections” 44

 The objective of this investigation is not simply to count symptomatic COVID-19 cases.
 Currently, COVID-19 cases are increasing again in nearly all states. The highest rate of COVID-
 19 case spread is in areas with low vaccination rates. 45

 Petitioner’s submitted data regarding CDC-reported “breakthrough cases” therefore does not
 present new data or information that the Agency has not previously considered regarding the
 effectiveness of the Authorized COVID-19 Vaccines. Available data regarding effectiveness of

 41
    Development and Licensure of Vaccines to Prevent COVID-19, Guidance for Industry, June 2020, at 14,
 https://www.fda.gov/media/139638/download.
 42
    CDC, COVID-19 Vaccine Breakthrough Case Investigations and Reporting, https://www.cdc.gov/vaccines/covid-
 19/health-departments/breakthrough-cases.html.
 43
    CDC, COVID-19 Vaccine Breakthrough Case Investigations and Reporting, https://www.cdc.gov/vaccines/covid-
 19/health-departments/breakthrough-cases.html.
 44
    CDC, COVID-19 Vaccine Breakthrough Case Investigations and Reporting, https://www.cdc.gov/vaccines/covid-
 19/health-departments/breakthrough-cases.html.
 45
    “As of July 22 [2021], 35% of U.S. counties are experiencing high levels of community transmission. COVID-19
 cases are on the rise in nearly 90% of U.S. jurisdictions, and we are seeing outbreaks in parts of the country that
 have low vaccination coverage.” CDC, COVID Data Tracker Weekly Review, Interpretive Summary for July 23,
 2021, available at https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 127 of 209 PAGEID #: 1262




 the Authorized COVID-19 Vaccines continues to support the conclusion that these vaccines may
 be effective in preventing COVID-19. FDA is not aware of any data that changes this
 conclusion, nor has Petitioner provided any such data in the Petition. Therefore, the criterion
 under section 564(c)(2)(A) continues to be met with respect to the Authorized COVID-19
 Vaccines.

                                                        3. Benefit-Risk Analysis
 Section 564(c)(2)(B) of the FD&C Act requires that, for an EUA to be issued for a medical
 product, FDA must conclude “the known and potential benefits of the product, when used to
 diagnose, prevent, or treat [the identified serious or life-threatening disease or condition],
 outweigh the known and potential risks of the product . . . .” Petitioner argues that the current
 risks of serious adverse events or deaths associated with the Authorized COVID-19 Vaccines
 outweigh the benefits of COVID-19 vaccines. This section addresses Petitioner’s arguments
 regarding the safety of COVID-19 vaccines and explains why the information submitted by
 Petitioner does not change FDA’s analysis regarding the benefits and risks of the Authorized
 COVID-19 Vaccines.

 FDA issued EUAs for the Authorized COVID-19 Vaccines after reaching a determination
 regarding each of these vaccines that, among other things, the known and potential benefits of
 the vaccine, when used to prevent COVID-19, outweigh its known and potential risks. 46 FDA is
 not aware of any data that changes this determination, nor has Petitioner provided any such data
 in the Petition. The known and potential benefits of the Authorized COVID-19 Vaccines, when
 used to prevent COVID-19, continue to outweigh their known and potential risks, given the risk
 of COVID-19 and related, potentially severe, complications.

 Petitioner raises numerous concerns regarding safety of the Authorized COVID-19 Vaccines
 (Petition at 2-6) and asserts that the EUAs for the Authorized COVID-19 Vaccines should be
 revoked due in part to these safety concerns. For reasons explained below, FDA disagrees with
 Petitioner’s assertions regarding the safety of the Authorized COVID-19 Vaccines.

 As an initial matter, we note that the Petition discusses several assertions made by CDC and
 requests that have been directed to CDC. For requests intended for CDC, you should contact
 CDC directly.

                                                                 a. Petitioner’s Claims Regarding
                                                                    VAERS Data



 46
   For an extensive discussion of FDA’s analysis of the clinical trial data regarding the risks and benefits of each of
 the authorized COVID-19 Vaccines, see FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 11, 2020), at 49, https://www.fda.gov/media/144416/download; FDA, Moderna COVID-19 Vaccine EUA
 Decision Memorandum (Dec. 18, 2020), at 55, https://www.fda.gov/media/144673/download; FDA, Janssen
 COVID-19 Vaccine EUA Decision Memorandum (Feb. 27, 2021), at 59,
 https://www.fda.gov/media/146338/download. See also, FDA, Pfizer-BioNTech COVID-19 Vaccine EUA
 Amendment Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021), at 38,
 https://www.fda.gov/media/148542/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 128 of 209 PAGEID #: 1263




 In arguing that the Authorized COVID-19 Vaccines should be revoked due, in part, to safety
 concerns, Petitioners assert that “Vaccine Adverse Event Reporting System (VAERS) data reveal
 unprecedented levels of deaths and other adverse events since the FDA issued Emergency Use
 Authorizations (EUAs) for three COVID vaccines. As of May 10, 2021, VAERS reported 4,434
 deaths of people who received at least one COVID vaccination.” As an initial matter, we note
 that VAERS is a national passive surveillance vaccine safety database that receives unconfirmed
 reports of possible adverse events following the use of a vaccine licensed or authorized in the
 United States. VAERS is not designed to assess whether a reported adverse event was caused by
 a vaccine. This section explains vaccine safety surveillance, including VAERS, in greater detail
 below.

 Regarding the number of VAERS reports submitted for the Authorized COVID-19 Vaccines,
 this figure can be attributed to multiple factors. First, we note that a large number of COVID-19
 vaccine doses have been administered in the United States and that certain adverse event
 reporting by vaccination providers is required for the Authorized COVID-19 Vaccines. As of
 August 13, 2021, over 353,000,000 doses of the Authorized COVID-19 Vaccines have been
 administered. 47 We note that the crude number of VAERS reports of death is extremely small
 compared to the to the large number of people who have been vaccinated. The VAERS
 reporting rate for deaths (which is the number of VAERS death reports received out of the
 number of individuals vaccinated) for the Authorized COVID-19 Vaccines is actually very low
 (6,490 reports of death out of 346 million doses administered (0.0019%) as of August 2, 2021). 48
 Petitioner’s assertion fails to account for this fact.

 For licensed vaccines, healthcare providers are legally required under 42 USC 300aa-25 to report
 to VAERS two categories of adverse events: “[a]ny adverse event listed in the VAERS Table of
 Reportable Events Following Vaccination that occurs within the specified time period after
 vaccination [and] [a]n adverse event listed by the vaccine manufacturer as a contraindication to
 further doses of the vaccine” 49 Vaccine manufacturers are also required to report to VAERS all
 adverse events that come to their attention. 50
 Under the EUAs for the Authorized COVID-19 Vaccines, however, vaccination providers are
 required to report to VAERS serious adverse events following vaccination with the Authorized
 COVID-19 Vaccines, “irrespective of attribution to vaccination” and without a specified time
 period after vaccination. 51 Another contributing factor is the v-safe system, 52 which is a new
 CDC smartphone-based active-surveillance system in which participants who have been

 47
    CDC, COVID Data Tracker, COVID-19 Vaccinations in the United States, https://covid.cdc.gov/covid-data-
 tracker/#vaccinations_vacc-total-admin-rate-total.
 48
    CDC, Selected Adverse Events Reported after COVID-19 Vaccination, https://www.cdc.gov/coronavirus/2019-
 ncov/vaccines/safety/adverse-events.html.
 49
    VAERS, Frequently Asked Questions, https://vaers.hhs.gov/faq.html (emphasis added).
 50
    21 CFR 600.80. See also VAERS, Frequently Asked Questions, https://vaers.hhs.gov/faq.html.
 51
    Section 8, Requirements and Instructions for Reporting Adverse Events and Vaccine Administration Errors,
 Pfizer-BioNTech COVID-19 Fact Sheet for Healthcare Providers Administering Vaccine,
 https://www.fda.gov/media/144413/download; Section 8, Requirements and Instructions for Reporting Adverse
 Events and Vaccine Administration Errors, Moderna COVID-19 Fact Sheet for Healthcare Providers Administering
 Vaccine, https://www.fda.gov/media/144637/download; Section 8, Requirements and Instructions for Reporting
 Adverse Events and Vaccine Administration Errors, Janssen COVID-19 Fact Sheet for Healthcare Providers
 Administering Vaccine, https://www.fda.gov/media/146304/download.
 52
    CDC, v-safe Overview, https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/vsafe.html.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 129 of 209 PAGEID #: 1264




 vaccinated may voluntarily enroll. This system was developed for the COVID-19 vaccination
 program. V-safe sends text messages and web surveys to participants who can report side effects
 following receipt of a COVID-19 vaccine. If a participant indicates through the v-safe surveys
 that he or she required medical care at any time, CDC calls the participant to complete a report
 through VAERS. This system is unique to COVID-19 vaccines and may be contributing to the
 number of VAERS reports submitted for the Authorized COVID-19 Vaccines.
 Finally, another potential factor is the concept of “stimulated reporting.” 53 Because of extensive
 media coverage and awareness of the public health emergency – and of the Authorized COVID-
 19 Vaccines and their reported side effects –vaccine recipients, health care providers, and others
 are more likely to report adverse events for the Authorized COVID-19 Vaccines than for other
 vaccines that have been widely available for longer periods of time. Additionally, one of the
 articles submitted by Petitioner in support of their argument actually provides support for this
 explanation for the number of VAERS reports submitted for the Authorized COVID-19
 Vaccines. The article notes “[t]he relatively rapid increase in numbers of reports to VAERS
 following the introduction and initial uptake of a new vaccine, an expected occurrence, has been
 misinterpreted as actual increases in incidence of adverse events and vaccine related risk.” 54
 Petitioner’s argument regarding VAERS data for the Authorized COVID-19 Vaccines is
 unavailing because it fails to account for the factors outlined above.

 In addressing Petitioner’s assertion regarding VAERS claims, this section addresses the
 extensive vaccine safety surveillance efforts, in addition to VAERS, that are in place for the
 Authorized COVID-19 Vaccines. 55 FDA is monitoring the safety of the Authorized COVID-19
 Vaccines through both passive and active safety surveillance systems. FDA is doing so in
 collaboration with the Centers for Disease Control and Prevention (CDC), the Centers for
 Medicare and Medicaid Services (CMS), the Department of Veterans Affairs (VA), and other
 academic and large non-government healthcare data systems.

 In addition, FDA participates actively in ongoing international pharmacovigilance efforts,
 including those organized by the International Coalition of Medicines Regulatory Authorities

 53
    We note that an article submitted by Petitioner in support of their arguments regarding VAERS acknowledges this
 concept: “Like all spontaneous public health reporting systems, VAERS has limitations. VAERS is subject to
 reporting bias, including underreporting of adverse events – especially common, mild ones– and stimulated
 reporting, which is elevated reporting that might occur in response to intense media attention and increased public
 awareness, such as during the 2009 H1N1 pandemic influenza vaccination program” Shimabukuro et al., Safety
 monitoring in the Vaccine Adverse Event Reporting System (VAERS), Vaccine (Nov. 4, 2015),
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4632204/. See also “The number of reports and reporting rate
 following 2009-H1N1 vaccination were higher than following 2009–2010 seasonal influenza vaccines for all age
 groups. These findings, however, should be interpreted in light of the publicity around the 2009-H1N1 vaccine and
 efforts to increase reporting to VAERS. Heightened public awareness and stimulated reporting likely enhanced
 reporting to VAERS. Furthermore, although 2009-H1N1 was licensed similarly to seasonal influenza vaccines, it
 was likely perceived as a ‘new’ vaccine by the public and susceptible to the known tendency (i.e., the Weber effect)
 for adverse events to be reported more frequently following newly licensed products.” Vellozzi, et al., Adverse
 events following influenza A (H1N1) 2009 monovalent vaccines reported to the Vaccine Adverse Event Reporting
 System, United States, October 1, 2009–January 31, 2010, Vaccine (Oct. 21, 2010),
 https://www.sciencedirect.com/science/article/pii/S0264410X10013319.
 54
    Shimabukuro et al., Safety monitoring in the Vaccine Adverse Event Reporting System (VAERS), Vaccine (Nov.
 4, 2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4632204/ (emphasis added).
 55
    FDA, COVID-19 Vaccine Safety Surveillance, https://www.fda.gov/vaccines-blood-biologics/safety-availability-
 biologics/covid-19-vaccine-safety-surveillance.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 130 of 209 PAGEID #: 1265




 (ICMRA) and the World Health Organization (WHO). These efforts are in addition to the
 pharmacovigilance efforts being undertaken by the individual manufacturers for authorized
 vaccines. A coordinated and overlapping approach using state-of the art technologies has been
 implemented. As part of our efforts to be transparent about our COVID-19 vaccine safety
 monitoring activities, FDA is posting summaries of the key safety monitoring findings on the
 FDA website. 56

                                                                i. Vaccine Safety Surveillance
 Passive Surveillance

 VAERS is a national passive surveillance vaccine safety database that receives unconfirmed
 reports of possible adverse events following the use of a vaccine licensed or authorized in the
 United States. Passive surveillance is defined as unsolicited reports of adverse events that are
 sent to a central database or health authority. In the United States, these are received and entered
 into VAERS, which is co-managed by FDA and CDC. In the current pandemic, these reports are
 being used to monitor the occurrence of both known and unknown adverse events, as providers
 of COVID-19 vaccines are required to report serious adverse events to VAERS.
 As part of FDA and CDC's multi-system approach to post-licensure and post-authorization
 vaccine safety monitoring, VAERS is designed to rapidly detect unusual or unexpected patterns
 of adverse events, also known as “safety signals.” VAERS reports generally cannot be used to
 determine if a vaccine caused or contributed to an adverse event or illness. If the VAERS data
 suggest a possible link between an adverse event and vaccination, the relationship may be further
 studied in a controlled fashion. 57

 Anyone can make a report to VAERS, including vaccine manufacturers, private practitioners,
 state and local public health clinics, vaccine recipients, and their parents or caregivers.
 Surveillance programs like VAERS perform a critical function by generating signals of potential
 problems that may warrant further investigation.

 VAERS is not designed to assess causality. It is often difficult to determine with certainty if a
 vaccine caused an adverse event reported to VAERS. Many events that occur after vaccination
 can happen by chance alone. Some adverse events are so rare that their association with a
 vaccine is difficult to evaluate. In addition, we often receive reports where there is no clear
 clinical diagnosis. FDA draws upon multiple sources of data and medical and scientific
 expertise to assess the potential strength of association between a vaccine, including COVID-19
 vaccines, and a possible adverse event.

 If VAERS monitoring suggests that a vaccine might be causing a health problem, additional
 scientifically rigorous studies or investigations can be performed by FDA and CDC. Monitoring
 and analysis of VAERS reports typically includes daily in-depth medical review of all serious
 reports, statistical data mining techniques, and epidemiological analysis. We look for patterns
 and similarities in the onset timing and clinical description. We review published literature to

 56
    FDA, COVID-19 Vaccine Safety Surveillance, https://www.fda.gov/vaccines-blood-biologics/safety-availability-
 biologics/covid-19-vaccine-safety-surveillance
 57
    FDA, VAERS Overview, https://www.fda.gov/vaccines-blood-biologics/vaccine-adverse-events/vaers-overview.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 131 of 209 PAGEID #: 1266




 understand possible biologic hypotheses that could plausibly link the reported adverse event to
 the vaccine. We review the pre-licensure or pre-authorization data and any other post-marketing
 studies that have been conducted. We also consider “background rate,” meaning the rate at
 which a type of adverse event occurs in the unvaccinated general population. When necessary,
 we discuss the potential adverse event with our federal and international safety surveillance
 partners. We also carefully evaluate unusual or unexpected reports, as well as reports of
 “positive re-challenges” (adverse events that occur in the same patient after each dose received).
 When there is sufficient evidence for a potential safety concern, we may proceed to conduct
 large studies, and we may coordinate with our federal, academic, and private partners to further
 assess the potential risk after vaccination. In addition, when potential safety issues arise, they are
 often presented to various U.S. government advisory committees, including the Vaccines and
 Related Biological Products Advisory Committee, the Advisory Committee on Immunization
 Practices (ACIP), and the Advisory Committee on Childhood Vaccines, and are often discussed
 with experts from other countries and from the World Health Organization. Federal agencies
 that assist in population-based vaccines safety studies include the CDC, Centers for Medicaid
 and Medicare (CMS), the Department of Defense (DoD), and the Indian Health Services (IHS).
 In addition, we generally communicate and work with international regulatory authorities and
 international partners to conduct studies in vaccine safety.

 Active Surveillance

 Active surveillance involves proactively obtaining and rapidly analyzing information related to
 millions of individuals and recorded in large healthcare data systems to verify safety signals
 identified through passive surveillance or to detect additional safety signals that may not have
 been reported as adverse events to passive surveillance systems. FDA is conducting active
 surveillance using the Sentinel BEST (Biologics Effectiveness and Safety) System and the CMS
 system, and is also collaborating with other federal and non-federal partners.

 BEST

 To elaborate further, the BEST system, 58 which is part of the Sentinel initiative, 59 comprises
 large-scale claims data, electronic health records (EHR), and linked claims-EHR databases with
 a data lag of approximately three months. The system makes use of multiple data sources and
 enables rapid queries to detect or evaluate adverse events as well as studies to answer specific
 safety questions for vaccines. The linked claims-EHR database makes it possible to study the
 safety of vaccines in sub-populations with pre-existing conditions or in pregnant women. The
 major partners for BEST currently are Acumen, IBM Federal HealthCare, IQVIA, and Columbia
 University and many affiliated partners such as MedStar Health, BlueCross BlueShield of




 58
    CBER Biologics Effectiveness and Safety (BEST) System, https://www.fda.gov/vaccines-blood-biologics/safety-
 availability-biologics/cber-biologics-effectiveness-and-safety-best-system.
 59
    FDA’s Sentinel Initiative, https://www.fda.gov/safety/fdas-sentinel-initiative.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 132 of 209 PAGEID #: 1267




 America, the Observational Health Data Sciences and Informatics (OHDSI), OneFlorida,
 University of California and several others. 60

 Using BEST, CBER plans to monitor about 15 adverse events 61 that have been seen with the
 deployment of previous vaccines but have yet to be associated with a safety concern for an
 authorized COVID-19 vaccine at this time. CBER further plans to use the BEST system to
 conduct more in-depth analyses should a safety concern be identified from sources such as
 VAERS.

 CMS

 FDA has worked over the past several years with CMS to develop capabilities for routine and
 time-sensitive assessments of the safety of vaccines for people 65 years of age and older using
 the Medicare Claims database. 62 Because it was already in place, this system was immediately
 put into use for COVID-19 vaccine surveillance to monitor for adverse events. 63

 During the current pandemic, FDA, CMS, and CDC have already used the Medicare data to
 publish a study showing that frailty, comorbidities, and race/ethnicity were strong risk factors of
 COVID-19 hospitalization and death among the U.S. elderly. 64

 VSD

 In addition, the Vaccine Safety Datalink (VSD) is a collaborative project between CDC’s
 Immunization Safety Office and nine health care organizations. As noted on the CDC’s



 60
    To confirm the utility of the BEST system for situations such as COVID-19 vaccine surveillance, a test case was
 conducted. This study aimed to replicate a previous study by the CDC’s Vaccine Safety Datalink (VSD) (Klein et al.
 Pediatrics 2010) that examined the databases and analytic capabilities of the new system. The objective of this study
 was to test the new system’s ability to reproduce the increased risk of febrile seizures in children receiving the first
 dose of measles-mumps-rubella-varicella (MMRV) vaccine, compared to that of MMR and varicella vaccines
 separately but on the same day. The results of the study met the objectives and demonstrated the ability of the BEST
 Initiative data network to run a complex study protocol at multiple sites using a distributed data network and the
 Observational Medical Outcomes Partnership Common Data Model (organizing disparate data sources into the same
 database design using a common format).
 61
    Background Rates of Adverse Events of Special Interest for COVID-19 Vaccine Safety Monitoring, Draft
 Protocol (December 31, 2020), https://www.bestinitiative.org/wp-content/uploads/2021/01/C19-Vaccine-Safety-
 AESI-Background-Rate-Protocol-2020.pdf.
 62
    CMS, Standard Analytical Files (Medicare Claims) – LDS, https://www.cms.gov/Research-Statistics-Data-and-
 Systems/Files-for-Order/LimitedDataSets/StandardAnalyticalFiles.
 63
    As one example of the capabilities of this system, FDA, CMS, and CDC evaluated the risk of Guillain-Barré
 syndrome (GBS) following influenza vaccination after CDC’s Vaccine Safety Datalink, identified safety signals
 suggesting an increased risk of GBS following high-dose influenza vaccinations and Shingrix vaccinations during
 the 2018-2019 influenza season. CBER, CDC, and CMS formed working groups in February 2019 to refine these
 safety signals in the CMS data.
 64
    Hector S Izurieta, David J Graham, Yixin Jiao, Mao Hu, Yun Lu, Yue Wu, Yoganand Chillarige, Michael
 Wernecke, Mikhail Menis, Douglas Pratt, Jeffrey Kelman, Richard Forshee, Natural History of Coronavirus Disease
 2019: Risk Factors for Hospitalizations and Deaths Among >26 Million US Medicare Beneficiaries, The Journal of
 Infectious Diseases, Volume 223, Issue 6, 15 March 2021, Pages 945–956, https://doi.org/10.1093/infdis/jiaa767
 https://academic.oup.com/jid/article/223/6/945/6039057.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 133 of 209 PAGEID #: 1268




 webpage, the VSD started in 1990 and continues today in order to monitor safety of vaccines and
 conduct studies about rare and serious adverse events following immunization.

 The VSD uses electronic health data from each participating site. This includes information on
 vaccines: the kind of vaccine given to each patient, date of vaccination, and other vaccinations
 given on the same day. The VSD also uses information on medical illnesses that have been
 diagnosed at doctors’ offices, urgent care visits, emergency department visits, and hospital stays.
 The VSD conducts vaccine safety studies based on questions or concerns raised from the medical
 literature and reports to the Vaccine Adverse Event Reporting System (VAERS). When there are
 new vaccines that have been recommended for use in the United States or if there are changes in
 how a vaccine is recommended, the VSD will monitor the safety of these vaccines.

 The VSD has a long history of monitoring and evaluating the safety of vaccines. Since 1990,
 investigators from the VSD have published many studies to address vaccine safety concerns. 65

 In summary, in collaboration and coordination with several different partners, FDA has
 assembled passive surveillance systems - including VAERS - and active surveillance systems
 that can detect and refine safety findings with the Authorized COVID-19 Vaccines in a relatively
 rapid manner. These systems can also potentially be leveraged to assess safety in specific
 subpopulations and to assess vaccine effectiveness.

                                                               ii. Articles Submitted in Petition
                                                                   Regarding Vaccine Surveillance


 We note at the outset that Petitioner raises concerns regarding the methodology by which CDC
 calculated rates of anaphylactic adverse events post-vaccination. Such concerns are best directed
 to CDC and are outside the scope of FDA’s Petition response.

 Regarding Petitioner’s contention that a low percentage of adverse events have been reported to
 VAERS and that therefore “the safety of COVID vaccines is considerably worse than it currently
 appears” (Petition at 4), as explained in detail above in this section, VAERS is only one part of a
 multi-tiered vaccine safety surveillance system, so the information derived from VAERS reports
 does not represent the full extent of vaccine safety information being monitored by FDA and its
 federal partners.

 Specifically, Petitioner cites to three studies in support of the argument that “[g]iven that only 1
 to 13% of adverse reactions have been reported to the FDA and CDC via the VAERS passive
 reporting system, according to Lazarus et al., the high number of adverse events and deaths
 following COVID vaccines is alarming.” Petition at 5. The articles cited by Petitioner in support
 of this contention do not support Petitioner’s position that, due to underreporting of adverse
 events, the rate of reported adverse events associated with COVID-19 vaccination is low in
 comparison to the actual rate of adverse events. As discussed above in this section, there are
 several factors unique to the surveillance of the Authorized COVID-19 Vaccines that have

 65
   See, e.g., CDC, White Paper on the Safety of the Childhood Immunization Schedule, Vaccine Safety Datalink,
 available at https://www.cdc.gov/vaccinesafety/pdf/WhitePaperSafety_WEB.pdf.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 134 of 209 PAGEID #: 1269




 contributed to the number of VAERS reports submitted for these vaccines. Petitioner’s argument
 that adverse events associated with the Authorized COVID-19 Vaccines are underreported
 because of the figures presented in the articles cited fail to account for any of those factors that
 are unique to the Authorized COVID-19 Vaccines.

 Petitioner cites to a publication from the Agency for Healthcare Research and Quality (Lazarus
 et al.) in support of the argument that deaths and adverse events associated with the Authorized
 COVID-19 Vaccines are underreported because “only 1 to 13% of adverse reactions have been
 reported to the FDA and CDC via the VAERS passive reporting system” (Petition at 5), and
 therefore the actual rate of COVID-19 Vaccine adverse events is significantly higher than
 reported. 66 As an initial matter, we note that the language cited from the Lazarus article is
 referring to adverse event reporting for drugs and vaccines, not just vaccine adverse events
 reported to VAERS. 67 Furthermore, as explained in detail above, several factors have
 contributed to the number of VAERS reports submitted for the Authorized COVID-19 Vaccines.
 The issues raised in this article regarding underreporting of drug adverse event reporting are not
 directly relevant to the claims Petitioner makes regarding adverse event reporting for the
 Authorized COVID-19 Vaccines. The article was published in 2010 and does not consider the
 numerous factors outlined above regarding reporting of adverse events following COVID-19
 vaccination.

 Petitioner cites to a journal article in the publication Vaccine 68 regarding VAERS safety
 monitoring in support of their argument that adverse event reports for the Authorized COVID-19
 Vaccines are underreported. This article generally discusses the limitations of VAERS and
 passive surveillance, which are well-understood by the FDA and which are discussed in this
 letter. Additionally, this article notes “[p]erhaps the two most common misconceptions about
 VAERS are that temporally associated reports represent true adverse reactions caused by
 vaccination, and that VAERS reports equate to rates of adverse events or indicate risk of adverse
 events associated with vaccination.” 69 This statement from the article demonstrates the flaws
 underlying Petitioner’s claims that the Authorized COVID-19 Vaccines are unsafe due to the
 number of serious adverse events reported to VAERS following administration of these vaccines.
 Additionally, the article notes “[t]he relatively rapid increase in numbers of reports to VAERS
 following the introduction and initial uptake of a new vaccine, an expected occurrence, has been
 misinterpreted as actual increases in incidence of adverse events and vaccine related risk.” 70
 Thus, the article cited by Petitioner directly contradicts Petitioner’s claims regarding the safety of
 the Authorized COVID-19 Vaccines based on the number of VAERS adverse event reports
 associated with these vaccines.




 66
    Lazarus et al., Electronic Support for Public Health-Vaccine Adverse Event Reporting System, Agency for
 Healthcare Research and Quality, HHS (Sept. 30, 2010), https://digital.ahrq.gov/ahrq-funded-projects/electronic-
 support-public-health-vaccine-adverse-event-reporting-system.
 67
    Id. at 6.
 68
    Shimabukuro et al., Safety monitoring in the Vaccine Adverse Event Reporting System (VAERS), Vaccine (Nov.
 4, 2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4632204/.
 69
    Id. at 9.
 70
    Id.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 135 of 209 PAGEID #: 1270




 Finally, Petitioner also cites to a journal article in the American Journal of Public Health. 71 This
 article does not raise issues that have not already been addressed in this letter’s discussion of
 safety surveillance. For instance, the article notes that passive surveillance has several
 limitations, specifically, passive surveillance may involve underreporting of adverse events, and
 passive surveillance data is not adequate to determine causation. Additionally, this article notes
 that passive surveillance can provide valuable information, “[n]evertheless, if reporting is
 reasonably consistent, it may be possible to detect changes in trends of known common adverse
 events.” 72

 Therefore, the articles submitted by Petitioner do not present data or information regarding the
 Authorized COVID-19 Vaccines that change the Agency’s analysis regarding the benefits and
 risks of the Authorized COVID-19 Vaccines.

 Petitioner further asserts that extensive safety information regarding vaccines is inaccessible to
 the public (“the VAERS database is the only safety database to which the public has access. The
 government withholds extensive safety information from the public despite having at least ten
 additional data sources and expert consultants to analyze these data . . . .” Petition at 2.). This
 contention represents a misunderstanding by Petitioner of the sources of data analyzed by FDA
 and its federal partners, and of the types of information available to the public.
 As noted above, Petitioner's questions regarding databases operated by other federal partners,
 such as DOD, CMS, CDC, VA, should be directed to those federal entities. Regarding FDA’s
 BEST system, Petitioner erroneously claims that the public does not have access to the
 information on this system. As noted above, the BEST system, 73 which is part of the Sentinel
 initiative, 74 comprises large-scale claims data, electronic health records (EHR), and linked
 claims-EHR databases with a data lag of approximately three months. The system makes use of
 multiple data sources and enables rapid queries to detect or evaluate adverse events as well as
 studies to answer specific safety questions for vaccines. The system is not intended to be a
 source of raw EHR data. Instead, as explained on FDA’s webpage describing the BEST system,
 the purpose of the BEST system is to: (1) build data, analytics, infrastructure for an active, large-
 scale, efficient surveillance system for biologic products; and (2) develop innovative methods to
 utilize electronic health records (EHR) effectively and establish automated adverse events
 reporting, utilizing natural language processing and artificial intelligence. 75 BEST does not have
 access to the raw, identifiable data. BEST data partners analyze the raw data per publicly posted
 protocols and send the results in aggregated form to BEST for review. The information is
 summarized in either final reports, manuscripts or public presentations. BEST publicly posts
 study protocols of surveillance activities on the BEST site with open public comments regarding
 the protocols, final reports and manuscripts as well as communication on CBER safety site and
 public meetings, e.g., VRBPAC, where appropriate. These protocols delineate the scientific
 approach to analyzing the raw data, where in the raw form is of limited utility to the public, to

 71
    S. Rosenthal and R. Chen, The reporting sensitivities of two passive surveillance systems for vaccine adverse
 events, American Journal of Public Health (Dec. 1995), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1615747/.
 72
    Id.
 73
    CBER Biologics Effectiveness and Safety (BEST) System, https://www.fda.gov/vaccines-blood-biologics/safety-
 availability-biologics/cber-biologics-effectiveness-and-safety-best-system.
 74
    FDA’s Sentinel Initiative, https://www.fda.gov/safety/fdas-sentinel-initiative.
 75
    CBER Biologics Effectiveness and Safety (BEST) System, https://www.fda.gov/vaccines-blood-biologics/safety-
 availability-biologics/cber-biologics-effectiveness-and-safety-best-system.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 136 of 209 PAGEID #: 1271




 generate information on vaccine safety. The final reports and manuscripts summarize the
 information and conclusions inferred from well-conducted surveillance studies.

                                                                 iii. FDA Has Responded to Safety
                                                                      Signals Related to the Authorized
                                                                      COVID-19 Vaccines by Extensively
                                                                      Reviewing Data, Updating the
                                                                      Authorized Labeling, and
                                                                      Communicating to the Public


 Petitioner further asserts that “FDA and CDC have not responded to these data by issuing any
 warnings or restricting the use of these vaccines.” Petition at 2. This assertion is inaccurate. As
 explained in detail above, FDA and its federal partners, including CDC, have closely monitored
 post-market safety data regarding the Authorized COVID-19 Vaccines. FDA has worked to
 identify and investigate serious adverse events occurring in people after receiving the Authorized
 COVID-19 Vaccines, and to communicate these risks to the public and revise the authorized
 labeling to reflect these risks in a timely fashion. 76 The surveillance systems that are in place to
 monitor the safety of COVID-19 vaccines authorized for emergency use are working, as
 demonstrated by FDA’s and CDC’s work to identify and investigate these serious adverse events
 in a timely manner.

 Adverse events reported to VAERS following administration of one of the authorized COVID-19
 vaccines are reviewed to assess possible safety concerns. Such review of VAERS data regarding
 the authorized COVID-19 vaccines has been conducted since these vaccines were authorized.
 Such review has prompted the Agency to take action with respect to the currently authorized
 COVID-19 vaccines:

      •   On April 13, 2021, FDA and CDC recommended a pause in the use of the Janssen
          COVID-19 vaccine following six VAERS reports in the U.S. of thrombosis with
          thrombocytopenia. 77 The FDA and CDC thoroughly reviewed VAERS and other post-
          authorization information and data related to the Janssen COVID-19 vaccine during the
          recommended pause. This review included two meetings of ACIP. Following a
          thorough safety review, FDA determined that the available data show that the Janssen
          COVID-19 vaccine’s known and potential benefits outweigh its known and potential

 76
    Janssen COVID-19 Vaccine Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers),
 Sections 5.2 and 5.3 Warnings and Precautions Regarding Thrombosis with Thrombocytopenia and GBS,
 https://www.fda.gov/media/146304/download; Pfizer-BioNTech COVID-19 Vaccine Fact Sheet for Healthcare
 Providers Administering Vaccine (Vaccination Providers), Section 5.2, Warning and Precautions Regarding
 Myocarditis and Pericarditis, https://www.fda.gov/media/144413/download; Moderna COVID-19 Vaccine Fact
 Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers), Section 5.2, Warning and
 Precautions Regarding Myocarditis and Pericarditis, https://www.fda.gov/media/144637/download.
 77
    We note that Petitioner mentions that Denmark, among other nations, has “banned” the Janssen COVID-19
 vaccine. To the extent Petitioner relies on this ban as support for Petitioner’s request that FDA revoke the EUA for
 this vaccine, we note that Denmark and other nations’ actions with respect to the use of this vaccine are outside
 purview of FDA’s work, so we cannot comment on decisions they make under their public health regulatory
 framework.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 137 of 209 PAGEID #: 1272




          risks in individuals 18 years of age and older. As a result of this review, the Fact Sheet
          for Healthcare Providers Administering Vaccine (Vaccination Providers) was updated to
          include a Warning pertaining to the risk of thrombosis with thrombocytopenia. The Fact
          Sheet for Recipients and Caregivers was also updated to include information about these
          serious adverse events. The FDA and CDC conducted extensive outreach to providers
          and clinicians to ensure they were made aware of the potential for these adverse events
          and could properly recognize and manage thrombosis with thrombocytopenia in
          individuals who receive the Janssen COVID-19 Vaccine.
      •   On June 25, 2021, following review of VAERS reports, FDA required revisions to the
          authorized labeling for the Pfizer-BioNTech COVID-19 vaccine and the Moderna
          COVID-19 vaccine to add a warning regarding the suggested increased risks of
          myocarditis and pericarditis. This update to the authorized labeling for these vaccines
          followed an extensive review of information and the discussion by CDC’s ACIP meeting
          on June 23, 2021. As of July 26, 2021, the FDA and the Centers for Disease Control and
          Prevention (CDC) have received 1,194 reports of myocarditis or pericarditis occurring
          among people ages 30 and younger who received either Moderna or Pfizer-BioNTech
          COVID-19 vaccines, particularly following the second dose. 78 Through follow-up,
          including medical record reviews, the FDA and CDC had confirmed 699 cases of
          myocarditis or pericarditis. 79
      •   On July 13, 2021, FDA required revisions to the vaccine recipient and vaccination
          provider fact sheets for the Janssen COVID-19 Vaccine to include information pertaining
          to a suggested increased risk of Guillain-Barré Syndrome (GBS) during the 42 days
          following vaccination. Based on an analysis of Vaccine Adverse Event Reporting
          (VAERS) data, at that time, there had been 100 reports of presumptive GBS following
          vaccination with the Janssen vaccine after approximately 12.5 million doses
          administered. Of these reports, 95 of them were serious and required hospitalization.
          There was one reported death. As noted in the Janssen Fact Sheet for Healthcare
          Providers Administering Vaccine, because these reactions are reported voluntarily, it is
          not always possible to reliably estimate their frequency or establish a causal relationship
          to vaccine exposure. Each year in the United States, an estimated 3,000 to 6,000 people
          develop GBS. Most people fully recover from the disorder. FDA publicly presented this
          issue, and information regarding these 100 reports of presumptive GBS, to the ACIP on
          July 22, 2021. 80
 During each of these post-authorization reviews and labeling changes, the FDA has evaluated the
 available post-authorization information for the authorized COVID-19 Vaccines and continues to
 find the known and potential benefits clearly outweigh the known and potential risks.


 78
    CDC, COVID-19 Reported Adverse Events, https://www.cdc.gov/coronavirus/2019-
 ncov/vaccines/safety/adverse-events.html.
 79
    Id.
 80
    FDA, CDC ACIP Meeting Presentation, Guillain-Barré Syndrome (GBS) after Janssen COVID-19 Vaccine:
 Vaccine Adverse Event Reporting System (VAERS), July 22, 2021,
 https://www.cdc.gov/vaccines/acip/meetings/downloads/slides-2021-07/02-COVID-Alimchandani-508.pdf.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 138 of 209 PAGEID #: 1273




                                                          iv. Petitioner’s Claims Regarding
                                                              Anaphylaxis
 Petitioner cites to a study of acute allergic reactions to mRNA COVID-19 vaccines in support of
 their argument that adverse event rates for COVID-19 vaccines have been miscalculated by
 CDC. 81 As stated above, questions relating to CDC are best directed to that Agency. We note,
 however, that this journal article states, immediately after the sentence quoted by Petitioner,
 “[h]owever, the overall risk of anaphylaxis to an mRNA COVID-19 vaccine remains extremely
 low and largely comparable to other common health care exposures. Although cases were
 clinically compatible with anaphylaxis, the mechanism of these reactions is unknown.” The
 paper further states, in describing the limitations of the study, that “[a] northeastern US cohort
 may not be generalizable.” Thus, Petitioner is inappropriately generalizing the results of this
 study in an attempt to compare the results to the CDC’s reported data and conclude that the
 safety of COVID vaccines is “considerably worse than it currently appears.” Petition at 4.

 Additionally, we note that the authorized labeling for all the Authorized COVID-19 vaccines
 already contain warnings regarding the risk of anaphylaxis as a potential adverse event. Thus,
 the risk of anaphylaxis is a potential safety issue FDA is already aware of, and Petitioner’s
 argument, and the article submitted in support of this argument, does not change FDA’s
 conclusions regarding the safety of the Authorized COVID-19 vaccines.

                                                           v. Animal Toxicology and
                                                              Pharmacokinetic Studies of COVID-
                                                              19 Vaccines
 Petitioner raises concerns regarding FDA’s vaccine safety assessment. Specifically, Petitioner
 states that other “problems with vaccine safety assessment may exist because of inadequate
 animal toxicology and pharmacokinetic studies of COVID vaccines.” Petition at 5; emphasis
 added. As an initial matter, we note that Petitioner’s concerns regarding the vaccine safety
 assessment for COVID-19 vaccines involves speculation regarding whether problems actually
 exist (“problems with vaccine safety assessment may exist . . .”), and Petitioner fails to point to
 any specific problems that result or may result from the allegedly inadequate studies.
 Regarding Petitioner’s claims, in general, when evaluating the safety data regarding a vaccine,
 FDA considers data from animal studies (if such pre-clinical studies were performed) as one part
 of the full body of evidence regarding the vaccine. In addition to data from animal studies, if
 available, FDA evaluates data from in vitro studies and conducts a safety assessment of data
 from clinical studies.

 Thus, although Petitioner raises several concerns and cites to several articles regarding risks of
 COVID-19 vaccination, FDA is not aware of any information indicating that the known and
 potential benefits of the Authorized COVID-19 Vaccines are outweighed by their known and
 potential risks, nor has Petitioner provided any such information in the Petition. Therefore, the



 81
   Blumenthal KG, Robinson LB, Camargo CA, et al., Acute Allergic Reactions to mRNA COVID-19 Vaccines,
 JAMA. 2021;325(15):1562–1565. doi:10.1001/jama.2021.3976,
 https://jamanetwork.com/journals/jama/fullarticle/2777417.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 139 of 209 PAGEID #: 1274




 criterion under section 564(c)(2)(B) continues to be met with respect to the Authorized COVID-
 19 Vaccines.

                                                     4. No Alternatives
 As noted above, Petitioner requests that “FDA should revoke all EUAs and refrain from
 approving any future EUA . . . for any COVID vaccine for all demographic groups because the
 current risks of serious adverse events or deaths outweigh the benefits, and because existing,
 approved drugs provide highly effective prophylaxis and treatment against COVID, mooting the
 EUAs.” Petition at 1. Section 564(c)(3) of the FD&C Act provides one of the required statutory
 factors that must be met in order for a product to be granted an EUA. This statutory provision
 requires that “there is no adequate, approved, and available alternative to the product for
 diagnosing, preventing, or treating [the serious or life-threatening disease or condition].” 82 To
 the extent Petitioner’s contention can be interpreted as an argument that there are adequate,
 approved, available drugs indicated for the prevention of COVID-19 (and that therefore the
 requirement in section 564(c)(3) of the FD&C Act that there is no “adequate, approved, and
 available alternative to the Authorized COVID-19 Vaccines for preventing COVID-19 is not
 met), this argument is erroneous.

 As explained in the Decision Review Memoranda for the Authorized COVID-19 Vaccines, at the
 time each COVID-19 vaccine EUA was issued, there were no FDA-approved drugs or biological
 products indicated to prevent COVID-19 in any population because no vaccine or other medical
 product was the subject of an approved marketing application for prevention of COVID-19. 83
 This is still true today, with the exception of the BLA for BioNTech’s COVID-19 vaccine
 (COVID-19 Vaccine, mRNA; Comirnaty), which is now approved for the prevention of
 coronavirus disease 2019 (COVID-19) caused by severe acute respiratory syndrome coronavirus
 2 (SARS-CoV-2) in individuals 16 years of age and older. The EUA for Pfizer-BioNTech
 COVID-19 Vaccine remains in effect. This EUA will continue to cover individuals 12 through
 15 years of age, to cover the administration of a third dose to certain immunocompromised
 individuals 12 years of age and older, and to cover individuals 16 years of age and older until
 sufficient approved vaccine can be manufactured and distributed. Similarly, the EUA for the
 Moderna COVID-19 Vaccine and the Janssen COVID-19 Vaccine remain in effect for
 individuals 18 years of age and older. Although FDA has approved one new drug application
 (NDA) for remdesivir for use in adult and pediatric patients 12 years of age and older and
 weighing at least 40 kilograms for the treatment of COVID-19 requiring hospitalization, this
 drug is not for prevention of COVID-19. Several other therapies are currently available under
 EUA, but not FDA approved, for treatment of COVID-19, and one is available under EUA, but
 not FDA approved, for post-exposure prophylaxis in a limited population. These products that
 are available under EUA are not considered “approved” products for purposes of section


 82
    The term “approved,” for purposes of section 564(c) of the FD&C Act, means a product is approved, licensed, or
 cleared by FDA under section 505, 510(k), or 515 of the FD&C Act or section 351 of the PHS Act, as applicable,
 and this term is indication-specific. See, section 564(a)(2) of the FD&C Act. See also, EUA guidance at 3.
 83
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020), at 8-9,
 https://www.fda.gov/media/144416/download; FDA, Moderna COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 18, 2020), at 9, https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA
 Decision Memorandum (Feb. 27, 2021), at 9, https://www.fda.gov/media/146338/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 140 of 209 PAGEID #: 1275




 564(c)(3) because they are not the subject of an approved marketing application (i.e., they are not
 approved under an NDA or BLA).

 Thus, Petitioner’s assertion that the EUAs for the Authorized COVID-19 Vaccines are “mooted”
 by the existence of drugs approved to prevent COVID-19 is incorrect.

                                                 5. No Other Circumstances Make A Revision or
                                                    Revocation Appropriate to Protect the Public
                                                    Health or Safety
 As noted above, section 564(g)(2)(C) of the FD&C Act provides that FDA may revise or revoke
 an EUA if circumstances justifying its issuance (under section 564(b)(1)) no longer exist, the
 criteria for its issuance are no longer met, or other circumstances make a revision or revocation
 appropriate to protect the public health or safety. The EUA guidance explains that such other
 circumstances may include:

                   significant adverse inspectional findings (e.g., when an inspection
                   of the manufacturing site and processes has raised significant
                   questions regarding the purity, potency, or safety of the EUA
                   product that materially affect the risk/benefit assessment upon
                   which the EUA was based); reports of adverse events (number or
                   severity) linked to, or suspected of being caused by, the EUA
                   product; product failure; product ineffectiveness (such as newly
                   emerging data that may contribute to revision of the FDA's initial
                   conclusion that the product "may be effective" against a particular
                   CBRN agent); a request from the sponsor to revoke the EUA; a
                   material change in the risk/benefit assessment based on evolving
                   understanding of the disease or condition and/or availability of
                   authorized MCMs; or as provided in section 564(b)(2), a change in
                   the approval status of the product may make an EUA
                   unnecessary. 84

 As of the date of this writing, FDA has not identified any such circumstances that would make
 revocation of any of the Authorized COVID-19 Vaccines appropriate to protect the public health
 or safety. As stated previously in this response, FDA determined the EUA standard is met for
 the three authorized COVID-19 vaccines because data submitted by the sponsors demonstrated
 in a clear and compelling manner that the known and potential benefits of these products, when
 used to prevent COVID-19, outweigh the known and potential risks of these products, and that
 there is no adequate, approved, and available alternative to the product for diagnosing,
 preventing, or treating COVID-19.

 As described in detail in section III.b.i.1.b above, FDA has identified circumstances that have
 made revision of the EUAs for the Authorized COVID-19 Vaccines appropriate, and,



 84
      EUA Guidance at 29.

                                                                                                   30
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 141 of 209 PAGEID #: 1276




 accordingly, has required changes to the authorized labeling for the Authorized COVID-19
 Vaccines. 85

 Additionally, as explained above, FDA finds no basis in the information submitted in the
 Petition, or in any postmarket data regarding the Authorized COVID-19 Vaccines, to support a
 revocation of any of these EUAs, nor has Petitioner provided any such information in the
 Petition. FDA is not aware of any information indicating that the known and potential benefits
 of the Authorized COVID-19 Vaccines are outweighed by their known and potential risks, nor
 has Petitioner provided any such information in the Petition. Furthermore, there are no other
 circumstances that make a revision or revocation appropriate to protect the public health or
 safety, nor has Petitioner provided any information about such circumstances.

 FDA therefore sees no justifiable basis upon which to take any action based on Petitioner’s
 request with respect to the any of the Authorized COVID-19 Vaccines. Accordingly, as noted
 above, we deny Petitioner’s request for FDA to “revoke all EUAs . . . for any COVID vaccine
 for all demographic groups because existing, approved drugs provide highly effective
 prophylaxis and treatment against COVID, mooting the EUAs.”

                              2. Petitioner’s Request to Refrain from Granting any Future
                                 EUA for a COVID-19 Vaccine for any Population Because
                                 Approved Drugs Exist for COVID-19 Prevention
 Petitioner also requests in the Petition that FDA “refrain from approving any future EUA . . . for
 any COVID vaccine for all demographic groups because the current risks of serious adverse
 events or deaths outweigh the benefits, and because existing, approved drugs provide highly
 effective prophylaxis and treatment against COVID, mooting the EUAs.” 86 Petition at 1.

 Petitioner has provided no evidence that would provide a basis for FDA to conclude that no
 future COVID-19 vaccine candidate could meet the EUA standard. Indeed, FDA is not aware of
 any information indicating that the known and potential benefits of the Authorized COVID-19
 Vaccines are outweighed by their known and potential risks, nor has Petitioner provided any
 such information in the Petition.

 Additionally, as explained above in section III.b.i.1.b. of this letter, to the extent Petitioner’s
 contention can be interpreted as an argument that there are FDA-approved drugs indicated for the
 prevention of COVID-19 (and that therefore the requirement in section 564(c)(3) of the FD&C
 Act that there is no “adequate, approved, and available alternative” could not be met), this
 85
   FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment Decision Memorandum for Authorization in
 Individuals 12 -15 Years of Age (May 10, 2021), Section 4.6, EUA Prescribing Information and Fact Sheets,
 https://www.fda.gov/media/148542/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization of an Additional Dose in Certain Immunocompromised Individuals
 (August 12, 2021), https://www.fda.gov/media/151613/download; FDA, Moderna COVID-19 Vaccine EUA
 Amendment Decision Memorandum for Authorization of an Additional Dose in Certain Immunocompromised
 Individuals (August 12, 2021), https://www.fda.gov/media/151611/download.
 86
   FDA authorization of an EUA request is not FDA approval. FDA does not “approve” an EUA request. Rather,
 FDA authorizes the emergency use of a product following review of data and information submitted in an EUA
 request.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 142 of 209 PAGEID #: 1277




 argument fails. Should FDA receive future requests for EUAs for COVID-19 vaccine
 candidates, FDA would consider such requests on a case-by-case basis. 87 Accordingly,
 Petitioner’s request is denied.

                               3. Petitioner’s Request to Refrain from Approving any Future
                                  NDA for any COVID-19 Vaccine for any Population
 Petitioner’s request regarding “any future…NDA … for any COVID Vaccine for all
 demographic groups” is moot because vaccines are biological products subject to licensure under
 the PHS Act and are not subject to approval under section 505 of the FD&C Act.

                               4. Petitioner’s Request to Refrain from Licensing any Future
                                  BLA for any COVID-19 Vaccine for any Population
 Petitioner requests that FDA “refrain from approving any future . . . BLA for any COVID
 vaccine for all demographic groups because the current risks of serious adverse events or deaths
 outweigh the benefits, and because existing, approved drugs provide highly effective prophylaxis
 and treatment against COVID, mooting the EUAs.” Petition at 1. To the extent this request can
 be interpreted as asserting that the risks of serious adverse events or deaths associated with any
 COVID-19 vaccine would necessarily outweigh the benefits of any COVID-19 vaccine and
 therefore FDA should refrain from approving any BLA for any COVID-19 vaccine, this section
 explains why this argument is unavailing and why we are denying Petitioner’s request.

 To the extent this request can be interpreted as also asserting, in addition to the assertion above,
 that, because approved drugs provide effective prophylaxis and treatment of COVID-19, the
 approval of a BLA for a COVID-19 vaccine would be “moot,” this section explains why such a
 position is flawed and why FDA is not granting this request.

                                       a. Petitioner’s Request that FDA Refrain from Approving
                                          any BLA for any COVID-19 Vaccine because the
                                          Current Risks Outweigh the Benefits
 Petitioner requests that FDA “refrain from approving any future BLA . . . for any COVID
 vaccine for all demographic groups” because the risks of serious adverse events or deaths
 associated with any COVID-19 vaccine outweigh the benefits of any COVID-19 vaccine.
 Petitioner has provided no evidence that would provide a basis for FDA to conclude that no
 COVID-19 vaccine could meet the BLA approval standard, however. Indeed, FDA has now
 approved a BLA for BioNTech’s COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty)
 because, among other things, the data and information in the application demonstrated the safety
 and effectiveness of the vaccine. 88 Thus, Petitioner’s request that FDA refrain from approving
 any BLAs for COVID-19 vaccines is denied.



 87
    FDA has issued guidance describing factors the Agency intends to use in determining how to prioritize EUA
 requests for COVID-19 vaccine candidates. See October 2020 Guidance at 5 (citing EUA Guidance at 18-20).
 88
    See FDA's Summary Basis for Regulatory Action (SBRA) for the BioNTech BLA. This memorandum will be
 posted on www.fda.gov.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 143 of 209 PAGEID #: 1278




 In Appendix I to this letter, we have provided additional background information about FDA’s
 regulatory framework for the review of vaccine BLAs.

                                   b. Petitioner’s Request that FDA Refrain from Approving
                                      any BLA for any COVID-19 Vaccine because the
                                      Current Risks Outweigh the Benefits and because
                                      Currently-Approved Drugs are Effective in Preventing
                                      COVID-19
 To the extent Petitioner is arguing that FDA should also refrain from approving a BLA for any
 COVID-19 vaccine because of the existence of FDA-approved drugs that are effective in
 preventing COVID-19, this argument is unavailing. As described above in section III.b.i.1, there
 are no FDA-approved drugs that are effective in preventing COVID-19 (other than
 BioNTech’sCOVID-19 vaccine [COVID-19 Vaccine, mRNA; Comirnaty], which is now
 approved for the prevention of COVID-19 caused by SARS-CoV-2 in individuals 16 years of
 age and older.).

 For the reasons outlined in this section, FDA denies Petitioner’s requests to refrain from
 licensing any BLAs for a COVID-19 vaccine.

                ii.   Petitioner’s Requests Regarding COVID-19 Vaccines in Children

                            1. Request to Immediately Refrain from Allowing COVID-19
                               Vaccine Trials to Include Pediatric Subjects
 In the Petition, Petitioner requests that FDA “immediately refrain from allowing minors to
 participate in COVID vaccine trials . . . .” Petition at 1. To the extent that the Petition can be
 interpreted to request that FDA suspend any COVID-19 vaccine clinical trial that includes
 pediatric subjects, this section explains why FDA is not at this time ordering that these clinical
 trials be suspended.
 As explained above in section III.a., with certain exceptions, clinical investigations in which a
 drug is administered to human subjects must be conducted under an IND submitted to FDA by
 the sponsor. FDA’s review of an IND includes a review of the study protocol which describes,
 among other things, the design of the clinical study, including the identified endpoints and
 methods for assessing the safety and effectiveness of the investigational product. The Petition
 requests that FDA adopt a universal approach toward all clinical trials of COVID-19 vaccines.
 Under FDA’s regulations, however, the Agency examines each Investigational New Drug (IND)
 Application individually and considers the IND in the context of the standards in the regulation.

 The FD&C Act provides a specific mechanism, called a “clinical hold,” for prohibiting sponsors
 of clinical investigations from conducting the investigation (section 505(i)(3) of the FD&C Act;
 21 U.S.C. 355(i)(3)). FDA’s implementing regulations in 21 CFR 312.42 identify the
 circumstances that may justify a clinical hold. In this section of this letter, we explain why, at
 this time, FDA has not granted Petitioner’s request to place all proposed or ongoing studies of
 COVID-19 vaccines enrolling pediatric subjects on clinical hold under 21 CFR 312.42(b).


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 144 of 209 PAGEID #: 1279




 The grounds for placing a proposed or ongoing study, including an ongoing Phase 3 study, on
 clinical hold are provided in 21 CFR 312.42(b). Specifically, 21 CFR 312.42(b)(1)(i) through
 (b)(1)(v) provides grounds for imposition of a clinical hold of a Phase 1 study. Additionally, as
 stated in 21 CFR 312.42(b)(2), FDA may place a proposed or ongoing Phase 2 or 3 investigation
 on clinical hold if it finds that: (i) any of the conditions in 21 CFR 312.42(b)(1)(i) through
 (b)(1)(v) apply; or (ii) the plan or protocol for the investigation is clearly deficient in design to
 meet its stated objectives. As indicated in more detail below, at this time, FDA has not granted
 Petitioner’s request to place all proposed or ongoing studies of COVID-19 vaccines enrolling
 pediatric subjects on clinical hold under 21 CFR 312.42(b).

        •   21 CFR 312.42(b)(1)(i): Human subjects are or would be exposed to an unreasonable
            and significant risk of illness or injury.
                FDA continues to evaluate all available information and, based on this evaluation
                thus far, does not believe that human subjects in any COVID-19 vaccine study
                that includes pediatric subjects are or would be exposed to an unreasonable and
                significant risk of illness or injury. The Agency reviews the protocols for
                COVID-19 vaccine clinical trials proposing to enroll pediatric subjects when they
                are submitted to the IND, in addition to any subsequent protocol amendments. For
                those clinical trials that have proceeded to studying COVID-19 vaccines in
                pediatric populations, FDA has determined that, based on all information
                currently available to FDA, the studies do not expose subjects to unreasonable
                risks.

        •   21 CFR 312.42(b)(1)(ii): The clinical investigators named in the IND are not
            qualified by reason of their scientific training and experience to conduct the
            investigation described in the IND.
                The Petitioner has not provided evidence and FDA is currently aware of no other
                information indicating that clinical investigators named in the IND for any
                COVID-19 vaccine clinical trial including pediatric subjects are not qualified by
                reason of their scientific training and experience to conduct the investigation
                described in the INDs.

        •   21 CFR 312.42(b)(1)(iii): The investigator brochure is misleading, erroneous, or
            materially incomplete.
                The Petitioner has not provided evidence and FDA is currently aware of no other
                information indicating that the investigator brochures for any ongoing COVID-19
                vaccine investigation which includes or proposes to include pediatric subjects are
                misleading, erroneous, or materially incomplete.

        •   21 CFR 312.42(b)(1)(iv): The IND does not contain sufficient information required
            under 312.23 to assess the risks to subjects of the proposed studies.
                The Petitioner has not provided evidence and FDA is currently aware of no other
                information indicating that the IND for any ongoing COVID-19 vaccine in which


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 145 of 209 PAGEID #: 1280




                pediatric subjects are enrolled contains insufficient information required under 21
                CFR 312.23 to assess the risks to pediatric subjects participating in the studies.

        •   21 CFR 312.42(b)(1)(v) [provides, in part, that]: The IND is for the study of an
            investigational drug intended to treat a life-threatening disease or condition that
            affects both genders, and men or women with reproductive potential who have the
            disease or condition being studied are excluded from eligibility because of a risk or
            potential risk from use of the investigational drug of reproductive toxicity (i.e.,
            affecting reproductive organs) or developmental toxicity (i.e., affecting potential
            offspring)….
                The Petitioner has not provided evidence and FDA is currently aware of no other
                information indicating that any COVID-19 vaccine studies enrolling pediatric
                subjects are excluding from eligibility men or women – including male and
                female adolescents and teenagers - with reproductive potential.

        •   21 CFR 312.42(b)(2)(ii): The plan or protocol for the Phase 2 or Phase 3 investigation
            is clearly deficient in design to meet its stated objectives.
                The Agency reviewed the protocols for the COVID-19 vaccine investigations
                involving pediatric subjects at the time they were submitted to the INDs, as well
                as any subsequent amendments as they were submitted, and has determined that
                the study designs meets their stated objectives.
                At this time, the Agency is aware of no information to indicate that the protocols
                for any ongoing clinical investigations of COVID-19 vaccines involving pediatric
                subjects are clearly deficient in design to meet their stated objectives.

 FDA has reviewed the issues raised in the Petition relating to the request to “immediately refrain
 from allowing minors to participate in COVID vaccine trials.” Petition at 1. For the reasons
 outlined above, and in light of information currently available to FDA, FDA has determined that
 grounds do not exist to grant Petitioner’s request to place all COVID-19 vaccine clinical
 investigations involving pediatric subjects on clinical hold pursuant to 21 CFR 312.42.

                           2. Request that FDA Refrain from Issuing EUA Amendments for
                              Authorized COVID-19 Vaccines to Include Indications for
                              Pediatric Populations
 The Petition requests, among other things, that “[g]iven the extremely low risk of COVID illness
 in children, FDA should . . . immediately refrain from amending EUAs to include children. . . .”
 Petition at 1. To the extent that the Petition requests that FDA refrain from issuing EUA
 amendments for any of the Authorized COVID-19 Vaccines to include an indication for use in
 pediatric populations, this section explains why FDA is not granting this request.
 In determining whether to issue an EUA for a product, including an amendment to an EUA in
 order to include additional populations within the indication, the FDA evaluates the available
 evidence and assesses, among other things, any known or potential risks and any known or
 potential benefits. Once a manufacturer submits an EUA request for a COVID-19 vaccine, the
 FDA then evaluates the request and determines whether the relevant statutory criteria are met,

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 146 of 209 PAGEID #: 1281




 taking into account the totality of the scientific evidence about the vaccine that is available to the
 agency.
 As noted in Section II.b. above, in the October 2020 Guidance, FDA provided recommendations
 that describe key information that would support issuance of an EUA for a vaccine to prevent
 COVID-19. 89 In this guidance, FDA explained that, in the case of such vaccines, any assessment
 regarding an EUA will be made on a case-by-case basis considering the target population, the
 characteristics of the product, the preclinical and human clinical study data on the product, and
 the totality of the available scientific evidence relevant to the product. 90 FDA has also stated, in
 this guidance, that for a COVID-19 vaccine for which there is adequate manufacturing
 information to ensure its quality and consistency, issuance of an EUA would require a
 determination by FDA that the vaccine’s benefits outweigh its risks based on data from at least
 one well-designed Phase 3 clinical trial that demonstrates the vaccine’s safety and efficacy in a
 clear and compelling manner. 91

                                   a. Information Submitted by Petitioner Regarding the Safety
                                      of COVID-19 Vaccines in Pediatric Populations
 Petitioner argues that, for children, the risks of COVID-19 vaccines outweigh the benefits
 because the risk of severe COVID in children is “extremely low.” Petition at 1. Petitioner cites
 to several sources of information in support of this argument (Petition at 12-13), which FDA has
 reviewed and considered.
 Petitioner cites to CDC data 92 regarding death rates of children in the United States due to
 COVID-19 and compares the number of children who have died involving COVID-19 to the
 number of Americans of all ages who have died of COVID-19. Petitioner’s approach of simply
 comparing raw numbers of deaths involving COVID-19 in the U.S. pediatric population against
 the raw numbers of deaths involving COVID-19 in the overall U.S. population (all sexes and all
 ages), does not provide a sufficient scientific basis upon which to conclude, as Petitioner
 contends, that the “relative risk for children due to COVID is very low.” Petition at 12.
 Additionally, as discussed in further detail below, based on available data and information, we
 have concluded that COVID-19 is a serious or life-threatening disease or condition in the 12-17
 age group.

 As a preliminary matter, we note that petitioner’s claim that “the death rate following either
 vaccination in this age group, assuming these children were trial enrollees, is approximately 2 in
 2,000 or 0.1%.” (Petition at 13) is erroneous. Our review of the submitted clinical trial data
 associated with the Pfizer-BioNTech COVID-19 Vaccine has not identified any deaths among
 adolescent or young adult vaccinees. 93 Additionally, as described in a NEJM article regarding

 89
    October 2020 Guidance at 6-7.
 90
    Id. at 3.
 91
    Id. at 4.
 92
    CDC, National Center for Health Statistics, Weekly Updates by Select Demographic and Geographic
 Characteristics, https://www.cdc.gov/nchs/nvss/vsrr/covid_weekly/index.htm#SexAndAge.
 93
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download (stating that there were two deaths in vaccine recipients, both >55
 years of age). FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment Decision Memorandum for


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 147 of 209 PAGEID #: 1282




 the Moderna COVID-19 vaccine, no deaths were reported among vaccine recipients enrolled in
 the clinical trial of Moderna COVID-19 Vaccine. 94 Investigational New Drug (IND) application
 sponsors are required to notify FDA in a written safety report of any adverse experience
 associated with the use of the drug that is both serious and unexpected. 95 Any death that occurs
 in a vaccine clinical trial therefore must be reported to FDA and is then thoroughly evaluated by
 FDA to determine the cause and whether or not the death is plausibly related to the vaccine.

 Additionally, we note that Petitioner raised concerns regarding VAERS reports in arguing that
 COVID-19 vaccines should not be authorized for pediatric populations because, Petitioner
 argues, “[a]vailable evidence strongly suggests that the vaccine is much more dangerous to
 children than the disease.” Petition at 12. VAERS data reviewed to date has not identified risks
 related to vaccination that would cause the Agency to change its view that the benefits of
 vaccination with the Pfizer-BioNTech COVID-19 vaccine outweigh the risks of vaccination in
 individuals 12-17 years of age. VAERS data is evaluated thoroughly, and as described in greater
 detail above, FDA acts on safety signals. VAERS reports, however, are not used in isolation to
 draw an association between a vaccine and a possible adverse event.

 Finally, we note that petitioner cites to an opinion piece published in the British Medical Journal,
 which presents the authors’ opinion that the benefits of COVD-19 vaccination are outweighed by
 its risks in pediatric populations. 96 FDA has reviewed this article and determined it does not
 present evidence that the EUA standard could not be met for pediatric populations. Indeed, as
 explained in the FDA Decision Memorandum for the Pfizer-BioNTech COVID-19 Vaccine
 EUA, based on FDA’s review of all available data regarding the benefits and risks of the use of
 the Pfizer-BioNTech COVID-19 vaccine in individuals 12 through 17 years of age, we have
 determined that this EUA meets the statutory criteria for individuals in this age range. 97
 Petitioner has failed to present data demonstrating that, for children, the risks of COVID-19
 vaccines outweigh their benefits because the risk of severe COVID in children is “extremely
 low.” Petition at 1. As explained in this section, the information submitted by Petitioner does
 not support this contention. As explained in further detail below, data reviewed by the Agency
 demonstrates that the Pfizer-BioNTech COVID-19 Vaccine, which is authorized for use in
 individuals 12 years of age and older, continues to demonstrate that the known and potential
 benefits of this vaccine outweigh its known and potential risks in this population. Any other
 EUA requests for COVID-19 vaccine candidates for use in pediatric populations will be
 reviewed on a case-by-case basis under the applicable statutory standards. Therefore, we deny


 Authorization in Individuals 12-15 Years of Age (May 10, 2021), https://www.fda.gov/media/148542/download
 (stating that there were no deaths among vaccine recipients 12-15 years of age during the follow-up period).
 94
    K. Ali, et al., Evaluation of mRNA-1273 SARS-CoV-2 Vaccine in Adolescents, NEJM (Aug. 11, 2021), DOI:
 10.1056/NEJMoa2109522, https://www.nejm.org/doi/10.1056/NEJMoa2109522.
 95
    21 CFR § 312.32(c)(1)(i).
 96
    W. Pegden, V. Prasad, S. Baral, Covid vaccines for children should not get emergency use authorization, BMJ
 (May 7, 2021), https://blogs.bmj.com/bmj/2021/05/07/covid-vaccines-for-children-should-not-get-emergency-use-
 authorization/.
 97
     FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021),
 https://www.fda.gov/media/148542/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 148 of 209 PAGEID #: 1283




 Petitioner’s request to refrain from amending any EUA for a COVID-19 vaccine to include a
 pediatric indication.
                             3. Request that FDA Immediately Revoke all EUAs for COVID-
                                19 Vaccines with Pediatric Indications
 Petitioner requests that FDA “immediately revoke all EUAs that permit vaccination of children
 under 16 for the Pfizer vaccine and under 18 for other COVID vaccines.” Petition at 1.
 Currently, only the Pfizer-BioNTech COVID-19 vaccine is indicated for the prevention of
 COVID-19 in pediatric populations. This vaccine is indicated for individuals 12 years of age and
 older. As explained in section III.B.i.1.b above, in addressing this request, it is necessary to
 consider the EUA revocation standard provided in section 564(g)(2) of the FD&C Act. In this
 section, we assess whether any of these statutory conditions under which FDA may revoke an
 EUA are met with respect to the pediatric indication for the Pfizer-BioNTech COVID-19
 Vaccine EUA and explain why the EUA revocation standard is not met for this vaccine.

                                 a. Standard for Revocation of EUAs is not Met for the
                                    Authorized COVID-19 Vaccines with Pediatric Indications
 As explained above in section III.b.i.1.b of this letter, Section 564(g)(2) of the FD&C Act
 provides the standard for revocation of an EUA. Under this statutory authority, FDA may revise
 or revoke an EUA if:

           (A) the circumstances described under [section 564(b)(1) of the FD&C Act] no longer
           exist;
           (B) the criteria under [section 564(c) of the FD&C Act] for issuance of such authorization
           are no longer met; or
           (C) other circumstances make such revision or revocation appropriate to protect the
           public health or safety.

 As explained above in section II.b., the EUA Guidance notes that once an EUA is issued for a
 product, in general, that EUA will remain in effect for the duration of the EUA declaration under
 which it was issued, “unless the EUA is revoked because the criteria for issuance . . . are no
 longer met or revocation is appropriate to protect public health or safety (section 564(f),(g) [of
 the FD&C Act]).” 98

                                             i. Circumstances Continue to Justify the Issuance
                                                of the EUAs for the Authorized COVID-19
                                                Vaccine with Pediatric Indications
 As explained in detail above in section III.b.i.1.b., section 564(b)(2) of the FD&C Act sets forth
 the statutory standard for termination of an EUA declaration. This provision provides that an
 EUA declaration remains in place until the earlier of: (1) a determination by the HHS Secretary,
 in consultation with the Secretary of Defense, that the circumstances that precipitated the
 declaration have ceased or (2) a change in the approval status of the product such that the
 authorized use(s) of the product are no longer unapproved. Neither of those statutory criteria is

 98
      EUA Guidance at 28.

                                                                                                  38
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 149 of 209 PAGEID #: 1284




 satisfied with respect to the Authorized COVID-19 Vaccine with a pediatric indication. Thus,
 the circumstances described under section 564(b)(1) of the FD&C Act continue to exist. FDA
 therefore is not revoking the EUA for the Authorized COVID-19 vaccine with a pediatric
 indication under the authority in section 564(g)(2)(A) of the FD&C Act.

                                                     1. The Criteria for The Issuance of the
                                                        Authorized COVID-19 Vaccine with
                                                        Pediatric Indications Continues to Be Met
 This section describes in detail why the criteria under section 564(c) of the FD&C Act continue
 to be met with respect to the pediatric indication for the Pfizer-BioNTech COVID-19 Vaccine
 EUA and why, therefore, FDA may not revoke this EUA under the authority in section
 564(g)(2)(B) of the FD&C Act.

                                                             a. Serious or life-threatening disease
                                                                or condition.
 As explained above in section III.b.i.1 of this letter, section 564(c)(1) of the FD&C Act requires
 that, for an EUA to be issued for a medical product, “the agent(s) referred to in [the HHS
 Secretary’s EUA declaration] can cause a serious or life-threatening disease or condition.” FDA
 has concluded that SARS-CoV-2, which is the subject of the EUA declaration, meets this
 standard. FDA is not aware of science indicating that there is any change in the ability of the
 SARS-CoV-2 virus to cause a serious or life-threatening disease or condition, namely COVID-
 19, nor has Petitioner provided any information about such a change.

 The SARS-CoV-2 pandemic continues to present an extraordinary challenge to global health
 and, as of August 3, 2021, has caused more than 199 million cases of COVID-19 and claimed the
 lives of more than 4.2 million people worldwide. 99 In the United States, more than 34 million
 cases and over 611,000 deaths have been reported to the CDC. 100 On January 31, 2020, the U.S.
 Secretary of Health and Human Services (HHS) declared a public health emergency related to
 COVID-19 and mobilized the Operating Divisions of HHS, and the U.S. President declared a
 national emergency in response to COVID-19 on March 13, 2020. Additional background
 information on the SARS-CoV-2 virus and COVID-19 pandemic may be found in FDA Decision
 Memoranda for the Authorized COVID-19 Vaccines. 101

 Since March 1, 2020, approximately 1.7 million COVID-19 cases in individuals 12 to 17 years
 of age have been reported to the Centers for Disease Control and Prevention (CDC). Among
 these cases approximately 11,700 resulted in hospitalization, with more than 691 ICU admissions

 99
    Johns Hopkins University School of Medicine, Coronavirus Resource Center,
 https://coronavirus.jhu.edu/map.html.
 100
     CDC, COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#trends_dailytrendscases.
 101
     FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021),
 https://www.fda.gov/media/148542/download; FDA, Moderna COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 18, 2020), https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA Decision
 Memorandum (Feb. 27, 2021), https://www.fda.gov/media/146338/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 150 of 209 PAGEID #: 1285




 and more than 100 deaths. It is difficult to estimate the incidence of COVID-19 among children
 and adolescents because they are frequently asymptomatic and infrequently tested. Children and
 adolescents appear less susceptible to SARS-CoV-2 infection and have a milder COVID-19
 disease course as compared with adults. However, as with adults, children and adolescents with
 underlying conditions such as asthma, chronic lung disease, and cancer are at higher risk than
 their heathier counterparts for COVID-19-related hospitalization and death. Of the children who
 have developed severe illness from COVID-19, most have had underlying medical conditions.
 Multisystem inflammatory syndrome in children (MIS-C) is a rare but serious COVID-19-
 associated condition that can present with persistent fever, laboratory markers of inflammation
 and heart damage, and, in severe cases, hypotension and shock. As of June 28, 2021, the CDC
 received reports of 4196 cases and 37 deaths that met the definition for MIS-C.

 Both FDA and CDC have convened advisory committee meetings to discuss the use of COVID-
 19 vaccines in pediatric populations. Overall, these advisory committees agreed that there is a
 serious risk of severe COVID-19 in the pediatric population. In particular, the June 23, 2021
 ACIP meeting discussed the benefits and risks of the use of COVID-19 mRNA vaccines in
 adolescents and young adults. 102 This discussion raised the point that adolescents and young
 adults have the highest COVID-19 incidence rates, and that these populations are an increasing
 proportion of COVID-19 cases reported. COVID-19-associated deaths continue to occur in these
 populations; since April 2021, 316 deaths have been reported among persons aged 12-29 years.
 Additionally, post-COVID conditions -- such as Multisystem Inflammatory Syndrome in
 Children (MIS-C) and Multisystem Inflammatory Syndrome in Adults (MIS-A) -- can occur in
 these populations following COVID-19.

 Therefore, the criterion under section 564(c)(1) continues to be met with respect to the
 Authorized COVID-19 Vaccines with Pediatric Indications.

                                                             b. Evidence of Effectiveness

 As explained above in section III.b.i.1.b of this letter, Section 564(c)(2)(A) of the FD&C Act
 requires that, for an EUA to be issued for a medical product, FDA must conclude “based on the
 totality of scientific evidence available to the Secretary, including data from adequate and well-
 controlled trials, if available, it is reasonable to believe that the product may be effective to
 prevent, diagnose, or treat such serious or life-threatening disease or condition that can be caused
 by SARS-CoV-2.” FDA has determined that based on the totality of scientific evidence
 available, including data from adequate and well-controlled trials, it is reasonable to believe that
 the Pfizer-BioNTech COVID-19 vaccine may be effective to prevent, diagnose, or treat such
 serious or life-threatening disease or condition in the 12 through 17 years of age population. 103
 The basis for this determination is explained in detail in FDA’s decision memoranda regarding

 102
     CDC, Megan Wallace and Sara Oliver, CDC ACIP Meeting Presentation, COVID-19 mRNA Vaccines in
 Adolescents and Young Adults: Benefit-Risk Discussion, (June 23, 2021),
 https://www.cdc.gov/vaccines/acip/meetings/downloads/slides-2021-06/05-COVID-Wallace-508.pdf; CDC, ACIP
 Meeting Slides, (June 23, 2021), https://www.cdc.gov/vaccines/acip/meetings/slides-2021-06.html.
 103
     FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021),
 https://www.fda.gov/media/148542/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 151 of 209 PAGEID #: 1286




 the Pfizer BioNTech COVID-19 Vaccine EUA. 104 Section III.b.ii of this letter explains why
 Petitioner’s arguments regarding the effectiveness of the Authorized COVID-19 Vaccines, and
 the information submitted by Petitioner in support of this argument, does not change FDA’s
 analysis regarding the effectiveness of the Pfizer-BioNTech COVID-19 vaccine in individuals 12
 through 17 years of age.

 Therefore, the criterion under section 564(c)(2)(A) continues to be met with respect to the
 Authorized COVID-19 Vaccines.

                                                           c. Benefit-Risk Analysis
 Section 564(c)(2)(B) of the FD&C Act requires that, for an EUA to be issued for a medical
 product, FDA must conclude “the known and potential benefits of the product, when used to
 diagnose, prevent, or treat [the identified serious or life-threatening disease or condition],
 outweigh the known and potential risks of the product . . . .” Petitioner argues that the current
 risks of serious adverse events or deaths associated with the authorized COVID-19 vaccines
 outweigh the benefits of COVID-19 vaccines in the pediatric population. Section III.b.i.1.b.ii
 above addresses these arguments insofar as they apply to the Authorized COVID-19 Vaccines
 generally and explains why they are unavailing. Section III.b.ii above addresses Petitioner’s
 arguments regarding the safety of COVID-19 vaccines in the pediatric population, and explains
 why the information submitted by Petitioner does not change FDA’s analysis regarding the
 benefits and risks of the authorized COVID-19 vaccines in the pediatric population.

                                                           d. No Alternatives
 Section 564(c)(3) of the FD&C Act provides one of the required statutory factors that must be
 met in order for a product to be granted an EUA. This statutory provision requires that “there is
 no adequate, approved, and available alternative to the product for diagnosing, preventing, or
 treating [the serious or life-threatening disease or condition].” To the extent Petitioner’s
 contention can be interpreted as an argument that there are FDA-approved drugs indicated for the
 prevention of COVID-19 in pediatric populations (and that therefore the requirement in section
 564(c)(3) of the FD&C Act is not met with respect to the Authorized COVID-19 Vaccine with a
 pediatric indication), this argument is erroneous.

 As described above in section III.b.i.1.b, there are no FDA-approved drugs or biological products
 indicated to prevent COVID-19 in any population, other than the newly-approved BioNTech
 COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty). That vaccine is approved for the
 prevention of COVID-19 caused by SARS-CoV-2 in individuals 16 years of age and older. 105
 The EUA for Pfizer-BioNTech COVID-19 Vaccine remains in effect to cover those 12 through

 104
     FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020),
 https://www.fda.gov/media/144416/download; FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment
 Decision Memorandum for Authorization in Individuals 12-15 Years of Age (May 10, 2021),
 https://www.fda.gov/media/148542/download.
 105
     FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Decision Memorandum (Dec. 11, 2020), at 8-9,
 https://www.fda.gov/media/144416/download; FDA, Moderna COVID-19 Vaccine EUA Decision Memorandum
 (Dec. 18, 2020), at 9, https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA
 Decision Memorandum (Feb. 27, 2021), at 9, https://www.fda.gov/media/146338/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 152 of 209 PAGEID #: 1287




 15 years of age, the administration of a third dose to certain immunocompromised individuals 12
 years of age and older, and until sufficient approved vaccine can be manufactured and distributed
 for use in those 16 years of age and older. Similarly, the EUA for the Moderna COVID-19
 Vaccine and the Janssen COVID-19 Vaccine remain in effect for individuals 18 years of age and
 older. Therefore, there is no adequate, approved, and available alternative to the Authorized
 COVID-19 Vaccines for preventing COVID-19.

                                              ii. No Other Circumstances Make A Revision or
                                                  Revocation Appropriate to Protect the Public
                                                  Health or Safety
 As noted above in section III.b.i.1.b of this letter, section 564(g)(2)(C) of the FD&C Act
 provides that FDA may revise or revoke an EUA if circumstances justifying its issuance (under
 section 564(b)(1)) no longer exist, the criteria for its issuance are no longer met, or other
 circumstances make a revision or revocation appropriate to protect the public health or safety.
 The EUA guidance explains that such other circumstances may include:

                    significant adverse inspectional findings (e.g., when an inspection
                    of the manufacturing site and processes has raised significant
                    questions regarding the purity, potency, or safety of the EUA
                    product that materially affect the risk/benefit assessment upon
                    which the EUA was based); reports of adverse events (number or
                    severity) linked to, or suspected of being caused by, the EUA
                    product; product failure; product ineffectiveness (such as newly
                    emerging data that may contribute to revision of the FDA's initial
                    conclusion that the product "may be effective" against a particular
                    CBRN agent); a request from the sponsor to revoke the EUA; a
                    material change in the risk/benefit assessment based on evolving
                    understanding of the disease or condition and/or availability of
                    authorized MCMs; or as provided in section 564(b)(2), a change in
                    the approval status of the product may make an EUA
                    unnecessary. 106

 As of the date of this writing, FDA has not identified any such circumstances that would make
 revocation of the pediatric indication for the Pfizer-BioNTech COVID-19 Vaccine EUA
 appropriate to protect the public health or safety. As stated previously in this response, FDA
 determined the EUA standard is met for the Pfizer-BioNTech COVID-19 Vaccine in individuals
 12 through 17 years of age because data submitted by the sponsors demonstrated in a clear and
 compelling manner that the known and potential benefits of this vaccine, when used to prevent
 COVID-19, outweigh the known and potential risks of this vaccine in individuals 12 through 17
 years of age, and that there is no adequate, approved, and available alternative to the product for
 diagnosing, preventing, or treating COVID-19 in this population.

 As described in detail in section III.b.i.1 above, FDA has identified circumstances that have
 made revision of the EUAs for the Authorized COVID-19 Vaccines appropriate, and,

 106
       EUA Guidance at 29.

                                                                                                  42
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 153 of 209 PAGEID #: 1288




 accordingly, has required changes to the authorized labeling for the Authorized COVID-19
 Vaccines. 107

 Additionally, as explained above, FDA finds no basis in the information submitted in the
 Petition, or in any postmarket data regarding the Pfizer-BioNTech COVID-19 Vaccine, to
 support a revocation of the pediatric indication for the Pfizer-BioNTech COVID-19 Vaccine
 EUA, nor has Petitioner provided any such information in the Petition. FDA is not aware of any
 information indicating that the known and potential benefits of Pfizer-BioNTech COVID-19
 Vaccine in the 12-17 years of age population are outweighed by their known and potential risks,
 nor has Petitioner provided any such information in the Petition. Furthermore, there are no other
 circumstances that make a revision or revocation of the pediatric indication for the Pfizer-
 BioNTech COVID-19 Vaccine EUA appropriate to protect the public health or safety, nor has
 Petitioner provided any information about such circumstances. FDA therefore sees no justifiable
 basis upon which to take any action based on Petitioner’s request with respect to the pediatric
 indication for the Pfizer-BioNTech COVID-19 Vaccine EUA. Accordingly, as noted above, we
 deny Petitioner’s request that FDA “immediately revoke all EUAs that permit vaccination of
 children under 16 for the Pfizer vaccine and under 18 for other COVID vaccines.” Petition at 1.

                iii.   Petitioner’s Request that FDA Immediately Revoke Tacit Approval that
                       Pregnant Women may Receive any EUA or Licensed COVID-19
                       Vaccines and Immediately Issue Public Guidance
 Petitioner requests that FDA “immediately revoke tacit approval that pregnant women may
 receive any EUA or licensed COVID vaccines and immediately issue public guidance to that
 effect.” Petition at 1. Because “tacit approval,” or revocation thereof, is not a concept that exists
 in applicable statutes or regulations governing FDA-regulated products, FDA interprets this as a
 request that the labeling for the Authorized COVID-19 Vaccines, and any COVID-19 vaccine
 that may be licensed in the future, contain a contraindication for use during pregnancy.
 In addressing Petitioner’s request for a contraindication, we first discuss the risks posed to
 pregnant women by COVID-19. We then provide an explanation of the regulatory framework
 for prescription drug labeling for approved and licensed products, including the standard for
 inclusion of contraindications in such labeling to inform health care providers of information
 such as known hazards in the use of a particular drug as well as the requirements for pregnancy
 and lactation information in such labeling. We then discuss labeling for products made available
 under an EUA and explain why a contraindication for use in pregnant women was not included
 in the labeling for the Authorized COVID-19 Vaccines. This section concludes with an
 explanation for why Petitioner’s requests for a contraindication for use during pregnancy in the
 labeling for the Authorized COVID-19 Vaccines – and BioNTech’s COVID-19 vaccine
 (COVID-19 Vaccine, mRNA; Comirnaty) - is denied.

 107
    FDA, Pfizer-BioNTech COVID-19 Vaccine EUA Amendment Decision Memorandum for Authorization in
 Individuals 12-15 Years of Age (May 10, 2021), https://www.fda.gov/media/148542/download; FDA, Pfizer-
 BioNTech COVID-19 Vaccine EUA Amendment Decision Memorandum for Authorization of an Additional Dose
 in Certain Immunocompromised Individuals (August 12, 2021), https://www.fda.gov/media/151613/download;
 FDA, Moderna COVID-19 Vaccine EUA Amendment Decision Memorandum for Authorization of an Additional
 Dose in Certain Immunocompromised Individuals (August 12, 2021),
 https://www.fda.gov/media/151611/download; FDA, Janssen COVID-19 Vaccine EUA Decision Memorandum
 (Feb. 27, 2021), https://www.fda.gov/media/146338/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 154 of 209 PAGEID #: 1289




                                1. COVID-19 in Pregnancy
 As a preliminary matter, we note that COVID-19 poses significant risks to pregnant women.
 CDC explains that “observational data regarding COVID-19 during pregnancy demonstrate that
 pregnant people with COVID-19 have an increased risk of severe illness, including illness
 resulting in intensive care admission, mechanical ventilation, extracorporeal membrane
 oxygenation, or death, though the absolute risk for these outcomes is low. Additionally, they are
 at increased risk of preterm birth and might be at an increased risk of adverse pregnancy
 complications and outcomes, such as preeclampsia, coagulopathy, and stillbirth.” 108

                                2. Certain Content and Format Requirements for Prescription
                                   Drug Labeling for Products Approved Under NDAs or BLAs
 As FDA explains in the draft guidance for industry, Pregnancy, Lactation, and Reproductive
 Potential: Labeling for Human Prescription Drug and Biological Products – Content and Format,
 (“Pregnancy and Lactation Guidance”) “[p]rescription drug labeling is a communication tool. Its
 principal objective is to make available to health care providers the detailed prescribing
 information necessary for the safe and effective use of a drug, in a manner that is clear and useful
 to providers when prescribing for and counseling patients.” 109 In order to achieve this objective,
 prescription labeling must be based on scientific data, and it must not be inaccurate, false, or
 misleading. 110

 FDA regulations govern the content and format of prescription drug labeling for approved drugs
 and biological products (see, e.g., §§ 201.56 and 201.57 (21 CFR 201.57); see also 21 CFR
 201.100(c)). The regulations are intended to organize labeling information to more effectively
 communicate to health care professionals the “information necessary for the safe and effective
 use of prescription drugs.” 111 FDA regulations require that the labeling of most prescription drug
 products include Highlights of Prescribing Information, which are intended to summarize the
 information that is most important for prescribing the drug safely and effectively and to facilitate
 access to the more detailed information within product labeling (see § 201.57(a)). FDA
 regulations further require that the labeling for most prescription drugs include, among other
 information, the following sections: Contraindications; Warnings and Precautions; Adverse
 108
     CDC, Interim Clinical Considerations for Use of COVID-19 Vaccines Currently Authorized in the United States,
 Vaccination of Pregnant or Lactating People, https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-
 19-vaccines-us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fvaccines%2Fcovid-19%2Finfo-by-
 product%2Fclinical-considerations.html#pregnant.
 109
     Pregnancy, Lactation, and Reproductive Potential: Labeling for Human Prescription Drug and Biological
 Products - Content and Format Guidance for Industry, Draft Guidance, July 2020, at 2,
 https://www.fda.gov/media/90160/download.
 110
     21 CFR § 201.56(a)(2) “The labeling must be informative and accurate and neither promotional in tone nor false
 or misleading in any particular. In accordance with §§ 314.70 and 601.12 of this chapter, the labeling must be
 updated when new information becomes available that causes the labeling to become inaccurate, false, or
 misleading.”
 111
     Preamble to final rule, “Requirements on Content and Format of Labeling for Human Prescription Drug and
 Biological Products” (71 FR 3922 at 3928, January 24, 2006) (Physician Labeling Rule). For the content and format
 requirements for the labeling of older prescription drug products that are not subject to the labeling requirements in
 § 201.57, see § 201.80 (21 CFR 201.80). The specific labeling requirements for older drug products differ in certain
 respects, and generally are not referenced in this response.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 155 of 209 PAGEID #: 1290




 Reactions; and Use in Specific Populations, which includes a subsection on Pregnancy (see §
 201.57(c)(1), (5), (6), (7), and (9)(i)).

                                   a. Contraindications
 The Contraindications section must describe any situations in which the drug should not be used
 because the risk of use “clearly outweighs any possible therapeutic benefit” (§ 201.57(c)(5)).
 This section should include observed and anticipated risks, but not theoretical risks. 112 This
 could include, for example, a situation where animal data raise substantial concern about the
 potential for occurrence of the adverse reaction in humans (e.g., animal data demonstrate that the
 drug has teratogenic effects) and those risks do not outweigh any potential benefit of the drug to
 any patient. 113

                                   b. Pregnancy
 The Pregnancy subsection is located under the Use in Specific Populations section (see §
 201.57(c)(9)(i)). On December 4, 2014, FDA issued a final rule amending the regulations on the
 requirements for pregnancy and lactation information in prescription drug and biological product
 labeling (Pregnancy and Lactation Labeling Rule (PLLR)). 114 The PLLR revisions to the
 regulations were intended “to create a consistent format for providing information about the
 effects of a drug on pregnancy and lactation that would be useful for decision making by health
 care providers and their patients.” 115 The labeling content and format requirements in §
 201.57(c)(9)(i), as revised by the PLLR, took effect on June 30, 2015, with a phased
 implementation schedule for drugs (including biological products) that are the subject of NDAs,
 BLAs, and efficacy supplements that had been approved on or after June 30, 2001. 116 The PLLR
 also requires for all human prescription drug and biological products, including those for which
 an application was approved before June 30, 2001, that the Pregnancy subsection of labeling be
 revised to remove the pregnancy letter categories A, B, C, D, and X. 117
 Information in the Pregnancy subsection of labeling may present, in greater detail, a topic that is
 briefly summarized in another section of labeling (e.g., Warnings and Precautions). 118 FDA has
 explained that when a topic is discussed in more than one section of labeling, the section
 containing the most important information relevant to prescribing should typically include a
 succinct description and should cross-reference sections that contain additional detail. 119


 112
     See § 201.57(c)(5); see also FDA guidance for industry, Warnings and Precautions, Contraindications, and
 Boxed Warning Sections of Labeling for Human Prescription Drug and Biological Products - Content and Format;
 Guidance for Industry, October 2011 (Warnings Guidance), at 8, https://www.fda.gov/media/71866/download.
 113
     See Warnings Guidance at 8.
 114
     Final rule, “Content and Format of Labeling for Human Prescription Drug and Biological Products;
 Requirements for Pregnancy and Lactation Labeling” (PLLR) (79 FR 72064, December 4, 2014),
 https://www.federalregister.gov/documents/2014/12/04/2014-28241/content-and-format-of-labeling-for-human-
 prescription-drug-and-biological-products-requirements-for.
 115
     Id. at 72066.
 116
     See §§ 201.56(b) and 201.57(c)(9)(i).
 117
     §§ 201.57(c)(9) and 201.80; see also 79 FR 72064 at 72095 (December 4, 2014).
 118
     PLLR, 79 FR 72064 at 72085 (December 4, 2014).
 119
     See FDA guidance for industry, Labeling for Human Prescription Drug and Biological Products - Implementing
 the PLR Content and Format Requirements; Guidance for Industry, February 2013,
 https://www.fda.gov/media/71836/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 156 of 209 PAGEID #: 1291




 Under current labeling requirements, information in the Pregnancy subsection of labeling is
 presented under the following subheadings: Pregnancy Exposure Registry; Risk Summary;
 Clinical Considerations; and Data. 120 The labeling for the Authorized COVID-19 Vaccines
 includes the Pregnancy Exposure Registry and the Risk Summary subheadings. We briefly
 describe these subheadings below.

                                        i. Pregnancy Exposure Registry
 If there is a scientifically acceptable pregnancy exposure registry for the drug, the labeling must
 state that fact and provide contact information needed for enrolling in or obtaining information
 about the registry.

                                       ii. Risk Summary
 The Risk Summary subheading is required under the Pregnancy subsection because certain
 statements must be included even when no product-specific data are available, given that all
 pregnancies have a background risk of birth defect, loss, or other adverse outcomes. 121 The Risk
 Summary must contain risk statement(s) that describe for the drug the risk of adverse
 developmental outcomes based on all relevant human data, animal data, and/or the drug’s
 pharmacology. 122 When multiple data sources are available, the risk statements are required to be
 presented in the following order: human, animal, and pharmacologic. 123
 When human data are available that establish the presence or absence of any adverse
 developmental outcome(s) associated with maternal use of the drug, a risk statement based on
 human data must summarize the specific developmental outcome(s) and include its incidence
 and the effects of dose, duration of exposure, and gestational timing of exposure. 124 If human
 data indicate that there is an increased risk for a specific adverse developmental outcome in
 infants born to women exposed to the drug during pregnancy, the risk summary must contain a
 quantitative comparison of that risk to the risk for the same outcome in infants born to women
 who were not exposed to the drug, but who have the disease or condition for which the drug is
 indicated to be used. 125 When risk information is not available for women with the disease or
 condition(s) for which the drug is indicated, the risk summary must contain a comparison of the
 specific outcome in women exposed to the drug during pregnancy against the rate at which the
 outcome occurs in the general population. 126
 When animal data are available, the risk statement based on such data must describe the potential
 risk for adverse developmental outcomes in humans and summarize the available data. 127 This
 statement must include: the number and type(s) of species affected; timing of exposure; animal
 doses expressed in terms of human dose or exposure equivalents; and outcomes for pregnant
 animals and offspring. 128


 120
     § 201.57(c)(9)(i).
 121
     § 201.57(c)(9)(i)(B).
 122
     Id.
 123
     Id.
 124
     § 201.57(c)(9)(i)(B)(1).
 125
     Id.
 126
     Id.
 127
     § 201.57(c)(9)(i)(B)(2).
 128
     Id.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 157 of 209 PAGEID #: 1292




 With respect to pharmacology, when the drug has a well-understood pharmacologic mechanism
 of action that may result in adverse developmental outcomes, the Risk Summary must explain
 the mechanism of action and the potential associated risks. 129

                              3. Inclusion of Contraindications and Pregnancy Information in
                                 the Labeling for the Authorized COVID-19 Vaccines
 For the emergency use of an unapproved product, section 564(e)(1)(A)(i) of the FD&C Act
 requires that FDA must—to the extent practicable given the applicable circumstances of the
 emergency, and as FDA finds necessary and appropriate to protect the public health—establish
 appropriate conditions designed to ensure that health care professionals administering the
 authorized product are informed:
         • That FDA has authorized the emergency use of the product (including the product name
         and an explanation of its intended use);
         • Of the significant known and potential benefits and risks of the emergency use of the
         product, and the extent to which such benefits and risks are unknown; and
         • Of available alternatives and their benefits and risks.

 Therefore, as explained in the EUA Guidance, FDA recommends that “a request for an EUA
 include a ‘Fact Sheet’ for health care professionals or authorized dispensers that includes
 essential information about the product. In addition to the required information, Fact Sheets
 should include . . . any contraindications or warnings.” 130 The EUA guidance also recommends
 that, for unapproved drugs that do not have “FDA-approved labeling for any indication . . . in
 addition to the brief summary information found in a Fact Sheet, the sponsor also develop more
 detailed information similar to what health care professionals are accustomed to finding in FDA-
 approved package inserts.” 131

 The sponsors for all the Authorized COVID-19 Vaccines submitted such prescribing information
 in the EUA requests, and FDA reviewed and authorized this labeling. The Fact Sheets for
 Healthcare Providers Administering Vaccine for all of the Authorized COVID-19 Vaccines
 contain Contraindications and Warnings and Precautions sections because FDA determined that
 sufficient data existed for inclusion of such information in the authorized labeling for these
 vaccines. 132

 FDA did not, however, require inclusion of a contraindication for pregnancy in the authorized
 labeling. The authorized COVID-19 vaccines are authorized for use in an age range that includes
 women of childbearing age and are not contraindicated for use in pregnant women because FDA

 129
     § 201.57(c)(9)(i)(B)(3).
 130
     EUA Guidance at 22.
 131
     EUA Guidance at 23.
 132
     Janssen COVID-19 Vaccine Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers),
 Sections 5.2 and 5.3 Warnings and Precautions Regarding Thrombosis with Thrombocytopenia and GBS,
 https://www.fda.gov/media/146304/download; Pfizer-BioNTech COVID-19 Vaccine Fact Sheet for Healthcare
 Providers Administering Vaccine (Vaccination Providers), Section 5.2, Warning and Precautions Regarding
 Myocarditis and Pericarditis, https://www.fda.gov/media/144413/download Moderna COVID-19 Vaccine Fact
 Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers), Section 5.2, Warning and
 Precautions Regarding Myocarditis and Pericarditis, https://www.fda.gov/media/144637/download.

                                                                                                             47
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 158 of 209 PAGEID #: 1293




 is not aware of any evidence that suggests the risk of use of the Authorized COVID-19 Vaccines
 in pregnant women would clearly outweigh any possible therapeutic benefit. 133 Nor has the
 Petitioner presented any such evidence in the Petition. Accordingly, this request is denied.

                              4. Inclusion of Contraindications and Pregnancy Information in
                                 the Labeling for Licensed COVID-19 Vaccines
 With respect to Petitioner’s request that FDA “immediately revoke tacit approval that pregnant
 women may receive any EUA or licensed COVID vaccines and immediately issue public
 guidance to that effect” (Petition at 1; emphasis added), as explained above in this section, FDA
 regulations require the Contraindications section of the labeling for an approved drug or
 biological product to describe any situations in which the drug or biological product should not
 be used because the risk of use “clearly outweighs any possible therapeutic benefit” (§
 201.57(c)(5)). This section should include observed and anticipated risks, but not theoretical
 risks. 134 The approved COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty) is indicated
 for use in an age range that includes women of childbearing age and is not contraindicated for
 use in pregnant women because FDA is not aware of any evidence that suggests the risk of use of
 BioNTech’s COVID-19 vaccine in pregnant women would clearly outweigh any possible
 therapeutic benefit, 135 nor has the Petitioner presented any such evidence in the Petition.

 In its review of a BLA for any future COVID-19 vaccine candidate, FDA will apply the
 regulatory standards outlined above in determining, on a case-by-case basis, whether to include a
 contraindication in pregnancy, or any other contraindications, in the approved labeling for such a
 vaccine. Accordingly, Petitioner’s request is denied.

                 iv.    Petitioner’s Request that FDA Immediately Amend its Guidance
                        regarding Certain Approved Drugs [chloroquine drugs, ivermectin,
                        “and any other drugs demonstrated to be safe and effective against
                        COVID”]
 Petitioner requests that the Agency “immediately amend its existing guidance for the use of the
 chloroquine drugs, ivermectin, and any other drugs demonstrated to be safe and effective against
 COVID, to comport with current scientific evidence of safety and efficacy at currently used
 doses and immediately issue notifications to all stakeholders of this change.” Petition at 2. FDA
 has not issued “guidance for the use of chloroquine drugs, ivermectin, and other drugs




 133
     FDA’s decision memoranda for the Authorized COVID-19 Vaccines discuss FDA’s analysis of all available data
 regarding the use of the Authorized COVID-19 Vaccines in pregnancy. See, FDA, Pfizer-BioNTech COVID-19
 Vaccine EUA Decision Memorandum (Dec. 11, 2020), https://www.fda.gov/media/144416/download; FDA,
 Moderna COVID-19 Vaccine EUA Decision Memorandum (Dec. 18, 2020),
 https://www.fda.gov/media/144673/download; FDA, Janssen COVID-19 Vaccine EUA Decision Memorandum
 (Feb. 27, 2021), https://www.fda.gov/media/146338/download.
 134
     See § 201.57(c)(5); see also Warnings Guidance at 8.
 135
     See FDA's Summary Basis for Regulatory Action (SBRA) for the BioNTech BLA. This memorandum will be
 posted on www.fda.gov.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 159 of 209 PAGEID #: 1294




 demonstrated to be safe and effective against COVID.” 136 FDA has, however, analyzed adverse
 event information and made publicly available safety issues regarding the use of
 hydroxychloroquine and chloroquine to treat patients with COVID-19. 137 FDA has also informed
 the public that it has received multiple reports of patients who have required medical support and
 been hospitalized after self-medicating with ivermectin intended for horses, that taking large
 doses of ivermectin can cause serious harm, that ivermectin is not authorized or approved by
 FDA to treat COVID-19, and that using any treatment for COVID-19 that is not approved or
 authorized by the FDA, unless part of a clinical trial, can cause serious harm. 138 You have not
 provided any evidence to suggest that the safety information in these communications is
 inaccurate. Thus, to the extent you are requesting that FDA withdraw or revise these previous
 safety communications, that request is denied.

                     v. Petitioner’s Request that FDA Issue Guidance to the Secretary of
                        Defense and the President

 Petitioner requests that FDA “issue guidance to the Secretary of the Defense and the President
 not to grant an unprecedented Presidential waiver of prior consent regarding COVID vaccines
 for Servicemembers under 10 U.S.C. § 1107(f) or 10 U.S.C. § 1107a.” Petition at 2.

 FDA denies this request because FDA, an agency within the U.S. Department of Health and
 Human Services, does not issue guidance of the type requested to the President of the United
 States or to other Departments in the executive branch of the U.S. federal government.




 136
     Under FDA’s good guidance practices regulations, a “guidance document” is defined as “documents prepared for
 FDA staff, applicants/sponsors, and the public that describe the agency’s interpretation of or policy on a regulatory
 issue.” 21 CFR 10.115(a)(b)(1). The regulation provides further that “[g]uidance documents include, but are not
 limited to, documents that relate to: The design, production, labeling, promotion, manufacturing, and testing of
 regulated products; the processing, content, and evaluation or approval of submissions; and inspection and
 enforcement policies.” Importantly, the provision at 21 CFR 10.115(b)(3), excludes from the definition of “guidance
 document” general information documents provided to consumers or health professionals, such as those
 communications that have been provided to the public regarding the use of hydroxychloroquine, chloroquine, and
 ivermectin to treat patients with COVID-19. 21 CFR 10.115(b)(3) states: “[g]uidance documents do not include:
 Documents relating to internal FDA procedures, agency reports, general information documents provided to
 consumers or health professionals, speeches, journal articles and editorials, media interviews, press materials,
 warning letters, memoranda of understanding, or other communications directed to individual persons or firms.”
 (Emphasis added.)
 137
     FDA Drug Safety Communication, FDA cautions against use of hydroxychloroquine or chloroquine for COVID-
 19 outside of the hospital setting or a clinical trial due to risk of heart rhythm problems, April 24, 2020, updated
 June 15, 2020 and July 1, 2020, https://www.fda.gov/drugs/drug-safety-and-availability/fda-cautions-against-use-
 hydroxychloroquine-or-chloroquine-covid-19-outside-hospital-setting-or; FDA, CDER Office of Surveillance and
 Epidemiology Pharmacovigilance Memorandum, May 19, 2020,
 https://www.accessdata.fda.gov/drugsatfda_docs/nda/2020/OSE%20Review_Hydroxychloroquine-
 Cholorquine%20-%2019May2020_Redacted.pdf.
 138
     FDA Consumer Update, Why You Should Not Use Ivermectin to Treat or Prevent COVID-19, March 5, 2021,
 https://www.fda.gov/consumers/consumer-updates/why-you-should-not-use-ivermectin-treat-or-prevent-covid-
 19; FDA Letter to Stakeholders, Do Not Use Ivermectin Intended for Animals as Treatment for COVID-19 in
 Humans, April 10, 2020, https://www.fda.gov/animal-veterinary/product-safety-information/fda-letter-stakeholders-
 do-not-use-ivermectin-intended-animals-treatment-covid-19-humans.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 160 of 209 PAGEID #: 1295




                     vi. Petitioner’s Request that FDA Issue Guidance to Stakeholders
                         Regarding the Option to Refuse or Accept Administration of
                         Investigational COVID-19 Vaccines

 Petitioner requests that FDA “issue guidance to all stakeholders in digital and written formats to
 affirm that all citizens have the option to accept or refuse administration of investigational
 COVID vaccines without adverse work, educational or other non-health related consequences,
 under 21 U.S.C. § 360bbb-3(e)(1)(a)(ii)(III) 1 and the informed consent requirements of the
 Nuremberg Code.” 139 We interpret this request to relate to the Authorized COVID-19 Vaccines
 and third parties’ decisions with respect to unvaccinated individuals’ participation in certain
 activities. Such decisions by third parties with respect to employment, education, and other non-
 FDA-regulated activities would not be within FDA’s purview. Accordingly, FDA denies
 Petitioner’s request.

                     vii. Petitioner’s Request that FDA Issue Guidance Regarding Marketing
                          and Promotion of COVID-19 Vaccines

 FDA notes that your Petition discusses statements made by CDC. For requests intended for
 CDC, you should contact CDC directly.

 As explained above in section III.b.i.1.b of this response, the EUA revocation standard in section
 564(g)(2) of the FD&C Act is not met for any of the Authorized COVID-19 Vaccines. With
 respect to Petitioner’s request to issue guidance pending revocation of the EUAs for the
 Authorized COVID-19 Vaccines, we note that the EUA Guidance contains a section regarding
 advertising for EUA products. As explained in the EUA guidance, FDA may, under section
 564(e)(1)(B) of the FD&C Act, on a case-by-case basis and to the extent feasible given the
 circumstances of a particular public health emergency, establish certain additional conditions that
 FDA finds to be necessary or appropriate to protect the public health. 140 The EUA guidance
 explains that, under section 564(e)(4) of the FD&C Act, FDA may place conditions on
 “advertisements and other promotional descriptive printed matter (e.g., press releases issued by
 the EUA sponsor) relating to the use of an EUA product, such as requirements applicable to
 prescription drugs under section 502(n) . . . .” 141 FDA’s authority under section 564(e)(4)
 ordinarily does not extend to statements by third parties who have no direct connection with the
 EUA sponsor.

 For the Authorized COVID-19 Vaccines, FDA has determined that such conditions are necessary
 to protect the public health. Accordingly, the Letter of Authorization for each of the Authorized
 COVID-19 Vaccines contains conditions related to printed matter, advertising, and promotion. 142
 Given the current public health emergency, FDA does not see a need to expend the resources

 139
     Concerns about potential State vaccine requirements are better directed to the States. FDA does not mandate use
 of vaccines.
 140
     EUA Guidance at 26.
 141
     Id. at 27.
 142
     FDA, Pfizer-BioNTech COVID-19 Vaccine Letter of Authorization (Aug. 12, 2021),
 https://www.fda.gov/media/150386/download; FDA, Moderna COVID-19 Vaccine Letter of Authorization (Aug.
 12, 2021), https://www.fda.gov/media/144636/download; FDA, Janssen COVID-19 Vaccine Letter of
 Authorization (June 10, 2021), https://www.fda.gov/media/146303/download.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 161 of 209 PAGEID #: 1296




 necessary to develop and issue additional guidance on this topic. Thus, because FDA has already
 issued guidance addressing advertising and promotion of EUA products, and because FDA has
 established conditions related to printed matter, advertising, and promotion for all of the
 Authorized COVID-19 Vaccines, FDA denies Petitioner’s request to issue additional guidance
 on this issue.

        c. Conclusion
 FDA has considered Petitioner’s requests as they relate to the Authorized COVID-19 Vaccines
 and the approved COVID-19 Vaccine. For the reasons given in this letter, FDA denies the
 requests in Petitioner’s citizen petition. Therefore, we deny the Petition in its entirety.

                                             Sincerely,




                                             Peter Marks, MD, PhD
                                             Director
                                             Center for Biologics Evaluation and Research


 cc: Dockets Management Staff




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 162 of 209 PAGEID #: 1297




           Appendix I: Aspects of Vaccine Development and Process for Licensure

 A.     Vaccines are Biologics and Drugs
 Vaccines are both biological products under the Public Health Service Act (PHS Act) (42 U.S.C.
 § 262) and drugs under the Federal Food, Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. §
 321). The PHS Act defines a “biological product” as including a “vaccine…or analogous
 product…applicable to the prevention, treatment, or cure of a disease or condition of human
 beings.” 42 U.S.C. § 262(i)(1). The FD&C Act defines drug to include “articles intended for
 use in the diagnosis, cure, mitigation, treatment, or prevention of disease in man.” 21 U.S.C. §
 321(g)(1)(B).
 Under the PHS Act, a biological product may not be introduced or delivered for introduction into
 interstate commerce unless a biologics license is in effect for the product. 42 U.S.C. §
 262(a)(1)(A).
 B.     Clinical Investigations of Vaccines
 Before a vaccine is licensed (approved) by FDA and can be used by the public, FDA requires
 that it undergo a rigorous and extensive development program that includes laboratory research,
 animal studies, and human clinical studies to determine the vaccine’s safety and effectiveness.
 The PHS Act and the FD&C Act provide FDA with the authority to promulgate regulations that
 provide a pathway for the study of unapproved new drugs and biologics. 42 U.S.C. §
 262(a)(2)(A) and 21 U.S.C. § 355(i). The regulations on clinical investigations require the
 submission of an Investigational New Drug application (IND), which describes the protocol, and,
 among other things, assures the safety and rights of human subjects. These regulations are set
 out at 21 CFR Part 312. See 21 CFR § 312.2 (explaining that the IND regulations apply to
 clinical investigations of both drugs and biologics).
 The regulations provide that, once an IND is in effect, the sponsor may conduct a clinical
 investigation of the product, with the investigation generally being divided into three phases.
 With respect to vaccines, Phase 1 studies typically enroll fewer than 100 participants and are
 designed to look for very common side effects and preliminary evidence of an immune response
 to the candidate vaccine. Phase 2 studies may include up to several hundred individuals and are
 designed to provide information regarding the incidence of common short-term side effects, such
 as redness and swelling at the injection site or fever, and to further describe the immune response
 to the investigational vaccine. If an investigational new vaccine progresses past Phase 1 and
 Phase 2 studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
 determined by the number of subjects required to establish the effectiveness of the new vaccine,
 which may be in the thousands or tens of thousands of subjects. Phase 3 studies are usually of
 sufficient size to detect less common adverse events.
 If product development is successful and the clinical data are supportive of the proposed
 indication, the completion of all three phases of clinical development can be followed by
 submission of a Biologics License Application (BLA) pursuant to the PHS Act (42 U.S.C. §
 262(a)), as specified in 21 CFR § 601.2.




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 163 of 209 PAGEID #: 1298




 C.         Biologics License Applications
 A BLA must include data demonstrating that the product is safe, pure, and potent and that the
 facility in which the product is manufactured “meets standards designed to assure that the
 biological product continues to be safe, pure, and potent.” 42 U.S.C. § 262(a)(2)(C)(i). FDA
 does not consider an application to be filed until FDA determines that all pertinent information
 and data have been received. 21 CFR § 601.2. FDA’s filing of an application indicates that the
 application is complete and ready for review but is not an approval of the application.
 Under § 601.2(a), FDA may approve a manufacturer’s application for a biologics license only
 after the manufacturer submits an application accompanied by, among other things, “data derived
 from nonclinical laboratory and clinical studies which demonstrate that the manufactured
 product meets prescribed requirements of safety, purity, and potency.” The BLA must provide
 the multidisciplinary FDA reviewer team (medical officers, microbiologists, chemists,
 biostatisticians, etc.) with the Chemistry, Manufacturing, and Controls (CMC) 143 and clinical
 information necessary to make a benefit-risk assessment, and to determine whether “the
 establishment(s) and the product meet the applicable requirements established in [FDA’s
 regulations].” 21 CFR § 601.4(a).
 FDA generally conducts a pre-license inspection of the proposed manufacturing facility, during
 which production of the vaccine is examined in detail. 42 U.S.C. § 262(c). In addition, FDA
 carefully reviews information on the manufacturing process of new vaccines, including the
 results of testing performed on individual vaccine lots.
 FDA scientists and physicians evaluate all the information contained in a BLA, including the
 safety and effectiveness data and the manufacturing information, to determine whether the
 application meets the statutory and regulatory requirements. FDA may also convene a meeting
 of its advisory committee to seek input from outside, independent, technical experts from various
 scientific and public health disciplines that provide input on scientific data and its public health
 significance.
 As part of FDA’s evaluation of a vaccine as a whole, FDA takes all of a vaccine’s ingredients
 into account (including preservatives and adjuvants). FDA licenses a vaccine only after the
 Agency has determined that the vaccine is safe and effective for its intended use, in that its
 benefits outweigh its potential risks.




 143
       Also referred to as Pharmaceutical Quality/CMC.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 164 of 209 PAGEID #: 1299




          Marks Decl.
           Exhibit F
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 165 of 209 PAGEID #: 1300




 July 23, 2021

 Electronic Submission

 Division of Dockets Management
 Food and Drug Administration
 Department of Health and Human Services
 5630 Fishers Lane, Room 1061
 Rockville, MD 20852

                                        CITIZEN PETITION

 This petition for administrative action is submitted on behalf of CAALM, the Coalition
 Advocating for Adequately Licensed Medicines (“Petitioner”) pursuant to 21 C.F.R. § 10.30 and
 related relevant provisions of the Federal Food, Drug, and Cosmetic Act or the Public Health
 Service Act to request that the Commissioner of Food and Drugs (the “Commissioner”) require
 that the vaccine manufacturers provide the FDA with the data outlined in the “Actions
 Requested” section below before approval of any COVID-19 vaccine.

 The Food and Drug Administration (FDA) has granted Emergency Use Authorizations (EUAs) to
 three COVID-19 vaccines, enabling rapid, and widespread vaccine rollout across the United
 States. These EUAs do not have any built-in expiration date, and therefore vaccines can
 continue to be lawfully distributed under EUA even after a future date when a public health
 emergency no longer exists.

 Approximately seven months have passed since the first EUAs were granted, and two vaccine
 manufacturers now seek licensure (approval) and have submitted Biologics License Applications
 (BLAs). Other manufacturers have indicated similar intentions, as well as intentions for EUAs for
 additional pediatric populations.

 We believe the FDA should not prematurely grant a license to any COVID-19 vaccine until all
 necessary efficacy and safety studies are completed and substantial evidence demonstrates the
 benefits of an individual COVID-19 vaccine product outweigh the harms for the indicated,
 recipient population. We are concerned that the premature licensure of a COVID-19 vaccine
 can seriously undermine public confidence in regulatory authorities, particularly if long-term
 safety issues were to emerge following licensure.

 In this petition, we outline efficacy and safety measures that must be met before serious
 consideration is given to granting a BLA of any COVID-19 vaccine. These measures include:

    1. Completing at least 2 years of follow-up of participants originally enrolled in pivotal
       clinical trials, even if the trials were unblinded and now lack a placebo control. All
       vaccine manufacturer phase 3 trials were already designed with this planned duration.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 166 of 209 PAGEID #: 1301




    2. Ensuring, prior to including in the list of populations for which a vaccine is approved,
       that there is substantial evidence of clinical effectiveness that outweighs harms in
       special populations such as: infants, children, and adolescents; those with past SARS-
       CoV-2 infection; immunocompromised; pregnant women; nursing women; frail older
       adults; and individuals with cancer, autoimmune disorders, and hematological
       conditions.
    3. Requiring thorough safety assessment of spike proteins being produced in-situ by the
       body tissues following vaccine administration, and spike proteins’ full biodistribution,
       pharmacokinetics, and tissue specific toxicity.
    4. Completion of vaccine biodistribution studies from administration site and safety
       implications of mRNA translation in distant tissues.
    5. Thorough investigation of all severe adverse reactions reported following COVID-19
       vaccination, such as deaths, reported in the United States and global pharmacovigilance
       systems.
    6. Assessment of safety in individuals receiving more than two doses.
    7. Inclusion of gene delivery and therapy experts in the Vaccines and Related Biological
       Products Advisory Committee (VRBPAC), in recognition of the fact that the novel COVID
       vaccines work on the premise of gene delivery, in contrast to conventional vaccines.
    8. Enforcing stringent conflict of interest requirements to ensure individuals involved in
       data analysis and BLA-related decision making processes have no conflict of interests
       with vaccine manufacturers.

 A COVID-19 vaccine BLA should be approved when—and only when—substantial evidence
 demonstrates the benefits of a specific product outweigh the harms for the indicated, recipient
 population.

 This means that the following are invalid reasons to approve a COVID-19 vaccine:

    ● To ensure vaccines are accessible after the public health emergency has ended. COVID-
      19 vaccines granted an emergency use authorization (EUA) can be lawfully used after
      the expiry of the SARS-CoV-2 public health emergency declaration. (This is made clear
      by the many products for Ebola and Zika viruses which still have active EUAs. 1)

    ● To ensure adequate access to vaccines across the population. A BLA is not necessary to
      assure access to COVID-19 vaccines. Unlike normal licensing, in which widespread use
      of a drug or vaccine follows approval, EUAs for COVID-19 vaccines have enabled, and
      continue to enable, their widespread use. Ensuring access to vaccines is irrelevant to
      the considerations for issuance of a BLA because broad access to COVID-19 vaccines has
      already been accomplished.

    ● To enable vaccine mandates. Consideration of vaccine mandates is outside of FDA’s
      purview. Furthermore, a mandate should only be considered once the evidentiary
      conditions are met for a BLA (demonstrating that benefits outweigh harms).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 167 of 209 PAGEID #: 1302




    ● To bolster public confidence. Like mandates, approving a medical product in order to
      bolster public confidence is backward logic and is outside the FDA’s purview. Approving
      before substantial evidence that population-based evidence of clinical effectiveness is
      superior to harms may contribute to public wariness and hesitancy, not only about
      COVID-19 vaccines, but other vaccines and public health authorities more broadly. An
      approval may bolster public confidence, but it is not a valid reason to approve.

 Regardless of any legitimacy of each of the above reasons, none provides grounds to approve a
 COVID-19 vaccine.

 The widespread use of a COVID-19 vaccine under EUA, particularly for a limited amount of time,
 also is not a valid reason to approve a product. Even if vaccine recipients are followed up within
 observational studies, such studies may have important design biases and flaws, and their
 conclusions, especially concerning clinical effectiveness outcomes, may not be reliable.

 Premature FDA approval of any COVID-19 vaccine could negatively impact the health and safety
 of US residents, with global ramifications considering the international importance of FDA
 decisions. It also could set a precedent of lowered standards for future vaccine approvals. For
 these reasons and due to the compelling need to ensure the safety and efficacy of any COVID-
 19 vaccine licensed by the FDA and to allow Petitioner the opportunity to seek emergency
 judicial relief should the instant Petition be denied, it is respectfully requested that FDA act on
 the instant Amended Petition by July 30, 2021.

 I. ACTIONS REQUESTED

 Petitioner request that the FDA, prior to granting any license for a COVID-19 vaccine:

    1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up of
       participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
       placebo control.

    2. Require data demonstrating substantial evidence of clinical effectiveness that outweighs
       harms, in all special populations, as a condition of consideration of including these
       populations among the indicated populations. Special populations include: infants,
       children, and adolescents; those with past SARS-CoV-2 infection; immunosuppressed
       individuals; those with history of or current cancer; individuals with hematological
       disorders or autoimmune diseases; pregnant or nursing women; and frail older adults.

    3. Require data on the safety and pharmacokinetic profiles of the spike protein.

    4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 168 of 209 PAGEID #: 1303




    5. Require data from pharmacovigilance systems in the US and globally documenting a
       thorough investigation of serious adverse events, carried out by independent, impartial
       individuals.

    6. Clarify in revised Guidance that safety data from individuals receiving more than 2
       vaccine doses must be submitted.

    7. Ensure the inclusion of experts in gene therapy in the VRBPAC.

    8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
       application are informed by experts with no financial or research relationships with any
       vaccine manufacturers within the last 36 months, both within FDA and amongst the
       composition of the VRBPAC.


 II. STATEMENT OF GROUNDS

 Here, in the order as above, we set out the rationale for each requested action.

    1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up
       of participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
       placebo control. Rationale:
           a. Requiring at least 2 years is consistent with the 2 year follow-up duration
               prospectively proposed by the manufacturers when they registered their
               ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427, Pfizer:
               NCT04368728, Janssen: NCT04505722) and consistent with the June 2020 FDA
               guidance on COVID-19 vaccines which stated participants should be followed for
               COVID-19 outcomes for “as long as feasible, ideally at least one to two years.” 2
           b. Important adverse event signals can be detected in clinical trials. This is true
               despite enrolling tens of thousands of participants, which is still too few to
               assess rare adverse events. For example, a serious blood clot occurring in the
               phase 3 Janssen clinical trial led to an initial trial pause in October 2020.3
           c. Two year follow-up from trials allows the detection of commonly experienced
               longer-term adverse effects that may not manifest until many months following
               vaccination.
           d. Two year follow-up from trials would also allow for more detailed assessment of
               infection, re-infection, infectiousness, and the monitoring of immune response
               over time, among all vaccinated participants.
           e. The quality of data collection in clinical trials can be expected to be superior to
               passive data collection systems like the Vaccine Adverse Event Reporting System
               (VAERS). Therefore, trials of at least 2 years duration provide a valuable chance
               to develop a more complete understanding of the adverse event profile in the
               general population as well as in specific groups, such as individuals of
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 169 of 209 PAGEID #: 1304




              reproductive age, immunocompromised individuals, and different age groups,
              including adolescents and young children.
           f. The quality of data on adverse events during an ongoing trial can be improved
              while the trial is ongoing (e.g., improving the range of types of adverse events
              that are systematically assessed), as and when evidence from other data sources
              (e.g., pre-clinical or pharmacovigilance) show any trends or indicate specific
              types of adverse events of special interest.
           g. Finally, the expectation of at least 2 years of follow-up prior to BLA also carries
              the advantage of longer-term data collection from other available sources (e.g.,
              MedWatch/VAERS, V-safe, Vaccine Safety Datalink, FDA-CMS, BEST & PRISM, VA
              Electronic Health Records & data warehouse, Department of Defense DMSS, and
              Genesis HealthCare (Brown University & NIH-National Institute of Aging), as well
              as other medical claims databases).

    2. Require data demonstrating substantial evidence of clinical effectiveness that
       outweighs harms, in all special populations, as a condition of consideration of
       including these populations among the indicated populations. Special populations
       include: infants, children, and adolescents; those with past SARS-CoV-2 infection;
       immunosuppressed individuals; those with history of or current cancer; individuals
       with hematological disorders or autoimmune diseases; pregnant or nursing women;
       and frail older adults. Rationale:
           a. The efficacy and safety of medicines often differs amongst populations such as
              healthy young adults vs. older adults, men vs. women, or SARS-CoV-2 survivors
              vs. never-exposed individuals.
           b. For example, the relative risks of SARS-CoV-2 infection, hospitalization, and
              death are considerably lower in infants, children, and adolescents in comparison
              to adults.4,5
           c. For example, individuals who experienced past SARS-CoV-2 infection (which are
              now believed to be a significant minority of many subpopulations6) are likely to
              have immunity to subsequent infections for as long or longer than immunity
              conferred by vaccine,7–10 and may also be at heightened risk for adverse
              effects.11–14
           d. The ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427,
              Pfizer: NCT04368728, Janssen: NCT04505722) largely (or wholly) excluded the
              following important populations in which there is reason to believe the effects of
              the product may differ from the populations enrolled in the trial:
                     i. Infants, children, and adolescents
                    ii. Those with past SARS-CoV-2 infection
                   iii. Those who are immunosuppressed
                   iv. Those with history of or current cancer
                    v. Those with hematological disorders
                   vi. Those with autoimmune diseases
                  vii. Those who are pregnant or nursing
                 viii. Frail older adults (including those living in nursing homes)
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 170 of 209 PAGEID #: 1305




           e. The question is not simply whether there is efficacy, but how much efficacy
              exists in these populations, what kind of efficacy (e.g. reduction in risk of
              symptomatic COVID-19 vs. reduction in risk of hospitalization or death), and do
              efficacy advantages outweigh potential harms in these populations.
           f. Before these special populations can be considered for inclusion amongst the
              approved indicated populations, data demonstrating substantial evidence of
              clinical effectiveness that outweighs harms in these specific populations, are
              needed.

    3. Require data on the safety and pharmacokinetic profiles of the spike protein.
       Rationale:
          a. In-situ production of SARS-CoV-2 spike protein is the target mechanism of action
              of all COVID-19 vaccines with an EUA at present. Therefore, the safety profile of
              spike protein itself (i.e., in the absence of virus) must be thoroughly understood
              in the range of populations on the indications list.
          b. Recently, evidence of systemic circulation of spike protein or its components in
              subjects post-immunization was reported.15 All studies we are aware of to date
              raise concerns about the safety of spike protein,16–28 and the concentration of
              circulatory spikes was correlated to the disease severity in COVID-19 patients.29
          c. Required studies must, at a minimum, address these concerns:
                    i. Coagulopathy issues, including blood clots, hemorrhage,
                       thrombocytopenia, heart attack, and strokes. According to the VAERS, as
                       of May 21, 2021, there have been a total of 1,222 reports of
                       thrombocytopenia/low platelets; and 6,494 (112 in 0-24 year-olds)
                       reports of blood clots/strokes.
                   ii. Reproductive issues, including menstrual irregularities, reduced fertility,
                       miscarriages, and preterm births. According to VAERS, as of May 21,
                       2021, there were 511 reports of miscarriage and 522 reports of uterine
                       hemorrhage (including 88 in women older than 50 years). The vaccines
                       induce the generation of antibodies to attack spike protein, which are
                       genetically similar to proteins produced by the placenta.30 To date, no
                       vaccine sponsors have conducted immunologic studies of spike protein
                       involvement with proteins involved in placental development.
                  iii. Carcinogenesis. There is preliminary and theoretical evidence that the
                       spike protein may promote cancer.31,32 Considering the potential for
                       annual booster vaccinations, COVID-19 vaccines should be treated
                       similarly to medication taken for chronic conditions on a long term basis.
                       Carcinogenic potential is important to characterize.
                  iv. Transmission of spike protein (or its fragments) from vaccinated
                       individuals, such as through breast milk and associated risk in neonates
                       and infants. According to the UK Medicines & Healthcare products
                       Regulatory Agency, there are 921 reports of exposure via breast milk
                       following AstraZeneca’s vaccine and 215 reports following Pfizer’s
                       vaccine.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 171 of 209 PAGEID #: 1306




                    v. Neurological disorders, including Guillain-Barré syndrome, acute
                       disseminated encephalomyelitis, transverse myelitis, encephalitis,
                       myelitis, encephalomyelitis, meningoencephalitis, meningitis,
                       encephalopathy, demyelinating diseases, and multiple sclerosis.
                   vi. Cardiac issues, including myocardial infarction, myocarditis and
                       pericarditis, among others. According to the VAERS, as of May 21, 2021,
                       there have been a total of 1,598 reports of heart attacks (24 reported in
                       0-24 year-olds; 501 resulted in death).
                  vii. Autoimmune diseases, including thyroiditis and diabetes mellitus,
                       immune thrombocytopenia, autoimmune hepatitis, primary biliary
                       cholangitis, systemic sclerosis, autoimmune disease for skeletal muscles
                       (myasthenia gravis, myositis such as polymyositis, dermatomyositis, or
                       other inflammatory myopathies)
                 viii. Studies should be conducted in individuals of both sexes 33 and all ages.
                       We cannot assume that the effects of spike protein are the same across
                       populations of all ages, sex, and across pre-existing conditions.

    4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.
       Rationale:
          a. Data from the biodistribution studies submitted by Moderna and Pfizer suggests
              that the vaccines distribute widely in the body, including to the liver, brain,
              heart, lung, adrenals, ovaries, and testes, among many other tissues. 34,35 (See
              Tables 1a, 1b, and 2 below for studies R-[?]-0072 and 185350 submitted by
              Pfizer and study 5002121 submitted by Moderna.)
          b. However these were not studies of the currently authorized products: Pfizer’s
              BNT162b2, Moderna’s mRNA-1273, or Janssen’s Ad26.COV2.S.34–36
          c. Instead of presenting novel biodistribution studies of the COVID-19 vaccine
              formulations, sponsors presented substitute studies to FDA for an EUA during
              the pandemic.34–36
          d. Therefore, novel biodistribution studies investigating the actual COVID-19
              vaccines are necessary.
          e. Biodistribution studies would be required for any small molecule pharmaceutical
              drug submitted for approval (i.e. New Drug Application), and should be
              conducted on the COVID-19 vaccines as well as these novel vaccines which work
              on the premise of gene delivery--very different to conventional vaccines.
          f. Biodistribution studies help inform an understanding of vaccine transfection to
              various tissues (away from injection site) spurring various distant tissues to
              produce spike proteins and consequent autoimmune response against the
              body’s cells. These studies will therefore help enhance our understanding of the
              nature of potential short and long term adverse events. At this point in time, in
              which other data sources exist to characterize short term harms of COVID-19
              vaccines with an EUA, the utility of biodistribution studies to characterize long
              term adverse effects and better understand potential mechanism(s) of action of
              short and long term harms, remains critically important.
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 172 of 209 PAGEID #: 1307




           g. Necessary studies must, at a minimum, address these concerns related to
              biodistribution, as well as the effects of vaccines in the body:
                   i. The need to know basic pharmacokinetic parameters, including
                        absorption, distribution, metabolism, and excretion (ADME).
                  ii. Effects of multiple doses. ADME may change depending on dose and
                        cumulative dose and should be investigated. This is more important
                        than usual as the whole purpose of all COVID-19 vaccines with an EUA
                        at present is to change the body’s way of processing spike protein, and
                        therefore repeated injections should result in different rates of
                        clearance of spike protein from the blood, and different rates of
                        immune attack on spike protein producing cells.
                 iii. The impact of body mass index (size of deltoid muscle) and vaccine
                        distribution away from injection site, implications for dose estimation
                        for lean or younger age groups or frail older adults.
                 iv. The duration of the studies must be sufficient to fully understand the
                        complete distribution and elimination of the injected vaccine and its
                        carrier and other constituents. For example, data from the substitute
                        study submitted for Pfizer’s vaccine (see Tables 1a, 1b, and 2 below for
                        studies R-[?]-0072 and 185350 submitted by Pfizer and study 5002121
                        submitted by Moderna) showed levels of drug product increasing at
                        the 48 hour mark, but it is unknown what occurred after 48 hours as
                        this was apparently the study cut off.37
                  v. Potential side effects (safety review) in those organs/tissues with a
                        detectable proportion of injected vaccine (antigen or novel excipients)
                        from the circulatory system.

    5. Require data from pharmacovigilance systems in the US and globally documenting a
       thorough investigation of serious adverse events, carried out by independent,
       impartial individuals. Rationale:
          a. A major testament to the overall short-term safety of a medical product is the
              absence of serious adverse events (SAEs) when administered to millions. COVID-
              19 vaccines have now been administered to hundreds of millions of individuals,
              and it is vital that all reports of SAEs are thoroughly investigated to determine
              whether the vaccine played any role in the SAE.
          b. The most serious of all SAEs is death, and a CDC webpage on VAERS discusses
              4,863 reports of death after COVID-19 vaccination reported between December
              14, 2020 and May 24, 2021. 38 CDC states that:
                    i. “CDC follows up on any report of death to request additional
                         information to learn more about what occurred and to determine
                         whether the death was a result of the vaccine or was unrelated.”
                   ii. “CDC and FDA physicians review each case report of death as soon as
                         notified and CDC requests medical records to further assess reports.”
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 173 of 209 PAGEID #: 1308




                  iii.  “A review of available clinical information, including death certificates,
                        autopsy, and medical records has not established a causal link to
                        COVID-19 vaccines.”38
           c. However, the FDA has stated that VAERS staff do not contact family members to
              learn more about the deaths. It stated: “Because the VAERS system is not
              designed to determine causality of adverse events, there is not a mechanism to
              follow-up with families for additional details. The determination of the cause of
              death is done by the certifying official who completes the death certificate or the
              pathologist who conducts the autopsy.”39
           d. Regulators in other countries have conducted detailed case investigations (e.g.
              Norway’s investigation of 100 deaths amongst frail elderly following COVID-19
              vaccination40,41).
           e. FDA must require evidence of a thorough investigation into deaths and other
              SAEs—investigations that include contacting families to obtain a full medical
              history and personal accounts (in the case of deaths) and those who experienced
              the adverse event (in the case of other SAEs). Event adjudication, as done on
              data safety monitoring boards, must be in place in order to carry out detailed
              case investigations, and must be carried out by independent, impartial
              individuals.

    6. Clarify in revised Guidance that safety data from individuals receiving more than 2
       vaccine doses must be submitted by vaccine manufacturers. Rationale:
           a. There is wide speculation that COVID-19 vaccines may become offered as annual
               vaccines, much like influenza vaccines, and regulators have already released
               guidance to this effect.42
           b. Some manufacturers, such as Pfizer and Moderna, have indicated that a third
               dose may be necessary within the first 12 months. Other manufacturers may
               present similar claims in the future.43
           c. The safety profile of multiple doses, possibly more than 70 doses across an
               average lifetime, must be considered at the time of licensure. Phase 3 trial data
               make clear that the safety profile differs by dose (e.g. dose 2 of the Pfizer and
               Moderna vaccines induce more severe systemic adverse events than dose 1). 44,45
           d. Information on the types and severity of adverse events that emerge following
               the administration of additional doses is necessary to better characterize long
               term safety.

    7. Ensure the inclusion of experts in gene therapy in the VRBPAC. Rationale:
          a. The COVID-19 vaccines produced by Pfizer, Moderna, and Janssen (as well as
              AstraZeneca, CanSinoBio (China) and Gamaleya Research Institute (Russia)) are
              gene based vaccines. Their mechanism of action differs substantially from all
              other vaccines that have been used on populations globally, as these novel
              vaccines work on the premise of gene delivery, and may therefore be considered
              a type of gene therapy. These gene based vaccines involve entering the cell,
              where the overwhelming majority of critical body activities occur, and utilizing
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 174 of 209 PAGEID #: 1309




               the host’s cells to produce spike protein. This is an entirely different mechanism
               than that utilized by traditional vaccines such as inactivated, attenuated, subunit
               or protein-based (that are not intended to invade cells). Therefore, there is a
               need to consider safety with the informed perspectives of those with expertise
               in gene therapies.

    8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
       application are informed by experts with no financial or research relationships with
       any vaccine manufacturers within the last 36 months, both within FDA and amongst
       the composition of the VRBPAC. Rationale:
          a. The public interest weighs strongly in favor of the evaluation of data and all
              decision making to be performed by competent individuals with independence
              from vaccine manufacturers (institutions that stand to gain or lose from a BLA
              decision on a COVID-19 vaccine). Disclosure requirements should be at least as
              stringent, if not more, than what is expected for writing a manuscript in a
              medical journal—namely, disclosure of relationships within the last 36 months,
              as requested by the International Committee of Medical Journal Editors (ICMJE).
              Insisting on this level of disclosure, and transparency of the disclosures, can
              publicly demonstrate the independence of the FDA’s decision making process. 46



  Table 1a. Pfizer study report R-[?]-0072, biodistribution study submitted by Pfizer to Japanese
  regulator (PMDA).




  Source: Japan PMDA (PDF page 15).37
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 175 of 209 PAGEID #: 1310




  Table 1b. Pfizer study report 185350, biodistribution study submitted by Pfizer to Japanese
  regulator (PMDA).




  Source: Japan PMDA (PDF page 16).37
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 176 of 209 PAGEID #: 1311




  Table 2. Modern study report 5002121, biodistribution study submitted by Moderna to
  Japanese regulator (PMDA).
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 177 of 209 PAGEID #: 1312




  Source: Japan PMDA (PDF page 7).47



 III. ENVIRONMENT IMPACT
 The petitioner hereby states that the relief requested in this petition will have no
 environmental impact and therefore an environmental assessment is not required under 21
 C.F.R. Sections 25.30 and 25.31.

 IV. ECONOMIC IMPACT
 Economic impact information will be submitted upon request of the commissioner.

 V. CERTIFICATION
 The undersigned certifies that, to the best knowledge and belief of the undersigned, this
 petition includes all information and views on which the petition relies, and that it includes
 representative data and information known to the petitioner which are unfavorable to the
 petition.

 Respectfully submitted,




 Linda Wastila, BSPharm, MSPH, PhD
 Representative
 Coalition Advocating for Adequately Licensed Medicines (CAALM)
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 178 of 209 PAGEID #: 1313




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 179 of 209 PAGEID #: 1314




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 180 of 209 PAGEID #: 1315




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 184 of 209 PAGEID #: 1319




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     [summary of pharmacokinetic studies] [Internet]. 2021 [cited 2021 May 29]. Available from:
     https://www.pmda.go.jp/drugs/2021/P20210519003/400256000_30300AMX00266_I100_1.pdf#pa
     ge=7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 185 of 209 PAGEID #: 1320




          Marks Decl.
           Exhibit G
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 186 of 209 PAGEID #: 1321




 August 23, 2021

 Linda Wastila, BSPharm, MSPH, PhD
 Representative
 Coalition Advocating for Adequately Licensed Medicines (CAALM)

 Re: Citizen Petition (Docket Number FDA-2021-P-0786)

 Dear Petitioner,

 This letter responds to the citizen petition that the Coalition Advocating for Adequately Licensed
 Medicines (CAALM) (the Petitioner, you) submitted to the Food and Drug Administration
 (FDA, the Agency, we) relating to licensure of vaccines to prevent Coronavirus Disease 2019
 (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) (the
 CP).
 In the CP, Petitioner requests that FDA:

    1. “Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up of
    participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a placebo
    control”;
    2. “Require data demonstrating substantial evidence of clinical effectiveness that outweighs
    harms, in all special populations, as a condition of consideration of including these
    populations among the indicated populations” including the special populations “infants,
    children, and adolescents; those with past SARS-CoV-2 infection; immunosuppressed
    individuals; those with history of or current cancer; individuals with hematological disorders
    or autoimmune diseases; pregnant or nursing women; and frail older adults”;
    3. “Require data on the safety and pharmacokinetic profiles of the spike protein”;
    4. “Require data from biodistribution studies investigating the actual COVID-19 vaccines”;
    5. “Require data from pharmacovigilance systems in the US and globally documenting a
    thorough investigation of serious adverse events, carried out by independent, impartial
    individuals”;
    6. “Clarify in revised Guidance that safety data from individuals receiving more than 2
    vaccine doses must be submitted”;
    7. “Ensure the inclusion of experts in gene therapy in the VRBPAC”; and
    8. “Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
    application are informed by experts with no financial or research relationships with any
    vaccine manufacturers within the last 36 months, both within FDA and amongst the
    composition of the VRBPAC.”
 CP at 3-4.

 U.S. Food and Drug Administration
 10903 New Hampshire Avenue
 Silver Spring, MD 20993
 www.fda.gov
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 187 of 209 PAGEID #: 1322




 This letter responds to the CP in full. FDA has carefully reviewed the CP and other relevant
 information available to the Agency. Based on our review of these materials and for the reasons
 described below, we conclude that the CP does not contain facts demonstrating any reasonable
 grounds for the requested action. In accordance with 21 CFR § 10.30(e)(3), and for the reasons
 stated below, FDA is denying the CP.
 In this letter, we discuss the requirements for licensed vaccines. We then turn to the requests
 contained in the CP. We consider each of your requests in light of the legal standards for FDA
 action, and provide our conclusions based on the facts, the science, and the law.
 I.      Background
 There is currently a pandemic of respiratory disease, COVID-19, caused by a novel coronavirus,
 SARS-CoV-2. The COVID-19 pandemic presents an extraordinary challenge to global health.
 On January 31, 2020, the Department of Health and Human Services (HHS) issued a declaration
 of a public health emergency related to COVID-19.1 On February 4, 2020, pursuant to section
 564 of the FD&C Act, the Secretary of HHS determined that there is a public health emergency
 that has a significant potential to affect national security or the health and security of U.S.
 citizens living abroad, and that involves the virus that causes COVID-19.2 On the basis of such
 determination, on March 27, 2020, the Secretary then declared that circumstances exist justifying
 the authorization of emergency use of drugs and biological products during the COVID-19
 pandemic (“COVID-19 EUA Declaration”), pursuant to section 564(b)(1) of the FD&C Act.3 In
 addition, on March 13, 2020, the Presidential declared a national emergency in response to
 COVID-19.4
 Commercial vaccine manufacturers and other entities are developing COVID-19 vaccine
 candidates, and clinical studies of these vaccines are underway and/or have been
 completed. Between December 11, 2020 and February 27, 2021, FDA issued emergency use
 authorizations for three vaccines to prevent COVID-19, including vaccines sponsored by Pfizer
 Inc. (Pfizer); ModernaTX, Inc. (Moderna); and Janssen Biotech, Inc. (Janssen), a pharmaceutical
 company of Johnson & Johnson. FDA received a Biologics License Application (BLA) for the
 COVID-19 vaccine, BNT162b2, intended to prevent COVID-19 in individuals 16 years of age
 and older. As announced by FDA on August 23, 2021, the Agency is issuing a biologics license




 1
   Secretary of Health and Human Services Alex M. Azar, Determination that a Public Health Emergency Exists
 (Originally issued Jan. 31, 2020, and subsequently
 renewed), https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
 2
   HHS, Determination of Public Health Emergency, 85 FR 7316, February 7, 2020,
 https://www.federalregister.gov/documents/2020/02/07/2020-02496/determination-of-public-health-emergency.
 3
   HHS, Emergency Use Authorization Declaration, 85 FR 18250, April 1, 2020,
 https://www.federalregister.gov/documents/2020/04/01/2020-06905/emergency-use-authorization-declaration.
 4
   Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
 Outbreak, issued March 13, 2020, https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-
 declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.

                                                                                                              2
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 188 of 209 PAGEID #: 1323




 for this COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty) to BioNTech
 Manufacturing GmbH.5,6
 II.     Vaccines That Are FDA-Licensed Meet Relevant Statutory Requirements
         1. Vaccines Are Shown to Be Safe, Pure, and Potent at the Time of Licensure
 FDA has a stringent regulatory process for licensing vaccines.7,8 The Public Health Service
 Act (PHS Act) authorizes FDA to license biological products, including vaccines, if they have
 been demonstrated to be “safe, pure, and potent.”9 Prior to approval by FDA, vaccines are
 extensively tested in non-clinical studies and in humans. FDA’s regulations describe some of the
 extensive data and information that each sponsor of a vaccine must submit to FDA in order to
 demonstrate the product’s safety before FDA will consider licensing the vaccine. FDA requires
 that the sponsor’s BLA include, among other things, data derived from nonclinical and clinical
 studies showing the product’s safety, purity, and potency; a full description of manufacturing
 methods for the product; data establishing the product’s stability through the dating period; and a
 representative sample of the product and summaries of results of tests performed on the lot(s)
 represented by the sample.10
 As is evident from the language of the PHS Act and FDA’s regulations, the licensure process for
 a vaccine requires the sponsor to establish, through carefully controlled laboratory and clinical
 studies, as well as through other data, that the product is safe and effective for its approved
 indication(s) and use. FDA’s multidisciplinary review teams then rigorously evaluate the
 sponsor’s laboratory and clinical data, as well as other information, to help assess whether the
 safety, purity, and potency of a vaccine has been demonstrated.11 Only when FDA’s standards
 are met is a vaccine licensed.
 FDA regulations explicitly state that “[a]pproval of a biologics license application or issuance of
 a biologics license shall constitute a determination that the establishment(s) and the product meet
 applicable requirements to ensure the continued safety, purity, and potency of such products.”12
 Therefore, the manufacturers of vaccines that have been licensed in the U.S. have necessarily
 demonstrated the safety of the vaccines within the meaning of the applicable statutory and
 regulatory provisions before the vaccines were licensed and allowed to be marketed.
 For more information on FDA’s thorough process for evaluating the safety of vaccines, see
 Appendix I of this letter, Aspects of Vaccine Development and Process for Licensure.


 5
   BioNTech Manufacturing GmbH is the biologics license holder for this vaccine, which is manufactured by Pfizer
 Inc. for BioNTech Manufacturing GmbH (hereinafter “BioNTech”).
 6
   The basis for FDA's licensure decision is set forth in FDA's Summary Basis for Regulatory Action for the
 BioNTech application. This memorandum will be posted on fda.gov. We incorporate by reference the SBRA for the
 BLA.
 7
   CDC, Ensuring the Safety of Vaccines in the United States, February 2013,
 https://www.cdc.gov/vaccines/hcp/patient-ed/conversations/downloads/vacsafe-ensuring-bw-office.pdf.
 8
   Vaccine Safety Questions and Answers, last updated March 2018, https://www.fda.gov/vaccines-blood-
 biologics/safety-availability-biologics/vaccine-safety-questions-and-answers.
 9
   42 U.S.C. § 262(a)(2)(C)(i)(I).
 10
    21 CFR § 601.2(a).
 11
    Vaccines, last updated January 2021, https://www.fda.gov/vaccines-blood-biologics/vaccines.
 12
    21 CFR § 601.2(d) (emphasis added).

                                                                                                               3
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 189 of 209 PAGEID #: 1324




          2. Vaccine Safety Continues to Be Monitored Post-Licensure
 FDA’s oversight of vaccine safety continues after licensure of the product. Once the licensed
 vaccine is on the market, post-marketing surveillance of vaccine safety is conducted in order to
 detect any rare, serious, or unexpected adverse events, as well as to monitor vaccine lots. FDA
 employs multiple surveillance systems and databases to continue to evaluate the safety of these
 vaccines. In certain cases, FDA may require the manufacturer to conduct post-marketing studies
 to further assess known or potential serious risks.
 For more information on post-licensure safety monitoring of vaccines, see Appendix II of this
 letter, Aspects of Vaccine Postmarketing Safety Monitoring.
 III. Discussion
 The CP makes a series of requests regarding the data to be submitted in support of licensure of
 vaccines to prevent COVID-19. Much of the key data supporting licensure applications is
 developed during the clinical trial process, which is subject to FDA’s investigational new drug
 process.13
              A. Investigational New Drugs
 Before a vaccine is licensed (approved) by FDA for use by the public, FDA requires that it
 undergo a rigorous and extensive development program to determine the vaccine’s safety and
 effectiveness. This development program encompasses preclinical research (laboratory research,
 animal studies14) and clinical studies. At the preclinical stage, the sponsor focuses on collecting
 the data and information necessary to establish that the product will not expose humans to
 unreasonable risks when used in limited, early-stage clinical studies. Clinical studies, in humans,
 are conducted under well-defined conditions and with careful safety monitoring through all the
 phases of the investigational new drug process. FDA’s regulations governing the conduct of
 clinical investigations are set out at 21 CFR Part 312.
 Before conducting a clinical investigation in the U.S. in which a new drug or biological product
 is administered to humans, a sponsor must submit an investigational new drug application (IND)
 to FDA.15 The IND describes the proposed clinical study in detail and, among other things,
 helps protect the safety and rights of human subjects.16 In addition to other information, an IND
 must contain information on clinical protocols and clinical investigators. Detailed protocols for
 proposed clinical studies permit FDA to assess whether the initial-phase trials will expose
 subjects to unnecessary risks. Information on the qualifications of clinical investigators
 (professionals, generally physicians, who oversee the administration of the experimental drug)
 permits FDA to assess whether they are qualified to fulfill their clinical trial duties. The IND

 13
    See 21 CFR § 312.2 (explaining that the IND regulations apply to clinical investigations of both drugs and
 biologics).
 14
    We support the principles of the “3Rs,” to reduce, refine, and replace animal use in testing when feasible. We
 encourage sponsors to consult with us if they wish to use a non-animal testing method they believe is suitable,
 adequate, validated, and feasible. We will consider if such an alternative method could be assessed for equivalency
 to an animal test method.
 15
    See 21 CFR § 312.20(a).
 16
    For additional information regarding the IND review process and general responsibilities of sponsor-investigators
 related to clinical investigations see Investigational New Drug Applications Prepared and Submitted by Sponsor-
 Investigators; Draft Guidance for Industry, May 2015, https://www.fda.gov/media/92604/download.

                                                                                                                    4
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 190 of 209 PAGEID #: 1325




 includes commitments to obtain informed consent from the research subjects, to obtain review of
 the study by an institutional review board (IRB),17 and to adhere to the investigational new drug
 regulations.
 Once the IND is submitted, the sponsor must wait 30 calendar days before initiating any clinical
 trials, unless FDA informs the sponsor that the trial may begin earlier. During this time,
 FDA reviews the IND. FDA’s primary objectives in reviewing an IND are, in all phases of the
 investigation, to assure the safety and rights of subjects, and, in Phase 2 and Phase 3, to help
 assure that the quality of the scientific evaluation of drugs is adequate to permit an evaluation of
 the drug’s effectiveness and safety.18
 FDA’s regulations provide that, once an IND is in effect, the sponsor may conduct a clinical
 investigation of the product, with the investigation generally being divided into three phases.
 With respect to vaccines, the initial human studies, referred to as Phase 1 studies, are generally
 safety and immunogenicity studies performed in a small number of closely monitored subjects.
 Phase 2 studies may include up to several hundred individuals and are designed to provide
 information regarding the incidence of common short-term side effects such as redness and
 swelling at the injection site or fever and to further describe the immune response to the
 investigational vaccine. If an investigational new vaccine progresses past Phase 1 and Phase 2
 studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
 determined by the number of subjects required to establish the effectiveness of the new vaccine,
 which may be in the thousands or tens of thousands of subjects. Phase 3 studies provide the
 critical documentation of effectiveness and important additional safety data required for
 licensing.
 At any stage of development, if data raise significant concerns about either safety or
 effectiveness, FDA may request additional information or studies; FDA may also halt ongoing
 clinical studies. The FD&C Act provides a specific mechanism, called a “clinical hold,” for
 prohibiting sponsors of clinical investigations from conducting the investigation (section
 505(i)(3) of the FD&C Act; 21 U.S.C. § 355(i)(3)), and FDA’s IND regulations in 21 CFR §
 312.42 identify the circumstances that may justify a clinical hold. Generally, a clinical hold is an
 order issued by FDA to the sponsor of an IND to delay a proposed clinical investigation or to
 suspend an ongoing investigation.19
              B. The Citizen Petition
 In the CP, Petitioner requests that before FDA licenses any vaccine20 for COVID-19, the agency
 require certain data be submitted. Because much of the relevant data is the kind that would be
 17
    The IRB is a panel of scientists and non-scientists in hospitals and research institutions that oversees clinical
 research. IRBs approve clinical study protocols, which describe the type of people who may participate in the
 clinical study; the schedule of tests and procedures; the medications and dosages to be studied; the length of the
 study; the study's objectives; and other details. IRBs make sure that the study is acceptable, that participants have
 given consent and are fully informed of the risks, and that researchers take appropriate steps to protect patients from
 harm. See The FDA's Drug Review Process: Ensuring Drugs Are Safe and Effective web page, last updated
 November 2017, https://www.fda.gov/drugs/drug-information-consumers/fdas-drug-review-process-ensuring-drugs-
 are-safe-and-effective.
 18
    21 CFR § 312.22(a).
 19
    21 CFR § 312.42(a).
 20
    The CP refers to “granting” a license. See, e.g., CP at 1. FDA generally refers to issuing licenses, or approving a
 BLA. See 21 CFR § 601.2(d); 21 CFR § 601.4(a).

                                                                                                                       5
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 191 of 209 PAGEID #: 1326




 gathered during clinical trials, we interpret the CP as asking that FDA require the sponsors to
 make the requested changes to their investigations, as well as, in some cases, to submit certain
 other data. As explained above, with certain exceptions, clinical investigations in which a drug
 is administered to human subjects must be conducted under an IND submitted to FDA by the
 sponsor. FDA’s review of an IND includes a review of the study protocol which describes,
 among other things, the design of the clinical study, including the identified endpoints and
 methods for assessing the safety and effectiveness of the investigational product.
 Below, we discuss the requested changes to the study design and other data submissions.
                        1. Petitioner’s request to require data demonstrating “substantial
                           evidence of clinical effectiveness that outweighs harms” in all
                           “special populations”
 Petitioner asks that, prior to issuing a license for a COVID-19 vaccine, FDA require certain types
 of clinical data, specifically:
         data demonstrating substantial evidence of clinical effectiveness that outweighs harms, in all
         special populations, as a condition of consideration of including these populations among the
         indicated populations. Special populations include: infants, children, and adolescents; those with
         past SARS-CoV-2 infection; immunosuppressed individuals; those with history of or current
         cancer; individuals with hematological disorders or autoimmune diseases; pregnant or nursing
         women; and frail older adults.
 CP at 3.
 Petitioner refers to the ongoing phase 3 trials of COVID-19 vaccines for the Moderna, Pfizer,
 and Janssen products, and states that the trials “largely (or wholly) excluded” certain identified
 populations. CP at 5. Petitioner states that there should be information about “what kind of
 efficacy” exists for these populations, and refers to “reduction in risk of symptomatic COVID-19
 vs. reduction in risk of hospitalization or death.” CP at 6.
 Thus, Petitioner appears to request that FDA require evidence derived from clinical trials to
 provide evidence of effectiveness for each of the identified populations, and also that clinical
 trials be designed and conducted in each population to assess the effectiveness of these vaccines
 to prevent COVID-19 disease of varying severity in the specified populations.
 In support of Petitioner’s request, Petitioner asserts that “efficacy and safety of medicines often
 differs amongst populations” and that the risks of SARS-CoV-2 infection are “considerably
 lower in infants, children, and adolescents in comparison to adults.” CP at 5.
 FDA addressed trial populations in the guidance.21 In the June 2020 guidance, FDA noted that
 while certain exclusions were recommended, for example “[e]xclusion of participants at higher
 risk of severe COVID-19 from early phase studies” in order “to mitigate potential risk of vaccine
 associated [enhanced respiratory disease] until additional data to inform that potential risk
 becomes available through ongoing product development,”22 FDA in general “encourages the


 21
    Development and Licensure of Vaccines to Prevent COVID-19; Guidance for Industry, June 2020 (June 2020
 Guidance), https://www.fda.gov/media/139638/download.
 22
    June 2020 Guidance at 10.

                                                                                                             6
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 192 of 209 PAGEID #: 1327




 inclusion of diverse populations in all phases of vaccine clinical development.”23 FDA also
 noted in the June 2020 Guidance that “vaccine safety and COVID-19 outcomes in individuals
 with prior SARS-CoV-2 infection, which might have been asymptomatic, is also important to
 examine because pre-vaccination screening for prior infection is unlikely to occur in practice
 with the deployment of licensed COVID-19 vaccines.”24
 With respect to the pediatric population, the June 2020 Guidance acknowledged that “the safety
 and effectiveness of COVID-19 vaccines, may be different in children compared with adults”25
 and recommended that “considerations on the prospect of direct benefit and acceptable risk to
 support initiation of pediatric studies, and the appropriate design and endpoints for pediatric
 studies, should be discussed in the context of specific vaccine development programs.”26
 Although the June 2020 Guidance includes various recommendations, ultimately FDA licensure
 decisions are based on an evaluation of the entirety of the data contained in a BLA and a finding
 that a vaccine’s benefits outweigh its potential risks.
 In assessing benefits and risks, FDA takes into account a number of factors including, but not
 limited to, the evidence for benefit, the requested indication, severity of the disease or condition,
 treatment alternatives, and the type and severity of adverse events. In general, the evidence for
 benefit is based on the results of clinical trials. In some cases, vaccine clinical trials assess
 clinical disease endpoints. In other cases, it may be scientifically acceptable to utilize
 immunogenicity endpoints.
 In assessing benefits for particular populations, FDA is not limited to considering evidence of
 effectiveness based on clinical trial studies with disease endpoints. In some cases, FDA may
 conclude that pediatric effectiveness can be extrapolated from adequate and well-controlled
 studies in adults.27 Furthermore, a study may not be needed in each pediatric age group if data
 from one age group can be extrapolated to another age group.28 There are times where it is
 scientifically appropriate to demonstrate effectiveness using scientifically accepted immune
 marker(s) of protection or to infer effectiveness for a population through immunobridging.
 In assessing risks, FDA takes into account the type, frequency, and severity of any adverse
 events.
 The benefit-risk assessment will be informed by the body of evidence about the vaccine’s safety
 and effectiveness submitted by an applicant in the BLA, the severity of the target disease, and the
 target population. Thus, in approving or authorizing a vaccine for use in a particular population
 (such as children), FDA will take into account the severity of the disease in the population as
 well as the benefits of the vaccine.


 23
    Id. at 11.
 24
    Id.
 25
    Id.
 26
    Id.
 27
    See section 505B(a)(2)(B)(i) of the FD&C Act (21 U.S.C. 355c(a)(2)(B)(i)) (providing that “[i]f the course of the
 disease and the effects of the drug are sufficiently similar in adults and pediatric patients, the Secretary may
 conclude that pediatric effectiveness can be extrapolated from adequate and well-controlled studies in adults, usually
 supplemented with other information obtained in pediatric patients, such as pharmacokinetic studies”).
 28
    See section 505B(a)(2)(B)(ii) of the FD&C Act (21 U.S.C. 355c(a)(2)(B)(ii)) (providing that “[a] study may not
 be needed in each pediatric age group if data from one age group can be extrapolated to another age group”).

                                                                                                                     7
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 193 of 209 PAGEID #: 1328




 To require the Petitioner’s proposed across-the-board approach—i.e., of requiring effectiveness
 data from clinical trials specific to each population group and specifically designed to evaluate
 disease endpoints of varying severity (e.g., hospitalization and death) in all of the specified
 populations—would not reflect the scientifically valid methods of assessing safety and
 effectiveness described above. Petitioner has not provided a scientific justification for why such
 tools as immunobridging or extrapolation across population groups cannot be used. Therefore,
 we deny Petitioner’s request29 to require effectiveness data from clinical trials specifically
 designed to assess disease endpoints of varying severity (e.g., hospitalization and death) for each
 of the identified populations as a condition of licensing a COVID-19 vaccine.30,31

 29
    In denying Petitioner’s request, we do not dispute Petitioner’s statement that the risks of SARS-CoV-2 infection
 can differ across population groups. That has been a feature of the pandemic’s effects thus far, with children and
 adolescents generally experiencing a milder disease course compared to older adults. But as with adults, children
 and adolescents with underlying conditions such as asthma, chronic lung disease, and cancer are at higher risk than
 their healthier counterparts for COVID-19-related hospitalization and death. See generally Emergency Use
 Authorization (EUA) Amendment for an Unapproved Product Review Memorandum (pertaining to FDA’s
 authorization of the Pfizer-BioNTech COVID-19 Vaccine for individuals 12 years and older),
 https://www.fda.gov/media/148542/download. These are features of COVID-19 that FDA may consider in weighing
 the risks and benefits of COVID-19 vaccines for different populations.
 30
    With respect to Petitioner’s statement that it is important to consider “how much efficacy exists” (CP at 6) for
 different populations, with the example of reduction of risk of hospitalization or death vs. reduction of risk of
 symptomatic COVID-19, we agree that severity of disease experienced by different groups is an important
 consideration that may be accounted for in a risk-benefit analysis. What we disagree with is Petitioner’s apparent
 request that FDA only accept the results of clinical trials that have different endpoints for different populations (e.g.,
 hospitalization or death for a younger population and symptomatic COVID-19 for older populations). A clinical
 trial endpoint of symptomatic disease for all populations included in the trial may provide sufficient information for
 FDA to adequately assess the risks and benefits of the vaccine, and FDA may evaluate the effectiveness of the
 vaccine in different populations by considering subgroup analyses of the data including analyses of vaccine
 effectiveness against disease of varying severity using pre-specified case definitions.
 31
    With respect to Petitioner’s statement that individuals with past SARS-CoV-2 infection “are likely to have
 immunity to subsequent infections for as long or longer than immunity conferred by vaccine,” and that they “may
 also be at heightened risk for adverse effects,” (CP at 5) we note that there is scientific uncertainty about the
 duration of protection provided by previous natural infection, but that the scientific community believes that
 vaccines may provide a longer duration of protection than that provided by natural infection. See CDC, COVID-19
 Frequently Asked Questions, last updated August 2021, https://www.cdc.gov/coronavirus/2019-
 ncov/vaccines/faq.html; Boyton, R. and D Altmann, 2021, Risk of SARS-CoV-2 reinfection after natural infection,
 Lancet, 397(10280):1161-1163, https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(21)00662-
 0/fulltext

 In addition, you state that individuals with previous infection “may also be at heightened risk for adverse effects.”
 CP at 5. The sources that you cite for this proposition are unavailing. First, the Krammer et al. publication
 (http://medrxiv.org/lookup/doi/10.1101/2021.01.29.21250653) does not assert safety problems with this population
 receiving COVID-19 vaccines; rather, the publication asserts that these individuals could receive only one dose of
 vaccine without negatively impacting their antibody titers and sparing them from unnecessary local and systemic
 adverse reactions (e.g., pain, swelling, fatigue, headache, chills, fever, muscle or joint pains) while also freeing up
 many urgently needed vaccine doses. The Samanovic et al. publication
 (http://dx.doi.org/10.1101/2021.02.07.21251311) similarly does not identify safety concerns, but rather concludes
 that prior history of COVID-19 affects adaptive immune responses to mRNA vaccination. The Camara et al.
 publication (https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1) asserts only that the second dose may
 not be necessary in individuals with prior infection and that a second dose may cause a “possible contraction of their
 spike-specific memory T cell immunity,” while also noting that “[o]ur study has clear limitations” and that “more
 detailed analysis of the phenotype of the spike-specific T cells induced by COVID-19 vaccines both in naïve and


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 194 of 209 PAGEID #: 1329




                          2. Petitioner’s request to require data on the safety and
                             pharmacokinetic profiles of the spike protein
 Petitioner asks FDA to “[r]equire data on the safety and pharmacokinetic profiles of the spike
 protein” prior to licensing any COVID-19 vaccine. CP at 6. In support of this request, Petitioner
 states that “[i]n-situ production of SARS-CoV-2 spike protein is the target mechanism of action
 of all COVID-19 vaccines with an EUA at present. Therefore, the safety profile of the spike
 protein itself (i.e., in the absence of virus) must be thoroughly understood in the range of
 populations on the indications list.” CP at 6.
 This request relates to the technology used to make the COVID-19 vaccines that have been
 authorized by FDA for emergency use. The Pfizer-BioNTech and Moderna vaccines contain a
 piece of mRNA that instructs cells in the body to make the distinctive “spike” protein of the
 SARS-COV-2 virus. The Janssen COVID-19 vaccine is manufactured using a specific type of
 virus called adenovirus type 26 (Ad26) that delivers a piece of the DNA that is used to make the
 distinctive “spike” protein of the SARS-CoV-2 virus.
 Your request appears to be premised on the notion that licensure should be contingent on
 sponsors’ conducting safety studies of a specific protein produced by the COVID-19 vaccines
 that is designed to elicit an immune response. Contrary to the assumption underlying your
 request, it is not scientifically necessary to require toxicological or pharmacokinetic studies in
 individuals to evaluate specific features of a vaccine outside the context of evaluating the vaccine
 as a whole. In making a licensure decision, FDA determines whether the data and information
 provided by a manufacturer have demonstrated that a vaccine is safe, pure, and potent. In
 making a determination about the safety of a vaccine, the agency evaluates the complete
 manufacturing process and whether specific features of a vaccine are such that the finished
 product itself, when used at the recommended dose, is safe for the recipient. FDA applies its

 recovered individuals are needed to answer these questions.” Petitioner also references a preprint by Levi et al.
 (https://www.medrxiv.org/content/10.1101/2021.02.01.21250923v2). In the published version of that study, the
 authors conclude that “[o]ne vaccine dose is sufficient in symptomatic SARS-CoV-2-exposed subjects to reach a
 high titer of antibodies, suggesting no need for a second dose, particularly in light of current [sic] vaccine shortage.”
 Levi et al. One Dose of SARS-CoV-2 Vaccine Exponentially Increases Antibodies in Individuals Who Have
 Recovered from Symptomatic COVID-19, J Clin Invest. 2021;131(12):e149154:
 https://www.jci.org/articles/view/149154). Levi et al. does not identify safety concerns with COVID-19 vaccines.

 We note that history of infection prior to vaccination is not usually known in adverse event reports (either because it
 wasn’t reported, or because it could have been asymptomatic and the patient never knew they had
 infection). Likewise, there could be a reporting bias for a reporting system like VAERS, which relies on vaccine
 recipients, healthcare providers, or others to initiate reports to the system, because individuals who were infected
 previously might be more likely to report adverse events. However, FDA, together with CDC, has not become
 aware of data from VAERS to suggest an increased frequency of adverse events in vaccinees who were infected
 with SARS-CoV-2 prior to vaccination. FDA and CDC Medical Officers conduct on-going review of certain,
 serious adverse events of special interest for the COVID vaccines. These reviews often include examination of the
 narrative and other fields which would contain information about past infection, if provided. Additionally, CDC and
 the VAERS Program contractor collect follow-up medical records for certain serious reports. Teams of physicians,
 nurses, and other reviewers abstract key clinical details, including medical history, from these records. The
 reviewers conducting these on-going surveillance efforts have not identified patterns of adverse events associated
 with prior infection.


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 195 of 209 PAGEID #: 1330




 sound scientific judgment in evaluating vaccines and other biological products, and ensures that
 vaccines licensed by the agency are safe within the meaning of the PHSA, the FD&C Act, and
 implementing regulations.
 With respect to the spike protein feature of vaccines for COVID-19, while there have been
 numerous claims on social media suggesting that the spike protein is toxic,32 there are in fact no
 reliable scientific data to indicate that the spike protein is toxic or that it lingers at any toxic level
 in the body after vaccination. Below, we list the publications you cite in footnotes 15-28 of your
 petition in support of what you describe as “safety concerns” with the spike protein feature of
 authorized vaccines.33 The left column identifies the relevant footnote in your petition and the
 accompanying citation, and the right column describes FDA’s analysis of the publication. The
 information in the right column explains why you have not in fact presented data showing safety
 problems with the spike protein feature of vaccines that would cause the vaccines to be unsafe.

  Publication cited by Petitioner in support of “safety        FDA analysis
  concerns” regarding spike protein
  Footnote 15: Ogata AF, Cheng C-A, Desjardins M,              This work conducted in a small number of
  Senussi Y, Sherman AC, Powell M, et al. Circulating          individuals (n=13) documents that shortly following
  SARS-CoV-2 Vaccine Antigen Detected in the Plasma of         administration of the mRNA-1273 COVID-19
  mRNA-1273 Vaccine Recipients. Clin Infect Dis                vaccine, SAR-CoV-2 spike protein was detectible in
  [Internet]. 2021 May 20; Available from:                     the plasma of 11 of the 13. Clearance of the protein
  http://dx.doi.org/10.1093/cid/ciab465                        from the circulation was associated with the
                                                               development of IgG and IgA antibodies. The authors
                                                               suggest a mechanism that might have led to the
                                                               findings, based on the immune response to the
                                                               vaccine. This paper documents the appearance of
                                                               spike protein in plasma and its clearance with
                                                               development of an immune response. This
                                                               publication does not provide evidence that
                                                               authorized COVID-19 vaccines are unsafe.
  Footnote 16: Kuba K, Imai Y, Rao S, Gao H, Guo F,            This article relates to SARS-CoV, the causative
  Guan B, et al. A crucial role of angiotensin converting      agent of SARS, an atypical pneumonia that occurred
  enzyme 2                                                     in several countries in 2002-2003. It was published
  (ACE2) in SARS coronavirus-induced lung injury. Nat          in 2005 before the discovery of SARS-CoV-2 and
  Med [Internet]. 2005 Aug;11(8):875–9.                        the development of vaccines to prevent COVID-19.
  Available from: http://dx.doi.org/10.1038/nm1267             Therefore, the reports in this publication do not
                                                               present safety concerns about the use of the spike
                                                               protein in vaccines.
  Footnote 17: Chen I-Y, Chang SC, Wu H-Y, Yu T-C,             This 2010 publication describes in vitro studies with
  Wei W-C, Lin S, et al. Upregulation of the chemokine         SARS-CoV. It was published in 2010 before the
  (C-C                                                         discovery of SARS-CoV-2 and the development of
  motif) ligand 2 via a severe acute respiratory syndrome      vaccines to prevent COVID-19. The publication
  coronavirus spike-ACE2 signaling pathway. J                  therefore does not present any evidence of safety



 32
    See, e.g., FactCheck.org, COVID-19 Vaccine-Generated Spike Protein is Safe, Contrary to Viral Claims,
 https://www.factcheck.org/2021/07/scicheck-covid-19-vaccine-generated-spike-protein-is-safe-contrary-to-viral-
 claims/ (describing spread of social media claims about the spike protein); Lin, R., 2021, Busted: 3 dangerous
 social-media myths about COVID-19 vaccines, LA Times, https://www.latimes.com/california/story/2021-06-
 03/covid-19-vaccine-myths-busted (same); Dupuy, B., 2021, Spike protein produced by vaccine not toxic, AP,
 https://apnews.com/article/fact-checking-377989296609 (same).
 33
    See Sec. 3(b) of the CP, which refers to footnotes 15-28 as support for asserted safety concerns with the spike
 protein.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 196 of 209 PAGEID #: 1331



  Virol [Internet]. 2010 Aug;84(15):7703–12. Available        concerns related to the formulation of COVID-19
  from: http://dx.doi.org/10.1128/JVI.02560-09                vaccines.
  Footnote 18: Patra T, Meyer K, Geerling L, Isbell TS,       This publication pertains to SARS-CoV-2 infection
  Hoft DF, Brien J, et al. SARS-CoV-2 spike protein           and disease progression, but does not relate to
  promotes IL6 trans-signaling by activation of angiotensin   vaccines to prevent COVID-19. The publication
  II receptor signaling in epithelial cells. PLoS Pathog      therefore does not present any evidence of safety
  [Internet]. 2020 Dec;16(12):e1009128. Available from:       concerns related to the formulation of COVID-19
  http://dx.doi.org/10.1371/journal.ppat.1009128              vaccines.
  Footnote 19: Zhang S, Liu Y, Wang X, Yang L, Li H,          This publication pertains to SARS-CoV-2 infection
  Wang Y, et al. SARS-CoV-2 binds platelet ACE2 to            and disease progression, but does not relate to
  enhance thrombosis in COVID-19. J Hematol Oncol             vaccines to prevent COVID-19. The publication
  [Internet]. 2020 Sep 4;13(1):120. Available from:           therefore does not present any evidence of safety
  http://dx.doi.org/10.1186/s13045-020-00954-7                concerns related to the formulation of COVID-19
                                                              vaccines.
  Footnote 20: Suresh SJ, Suzuki YJ. SARS-CoV-2 Spike         This publication states that “it is critical to
  Protein and Lung Vascular Cells. Journal of Respiration     understand the biological effects of this [spike]
  [Internet]. 2020 Dec 31 [cited 2021 May 25];1(1):40–8.      protein on human cells to ensure that it does not
  Available from: https://www.mdpi.com/2673-527X/1/1/4        promote long-term adverse health consequences”
                                                              and that “[f]urther work is needed to understand the
                                                              effects of various SARS-CoV-2 spike protein
                                                              segments” used in vaccines. But the publication
                                                              does not in fact report any adverse effects of
                                                              authorized vaccines. Nor does it conclude that use of
                                                              spike protein in authorized vaccines causes the
                                                              vaccines to be unsafe.
  Footnote 21: Angeli F, Spanevello A, Reboldi G, Visca       This article summarizes the features of several
  D, Verdecchia P. SARS-CoV-2 vaccines: Lights and            COVID-19 vaccines and discusses potential
  shadows. Eur J Intern Med [Internet]. 2021 Apr 30;          interactions between the spike protein of vaccines
  Available from:                                             with the cardiovascular system. The article notes
  http://dx.doi.org/10.1016/j.ejim.2021.04.019                “[t]he basic mechanisms …require further
                                                              research…” and that newer vaccines might be
                                                              developed; however, it does not state that the spike
                                                              protein itself should be studied in people.
  Footnote 22: Han M, Pandey D. ZMPSTE24 Regulates            This publication pertains to COVID-19 disease, but
  SARS-CoV-2 Spike Protein-enhanced Expression of             does not relate to vaccines to prevent COVID-19.
  Endothelial Plasminogen Activator Inhibitor-1. Am J         The publication therefore does not present any
  Respir Cell Mol Biol [Internet]. 2021 May 18; Available     evidence of safety concerns related to the
  from: http://dx.doi.org/10.1165/rcmb.2020-0544OC            formulation of COVID-19 vaccines.
  Footnote 23: Rhea EM, Logsdon AF, Hansen KM,                This publication pertains to COVID-19 disease, but
  Williams LM, Reed MJ, Baumann KK, et al. The S1             does not relate to vaccines to prevent COVID-19.
  protein of SARS-CoV-2 crosses the blood-brain barrier in    The publication therefore does not present any
  mice. Nat Neurosci [Internet]. 2021 Mar;24(3):368– 78.      evidence of safety concerns related to the
  Available from: http://dx.doi.org/10.1038/s41593-020-       formulation of COVID-19 vaccines.
  00771-8
  Footnote 24: Idrees D, Kumar V. SARS-CoV-2 spike            This publication pertains to COVID-19, but does not
  protein interactions with amyloidogenic proteins:           relate to vaccines to prevent COVID-19. The
  Potential clues to neurodegeneration. Biochem Biophys       publication therefore does not present any evidence
  Res Commun [Internet]. 2021 May 21;554:94–8.                of safety concerns related to the formulation of
  Available from:                                             COVID-19 vaccines.
  http://dx.doi.org/10.1016/j.bbrc.2021.03.100
  Footnote 25: Lei Y, Zhang J, Schiavon CR, He M, Chen        This publication pertains to the S protein, but does
  L, Shen H, et al. SARS-CoV-2 Spike Protein Impairs          not relate to vaccines to prevent COVID-19. The
  Endothelial Function via Downregulation of ACE 2. Circ      publication therefore does not present any evidence
  Res [Internet]. 2021 Apr 30;128(9):1323–6. Available        of safety concerns related to the formulation of
                                                              COVID-19 vaccines. In fact, the publication


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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 197 of 209 PAGEID #: 1332



  from:                                                         concludes by stating: “vaccination-generated
  http://dx.doi.org/10.1161/CIRCRESAHA.121.318902               antibody and/or exogenous antibody against S
                                                                protein not only protects the host from SARS-CoV-2
                                                                infectivity but also inhibits S protein-imposed
                                                                endothelial injury.”
  Footnote 26: Zhang L, Richards A, Barrasa MI, Hughes          This publication pertains to SARS-CoV-2 infection,
  SH, Young RA, Jaenisch R. Reverse-transcribed SARS-           but does not relate to vaccines to prevent COVID-19.
  CoV-2 RNA can integrate into the genome of cultured           The publication therefore does not present any
  human cells and can be expressed in patientderived            evidence of safety concerns related to the
  tissues. Proc Natl Acad Sci U S A [Internet]. 2021 May        formulation of COVID-19 vaccines.
  25;118(21). Available from:
  http://dx.doi.org/10.1073/pnas.2105968118
  Footnote 27: Suzuki YJ, Nikolaienko SI, Dibrova VA,           This publication pertains to SARS-CoV-2 infection,
  Dibrova YV, Vasylyk VM, Novikov MY, et al. SARS-              but does not relate to vaccines to prevent COVID-19.
  CoV-2 spike protein-mediated cell signaling in lung           The publication therefore does not present any
  vascular cells. Vascul Pharmacol [Internet]. 2021             evidence of safety concerns related to the
  Apr;137:106823. Available from:                               formulation of COVID-19 vaccines.
  http://dx.doi.org/10.1016/j.vph.2020.106823
  Footnote 28: Suzuki YJ, Gychka SG. SARS-CoV-2 Spike           This publication states that “it is important to
  Protein Elicits Cell Signaling in Human Host Cells:           consider the possibility that the SARS-CoV-2 spike
  Implications for Possible Consequences of COVID-19            protein produced by the new COVID-19 vaccines
  Vaccines. Vaccines (Basel) [Internet]. 2021 Jan 11;9(1).      triggers cell signaling events that promote
  Available from:                                               [pulmonary arterial hypertension],” and that it
   http://doi.org/10.3390/vaccines901003                        important to monitor vaccinees for long-term
                                                                consequences. While the publication advocates
                                                                experimental animal studies, it does not provide any
                                                                data suggesting that the vaccines cause any harm.



 In sum, you have not demonstrated why FDA is scientifically or legally obligated to require
 “data on the safety and pharmacokinetic profiles of the spike protein.” In other words, you have
 not demonstrated why it is scientifically or legally faulty for FDA to make licensure
 determinations without requiring the specific requested safety data on the isolated spike protein
 in individuals. Therefore, we deny your request.34
                          3. Petitioner’s request to require data from biodistribution studies
 Petitioner asks FDA to require “data from biodistribution studies investigating the actual
 COVID-19 vaccines.” CP at 7. Petitioner asserts that data submitted thus far by Moderna and
 Pfizer “suggests that the vaccines distribute widely in the body, including to the liver, brain,
 heart, lung, adrenals, ovaries, and testes, among many other tissues.” CP at 7. Petitioner further
 states that “instead of presenting novel biodistribution studies of the COVID-19 vaccine
 formulations, sponsors presented substitute studies to FDA for an EUA during the pandemic.”
 CP at 7. Therefore, according to Petitioner, “novel biodistribution studies investigating the

 34
   We note that in addition to generally requesting “data on the safety and pharmacokinetic profiles of the spike
 protein,” you request that studies investigate the spike protein’s link to certain identified health outcomes (e.g.,
 related to coagulopathy, reproduction, etc.). See Sec. 3(c) of the CP. Because we conclude that you have not
 supported the need for the requested type of data that is specific to the isolated spike protein, we deny your requests
 that FDA require that the studies producing such data examine the identified health outcomes. It is worth pausing to
 acknowledge that you premise some of the health outcome data requests on information that you attribute to
 VAERS. While VAERS is a critical part of FDA’s post-market safety monitoring system for vaccines, reports to
 VAERS are not confirmed to be associated with vaccination.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 198 of 209 PAGEID #: 1333




 actual COVID-19 vaccines are necessary.” CP at 7. Petitioner further states that the studies are
 important “to characterize long term adverse effects and better understand potential
 mechanism(s) of action of short and long term harms. . . ” CP at 7.
 FDA addressed biodistribution studies in the June 2020 Guidance in the section regarding
 toxicity studies. FDA recommended biodistribution studies “if the vaccine
 construct is novel in nature and there are no existing biodistribution data from the
 platform technology.”35 FDA specified that biodistribution studies may not be necessary in
 certain situations “if the COVID-19 vaccine candidate is made using a platform technology
 utilized to manufacture a licensed vaccine or other previously studied investigational vaccines
 and is sufficiently characterized.”36
 Petitioner has not demonstrated the need for biodistribution studies of “the actual COVID-19
 vaccines.” For example, it is not scientifically inappropriate to support a BLA with
 biodistribution data for a surrogate protein produced using the platform technology, for example
 if imaging on such protein can be performed to visualize the location of the protein expression.
 Because Petitioner has not explained why such alternative approaches cannot be used, we deny
 Petitioner’s request.
                           4. Petitioner’s Request to Require Data from Pharmacovigilance
                              Systems Documenting an Investigation into Serious Adverse Events
 Petitioner asks FDA to require “data from pharmacovigilance systems in the US and globally
 documenting a thorough investigation serious adverse events, carried out by independent,
 impartial individuals.” CP at 8. Petitioner states that “COVID-19 vaccines have now been
 administered to hundreds of millions of individuals, and it is vital that all reports of SAEs
 [significant adverse events] are thoroughly investigated to determine whether the vaccine played
 any role in the SAE.” CP at 8. Petitioner also states that the investigation “must be carried out
 by independent, impartial individuals.” CP at 9. Thus, Petitioner appears to be asking for
 “thorough investigation” into serious adverse events.
 It is unclear whether Petitioner is requesting that individual manufacturers perform the
 pharmacovigilance, or if Petitioner asks that FDA do so. Given that post-marketing surveillance
 systems are conducted both by sponsors and FDA, we interpret the request as asking that FDA
 ensure that both the agency and sponsors conduct the requested investigations.
 Petitioner has not demonstrated any failures to conduct “thorough investigations” into post-
 marketing serious adverse events, so it is unclear what additional action FDA could take in
 response to the CP. Therefore, we deny this request.

 FDA agrees that post-marketing surveillance plays an important role. FDA is monitoring the
 safety of the Authorized COVID-19 Vaccines through both passive and active safety surveillance
 systems. FDA is doing so in collaboration with the Centers for Disease Control and Prevention
 (CDC), the Centers for Medicare and Medicaid Services (CMS), the Department of Veterans
 Affairs (VA), and other academic and large non-government healthcare data systems.


 35
      June 2020 Guidance, at 7.
 36
      Id.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 199 of 209 PAGEID #: 1334




 In addition, FDA participates actively in ongoing international pharmacovigilance efforts,
 including those organized by the International Coalition of Medicines Regulatory Authorities
 (ICMRA) and the World Health Organization (WHO). These efforts are in addition to the
 pharmacovigilance efforts being undertaken by the individual manufacturers for authorized
 vaccines. A coordinated and overlapping approach using state-of the art technologies has been
 implemented. As part of our efforts to be transparent about our COVID-19 vaccine safety
 monitoring activities, FDA is posting summaries of the key safety monitoring findings on the
 FDA website.37

 Passive Surveillance

 VAERS is a national passive surveillance vaccine safety database that receives unconfirmed
 reports of possible adverse events following the use of a vaccine licensed or authorized in the
 United States. Passive surveillance is defined as unsolicited reports of adverse events that are
 sent to a central database or health authority. In the United States, these are received and entered
 into VAERS, which is co-managed by FDA and CDC. In the current pandemic, these reports are
 being used to monitor the occurrence of both known and unknown adverse events, as providers
 of COVID-19 vaccines are required to report serious adverse events to VAERS.

 As part of FDA and CDC's multi-system approach to post-licensure and post-authorization
 vaccine safety monitoring, VAERS is designed to rapidly detect unusual or unexpected patterns
 of adverse events, also known as “safety signals.” VAERS reports generally cannot be used to
 determine if a vaccine caused or contributed to an adverse event or illness. If the VAERS data
 suggest a possible link between an adverse event and vaccination, the relationship may be further
 studied in a controlled fashion.38

 Anyone can make a report to VAERS, including vaccine manufacturers, private practitioners,
 state and local public health clinics, vaccine recipients, and their parents or caregivers.
 Surveillance programs like VAERS perform a critical function by generating signals of potential
 problems that may warrant further investigation.

 Active Surveillance

 Active surveillance involves proactively obtaining and rapidly analyzing information related to
 millions of individuals and recorded in large healthcare data systems to verify safety signals
 identified through passive surveillance or to detect additional safety signals that may not have
 been reported as adverse events to passive surveillance systems. FDA is conducting active
 surveillance using the Sentinel BEST (Biologics Effectiveness and Safety) System and the CMS
 system, and is also collaborating with other federal and non-federal partners.

 BEST


 37
    https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-
 vaccines?
 38
    FDA, VAERS Overview, available at https://www.fda.gov/vaccines-blood-biologics/vaccine-adverse-
 events/vaers-overview

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 200 of 209 PAGEID #: 1335




 To elaborate further, the BEST system,39 which is part of the Sentinel initiative,40 comprises
 large-scale claims data, electronic health records (EHR), and linked claims-EHR databases with
 a data lag of approximately three months. The system makes use of multiple data sources and
 enables rapid queries to detect or evaluate adverse events as well as studies to answer specific
 safety questions for vaccines. The linked claims-EHR database makes it possible to study the
 safety of vaccines in sub-populations with pre-existing conditions or in pregnant women. The
 major partners for BEST currently are Acumen, IBM Federal HealthCare, IQVIA, and Columbia
 University and many affiliated partners such as MedStar Health, BlueCross BlueShield of
 America, the Observational Health Data Sciences and Informatics (OHDSI), OneFlorida,
 University of California and several others.41

 Using BEST, CBER plans to monitor about 15 adverse events42 that have been seen with the
 deployment of previous vaccines but have yet to be associated with a safety concern for an
 authorized COVID-19 vaccine at this time. CBER further plans to use the BEST system to
 conduct more in-depth analyses should a safety concern be identified from sources such as
 VAERS.

 CMS

 FDA has worked over the past several years with CMS to develop capabilities for routine and
 time-sensitive assessments of the safety of vaccines for people 65 years of age and older using
 the Medicare Claims database.43 Because it was already in place, this system was immediately
 put into use for COVID-19 vaccine surveillance to monitor for adverse events.44




 39
    Biologics Effectiveness and Safety (BEST) System, https://www.fda.gov/vaccines-blood-biologics/safety-
 availability-biologics/cber-biologics-effectiveness-and-safety-best-system
 40
    FDA’s Sentinel Initiative, https://www.fda.gov/safety/fdas-sentinel-initiative
 41
    To confirm the utility of the BEST system for situations such as COVID-19 vaccine surveillance, a test case was
 conducted. This study aimed to replicate a previous study by the CDC’s Vaccine Safety Datalink (VSD) (Klein et al.
 Pediatrics 2010) that examined the databases and analytic capabilities of the new system. The objective of this study
 was to test the new system’s ability to reproduce the increased risk of febrile seizures in children receiving the first
 dose of measles-mumps-rubella-varicella (MMRV) vaccine, compared to that of MMR and varicella vaccines
 separately but on the same day. The results of the study met the objectives and demonstrated the ability of the BEST
 Initiative data network to run a complex study protocol at multiple sites using a distributed data network and the
 Observational Medical Outcomes Partnership Common Data Model (organizing disparate data sources into the same
 database design using a common format).
 42
    CBER, Background Rates of Adverse Events of Special Interest for COVID-19 Vaccine Safety Monitoring, Draft
 Protocol (December 31, 2020), https://www.bestinitiative.org/wp-content/uploads/2021/01/C19-Vaccine-Safety-
 AESI-Background-Rate-Protocol-2020.pdf
 43
    CMS, Standard Analytical Files (Medicare Claims) – LDS, https://www.cms.gov/Research-Statistics-Data-and-
 Systems/Files-for-Order/LimitedDataSets/StandardAnalyticalFiles
 44
    As one example of the capabilities of this system, FDA, CMS, and CDC evaluated the risk of Guillain-Barré
 syndrome (GBS) following influenza vaccination after CDC’s Vaccine Safety Datalink, identified safety signals
 suggesting an increased risk of GBS following high-dose influenza vaccinations and Shingrix vaccinations during
 the 2018-2019 influenza season. CBER, CDC, and CMS formed working groups in February 2019 to refine these
 safety signals in the CMS data.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 201 of 209 PAGEID #: 1336




 During the current pandemic, FDA, CMS, and CDC have already used the Medicare data to
 publish a study showing that frailty, comorbidities, and race/ethnicity were strong risk factors of
 COVID-19 hospitalization and death among the U.S. elderly.45
 In summary, in collaboration and coordination with several different partners, FDA has
 assembled passive surveillance systems – including VAERS – and active surveillance systems
 that can detect and refine safety findings with the Authorized COVID-19 Vaccines in a relatively
 rapid manner. These systems can also potentially be leveraged to assess safety in specific
 subpopulations and to assess vaccine effectiveness.
 Petitioner points to a CDC webpage on COVID-19 vaccines that discusses 4,863 reports to
 VAERS of death after COVID-19 vaccination that describes the monitoring that is conducted in
 connection with such reports.46 Petitioner suggests that this is inadequate because of an FDA
 response to a question posed by one of the CP signatories on the proportion of VAERS death
 reports for which FDA/CDC staff had reached out to families to collect follow-up information.
 In that response, FDA stated that “the VAERS system is not designed to determine causality of
 adverse events” and thus “there is not a mechanism to follow-up with families for additional
 details.”47 However, there are indeed procedures in place to conduct continuous monitoring of
 VAERS data, including deaths (though the procedures do not involve following up with
 families). When FDA and CDC receive reports of deaths in VAERS, there is a mechanism for
 requesting and evaluating other types of follow-up information, including associated health
 records, such as hospital discharge summaries, and medical and laboratory results, death
 certificates, and autopsy reports.48
                         5. Petitioner’s Request to Include Gene Therapy Experts on the
                            Vaccines and Related Biological Products Advisory Committee
                            (VRBPAC)
 Petitioner requests that FDA ensure the inclusion of gene therapy experts on the VRBPAC
 because “there is a need to consider safety with the informed perspectives of those with expertise
 in gene therapies.” CP at 9-10. In support of this request, Petitioner states that the vaccines
 produced by several manufacturers are gene based and that “[t]heir mechanism of action differs
 substantially from all other vaccines that have been used on populations globally, as these novel



 45
    Hector S Izurieta, David J Graham, Yixin Jiao, Mao Hu, Yun Lu, Yue Wu, Yoganand Chillarige, Michael
 Wernecke, Mikhail Menis, Douglas Pratt, Jeffrey Kelman, Richard Forshee, Natural History of Coronavirus Disease
 2019: Risk Factors for Hospitalizations and Deaths Among >26 Million US Medicare Beneficiaries, The Journal of
 Infectious Diseases, 223: 6: 945–956 (2021), https://doi.org/10.1093/infdis/jiaa767
 https://academic.oup.com/jid/article/223/6/945/6039057
 46
    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html.
 47
    Petitioner refers to a Letter to the Editor authored by one of the CP signatories that includes questions the
 signatory posed to FDA, and FDA’s responses. See https://www.bmj.com/content/372/bmj.n149/rr-25.
 48
    See Shimabukuro et al., Safety monitoring in the Vaccine Adverse Event Reporting System (VAERS),
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4632204/ (stating that “For reports classified as serious, the
 VAERS contractor requests associated health records, including hospital discharge summaries, medical and
 laboratory results, and death certificates and autopsy reports for deaths. Additional MedDRA terms might be added
 based on information obtained through follow-up. Also, for serious reports where the patient has not recovered from
 the adverse event by the time the report was filed or recovery status was unknown, a follow-up letter is sent to the
 reporter at one year requesting information on recovery status if that information is still not known”).

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 202 of 209 PAGEID #: 1337




 vaccines work on the premise of gene delivery, and may therefore be considered a type of gene
 therapy.” CP at 9.
 The VRBPAC’s members are selected “among authorities knowledgeable in the fields of
 immunology, molecular biology, rDNA, virology; bacteriology, epidemiology or biostatistics,
 vaccine policy, vaccine safety science, federal immunization activities, vaccine development
 including translational and clinical evaluation programs, allergy, preventive medicine, infectious
 diseases, pediatrics, microbiology, and biochemistry.”49 Additionally, an advisory committee
 may consult with experts.50 FDA may also add temporary voting members to the VRBPAC, for
 example to provide relevant expertise.51 The VRBPAC’s role is to advise FDA. The VRBPAC
 does not make regulatory decisions.

 The premise of the CP is that certain actions need to be taken “before serious consideration is
 given to granting a BLA of any COVID-19 vaccine.” CP at 1. But it is FDA, not VRBPAC, that
 is authorized to determine whether to approve a BLA. Indeed, the Public Health Service Act
 confers this authority to the Secretary of the Department of Health and Human Services, and this
 authority has been delegated to the Commissioner of FDA. Because FDA is authorized to
 approve a BLA, we do not agree that the composition of an advisory committee is determinative
 of whether to approve or seriously consider approving a BLA. Accordingly, we deny your
 request.
                          6.    Petitioner’s Request that FDA Ensure That Experts Within FDA
                               and Amongst VRBPAC Have No Financial or Research
                               Relationships With Any Vaccine Manufacturer’s Within 36 Months
 Petitioner requests that FDA “[e]nsure that the analysis of data and decisions regarding any
 COVID-19 vaccine BLA application are informed by experts with no financial or research
 relationships52 with any vaccine manufacturers within the last 36 months, both within FDA and
 amongst the composition of the VRBPAC.”53 CP at 10. In support of this request, Petitioner
 states disclosure and transparency would demonstrate the independence of FDA decision making
 and that an evaluation of data by “competent individuals with independence from vaccine
 manufacturers” would be in the public interest.54 CP at 10.



 49
    See FDA’s Website on Vaccines and Related Biological Products Advisory Committee,
 https://www.fda.gov/advisory-committees/blood-vaccines-and-other-biologics/vaccines-and-related-biological-
 products-advisory-committee.
 50
    21 CFR § 14.31.
 51
    See https://www.fda.gov/advisory-committees/vaccines-and-related-biological-products-advisory-
 committee/charter-vaccines-and-related-biological-products-advisory-committee.
 52
    You do not describe what you mean for there to be a conflict related to “research relationships.” You refer only to
 disclosure requirements established by the International Committee of Medical Journal Editors (ICMJE)
 (presumably that organization’s document related to providing readers of manuscripts with information about
 interests that could influence how they receive scientific work), but an online form we found for ICMJE does not
 use or define the term “research relationship.” See https://cdn-
 links.lww.com/permalink/jbjs/d/jbjs_2017_03_30_tashjian_e15_sdc1.pdf. That form does describe financial
 conflicts of interests, see id., and given the CP’s statement that decisions should be made by individuals with
 “independence” we assume you refer to financial or employment-type conflicts.
 53
    CP at 10.
 54
    CP at 10.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 203 of 209 PAGEID #: 1338




 FDA acknowledges the value in maintaining a positive public perception of how FDA conducts
 its activities and ensuring that the decisions FDA employees make, and actions they take, neither
 are, nor appear to be, tainted by any conflict of interest. Ethical requirements for both advisory
 committee and staff are described in statute and regulation.55
 FDA has addressed the evaluation of financial interests by special Government employees
 (SGEs) and FDA employees in the 2014 Guidance for the Public, FDA Advisory
 Committee Members, and FDA Staff: Public Availability of Advisory Committee Members’
 Financial Interest Information and Waivers56 (Financial Issues Guidance) and has addressed the
 evaluation of appearance issues in the 2016 draft Guidance for the Public, FDA Advisory
 Committee Members, and FDA Staff: Procedures for Evaluating Appearance Issues and
 Granting Authorizations for Participation in FDA Advisory Committees (Appearance Issues
 Draft Guidance).57 The 2016 draft guidance, when finalized, will represent the current thinking
 of the Food and Drug Administration (FDA or Agency) on this topic. As described in the
 Appearance Issues Draft Guidance, “[t]o protect the credibility and integrity of advisory
 committee advice, FDA screens advisory committee members carefully for two categories of
 potentially disqualifying interests or relationships: (1) current financial interests that may create a
 recusal obligation under Federal conflict of interest laws; and (2) other interests and relationships
 that do not create a recusal obligation under Federal conflict of interest laws but that may create
 the appearance that a member lacks impartiality, known as ‘appearance issues.’” The
 Appearance Issues Guidance explicitly contemplates that a Research Relationship might raise an
 appearance issue.58
 FDA employees also are subject to strict ethical requirements.59 FDA employees, as well as
 their spouses and minor children, are prohibited from holding financial interests, like stock, in
 certain businesses regulated by FDA. This includes many companies working in the drug,
 biologic, medical device, food, and tobacco industries, among others.60 In addition, certain
 restrictions apply to FDA employees working on particular matters involving parties with whom
 the employee has served as officer, director, trustee, general partner, agent, attorney, consultant,
 contractor or employee.61
 Although both the VRBPAC members and FDA employees are subject to ethical requirements,
 the requirements do not involve a 36-month prohibition. For example, FDA is authorized by
 statute to grant waivers to allow individuals with potentially conflicting financial interests to
 participate in meetings where it concludes, after close scrutiny, that certain criteria are met.62
 In addition, the restrictions that apply to FDA employees working on particular matters involving
 parties with whom the employee has served as officer, director, trustee, general partner, agent,
 55
    See, e.g., 18 U.S.C. § 208; See also the description of Ethics Laws and Regulations on FDA’s website, available
 at: https://www.fda.gov/about-fda/ethics/ethics-laws-and-regulations
 56
    https://www.fda.gov/media/83188/download. “Most FDA advisory committee members are appointed as SGEs.”
 Financial Issues Guidance at 3.
 57
    https://www.fda.gov/media/98852/download.
 58
    See Appearance Issues Draft Guidance at 14-15.
 59
    For a summary of relevant requirements, see the description of Ethics Laws and Regulations on FDA’s website
 https://www.fda.gov/about-fda/ethics/ethics-laws-and-regulations.
 60
    See Prohibited Financial Interests for FDA Employees, https://www.fda.gov/about-fda/ethics/prohibited-financial-
 interests-fda-employees.
 61
    5 CFR § 2635.502.
 62
    See 18 U.S.C. § 208(b)(1) and (b)(3).

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 204 of 209 PAGEID #: 1339




 attorney, consultant, contractor or employee apply when the employee has served within the last
 year--but not longer.
 In evaluating your request, we are guided by these laws and regulations, which do not contain a
 36-month prohibition. We also note that you have not demonstrated that any FDA employees or
 members of the VRBPAC have been improperly involved in the agency’s review of COVID-19
 vaccines. We are also guided by our consideration of one of the purposes served by an FDA
 advisory committee, which is that it permits the agency access to a range of perspectives from
 experts with the most current knowledge. We believe that applying our existing standards for
 conflict of interest will address the perception concern that the CP articulates, while
 appropriately balancing the agency’s need for current outside expertise. Accordingly, we deny
 your request.
                         7.   Petitioner’s Request to Revise the 2020 Guidance to Require 2
                              Years of Follow-Up
 Petitioner requests that FDA “[c]onfirm, in revised Guidance, that the FDA expects a minimum
 of 2 years of follow-up of participants enrolled in pivotal clinical trials, even if trials are
 unblinded and lack a placebo control.” CP at 4. You state that “two year follow-up from trials
 allows the detection of commonly experienced longer-term adverse effects that may not manifest
 until many months following vaccination” and would add to the data collection in clinical trials
 in certain ways that you identify. CP at 4.
 FDA’s June 2020 Guidance describes FDA’s expectations for follow-up of participants enrolled
 in clinical trials.63 FDA does not at this time see a need to revise its guidance documents,
 because FDA may communicate to individual sponsors whether there is a need to support a BLA
 with a particular duration of follow-up for a clinical trial. While guidance documents allow the
 agency to articulate its interpretation of or policy on a regulatory matter (21 CFR § 10.115(b)),
 there are also times where FDA’s advice would be specific to an individual manufacturer.
 In addition, we note that there are many reasons why it may be appropriate to license some
 vaccines based on follow-up of participants for less than two years. For example, if a clinical
 trial enrolls subjects rapidly and the primary endpoint is the incidence of a disease such as
 COVID-19 which occurs frequently, cases may accumulate quickly and may allow FDA to
 assess the benefit-risk profile of the vaccine based on a shorter clinical trial duration and
 participant follow-up. By contrast, if a clinical trial enrolls subjects more slowly and assesses a
 disease with lower incidence, more time may be needed to accumulate a database that allows
 statistically meaningful comparisons to be drawn between the vaccine and control groups.
 FDA’s benefit-risk analysis may reasonably take into account the historical experience with
 vaccines, and the fact that most adverse events that are plausibly linked to vaccination occur
 within two months of vaccination.64 Furthermore, vaccine trials involve different types of
 endpoints, with some trials focusing on immunogenicity endpoints and some focusing on disease
 endpoints. All of these features impact the type and duration of data needed to evaluate the
 benefits and risks of a vaccine.

 63
   See, e.g., June 2020 Guidance at 12.
 64
   Table VI. National Vaccine Injury Compensation Program. Rockville, MD: Health Resources and Services
 Administration, 2017 (https://www.hrsa.gov/sites/default/files/hrsa/vaccine-compensation/vaccine-injury-table.pdf.
 opens in new tab).

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 205 of 209 PAGEID #: 1340




 For all of these reasons, we deny Petitioner’s request.
                      8. Petitioner’s Request that FDA Revise its Guidance Document to
                         Address Safety Data from Individuals Receiving more than 2 Doses
 Petitioner states that FDA should “[c]larify in revised Guidance that safety data from individuals
 receiving more than 2 vaccine doses must be submitted by vaccine manufacturers.” CP at 9.
 Petitioner states that the safety profile of multiple doses must be considered. CP at 9.
 FDA does not at this time see a need to revise its guidance documents, because FDA may
 communicate to individual sponsors whether there is a need to provide the agency with data to
 support the possible use of more than 2 vaccine doses. While guidance documents allow the
 agency to articulate its interpretation of or policy on a regulatory matter (21 CFR § 10.115(b)),
 there are also times where FDA’s advice would be specific to an individual manufacturer.
 Accordingly, we deny Petitioner’s request.
                             a. Conclusion
 FDA has considered Petitioner’s requests. For the reasons given in this letter, FDA denies the
 requests in Petitioner’s citizen petition. Therefore, we deny the CP in its entirety.
                                       Sincerely,



                                       Peter Marks, MD, PhD
                                       Director
                                       Center for Biologics Evaluation and Research

 cc: Dockets Management Staff




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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 206 of 209 PAGEID #: 1341




           Appendix I: Aspects of Vaccine Development and Process for Licensure

 A.     Vaccines are Biologics and Drugs
 Vaccines are both biological products under the Public Health Service Act (PHS Act) (42 U.S.C.
 § 262) and drugs under the Federal Food, Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. §
 321). The PHS Act defines a “biological product” as including a “vaccine…or analogous
 product…applicable to the prevention, treatment, or cure of a disease or condition of human
 beings.” 42 U.S.C. § 262(i)(1). The FD&C Act defines drug to include “articles intended for
 use in the diagnosis, cure, mitigation, treatment, or prevention of disease in man.” 21 U.S.C. §
 321(g)(1)(B).
 Under the PHS Act, a biological product may not be introduced or delivered for introduction into
 interstate commerce unless a biologics license is in effect for the product. 42 U.S.C. §
 262(a)(1)(A).
 B.     Clinical Investigations of Vaccines
 Before a vaccine is licensed (approved) by FDA and can be used by the public, FDA requires
 that it undergo a rigorous and extensive development program that includes laboratory research,
 animal studies, and human clinical studies to determine the vaccine’s safety and effectiveness.
 The PHS Act and the FD&C Act provide FDA with the authority to promulgate regulations that
 provide a pathway for the study of unapproved new drugs and biologics. 42 U.S.C. §
 262(a)(2)(A) and 21 U.S.C. § 355(i). The regulations on clinical investigations require the
 submission of an Investigational New Drug application (IND), which describes the protocol, and,
 among other things, assures the safety and rights of human subjects. These regulations are set
 out at 21 CFR Part 312. See 21 CFR § 312.2 (explaining that the IND regulations apply to
 clinical investigations of both drugs and biologics).
 The regulations provide that, once an IND is in effect, the sponsor may conduct a clinical
 investigation of the product, with the investigation generally being divided into three phases.
 With respect to vaccines, Phase 1 studies typically enroll fewer than 100 participants and are
 designed to look for very common side effects and preliminary evidence of an immune response
 to the candidate vaccine. Phase 2 studies may include up to several hundred individuals and are
 designed to provide information regarding the incidence of common short-term side effects, such
 as redness and swelling at the injection site or fever, and to further describe the immune response
 to the investigational vaccine. If an investigational new vaccine progresses past Phase 1 and
 Phase 2 studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
 determined by the number of subjects required to establish the effectiveness of the new vaccine,
 which may be in the thousands or tens of thousands of subjects. Phase 3 studies are usually of
 sufficient size to detect less common adverse events.
 If product development is successful and the clinical data are supportive of the proposed
 indication, the completion of all three phases of clinical development can be followed by
 submission of a Biologics License Application (BLA) pursuant to the PHS Act (42 U.S.C. §
 262(a)), as specified in 21 CFR § 601.2.




                                                                                                 21
Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 207 of 209 PAGEID #: 1342




 C.         Biologics License Applications
 A BLA must include data demonstrating that the product is safe, pure, and potent and that the
 facility in which the product is manufactured “meets standards designed to assure that the
 biological product continues to be safe, pure, and potent.” 42 U.S.C. § 262(a)(2)(C)(i). FDA
 does not consider an application to be filed until FDA determines that all pertinent information
 and data have been received. 21 CFR § 601.2. FDA’s filing of an application indicates that the
 application is complete and ready for review but is not an approval of the application.
 Under § 601.2(a), FDA may approve a manufacturer’s application for a biologics license only
 after the manufacturer submits an application accompanied by, among other things, “data derived
 from nonclinical laboratory and clinical studies which demonstrate that the manufactured
 product meets prescribed requirements of safety, purity, and potency.” The BLA must provide
 the multidisciplinary FDA reviewer team (medical officers, microbiologists, chemists,
 biostatisticians, etc.) with the Chemistry, Manufacturing, and Controls (CMC)65 and clinical
 information necessary to make a benefit-risk assessment, and to determine whether “the
 establishment(s) and the product meet the applicable requirements established in [FDA’s
 regulations].” 21 CFR § 601.4(a).
 FDA generally conducts a pre-license inspection of the proposed manufacturing facility, during
 which production of the vaccine is examined in detail. 42 U.S.C. § 262(c). In addition, FDA
 carefully reviews information on the manufacturing process of new vaccines, including the
 results of testing performed on individual vaccine lots.
 FDA scientists and physicians evaluate all the information contained in a BLA, including the
 safety and effectiveness data and the manufacturing information, to determine whether the
 application meets the statutory and regulatory requirements. FDA may also convene a meeting
 of its advisory committee to seek input from outside, independent, technical experts from various
 scientific and public health disciplines that provide input on scientific data and its public health
 significance.
 As part of FDA’s evaluation of a vaccine as a whole, FDA takes all of a vaccine’s ingredients
 into account (including preservatives and adjuvants). FDA licenses a vaccine only after the
 Agency has determined that the vaccine is safe and effective for its intended use, in that its
 benefits outweigh its potential risks.




 65
      Also referred to as Pharmaceutical Quality/CMC.

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 208 of 209 PAGEID #: 1343




              Appendix II: Aspects of Vaccine Postmarketing Safety Monitoring
 Post-marketing surveillance of vaccine safety is crucial to detect any rare, serious, or unexpected
 adverse events, as well as to monitor vaccine lots. Manufacturers often conduct post-marketing
 observational studies. However, FDA also uses multiple tools and databases to evaluate the
 safety of vaccines after they have been licensed and used in the general population.
 The Vaccine Adverse Event Reporting System (VAERS) is a national passive surveillance
 vaccine safety database that receives unconfirmed reports of possible adverse events following
 the use of a vaccine licensed in the United States. VAERS is co-administered by FDA and the
 Centers for Disease Control and Prevention (CDC). Anyone can make a report to VAERS,
 including vaccine manufacturers, private practitioners, State and local public health clinics,
 vaccine recipients, and their parents or caregivers. Surveillance programs like VAERS perform
 a critical function by generating signals of potential problems that may warrant further
 investigation.
 It is often difficult to determine with certainty if a vaccine caused an adverse event reported to
 VAERS. Many events that occur after vaccination can happen by chance alone. Some adverse
 events are so rare that their association with a vaccine is difficult to evaluate. In addition,
 VAERS often receives reports where there is no clear clinical diagnosis. FDA draws upon
 multiple sources of data and medical and scientific expertise to assess the potential strength of
 association between a vaccine and a possible adverse event.
 Monitoring and analysis of VAERS reports typically includes daily in-depth medical review of
 all serious reports, statistical data mining techniques, and epidemiological analysis. We look for
 patterns and similarities in the onset timing and clinical description. We review published
 literature to understand possible biologic hypotheses that could plausibly link the reported
 adverse event to the vaccine. We review the pre-licensure data and any other post-marketing
 studies that have been conducted. We also consider “background rate,” meaning the rate at
 which a type of adverse event occurs in the unvaccinated general population. When necessary,
 we discuss the potential adverse event with our federal and international safety surveillance
 partners. We also carefully evaluate unusual or unexpected reports, as well as reports of
 “positive re-challenges” (adverse events that occur in the same patient after each dose received).
 When there is sufficient evidence for a potential safety concern we may proceed to conduct large
 studies, and we may coordinate with our federal, academic and private partners to further assess
 the potential risk after vaccination. In addition, when potential safety issues arise, they are often
 presented to various U.S. government advisory committees, including the Vaccines and Related
 Biological Products Advisory Committee, the Advisory Committee on Immunization Practices,
 the Vaccines Advisory Committee, and the Advisory Committee on Childhood Vaccines, and are
 often discussed with experts from other countries and from the World Health Organization
 (WHO). Federal agencies that assist in population-based vaccines safety studies include the
 Centers for Medicaid and Medicare (CMS), the Department of Defense (DoD), and the Indian
 Health Services (IHS). In addition, we generally communicate and work with international
 regulatory authorities and international partners to conduct studies in vaccine safety.
 The Vaccine Safety Datalink (VSD) project has actively monitored vaccine safety in more than
 9.1 million people nationwide, over 3% of the US population. The VSD can monitor vaccine
 safety with near real-time surveillance systems, which is particularly important for new vaccines.
 If there is a vaccine safety signal in the VSD, chart reviews and case series analyses are done

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Case: 1:22-cv-00084-MWM Doc #: 25-9 Filed: 03/08/22 Page: 209 of 209 PAGEID #: 1344




 when assessing the possible association between a vaccine and an adverse event. If needed,
 VSD is able to use its large health care database to further evaluate specific vaccine safety
 concerns.
 The Clinical Immunization Safety Assessment (CISA) is a national network of six medical
 research centers with expertise conducting clinical research related to vaccine safety. The goals
 of CISA are: to study the pathophysiologic basis of adverse events following immunization using
 hypothesis-driven protocols; to study risk factors associated with developing an adverse event
 following immunization using hypothesis-driven protocols, including genetic host-risk factors; to
 provide clinicians with evidence-based guidelines when evaluating adverse events following
 immunization; to provide clinicians with evidence-based vaccination or revaccination guidelines;
 and to serve as a regional referral center to address complex vaccine safety inquiries. Advances
 in genetics and immunology continue to help us further assess the safety of vaccines, and FDA
 has established a genomics evaluation team for vaccine safety.
 Finally, the Sentinel Initiative is a national electronic system that will continue to improve
 FDA’s ability to track the safety of medical products, including vaccines. Launched in May
 2008 by FDA, the Sentinel System will enable FDA to actively query diverse automated
 healthcare data holders – like electronic health record systems, administrative and insurance
 claims databases, and registries – to evaluate possible safety issues quickly and securely. The
 Sentinel Initiative will cover 100 million people in the U.S. It is also anticipated that Sentinel
 will facilitate the development of active surveillance methodologies related to signal detection,
 strengthening, and validation.




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